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                  Exhibit 1
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                 IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

ANTHONY REID, et al.,                     :   Honorable John E. Jones, III
                                          :
             Plaintiffs,                  :
                                          :
      v.                                  :   No. 18-CV-0176
                                          :
JOHN WETZEL, et al.,                      :
                                          :
             Defendants.                  :   Complaint filed January 25, 2018

                           SETTLEMENT AGREEMENT

                              I.       INTRODUCTION

      A.     On January 25, 2018, Plaintiffs filed this lawsuit on behalf of a class

of prisoners currently sentenced to execution and confined within the Capital

Case Units (“CCU”) of the Pennsylvania Department of Corrections (“DOC”).

Plaintiffs challenge conditions of their confinement and allege, inter alia, that

Defendants have violated the Eighth and Fourteenth Amendments to the United

States Constitution. Defendants expressly deny that they have violated any

constitutional rights of Plaintiffs.

      B.     Counsel for Plaintiffs have conducted an extensive investigation of

the conditions of confinement of class prisoners and have obtained many

policies, directives, prisoners’ medical and disciplinary records, and other

pertinent materials.




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      C.     Defendants have provided, through counsel, further documents set

out in requests made by Plaintiffs, and Plaintiffs’ experts have conducted on-site

tours of the State Correctional Institutions containing CCUs.

      D.     Plaintiffs and Defendants, without conceding any infirmity in their

claims or defenses, and prior to completing formal discovery, have engaged in

extensive settlement negotiations in an effort to resolve the claims raised in this

litigation. They now desire to achieve an appropriate remedy amicably to resolve

this litigation, avoid the risks and expense of further litigation, and provide relief

based on constitutional principles.

      E.     The Parties acknowledge that the DOC and Defendants have

implemented and continue to implement improvements and that these

improvements have been ongoing throughout the litigation.

      F.     Defendants are entering into this Settlement Agreement

(“Agreement”) for the purpose of settlement. Nothing contained herein may be

taken as or construed to be an admission or concession of any violation of law or

regulation, or of any other matter of fact or law, or of any liability or wrongdoing

(including allegations of the Complaint), all of which the Defendants expressly

deny. The Defendants do not admit to any violation of law, and do not admit to

any wrongdoing that was or could have been alleged by the Plaintiffs before the

Effective Date of this Agreement. No part of this agreement shall constitute

evidence of any liability, fault, or wrongdoing by Defendants, the DOC or the

Commonwealth of Pennsylvania.

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                               II.   DEFINITIONS

As used in this Agreement, the following terms have the following meanings:

A.     “A Roster” refers to prisoners who have no currently identified

Psychiatric/Intellectual Disability needs and no history of such.

B.     “Action” refers to the above-entitled action captioned Anthony Reid, et al.,

v. John Wetzel, et al., Case No. 18-CV-0176, in the United States District Court

for the Middle District of Pennsylvania.

C.     “Administrative Custody” refers to a status of confinement in segregated

housing units for non-disciplinary reasons, which provides closer supervision,

control and protection than is provided in general population.

D.     “B Roster” refers to prisoners placed on the inactive Mental

Health/Intellectual Disability roster, but not currently identified as SMI.

Prisoners on this roster have a history of Psychiatric/Intellectual Disability needs

but are not current consumers of mental health services.

E.     “Capital Case Unit” or “CCU” refers to distinct housing units currently

contained at SCI-Greene, SCI-Phoenix and SCI-Muncy that exclusively house

prisoners sentenced to execution, and any like housing units hereafter

established at other correctional facilities in the Commonwealth.

F.     “Capital Case Prisoners” or “CCU Prisoners” refers to prisoners sentenced

to execution.

G.     “C Roster” refers to prisoners placed on the active Mental

Health/Intellectual Disability roster, but not currently identified as SMI.

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H.     “Commencement Date” refers to the date, on the same date or following

the Effective Date, on which all provisions of Section V of this Agreement have

been implemented.

I.     “D Roster” refers to prisoners on the active Mental Health/Intellectual

Disability roster who are classified as SMI.

J.     “Defendants” refers to John Wetzel, Secretary of the Pennsylvania

Department of Corrections; Robert Gilmore, Superintendent of SCI-Greene; and

Tammy Ferguson, Superintendent of SCI-Phoenix, in their official capacities, and

their successors in office, subordinates, and agents.

K.     “Department” and/or “DOC” refers to the Pennsylvania Department of

Corrections.

L.     “Diversionary Treatment Unit” refers to a secure unit that provides

expanded and personalized mental health services primarily to prisoners with a

SMI who have committed disciplinary infractions or are on administrative

custody status, but sometimes also to C-Roster prisoners.

M.     “Effective Date” refers to the date upon which the Court grants final

approval to this Agreement.

N.     “General Population Unit” refers to a DOC housing unit for L-2, L-3,

and/or L-4 prisoners who are not in need of being housed in a unit that requires

enhanced security restrictions. General Population Units are organized to

effectuate out of cell time without the use of restraints, and provide a variety of



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programmatic opportunities, including but not limited to recreational,

educational, rehabilitative, and religious activities off unit.

O.     “Parties” refers to the Plaintiffs and the Defendants in the lawsuit

captioned above.

P.     “Plaintiffs” refers to the plaintiff class certified by the Court, comprising

“all current and future death-sentenced prisoners in the Commonwealth of

Pennsylvania.”

Q.     “Preliminary Approval Date” is the date on which the Court gives

preliminary approval to this Agreement.

R.     “Restricted Housing Unit” is a segregated housing unit used by the DOC to

house prisoners placed in Disciplinary and Administrative Custody.

S.     “Serious Mental Illness” or “SMI” is defined according to Department

Policy 13.8.1, Section 2(B), and includes a current diagnosis or recent significant

history of Substance-Induced Psychotic Disorder, Schizophreniform Disorder,

Schizophrenia, Delusional Disorder, Brief Psychotic Disorder, Schizoaffective

Disorder, Bipolar I and II and Major Depressive Disorder; “SMI” also includes

diagnoses commonly characterized by breaks with reality leading to a significant

functional impairment involving acts of self-harm; “SMI” also includes a

diagnosis of an intellectual disability or other cognitive disorder that results in a

significant functional impairment; “SMI” also includes any prisoner sentenced

under the classification of Guilty But Mentally Ill.



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                        III. GENERAL PROVISIONS

A.     Warranty and Voluntary Agreement

             Plaintiffs and Defendants warrant that they have entered into this

agreement voluntarily and of their own accord without reliance on any

inducement, promise or representation by any other party, except those that are

expressly set forth in this Agreement. This Agreement contains and constitutes

the entire understanding and agreement between the Plaintiffs and Defendants

respecting the subject matter hereof and may not be changed or altered in any

way except as expressly set forth herein.

B.     Warranty of Understanding and Acknowledgement

             Plaintiffs and Defendants have carefully read this Agreement, know

and understand its contents, and freely and voluntarily agree to all of its terms

and conditions.

C.     Governing Law

             The parties agree that, except to the extent any provision is governed

by federal law that supersedes state law, this Agreement shall be construed and

governed by the laws of the Commonwealth of Pennsylvania.

D.     Construction

             No party shall be considered the drafter of this Agreement, or any

provision contained herein, for the purposes of any statute, case law, or rule of

interpretation or construction, that would or might cause any provision to be

construed or interpreted as against the drafter. The parties also agree that signed


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electronic .pdf versions of this Agreement shall have the same force and effect as

original copies of the Agreement.

E.     Entire Agreement

             The terms of this Agreement and its exhibits as written constitute the

entire agreement between the Parties, and there are no other terms relied upon

by the Parties, verbal or otherwise.

F.     Severability

             If any part of this Agreement is or shall be declared invalid or

unenforceable by operation of law, or by any tribunal of competent jurisdiction,

the remainder of this Agreement shall not be affected thereby, but shall continue

in full force and effect. If any provision of this Agreement, or application of such

provision to any person or circumstance, shall be held invalid by a court of

competent jurisdiction, the remainder of this Agreement, or the application of

such provision to persons or circumstances other than to those as to which it is

held invalid, shall not be affected thereby unless to do so would destroy the

essential purpose of this Agreement.

G.     Counterparts

             This Agreement may be executed in any number of counterparts,

each of which shall be deemed an original, but all of which taken together shall

constitute one and the same instrument.




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H.     Authorization

             The representatives executing this Agreement on behalf of Plaintiffs

and Defendants are empowered to do so and thereby bind Plaintiffs and

Defendants in accordance with the terms of this Agreement.

I.     Further Assurances

             The parties agree to take all actions reasonably necessary to

effectuate the approval, performance, validity and enforceability of this

Agreement.

J.     Waiver and Amendment; Preservation of Remedies

             This Agreement may be amended only by an agreement in writing

executed by all of the parties hereto, pursuant to Section VII(A), infra. The failure

by any party hereto to insist upon strict performance of any of the terms or

conditions of this Agreement shall not be deemed a waiver of any of the rights or

remedies that such party may have, and shall not be deemed a waiver of any

subsequent breach or default. To be effective, any waiver with regard to this

Agreement must be in writing and signed by the party granting the waiver, and

any such waiver shall apply only to the matter or instance specifically waived.

                       IV. SETTLEMENT APPROVAL

A.     Preliminary Approval

             As soon as practicable following execution of this Agreement, the

parties shall apply to the Court for a preliminary order:




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       1.    Granting preliminary approval of this Agreement for purposes of

disseminating notice to Plaintiffs;

       2.    Approving the form, contents, and dissemination of the notice of this

Agreement to Plaintiffs; and

       3.    Scheduling a fairness hearing to review comments and/or objections

regarding this Agreement, consider the fairness, reasonableness, and adequacy of

this Agreement, and consider whether the Court should order final approval of

this Agreement and grant class counsel’s requested fee award.

B.     Final Approval

       1.    This Agreement shall be subject to the final approval of the Court. The

parties shall cooperate in presenting this Agreement to the Court for final approval

and/or at any hearing under Rule 23(e) of the Federal Rules of Civil Procedure. If

the Court does not grant final approval, this Agreement shall be null and void and

of no force and effect, and nothing herein shall be deemed to prejudice the position

of any party with respect to this Action or otherwise, and neither the existence of

this Agreement, nor any of its terms or provisions, nor any of the negotiations or

proceedings connected with it, shall be admissible in evidence, referred to for any

purpose in the Action or in any other litigation or proceeding, or construed as an

admission, presumption, or concession by any Defendant of any liability or the

truth of any of the allegations in the Action.




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    V.    MODIFICATION OF CONDITIONS OF CONFINEMENT IN THE
                                CCUs

A.       Development of General Population Setting in the CCU

         1.    The CCU shall be operated as a general population unit that

exclusively houses prisoners sentenced to death. The CCU shall no longer be

classified as a Level 5 housing unit requiring enhanced security protocols. The CCU

shall not be classified as Administrative Custody and shall not be subject to any

Department of Correction policies (such as DC-ADM 802) specific to the operation

of an Administrative Custody unit. Prisoners confined to the CCU shall be provided

with all the rights and privileges afforded to those prisoners housed on standard

general population units at the various institutions of the DOC system.

         2.    Comparable to other general population units, prisoners confined in

the CCU shall have access to the following:

               a)    All newly received Capital Case Prisoners shall be assessed by

         a registered nurse or licensed psychologist, depending upon the time of

         intake, for purposes of completing a Suicide Indicator Checklist;

         appropriate mental health follow-up contacts shall be made in accordance

         with 13.8.1, Access to Mental Health Care.1


1Department policy 13.8.1, effective March 9, 2015, and entitled “Access to Mental
Health Care,” governs the provisions of this agreement that concern the provision of
psychological, psychiatric, or mental-health services. The version of that policy dated
March 9, 2015, last modified on December 18, 2018, and attached hereto as Exhibit 1
shall remain the controlling version of that policy unless modified as set forth below.
Any proposed modification to policy 13.8.1 that would impact the care, treatment, or
services provided to prisoners housed in the Capital Case Unit will be disclosed to
Plaintiffs’ counsel no less than 30 days prior to such modification taking effect. If
Plaintiffs’ counsel conclude that the proposed modification would have a significant
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             b)    Movement-related Use of Restraints and Strip Searches

                          (i)    Because the CCU shall be operated as a general

                                 population housing unit, prisoners confined in

                                 the CCU shall not be subjected to strip-searching

                                 or to shackling, tethering, or other physical

                                 restraints when moving about within the unit,

                                 unless such security measures are required by

                                 officers responding to a temporary, emergent

                                 situation or as part of efforts to restore order

                                 during a security disturbance.

                          (ii)   Prisoners confined to the CCU likewise shall not

                                 be subjected to strip-searching or to shackling,

                                 tethering, or other physical restraints when

                                 traveling outside the CCU unless either (1) an

                                 individualized determination is made by the

                                 Superintendent that a security concern

                                 necessitates the measures being applied; or

                                 (2) such measures are the standard procedure


adverse effect on the care, treatment, or services provided to prisoners housed in the
Capital Case Unit, they shall have the right to bring the proposed modification before
the Court. If the Court agrees that the proposed modification would have a significant
adverse effect on the care, treatment, or services provided to prisoners housed in the
Capital Case Unit, it shall not take effect. Policy modifications that merely correct
grammar or spelling mistakes, reformat or renumber policy provisions, or address other
non-substantive issues shall not require advance disclosure.
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                           for all prisoners in the applicable circumstances

                           (e.g., search of prisoner following a contact

                           visit). All individualized determinations with

                           respect to prisoners confined in the CCU shall be

                           reconsidered by the Superintendent every three

                           months and the reasons for extending these

                           measures beyond three months shall be

                           documented.

        c)    Prisoners confined in the CCU shall not be required to wear

  clothing of a different color or style from those worn by non-CCU Prisoners.

        d)    Prisoners confined in the CCU shall be permitted to obtain a

  work assignment. Such work assignments shall include on-unit jobs, as well

  as jobs occurring outside, but adjacent to, the CCU—including, but not

  limited to, work in the satellite kitchen at SCI-Greene, and groundskeeping,

  snow-removal, and grass-mowing work in the areas surrounding the CCU.

        e)    Prisoners confined in the CCU shall be permitted to use the

  telephone system on a daily basis, for no less than fifteen (15) minutes per

  usage, and whenever available.

        f)    Prisoners confined in the CCU shall be permitted to purchase

  televisions, tablets, radios, and all other approved items available to

  prisoners in standard general population units.



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        g)     Within thirty (30) days of the Effective Date, prisoners

  confined in the CCU shall be offered at least four (4) hours of out-of-cell

  time for activities per day, seven (7) days a week, and a total of at least forty-

  two and a half (42.5) hours of out-of-cell time for activities per week. This

  out-of-cell time shall be offered during normal waking hours (7:00 am to

  9:00 pm). Although the foregoing are required minimum standards, the

  parties agree that the goal in managing the CCU is to approximate as closely

  as possible the residential setting of prisoners confined in general

  population units. Prisoner participation in out-of-cell activities shall be

  logged and recorded on the tracking form appended here as Exhibit 2.

        h)     The out-of-cell activities offered to every CCU Prisoner shall

  include, but are not limited to:

                      (i)     Yard and outdoor exercise

                      (ii)    “Block out” time

                      (iii)   Law library

                      (iv)    Congregate meals

                      (v)     Treatment or counseling team meetings

                      (vi)    Religious worship and congregation

                      (vii) Work assignments

                      (viii) Organized educational or vocational
                             programming

                      (ix)    Treatment or recreational programming


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        i)     The requirement of out-of-cell time set forth in paragraph g,

  supra, shall not be satisfied by such activities as showers, medical

  appointments, attorney meetings, classification or disciplinary hearings, or

  court hearings.

        j)     The Parties agree that the failure to offer the forty-two and a

  half (42.5) hours of weekly out-of-cell time required by paragraph g, supra,

  for a period of up to two (2) consecutive weeks, shall not itself qualify as

  substantial noncompliance with this Agreement.

        k)     Outdoor exercise shall be offered for a minimum of two (2)

  hours per day, seven (7) days a week, weather permitting. Prisoners shall

  have access to water during exercise periods, or be permitted to bring water

  with them. When weather does not permit outdoor exercise, “block out”

  time shall be offered as an alternative.

        l)     Prisoners confined in the CCU shall be permitted to shower

  and shave daily.

        m)     Re-socialization Assistance.

                     (i)    For prisoners on the active mental-health roster

                            (i.e., those assigned to the C Roster or D Roster),

                            psychology staff and treatment teams shall

                            ensure that each prisoner’s individualized

                            recovery plan includes elements designed to aid

                            the individual’s re-socialization and transition

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                           from a solitary-confinement setting to a general-

                           population setting. For any such prisoner whose

                           participation in out-of-cell opportunities falls

                           below twenty-five (25) hours in two (2) weeks in

                           any rolling four-week period, that prisoner’s

                           treatment team will engage with the prisoner in

                           a confidential setting in order to encourage the

                           prisoner to engage in more out-of-cell activities

                           and to create a written action plan for achieving

                           that result.

                    (ii)   For prisoners not on the active mental-health

                           roster (i.e., those assigned to the A Roster or B

                           Roster), if any such prisoner’s participation in

                           out-of-cell opportunities falls below twenty-five

                           (25) hours in two (2) weeks in any rolling four-

                           week period, the staff member responsible for

                           tracking the prisoner’s out-of-cell time will

                           initiate a referral of the prisoner to the

                           appropriate psychological staff, who then will be

                           responsible for ascertaining the reason for the

                           non-participation in out-of-cell activities,

                           including through engagement with the prisoner

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                            in a confidential setting and, if appropriate,

                            development of an individualized, written

                            recovery plan for the prisoner that is designed to

                            increase the prisoner’s participation to out-of-

                            cell activities.

          n)   No less frequently than every ninety (90) days, the Licensed

  Psychologist Manager shall conduct a written programming audit of all

  group    programs    (including    organized   educational    or   vocational

  programming and treatment or organized recreational programming) that

  have been offered in the CCU in the period since the most recent

  programming audit was completed (the “audit period”). This written audit

  shall include, at a minimum, (i) an analysis of the nature and quality of the

  programming offered during the audit period; and (ii) an assessment of

  whether the programming offered during the audit period adequately

  addresses the needs of CCU Prisoners, including, in particular, their need

  for meaningful social interaction. The written audit shall be provided

  promptly to Plaintiffs’ counsel.

          o)   Prisoners confined in the CCU shall have access to educational

  programming, and shall be made aware of educational opportunities

  available at their institution. Such programming shall include both out-of-

  cell and in-cell options for Adult Basic Education, General Equivalency



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  Diploma courses, and individual or self-study programs. All educational

  programming shall be provided at no cost to the prisoner.

        p)     Prisoners confined in the CCU shall have access to congregate

  religious activities. On a weekly basis, each faith representative will visit the

  CCU for the purpose of providing a congregate religious activity.

  Congregate religious activities and worship shall occur during prescribed

  “block out” or dayroom times. Religious audiotapes and reading materials

  shall also be available.

        q)     Prisoners confined in the CCU shall have access to legal

  materials and a law library, including:

                      (i)     Each housing unit in which Capital Case Prisoners

                              are housed shall contain a law library that gives

                              prisoners direct and personal access to a legal

                              database of caselaw, statutes, and legal treatises

                              (such as Westlaw or Lexis-Nexis);

                      (ii)    Each law library shall provide adequate lighting,

                              seating for no fewer than two (2) people, desk

                              space adequate for a work area, and shelving that

                              is secure;

                      (iii)   Each CCU Prisoner shall be given written

                              instructions containing a current list of materials

                              available in the law library, the procedures to

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                           request use of the law library, and the hours the

                           law library is available. A typewriter, computer, or

                           word processor shall be kept in each law library for

                           CCU Prisoners to use; if a computer or word

                           processor is used, the associated printer shall

                           likewise be located in the law library;

                    (iv)   The law library shall be open and available to CCU

                           Prisoners during daily out-of-cell time for a

                           minimum of six (6) hours per day, seven (7) days a

                           week;

                    (v)    The Officer-in-Charge of the CCU shall schedule

                           use of the law library;

                    (vi)   A CCU Prisoner may request two-hour blocks of

                           time to work in the law library. If no other prisoner

                           is scheduled to use the law library after the two-

                           hour block of time, the prisoner shall be permitted

                           to continue using the law library until such time as

                           another prisoner is scheduled to use the library;

                    (vii) Two (2) or more Phase I CCU Prisoners may work

                           together in the law library provided the prisoners

                           agree to use the library together;



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                    (viii) A CCU Prisoner may request to be put on an “on

                           call” list to use the law library if no one is scheduled

                           to use it during the daily out-of- cell time.

                    (ix)   A logbook shall be maintained recording prisoner

                           use of the law library, including each prisoner’s

                           name and number, date of use, length of time used

                           and whether the prisoner worked with another

                           CCU Prisoner;

                    (x)    At least once a week, or more often if necessary, the

                           facility   law   librarian/designee     shall   deliver

                           requested legal materials from the facility’s general

                           population law library and pick up requests for

                           legal materials from the CCU;

                    (xi)   The facility librarian shall be responsible for

                           ensuring that all legal materials required by policy

                           to be maintained in the capital case law library are

                           available. If any materials are destroyed or go

                           missing, the librarian shall be immediately notified

                           by unit staff, or alternatively can be notified by a

                           DC-135 prisoner request to staff member form,

                           and will initiate the replacement process. A record

                           of the inventory shall be maintained;

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                      (xii) If a CCU Prisoner does not have representation

                           and is illiterate or non- English speaking, he/she

                           may be permitted, with the approval of the Facility

                           Manager/designee, to exchange legal information

                           with another CCU Prisoner. Prisoners assisting

                           one another with legal work shall be permitted to

                           exchange legal materials directly.

                      (xiii) A CCU Prisoner shall be permitted to exchange

                           legal materials from his or her cell with legal

                           materials being held in storage at least once every

                           thirty (30) days. The Unit Management Team shall

                           authorize more frequent exchanges based upon

                           demonstrated need.

         r)     Prisoners confined in the CCU shall have access to the same

  non-legal reading materials as the prisoners in each institution’s standard

  general population units. CCU Prisoners shall be permitted to retain

  reading materials in accordance with the same policies governing the

  retention of reading materials for the standard general population units in

  each institution.

         s)     Prisoners confined in the CCU shall be able to purchase

  sleeping masks from the commissary and shall be permitted to wear them

  in their cells.

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              t)    Frosted cell windows in SCI-Phoenix shall be replaced with

       transparent glass or other transparent material.

              u)    CCU exercise yards shall be configured as set forth in Exhibits

       3 and 4 attached hereto.

              v)    Because the CCU will no longer be a Level 5 unit, a CCU

       Prisoner shall not be required to change cells every ninety (90) days unless

       there is a finding of elevated escape risk for that prisoner.

              w)    Because the CCU will no longer be a Level 5 unit, cells on the

       CCU shall not be constantly illuminated during nighttime hours.

B.     CCU Prisoner Discipline

       1.     Prisoners confined in the CCU shall be subject to the same disciplinary

rules and procedures as prisoners housed in standard general population units.

       2.     A CCU Prisoner who is seriously mentally ill shall be subject to the

same disciplinary rules and procedures as seriously mentally ill prisoners housed

in standard general population units and shall be subject to disciplinary custody

sanctions to be served in the Restricted Housing Unit or Diversionary Treatment

Unit, if clinically indicated.

       3.     At the expiration of the sanction term, the prisoner shall be returned

to the CCU.

C.     Mental Health Care of CCU Prisoners

       1.     Mental health care, including psychiatric care, of prisoners confined

in the CCU shall be rendered in accordance with 13.8.1, Access to Mental Health

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Care, the frequency and acuity of which shall be determined by the prisoner’s

roster status.

       2.    Any prisoner confined in the CCU whom staff notices to be exhibiting

signs of mental decompensation shall immediately be referred for emergency

mental health treatment, a suicide indicator checklist screening, and the

implementation of an Individualized Treatment Plan, if medically indicated.

       3.    Prisoners confined in the CCU shall have access to all DOC mental

health and health care units (including those at other DOC facilities), if their

treatment needs require such housing. Those units include, but are not limited to,

Psychiatric Observation Cells, Medical Observation Cells, Mental Health Unit,

Special Assessment Unit, Special Observation Unit, Secure Residential Treatment

Unit, Behavior Management Unit, and institutional infirmary cells.

D.     Physical and Mental Baseline Evaluations

       1.    Within six (6) months of the Effective Date of this Agreement, the

Department shall arrange for all prisoners confined in the CCU to receive a

physical and mental health evaluation for purposes of establishing baselines.

       2.    The evaluations shall be made by independent and licensed

physicians, not employed by the DOC or its health care contractor, who shall

conduct the aforementioned evaluations at the facility. The proposed physicians

should have correctional experience, which may include the monitoring of

correctional systems. The parties must agree on the physicians who shall conduct

the aforementioned evaluations at the facility. No more than six (6) physicians

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shall be retained at any one time for purposes of completing the evaluation. Any

dispute over the proposed physicians may be submitted to the court for resolution.

Should a physician need to terminate his or her affiliation with this project for any

reason, the process set forth above shall be used for selecting a replacement.

      3.       The medical evaluation shall include tests routinely conducted

during a yearly medical check-up, with considerations made for age, pre-existing

conditions, and readily apparent conditions.

      4.       The mental health evaluation shall include an assessment by the

appointed physicians to determine the accuracy and appropriateness of the

prisoner’s current mental health diagnosis, roster status and psychotropic

medication regimen. Both parties shall have an opportunity to review and, if the

parties are unable to agree on a resolution, raise with the court, any concerns

regarding either the evaluation of a particular prisoner or a particular physician’s

evaluations.

      5.       The mental health evaluations shall also include an inquiry by the

appointed physicians into and assessment of the impact of long-term restrictive

housing on each prisoner. Plaintiffs’ expert shall develop a proposed assessment

that will then be shared with Defendants’ counsel and expert(s) for their review

and comment. If the parties agree on the contents of the assessment, it shall be

adopted and performed by the physicians retained to perform the required mental

health evaluations. If the parties are unable to agree on the contents of the

assessments, they shall submit the assessment proposed by Plaintiffs’ expert, along

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with Defendants’ objections and proposed modifications, to the Court for

resolution. The purpose of this assessment is to assist the Defendants in developing

appropriate individualized plans for re-integration and re-socialization of CCU

Prisoners into a general population setting, as well as to identify patterns that

require adjustments to policies and protocols in order to promote mental health

and prosocial interaction.

       6.     The evaluations, including any modifications that result from any

dispute between the parties regarding the prisoner’s initial evaluation shall

become part of the prisoner’s institutional medical record, to be referred to for all

follow-up treatment.

       7.     Nothing in this section shall be read as requiring a CCU Prisoner to

undergo a physical or mental health examination should that prisoner wish to

decline such examination(s); nor shall any such refusal by a CCU Prisoner preclude

that CCU Prisoner from subsequently consenting to the performance of such

examination(s).

E.     Phased Contact Visitation

       1.    Within thirty (30) days after the Effective Date of this Agreement,

Defendants shall allow prisoners confined in the CCU to have contact visits with

their attorney(s) and spiritual advisor(s), unless an individualized determination

is made by the Superintendent that contact visits for a particular CCU Prisoner

present a serious security threat.



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      2.     Within sixty (60) days after the Effective Date of this Agreement,

Defendants shall allow each CCU Prisoner to have at least one (1) contact visit per

month with individuals who have been approved for the prisoner’s visitor list,

unless an individualized determination is made by the Superintendent that contact

visits for a particular CCU Prisoner present a serious security threat. Individuals

listed on a prisoner’s visitor list are subject to the same screening and security

measures as are individuals on the visitor lists of non-CCU Prisoners. Defendants

shall not limit a person’s eligibility for inclusion on a CCU Prisoner’s visitor list

based on the lack of a familial or legal relationship between the CCU Prisoner and

the person seeking inclusion on that prisoner’s visitor list. The visits provided for

in this paragraph shall be in addition to the legal or religious contact visits provided

for in Section V(E)(1).

      3.     Within one hundred and eighty (180) days after the Effective Date of

this Agreement, Defendants shall allow all visits of CCU Prisoners to be contact

visits, unless an individualized determination is made by the Superintendent that

contact visits for a particular CCU Prisoner present a serious security threat or

temporary institutional needs dictate that all visits, regardless of prisoner

classification or housing, must be non-contact.

      4.     All non-contact visit orders made pursuant to paragraphs 1-3 above

shall be reconsidered by the Superintendent every three (3) months and the

reasons for continuing such an order beyond three (3) months shall be

documented.

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       5.    All visits shall be not less than one (1) hour in duration.

       6.    If during the life of this Agreement DOC documents multiple serious

security breaches that lead DOC to conclude that this policy of allowing contact

visits to CCU Prisoners needs to be re-evaluated, the DOC may initiate a review of

this sub-section. If DOC seeks such a reconsideration, it shall in the first instance

discuss proposed changes to contact visitation practices with Plaintiffs’ counsel.

If the parties cannot agree on proposed changes, the matter will be presented to

the court for resolution.

F.     Phased Integration into the General Population

       1.    CCU Prisoners whose convictions or capital sentences are modified by

the court, either through direct appeal, Post-Conviction Relief filing, or habeas

petition shall be re-integrated into the standard general population of the

Department of Corrections. The re-integration shall include re-classification of the

prisoner and transfer to a temporary general population unit, where the prisoner

will be assigned dedicated security and treatment staff to ameliorate any re-

integration or re-socialization issues that may arise. The temporary unit shall

include all privileges associated with standard general population, but will reflect

a smaller population. While housed in the temporary unit, the prisoner shall still

be subject to all disciplinary procedures imposed upon standard general

population prisoners for any infraction of institution rules. After the prisoner has

spent an appropriate amount of time in the temporary unit, the prisoner shall be

transferred to his permanent institution and housing unit as dictated by the re-

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classification process and based upon his individualized security level, medical and

mental health needs, and all other factors contemplated by the classification

process. In the event that the Commonwealth of Pennsylvania seeks appellate

review of the decision modifying the prisoner’s conviction or sentence, re-

classification and any modifications to the prisoner’s housing or conditions of

confinement will not occur until the resolution of the appeal. The Parties agree,

however, that the provisions of the foregoing sentence shall be deemed revised to

conform to the decision of the U.S. Court of Appeals for the Third Circuit in Ernest

Porter v. Pennsylvania Department of Corrections, et al., No. 18-3505, or any

other case before that court which resolves this issue prior to the release of a

decision in Porter.

      2.    The Department commits to continually and constantly re-evaluate

the CCUs. These evaluations will consider the efficacy of operating two separate

CCUs, and specifically consider security needs, CCU Prisoner population

decreases, costs, and other logistical concerns associated with the operation of

those units. If and when the CCU Prisoner population decreases to a level at which

the operation of two separate CCUs becomes impracticable, the Department may

elect to consolidate the CCUs. Similarly, if and when the CCU Prisoner population

significantly decreases to a level such that the security benefits of operating a

separate CCU are no longer realized or are outweighed by the operational

requirements of such a system, the Department may elect to employ individualized



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determinations of those remaining CCU Prisoners to integrate them into non-CCU

units that meet their various security and treatment needs.

       3.    In the event that, prior to the reclassification provided for in Section

V(F)(1) above: (a) a final judgment is issued in which imposition of the death

penalty is held unconstitutional in the Commonwealth of Pennsylvania, and that

final judgment retroactively declares that all death-sentenced prisoners be re-

sentenced to a life sentence or some other appropriate sentence, or directs the trial

courts to resentence all death-sentenced prisoners to a life sentence or some other

appropriate sentence; or (b) imposition of the death penalty is otherwise declared

unlawful in the Commonwealth of Pennsylvania and that declaration is applied

retroactively to all currently death-sentenced prisoners, Defendants shall, within

thirty (30) days of the effective date of that determination, re-classify each CCU

Prisoner under the Pennsylvania Additive Classification Tool and transition that

prisoner into a housing setting commensurate with his or her needs, behavior and

risk assessment under the same guidelines as prisoners who are serving a life

sentence.

                VI.   IMPLEMENTATION OF AGREEMENT

A.     Defendants shall, in consultation with Plaintiffs, draft a written

implementation plan specifying time and manner in which each substantive

provision of this Agreement shall be implemented. In no event, however, shall

Defendants’ implementation plan provide for a period of implementation that

extends more than one hundred eighty days (180) from the Effective Date.

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B.     Defendants may, for good cause, modify their implementation plan,

provided, however that (a) Defendants provide Plaintiffs with at least fourteen (14)

days’ advance notice of any proposed change and the facts that justify the proposed

change; and (b) absent Plaintiffs’ express written agreement, no such modification

may extend the implementation period beyond the one hundred eighty (180) day

deadline included in Section VI(A), supra.

C.     If Plaintiffs believe that good cause to modify the implementation plan is

lacking or that Defendants are in substantial noncompliance with the terms of the

implementation plan, Plaintiffs may, after providing Defendants with 14 days’

written notice, submit the dispute to the Court for resolution.

D.     Should any provision of Defendants’ implementation plan conflict with a

provision of this Agreement, the provisions of this Agreement shall control.

                     VII. MONITORING OF AGREEMENT

A.     Commencement of Monitoring

             The Parties agree that monitoring shall commence on the Effective

Date and shall remain in effect until the Agreement is terminated as set forth in

Section IX, infra.

B.     Technical Compliance Consultant Selection, Authority and Autonomy

       1.    The Parties have jointly selected Mr. Rick Raemisch to serve as the

initial Technical Compliance Consultant (“TCC”) to assess and report to the Parties

and the Court on the DOC’s implementation of the terms of this Agreement.




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      2.     Once selected, the TCC shall operate independently of the Parties’

control.

      3.     The TCC will serve until the Agreement is terminated as set forth in

Section IX, infra.

      4.     The TCC may contract or consult with other persons or entities

(collectively, “Technical Compliance Team” or “TC Team”) to assist in the

evaluation of compliance.

      5.     If a selected TCC is unable or unwilling to serve or continue serving as

the TCC, the Parties will confer within forty-five (45) days of the notice of the TCC’s

inability or unwillingness to serve to jointly select a successor. If the Parties are

unable to agree upon the selection of a new TCC, each Party will submit two (2)

names along with resumes or curriculum vitae and cost proposals to the Court,

which will select a replacement.

      6.     The TCC may be terminated at any time by agreement of the Parties.

The Parties will confer within fifteen (15) days of termination to jointly select a new

TCC. If the Parties are unable to agree upon the selection of a new TCC, each Party

will submit two (2) names along with resumes or curriculum vitae and cost

proposals to the Court, which will select a replacement.

      7.     After notice to the other Party, a Party may unilaterally seek to

terminate the TCC for good cause by filing an appropriate motion with the Court.

In the event the Court decides that good cause for termination has been



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established, a new TCC will be selected via the procedure set forth in Paragraph 5,

supra.

       8.    The TC Team is permitted to engage in ex parte communications with

either Party, either Party’s counsel, and the Court.

C.     Technical Compliance Consultant Access

       1.      The TC Team will have full and complete access to the CCUs, and all

other areas of the facilities to which CCU prisoners have access, for the purpose of

assessing compliance with the terms of this Agreement.

       2.      The TC Team will have access to all prisoner security/classification

records; prisoner medical and mental health records; logs of out-of-cell

participation; applicable policies; and other documents necessary and relevant to

ensure compliance with the Agreement.

       3.      The TC Team will be permitted to conduct confidential

interviews with all personnel who work with CCU Prisoners or whose work

otherwise affects the implementation of the provisions of this Agreement.

       4.      The TC Team will be permitted to conduct confidential interviews

with CCU Prisoners. However, CCU Prisoners are not required to speak with the

TC Team and such refusal on the part of a CCU prisoner shall not be construed as

a refusal to cooperate on the part of the Plaintiffs.

       5.      Defendants will encourage all employees and contract staff to

fully cooperate with the TCC.



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D.     Technical Compliance Consultant Onsite Visits and Reporting

       1.      The TC Team will be permitted to conduct up to four (4) visits

per calendar year, each consisting of up to five (5) eight-hour days of onsite

compliance assessments, during the term of this Agreement. All onsite visits

will take place on specific dates and times mutually agreed upon by the

Parties. If the Parties are unable to agree on dates and times, the TC Team

may visit upon giving no less than ten (10) days’ notice to the Parties.

       2.      Within thirty (30) days of the Commencement Date, the TC Team

will conduct an orientation site visit of both CCUs. Each orientation site visit

may take up to three (3) eight-hour days.

       3.      The TC Team will deliver to the Parties and the Court an initial

“Compliance Report” within ninety (90) days of the Commencement Date, and

then no less frequently than every six (6) months thereafter. The TCC’s initial

Compliance Report will provide a detailed report of the conditions at the time of

the visit, and inform the Parties what information the TCC will require

Defendants to routinely report and with what frequency as the assessment

proceeds.

       4.      Defendants shall provide to the TC Team information reasonably

related to the terms and subject matter of this Agreement. Defendants shall

provide requested information to the TC Team and to Plaintiffs within fifteen

(15) days of the request, with the exception of data or documents requested in

conjunction with a site visit, which Defendants shall provide at least seven (7)

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days prior to the site visit. Should any dispute arise regarding the TC Team’s

access to the CCUs or to documents or information, either Party or the TC Team

may bring that dispute to the Court for resolution; the Parties and the TC Team

shall have an opportunity to present to the Court their views on the dispute.

      5.       The TCC shall provide a draft Compliance Report to the Parties

for comment at least thirty (30) days prior to its official release to the Parties

and the Court. The Parties shall provide comments, if any, to the TCC within

fifteen (15) days of receipt of the draft. The TCC shall consider the responses of

the Parties and make appropriate changes, if any, before delivering to the

Parties and the Court the final Compliance Report for that reporting period.

      6.       The TCC’s Compliance Reports shall describe the steps taken by

Defendants to implement this Agreement and evaluate the extent to which

Defendants have complied with each substantive provision of the Agreement.

Each TCC Compliance Report:

             a)       Shall evaluate the status of compliance for each provision

      of the Agreement using the following standards: (1) Substantial

      Compliance; (2) Partial Compliance; and (3) Non-compliance. The TCC

      will review a sufficient number of pertinent documents and interview a

      sufficient number of staff and prisoners to accurately assess current

      conditions. The TC Team may also communicate with ex-prisoners,

      family members, and community members to assist the TCC’s

      assessment of current conditions;

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             b)      Shall describe the steps taken to analyze conditions and

       assess compliance, including documents reviewed and individuals

       interviewed, and the factual basis for each of the TCC’s findings; and

             c)      for each of the provisions in the Agreement the TCC shall

       outline recommended actions for at least the next six (6) months that

       will assist Defendants in achieving/maintaining compliance with the

       particular provision.

       7.      In any proceeding seeking termination of the Agreement

pursuant to Section IX, infra, the TCC’s evaluations of DOC’s compliance status

(Substantial Compliance, Partial Compliance, or Non-compliance) shall be

deemed presumptively correct but may be disputed by one or both of the

Parties. In such proceeding the TCC’s evaluations of DOC’s compliance status

shall not be overturned unless clearly erroneous.

       8.      Nothing in this section shall prohibit the TCC from issuing

interim reports to the Parties and the Court should she or he deem it necessary.

E.     Prohibition Against Retaliation

             Defendants shall not retaliate against any person because that

person has provided information or assistance related to this Agreement to the

TC Team, the Plaintiffs, or the Plaintiffs’ counsel.

F.     Confidentiality

             All information obtained by the TC Team will be maintained in a

confidential manner. Defendants shall not assert any privilege with respect to

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monitoring of this Agreement by the TC Team. Within seven (7) days of receipt,

the TC Team will distribute to Plaintiffs’ counsel all documents, forms,

assessments, and reports submitted by Defendants unless Defendants have

already distributed such items to Plaintiffs’ counsel. The Parties and the TC

Team will treat all personally identifiable information obtained pursuant to this

Agreement as confidential.

G.     Technical Compliance Consultant Cost and Budget

       1.      The cost of the TCC’s fees and expenses shall be borne by

Defendants pursuant to a reasonable budget to be agreed upon by and between

Defendants and the TCC.

       2.      Defendants shall provide the TCC with a budget sufficient to carry

out the responsibilities described in this Agreement.

       3.      The TCC shall pay for the services of any person or entity employed

or otherwise retained by the TCC to assist with fulfilling the duties required by

this Agreement out of his/her approved budget.

       4.      Any dispute regarding payment of the TCC’s fees or expenses may

be presented to the Court for resolution.

H.     Access to Facilities, Documents and Personnel by Plaintiffs’ Counsel

       1.    Plaintiffs’ counsel, agents, and experts shall have reasonable access to

the CCUs of SCI-Greene, SCI-Phoenix, and SCI-Muncy for purposes of touring and

inspecting the operations of the CCUs. Plaintiffs’ counsel shall be permitted to

observe daily and routine operations of the CCUs, including out-of-cell

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programming, congregate meals, yard and exercise time, and all other non-

emergency events occurring regularly during the time of the tour. Plaintiffs shall

provide notice of no less than ten (10) days of their intention to inspect the CCUs.

        2.      Plaintiffs’ counsel may request relevant documents from Defendants,

which        documents    shall   include,    but   not   be   limited    to   prisoner

security/classification records; prisoner medical and mental health records; logs

of out-of-cell participation; applicable policies; and other documents necessary

and relevant to ensure compliance with the Agreement. Defendants shall provide

the requested documents within fifteen (15) days of receiving Plaintiffs’ counsel’s

request, unless the volume or complexity of the request, or other intervening

factors, requires more time for production, provided that such additional time may

not exceed fifteen (15) days absent the consent of Plaintiffs’ counsel. Plaintiffs’

counsel may disclose to their agents and experts any such documents received

from Defendants.

        3.      Plaintiffs’ counsel, agents, and experts will continue to have the right

to conduct confidential interviews with CCU Prisoners and with Defendants’ staff

and contractors. DOC counsel will be permitted to be present at all such staff

interviews.

        4.      If Defendants refuse a request for access to facilities, documents, or

personnel submitted by Plaintiffs’ counsel, the Parties may submit their dispute to

the Court to resolve whether the request is reasonably calculated to aid in assessing

DOC’s compliance with the Agreement.

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              VIII. MODIFICATION; DISPUTE RESOLUTION

A.     The Parties may jointly agree to a modification of this Agreement by a

written amendment to the Agreement, signed by both Parties.

B.     If Plaintiffs have a reasonable basis to believe that Defendants are in

substantial noncompliance with one or more provisions of this Agreement,

Plaintiffs will notify Defendants in writing of the specific compliance issue(s). This

notice will identify, with particularity, the basis of the claim that Defendants are

not in substantial compliance and the specific provision(s) of this Agreement that

are implicated.

C.     Within thirty (30) days of receipt of the notification, Defendants shall

provide a good-faith written response to the Plaintiffs’ notification with a full

factual explanation as to why Defendants believe they are in substantial

compliance with the specified provision(s), or an explanation of Defendants’ plans

to achieve full compliance with the specified provision(s).

D.     If the Parties are unable to resolve the dispute within forty-five (45) days,

the Plaintiffs may seek intervention from the Court by filing a motion for

enforcement of the provision(s) identified through the aforementioned notice of

substantial noncompliance.

           IX.    TERMINATION OF AGREEMENT; DISMISSAL

A.     Subject to the exceptions set forth in paragraphs (B)-(D), infra, this

Agreement shall remain in force for a period of three (3) years from the

Commencement Date.

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B.     Notwithstanding the provisions of paragraph (A), supra, if Defendants

maintain substantial compliance with all material provisions of this Agreement for

a period of twenty-four (24) consecutive months following the Commencement

Date, either Defendants or Plaintiffs, or the Parties jointly, may file a motion with

the Court seeking termination of this Agreement.

C.     If the Court determines that Defendants have been in substantial

noncompliance with one or more material terms of this Agreement at any point

during the second or third year of the term provided for in paragraph (A), supra,

the term of this Agreement shall be deemed extended by an additional one (1) year

beyond the expiration date set forth in paragraph (A), supra.

D.     If at the end of the extended term provided for by paragraph (C), supra, or

at the end of any further extension authorized by this paragraph, Plaintiffs have

reason to believe that Defendants are in substantial noncompliance with one or

more material terms of this Agreement, they may petition the Court to extend the

term of this Agreement by an additional one (1) year. This Agreement may not be

terminated while any petition for its extension is pending with the Court.

E.     The parties understand and agree that the Court will maintain jurisdiction

of this civil action throughout the duration of the Agreement to enforce the

provisions of the Agreement and that the Plaintiffs may seek to enforce the

Agreement, pursuant to Section VII, supra. The parties also agree that, upon

termination of the Agreement, they will sign and submit a joint stipulation of



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dismissal with prejudice pursuant to F. R. Civ. P. 41(a), thereby ending the Court’s

jurisdiction over this case.

                                   X.     NOTICE

All notices required under this Agreement will be sent overnight mail or

overnight courier to the following people:

       If to the Plaintiffs:

              Amy Fettig, Esq.
              ACLU National Prison Project
              915 15th St. N.W., 7th Floor
              Washington, DC 20005

       If to the Defendants:

              Timothy A. Holmes, Esq.
              Acting Chief Counsel
              Department of Corrections
              Office of Chief Counsel
              1920 Technology Parkway
              Mechanicsburg, PA 17050

                     XI.       MISCELLANEOUS PROVISIONS

A.     Any headings or subheadings used herein are for reference purposes only

and do not affect the substantive provisions of the Agreement.

B.     Based upon the entire record, the parties stipulate, and jointly request that

the Court find, that this Agreement satisfies the requirements of 18 U.S.C. §

3626(a)(1)(A) in that it is narrowly drawn, extends no further than necessary to

correct the violation of the Federal right, and is the least intrusive means necessary

to correct the violation of the Federal right of the Plaintiffs.



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C.     To allow time for the remedial measures set forth in this Agreement to be

fully implemented, the Parties shall not move to terminate this Agreement or to

decertify the class for a period of four (4) years from the date of its approval by the

Court, except that either party may move at any time to terminate this Agreement

pursuant to Section VIII(B) based upon a claim of substantial compliance.

D.     Neither this Agreement nor any policies or procedures referenced herein,

shall define any state or federal constitutional rights.

                    XII. ATTORNEYS’ FEES AND COSTS

A.     The Department will pay costs and reasonable attorneys’ fees, in an amount

to be determined by the Court, in full and complete satisfaction of any and all

Plaintiffs’ claims for attorneys’ fees and costs up to the Effective Date of the

Agreement. The payment shall be made by check and delivered to Witold J.

Walczak, ACLU of Pennsylvania.

B.     Plaintiffs agree not to seek further fees and costs with respect to work

incurred prior to Effective Date.

C.     DOC shall pay reasonable fees and costs to the Plaintiffs’ attorneys, and their

experts, for time spent in the monitoring phase of the litigation. Counsel and

experts shall submit invoices for their time and costs on a semi-annual basis. Any

disputes over fees and costs shall be adjudicated by the Court.

D.     If Plaintiffs are the prevailing party in any proceedings to enforce the terms

of this Agreement, Plaintiffs shall be entitled to receive reasonable attorneys’ fees



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and costs, including expert costs, incurred in connection with those proceedings.

Any disputes over fees and costs shall be adjudicated by the Court.




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               For Plaintiffs                       For Defendants

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                                                         POLICY STATEMENT
                                        Commonwealth of Pennsylvania • Department of Corrections




Policy Subject:                                                          Policy Number:

                     Access to Mental Health Care                                      13.8.1

Date of Issue:                        Authority:                         Effective Date:
           March 2, 2015                     Signature on File                    March 9, 2015
                                              John E. Wetzel
  I.      AUTHORITY

          The Authority of the Secretary of Corrections to direct the operation of the Department of
          Corrections is established by Sections 201, 206, 506, and 901-B of the Administrative
          Code of 1929, 71 P.S. §§61, 66, 186, and 310-1, Act of April 9, 1929, P.L. 177, No. 175, as
          amended.

  II.     APPLICABILITY

          This policy is applicable to all facilities operated under the jurisdiction of, or conducting
          business with the Department of Corrections, Department employees, volunteers, contract
          personnel, visitors and inmates.

  III.    POLICY

          It is the policy of the Department to deliver a broad continuum of mental health services to
          ensure that regardless of how major or minor the emotional disturbance, services are
          available to every inmate in the Department.1

          A. screening for mental health problems on intake as approved by the mental health
             professional (refer to Section 2 - Delivery of Mental Health Services of this
             procedures manual);

          B. outpatient services for the detection, diagnosis, and treatment of mental illness (refer to
             Section 2 of this procedures manual);




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        C. crisis intervention and the management of acute psychiatric episodes (refer to Section
           2 and Section 3 - Delivery of Psychiatric Services of this procedures manual);

        D. stabilization of the mentally ill and the prevention of psychiatric deterioration in the
           correctional setting (refer to Section 2, Section 3, and Section 5 - Residential
           Treatment Units [RTUs] of this procedures manual);

        E. preventive treatment (refer to Section 1 and Section 2 of this procedures manual);

        F. provision for referral and admission to a licensed mental health unit/facility (refer to
           Section 2 and Section 4 - Temporary Transfer of Mental Health Commitments of
           this procedures manual);

        G. facilities for an offender whose psychiatric needs exceed the treatment capability of the
           facility (refer to Section 5, Section 7 – Special Assessment Unit, Section 10 –
           Intermediate Care Unit of this procedures manual); and

        H. procedures for obtaining and documenting informed consent (refer to Section 2 of this
           procedures manual).

IV.     PROCEDURES

        A. The systematic method of delivering psychological services to every inmate includes,
           but is not limited to, the below listed vehicles.

             1. Intellectual, Academic and Mental Health Assessment

                The Department provides psychological and psychiatric assessments of levels of
                intellectual functioning, academic achievement, personality dynamics, and mental
                health needs to identify each inmate’s strengths and weaknesses in order to make
                prescriptive program and treatment recommendations to help him/her develop the
                necessary skills for successful adjustment while incarcerated and upon release in
                the community.2

             2. Individual Treatment and Program Planning

                The mental health treatment service needs of each inmate are addressed via his/her
                DC-43, Integrated Correctional Plan (ICP), which is developed with participation of
                the inmate and is updated annually. In addition, the special needs of an inmate with
                mental illness are further addressed via the Individual Recovery Plan (IRP).

             3. Mental Health Tracking

                An inmate with mental health problems is tracked on the automated Mental
                Health/Intellectual Disability (MH/ID) tracking system to ensure continuity of care.



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             4. Outpatient Treatment Services

                Outpatient psychiatric and psychological services are provided upon an inmate’s
                initial intake and as needed throughout his/her period of incarceration at every
                facility. Individual and group treatment services are developed to assist an inmate in
                emotional growth and/or prevention/management of mental illness, managing the
                behaviors that lead led to his/her offense(s), coping with the prison environment and
                external stressors, and preparing for reentry into the community as law abiding
                citizens.

             5. Inpatient Treatment Mental Health Services

                Inpatient psychiatric services are provided in Mental Health Units (MHUs) and the
                Forensic Treatment Center (FTC) at Waymart. The MHUs are small inpatient units
                that are licensed by the Department of Human Service’s Office of Mental Health and
                Substance Abuse Services (OMHSAS) and provide short-term treatment. The FTC
                is a psychiatric hospital licensed by OMHSAS, which provides long-term inpatient
                psychiatric services.

             6. Special Needs Housing

                Specialized housing is available for inmates that require that level of care in a
                Special Needs Unit (SNU), Intermediate Care Unit (ICU), Special Assessment Unit
                (SAU), Residential Treatment Unit (RTU), Secure Residential Treatment Unit
                (SRTU), Behavior Management Unit (BMU), Diversionary Treatment Unit (DTU) and
                Special Observation Unit (SOU). SNUs are non-licensed living areas or blocks
                located where an inmate with special mental health or medical needs can receive
                additional or more intense treatment services, support and/or protection. The ICU at
                Waymart is a 93-bed living unit that accepts an inmate who has a history of serious
                mental illness, psychiatric hospitalizations, and SNU/RTU placements. The ICU
                prepares an inmate for living in a SNU/RTU. The SAU provides additional diagnostic
                and assessment services for an inmate with mental illness who displays serious
                behavioral problems. The SOU is an observation and assessment unit for newly
                committed inmates who are experiencing stress and are suspected of having mental
                health problems.3

             7. Community Based Residential and Treatment Services

                CCCs for a mentally ill inmate are located in Philadelphia and Allegheny Counties to
                help these men and women transition back into community life.

        B. All pertinent procedures for staff are contained in the procedures manual for this policy.




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V.    SUSPENSION DURING AN EMERGENCY

      In an emergency or extended disruption of normal facility operation, the
      Secretary/designee may suspend any provision or section of this policy for a specific
      period.

VI.   RIGHTS UNDER THIS POLICY

      This policy does not create rights in any person nor should it be interpreted or applied in
      such a manner as to abridge the rights of any individual. This policy should be interpreted
      to have sufficient flexibility to be consistent with law and to permit the accomplishment of
      the purpose(s) of the policies of the Department of Corrections.

VII. RELEASE OF INFORMATION AND DISSEMINATION OF POLICY

      A. Release of Information

         1. Policy

            This policy document is public information and may be released upon request.

         2. Confidential Procedures (if applicable)

            Confidential procedures for this document, if any, are not public information and
            may not be released in its entirety or in part, without the approval of the Secretary of
            Corrections/designee. Confidential procedures may be released to any Department
            of Corrections employee on an as needed basis.

      B. Distribution of Policy

         1. General Distribution

            The Department of Corrections’ policy and procedures shall be distributed to the
            members of the Central Office Executive Staff, all Facility Managers, and
            Community Corrections Regional Directors on a routine basis. Distribution of
            confidential procedures to other individuals and/or agencies is subject to the
            approval of the Secretary of Corrections/designee.

         2. Distribution to Staff

            It is the responsibility of those individuals receiving policies and procedures, as
            indicated in the “General Distribution” section above, to ensure that each employee
            expected or required to perform the necessary procedures/duties is issued a copy of
            the policy and procedures either in hard copy or via email, whichever is most
            appropriate.
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VIII. SUPERSEDED POLICY AND CROSS REFERENCE

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        1. Department Policy

           13.8.1, Access to Health Care, issued May 24, 2004 by Secretary Jeffrey A. Beard,
           Ph.D.

        2. Facility Policy and Procedures

           This document supersedes all facility policy and procedures on this subject.

     B. Cross Reference(s)

        1. Administrative Manuals

           a. DC-ADM 003, Release of Information;

           b. DC-ADM 201, Use of Force;

           c. DC-ADM 801, Inmate Discipline;

           d. DC-ADM 802, Administrative Custody Procedures;

           e. 2.1.1, Planning, Research, Statistics and Grants;

           f. 4.1.1, Human Resources and Labor Relations;

           g. 5.1.1, Staff Development and Training;

           h. 6.3.1, Facility Security;

           i.   6.5.1, Administration of Security Level 5 Housing Units;

           j.   6.5.8, Capital Case Administration;

           k. 6.7.2, Special Response Teams;

           l.   11.2.1, Reception and Classification;

           m. 11.4.1, Case Summary;

           n. 11.5.1, Records Office Operations;

           o. 13.1.1, Management and Administration of Health Care; and

           p. 13.2.1, Access to Health Care
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        2. ACA Standards

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              4-4351, 4-4366, 4-4368, 4-4369, 4-4371, 4-4372, 4-4373, 4-4374, 4-4399, 4-
              4401, 4-4404, 4-4411, 4-4416

           b. Adult Community Residential Services: None

           c. Correctional Training Academies: None

        3. PREA Standards

           None
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                                                    PROCEDURES MANUAL
                                     Commonwealth of Pennsylvania • Department of Corrections




Policy Subject:                                                       Policy Number:

                  Access to Mental Health Care                                      13.8.1

Date of Issue:                     Authority:                         Effective Date:
         March 2, 2015                    Signature on File                    March 9, 2015
                                            John E. Wetzel



Release of Information:

Policy Document: The Department of Corrections policy document on this subject is public
information and may be released to members of the public, staff, legislative, judicial, law enforcement,
and correctional agencies and/or inmates upon request.

Procedure Manual: The procedures manual for this policy may be released in its entirety or in part,
with the prior approval of the Secretary/designee. Unless prior approval of the Secretary/designee
has been obtained, this manual or parts thereof may be released to any Department employee on an
as needed basis only.




Procedure Development: All required procedures will be developed in compliance with the
standards set forth in this manual and/or the governing policy. These standards may be exceeded,
but in all cases these standards are the minimum standard that must be achieved. In the event a
deviation or variance is required, a written request is to be submitted to the appropriate Regional
Deputy Secretary and the Standards and Practices Unit for review and approval prior to
implementation. Absent such approval, all procedures set forth in this manual must be met.
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A. Diagnostic Center

      1. Every inmate entering the Department shall be given a psychological evaluation
         conducted at the Diagnostic and Classification Center (DCC).1 The DCC shall administer
         basic psychometric testing and interview the inmate upon reception. DCC will provide
         further assessments only for an inmate who evidences a need for more comprehensive
         evaluation, e.g., those inmates scoring 70 or below on the intellectual screening to rule
         out intellectual deficiency.

      2. The purpose of this psychometric testing is to provide screening in the areas of
         intelligence, achievement, personality, and emotional stability. Whenever screening
         indicates a need for more in-depth study, such shall be provided. Basic Assessment will
         be conducted with results and recommendations made available to appropriate staff for
         the purpose of initial classification in accordance with Department policy 11.2.1,
         “Reception and Classification.”

          a. Personality Assessment Inventory (PAI)

               (1)    The psychology staff will administer the PAI.

               (2)    PAIs will be administered in an appropriate testing environment without
                      interruption.

               (3)    A recorded version of the PAI will be administered to an illiterate inmate.

               (4)    The complete protocol and computer narrative will be reviewed the same day it
                      is administered and forwarded to the receiving facility along with a completed
                      clinical interview form and the Pennsylvania Clinical Risk Assessment
                      (PCRA). If the initial review reveals clinically indicated concerns, an interview will
                      be conducted the next working day.

          b. DCC-PCRA: the psychology staff will complete the DCC-PCRA form and forward it to
             the receiving facility.

          c. Revised Beta III

               (1)    The psychology staff will administer the Beta III to every inmate.

               (2)    An inmate who scores 70 or below will receive additional assessment at the
                      DCC to “rule out intellectual disability (ID)/development disabilities (DD).” ID/DD
                      assessment will include intelligence testing on the Wechsler Abbreviated Scale
                      of Intelligence (WASI), the Wechsler Adult Intelligence Scale, adaptive behavior


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                      testing measured by the Vineland and research to determine whether the
                      condition occurred before the age of 18.

          d. More Comprehensive Assessments

               (1)    Mental Illness: An inmate with evidence of mental illness will receive a more
                      comprehensive assessment. The Psychiatrist/Certified Registered Nurse
                      Practitioner – Psychiatric Services (PCRNP) will conduct a comprehensive
                      psychiatric evaluation in each case of serious mental illness (SMI) and the
                      Psychiatric Review Team (PRT) will generate an Individual Recovery Plan
                      (IRP) within 20 days of determination that the inmate has an SMI. This IRP will
                      accompany the inmate to the receiving facility. The inmate shall be offered an
                      opportunity to attend this meeting and the IRP will include goals in the inmate’s
                      own words, the PRT’s unique plan for the inmate addressing his/her goals
                      including sentinel behaviors, e.g. self-injurious behavior (SIB) and interventions
                      utilized to achieve goals. Inmates that are not identified immediately at reception,
                      but demonstrate evidence of mental illness, will be referred to psychiatry via the
                      DC-97, Mental Health Referral Form (Attachment 1-A) for non-emergent
                      referrals and this process must occur within 14 days of the referral.

               (2)    Other cases: Assessment procedures will not be modified for juveniles
                      adjudicated as adults, for capital cases, or for boot camp cases.

B. Facility Functions and Procedures

      1. The functions of the psychology staff are to provide diagnostic, therapeutic, mental
         health, and consultative services. The facility psychology staff shall provide group and
         individual therapy, as well as supervision and training in counseling and treatment for
         other staff members who need or request it, serve as a resource and consultant for
         administrative, custodial and other staff, participate in the development of individualized
         treatment programs, and participate in various staffings. Social workers may perform
         duties consistent with their licensure. The facility psychology staff shall evaluate mental
         health cases for potential commitment to the mental health system, arrange and
         coordinate mental health commitment hearings, and provide appropriate testimony at
         such hearings, as required. Psychology staff may serve as the point of contact with the
         courts and mental health facilities and make appropriate arrangements for the transfer to
         and/or return of an inmate from a mental health facility. The psychology staff are
         responsible for advising the Regional Licensed Psychology Manager (RLPM) and the
         Central Office Chief of Psychology, of any problems, difficulties, or unusual occurrences
         involving mental health cases and/or the transfer procedures, and for keeping records of
         every transfer to/from the mental health system. The psychology staff also provides
         follow-up treatment and monitors every mental health case returned to the facility from
         one of the Mental Health Units (MHU), State Correctional Institution (SCI) Waymart
         Forensic Treatment Center (FTC), or a Department of Human Services facility.2


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      2. Designated psychology staff members in the facility shall function as Mental Health
         Coordinators (MHC), coordinating treatment services for particular inmates, arranging
         mental health commitments, tracing of mental health commitments, and crisis
         intervention until needed services can be coordinated.3

          a. Diagnostic Evaluations for Program Planning

               Counselors and other staff members make frequent referrals to the psychology
               department for the following reasons:

               (1)    consideration for Community Work Program (CWP);

               (2)    consideration for outside clearance;

               (3)    difficulty adjusting to program and/or facility life;

               (4)    frequent or serious disciplinary infractions;

               (5)    offer of an in-person, out-of-cell assessment, of every active mental health roster
                      inmate involved in the disciplinary process prior to appearing before the decision
                      maker;

               (6)    potential mental health commitments;

               (7)    guilty but mentally ill (GBMI) commitments, including an annual psychological
                      evaluation in PCRA format;

               (8)    parole evaluations in PCRA format for active mental health roster inmates (C
                      and D Roster) or those convicted of violent offenses; and/or

              (9)     psychosocial evaluations for use by local and Central Office Gender Review
                      Committee (GRC).

          b. Procedures

               The counselor or other staff member shall refer cases to the psychology department
               for comprehensive evaluation and treatment on the DC-97. Ideally, such referrals
               shall be discussed with the referring party. If this is not possible, it may be necessary
               to proceed on the basis of the written referral only. It may also be necessary for the
               psychology staff to train other facility staff on the appropriate way to ask referral
               questions and what types of cases are appropriate for referral. Once the psychology
               staff receives the referral, he/she shall review the request and determine what
               procedures are necessary to answer the referral question. A diagnostic interview may
               be sufficient or additional testing may be necessary. The appropriate procedures
               necessary to reach responsible conclusions shall be determined by the nature of the

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               request, the information available in the record, and the psychology staff’s own skills.
               Generally, some additional testing shall be necessary, employing objective and/or
               projective techniques. The psychology staff performing the evaluation shall select the
               instruments used, except where policy may specify instruments to be used. The
               evaluation will be completed within 14 days of the referral request date and include
               the following:4

               (1)    review of mental health screening and appraisal data to include requesting
                      community treatment data with the DC-108, Authorization for Release of
                      Information and the DC-484, Mental Health Informed Consent Form signed;

               (2)    direct observations of behavior;

               (3)    collection and review of additional data from individual diagnostic interviews and
                      tests assessing personality, intellect, and coping abilities;

               (4)    compilation of the individual’s mental health history; and

               (5)    development of an IRP/management plan with appropriate referral to include
                      transfer to a mental health facility for inmates whose psychiatric needs exceed
                      the treatment capability of the facility.

          c. Specialized Evaluations

               (1)    Psychology staff frequently are called upon to perform specialized evaluations.
                      These cases, which may be sent to outside agencies, require sophisticated and
                      intensive evaluations. General guidelines for the completion of these reports are
                      presented in the Guidelines for Department Psychological Evaluations for
                      Parole and Other Assessments Required by Policy or Referral (Attachment
                      1-B).

               (2)    The psychologist shall employ appropriate interview procedures and test
                      instruments, which may include objective measures (Minnesota Multiphasic
                      Personality Inventory [MMPI-2], PAI, and PCRA), mental status exam, the
                      Montreal Cognitive Assessment and one or more projective tests, to provide the
                      required information. When possible, these evaluations shall be performed by a
                      licensed psychologist (LP). Only under exceptional circumstances shall the
                      following reports be prepared by anyone at a level less than the Psychological
                      Services Specialist (PSS). Reports prepared by unlicensed staff must be
                      reviewed and signed by a LP. The examiner and/or the reviewer’s PA license
                      number and signature shall be affixed to the report.

                      (a)   Commutation



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                            When possible, commutation evaluations shall be performed by a LP. If any
                            commutation reports are prepared by other than a LP, the reports must be
                            reviewed and signed by a LP, preferably the Licensed Psychologist
                            Manager (LPM). The reviewing psychologist shall include his/her license
                            number and signature. For further information on the preparation of
                            commutation psychological evaluations, please refer to Procedure for
                            Preparation of Commutation Psychological Evaluations (Attachment
                            1-C) and to Department policy 11.4.1, “Case Summary.”

                      (b)   Court Requests for Special Evaluations

                            Occasionally the committing court requests a special psychological
                            evaluation on an individual. These requests shall be honored as rapidly as
                            possible.

                      (c)   Parole Board Requests

                            Psychological evaluations for parole shall include a clinical interview, review
                            of the relevant files, and administration of the PCRA and Psychological
                            Evaluation for Parole (Attachment 1-D). The PCRA is a list of risk factors
                            that research suggests are related to re-offending. Specific directions for
                            administration of the PCRA and format for the PCRA are presented in
                            Psychological Evaluation and Clinical Risk Assessment (Attachment
                            1-E).

                      (d)   Evaluations for Mental Health Facility Placement

                            The psychologist may be requested to perform an evaluation on an inmate
                            being considered for transfer to a Department MHU or state hospital. The
                            psychologist shall choose the appropriate clinical instruments that provide
                            the information needed to assist in such determinations.

                      (e)   Evaluations Requested by Facility Psychiatrist/PCRNP

                            The facility Psychiatrist/PCRNP may occasionally refer an inmate for
                            psychological evaluation. When possible, the psychologist shall discuss the
                            referral with the Psychiatrist/PCRNP prior to performing the evaluation. It is
                            also helpful if the findings of the psychological evaluation can be discussed
                            with the referring Psychiatrist/PCRNP.

                      (f)   Psychological Evaluation of Inmates Confined in a Security Level 5 (SL5)
                            Unit

                            These units include the Restricted Housing Unit (RHU), Special
                            Management Unit (SMU), and Security Threat Group Management Unit
                            (STGMU).

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                        i.    Psychology staff shall visit the SL5 Unit five times per week.5 All
                              psychology staff entering the unit shall sign in/out on the DC-702, SL5
                              Unit Log Book.

                       ii.    Psychology and/or nursing staff will assess every inmate placed in a
                              SL5 Unit for suicide potential and review the DC-510, Suicide
                              Indicators Checklist (Attachment 1-F). These procedures are
                              outlined in Section 2 of this procedures manual.

                       iii.   All assessments and written reports of SL5 inmates shall address
                              suitability for continued placement in the SL5 and assess mental
                              deterioration or lack thereof. It is expected that all assessments will
                              also include risk for suicidality and include consideration of protective
                              factors.

                       iv.    The treating Psychiatrist/PCRNP shall continue to see inmates on the
                              C Roster out-of-cell a minimum of every 90 days or more frequently
                              based on their clinical discretion, and shall make recommendations to
                              the Program Review Committee (PRC) regarding inmates in
                              Administrative Custody (AC)/Disciplinary Custody (DC) status who
                              may be released.

                       v.     Psychology staff shall personally interview, assess, and make a written
                              report utilizing the DC-560, Mental Health Contact Note (Attachment
                              1-G) to be filed in the medical record for all A and B Roster status
                              inmates monthly. A brief Inmate Cumulative Adjustment Record
                              (ICAR) entry indicating the contact occurred shall also be made.
                              Psychology staff shall make recommendations to the PRC regarding
                              inmates in AC/DC status who may be released.

                       vi.    Psychology staff shall personally interview, assess, and make written
                              reports utilizing the DC-560 to be filed in the medical record for every
                              C Roster inmate monthly. A brief ICAR entry indicating the contact
                              occurred will also be made. Psychology staff shall make
                              recommendations to the PRC regarding inmates in AC/DC status who
                              may be released. C Roster inmates shall be offered out-of-cell
                              contacts with psychology/Psychiatry/PCRNP on the unit at least every
                              90 days. The refusal and/or acceptance of these offers shall be
                              documented in the ICAR and on the DC-560 in the medical record.
                              These out-of-cell contacts are contingent on behavioral compliance
                              from the inmate. If behavior is demonstrated that would contraindicate
                              out-of-cell contact, this shall be documented in the DC-17X,
                              Adjustment Record for SL5 Inmates, ICAR, and the DC-560. The
                              inmate shall be seen at the next available visit if behavior permits.


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                      vii.    Psychology staff shall assess an inmate referred and/or approved for
                              Secure Residential Treatment Unit (SRTU) or Behavioral Management
                              Unit (BMU) programming (whether on transfer waiting list or time-out)
                              at least every seven days and shall make recommendations to the
                              PRC regarding the inmate. These assessments shall be documented
                              as brief ICAR entries with a more detailed DC-560 filed in the medical
                              record. SRTU and BMU approved inmates shall be offered out-of-cell
                              contacts with Psychiatry/PCRNP at least every 30 days on the unit and
                              shall be reviewed by PRT on a monthly basis.

                      viii.   An inmate continuously confined in a SL5 Unit for a period of one year
                              shall be given, at a minimum, an annual psychological, and if
                              indicated, psychiatric examination during his/her confinement
                              addressing the suitability of continued confinement in the SL5 Unit,
                              regardless of current Mental Health (MH)/ID roster status. It is the
                              responsibility of the psychology staff to see that such an evaluation is
                              conducted. These shall be documented as brief ICAR entries with a
                              PCRA evaluation filed in the medical record. If the inmate refuses to
                              submit to assessment, procedures in accordance with Department
                              policy 13.1.1, “Management & Administration of Health Care,” shall
                              be followed.

                       ix.    Psychology staff shall make recommendations to the PRC regarding
                              inmates in long-term AC/DC status who may be released or possibly
                              transferred to a SRTU, BMU, SMU, STGMU, or other specialized
                              program.

                        x.    Unless a specific need exists that the inmate must be removed from
                              the unit, the inmate shall be visited in the unit. This is to restrict traffic
                              and to avoid possible problems during escort or time out of the unit.
                              The Shift Commander/designee must approve any move from the unit
                              for a psychological/psychiatric visit or interview.

                       xi.    The LPM/MHC will provide the Commissioned Officer-in-Charge of the
                              SL5 Unit weekly with a listing of all inmates on the active mental health
                              roster and those considered to display risk factors for suicidal
                              behavior. This list is to be utilized by security staff to assist in their day-
                              to-day interactions and decision-making processes. These postings
                              should stay in the secured control bubble.

                      xii.    The Unit Manager/Officer-in-Charge is responsible for coordinating
                              visit/interview dates and times to ensure that security is provided
                              during meetings between inmates and psychology/psychiatric staff.
                              Any requests by mental health staff to interview an inmate out-of-cell
                              shall be accommodated by security staff if possible, as they are to
                              have unrestricted full access to inmates. At the same time, mental
                              health staff should be sensitive to the activities on the unit and
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                                        whenever possible, attempt to coordinate in advance times that are
                                        convenient for security for out-of-cell contacts. For example, psychiatry
                                        and psychology are permitted to interview the same inmate together.

                             xiii.      The RHU C & D Roster Inmate Review Tracking Sheet
                                        (Attachment 1-H) is to be utilized for tracking contacts with C Roster
                                        inmates housed in the RHU. It is intended to serve as a mechanism to
                                        ensure compliance with the required psychology/psychiatry contacts in
                                        accordance with B.2.c.(2)(f)i.-xiii. above. The Facility Manager shall
                                        designate a staff member to maintain the RHU C & D Roster Inmate
                                        Review Tracking Sheet. The tracking sheet shall be forwarded to the
                                        Facility Manager on a weekly basis and shall be reviewed during the
                                        quarterly inspection process.

                      (g)          Psychological Evaluation of Inmates Housed in Specialized Housing Units

                                   These units include Diversionary Treatment Units (DTUs), SRTUs, and
                                   BMUs.

                             i.       Psychological services provided in the DTUs will be in accordance with
                                      Section 14 of this procedures manual.

                            ii.       Psychological services provided in the SRTUs will be in accordance with
                                      Section 10 of this procedures manual.

                            iii.      Psychological services provided in the BMUs will be in accordance with
                                      Section 12 of this procedures manual.

                      (h)          Gender Dysphoria Evaluation

                                   This psychological evaluation should follow the below guidelines.

                                   A psychological evaluation will be scheduled and completed by a LPM or
                                   LP, if available, and recommendations made for treatment or referral (i.e.,
                                   this psychological evaluation shall not be completed by a psychological
                                   services associate [PSA]). A PSS may complete this report if an LPM or LP
                                   is not available. The purpose of this assessment is to gather a complete
                                   psychosocial and developmental history of this individual and to determine
                                   how this individual has adjusted to prison since arriving in the Department.
                                   This psychological assessment will include an assessment of the
                                   individual’s need for psychological and psychiatric treatment. The
                                   psychology staff member completing this assessment will attempt to
                                   retrieve any existing prior psychological and psychiatric treatment records
                                   utilizing the DC-108, Authorization for Release of Information. This
                                   report will be utilized by Central Office Administrative GRC to make
                                   informed recommendations. Further information on the Central Office GRC

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                             can be found in Department policy DC-ADM 008, “Prison Rape
                             Elimination Act (PREA).”

                             These records may include treatment prior to incarceration (i.e., including
                             hormone therapy, completed or currently in process, surgical interventions,
                             and ongoing counseling).

                             This comprehensive evaluation will specifically review and address:

                       i.       the individual’s developmental history (especially with reference to
                                gender identity), history and development of gender dysphoric feelings,
                                history of sexual behavior, mental health history, the impact of stigma
                                associated with gender nonconformity on one’s mental health history,
                                and family and social support currently available and anticipated upon
                                release, if applicable. Additionally, consideration of diagnoses and
                                treatment of comorbid conditions, such as anxiety disorders, depressive
                                disorders, and autism spectrum disorder should be addressed, as well.
                                If during this assessment, information is gleaned to suggest comorbid
                                conditions not previously identified, appropriate referrals to psychiatry
                                should be made utilizing the DC-97;

                      ii.       institutional adjustment, including a review of sexual behavior in prison
                                (e.g., misconducts for sexual behavior), current relations with inmate
                                peers, level of identification with subpopulations in the correctional
                                environment, any current or anticipated safety concerns in the
                                institution, history of sexual victimization in prison (and otherwise,
                                anywhere else);

                      iii.      a thorough mental status examination; this examination should focus on
                                the dysphoria currently being reported by the individual. Areas to
                                address should include, but not be limited to, specifics about why the
                                individual is currently dysphoric; what accommodations might improve
                                the individual’s dysphoria and why/how; what accommodations have
                                improved the individual’s dysphoria (if applicable) and why/how; what
                                current circumstances in the individual’s life are causing or leading to
                                the dysphoria; what is the individual’s current level of dysphoria; and

                      iv.       completion of the PAI, with specific attention given to relevant
                                subscales.

                                Once completed, a licensed professional must sign off this psychological
                                evaluation, if a licensed professional does not conduct the evaluation. In
                                addition to the above information, we would like to have “any and all
                                available psychological and psychiatric records” from the referring SCI.
                                This would include the entire psychology and psychiatry portions of the
                                medical file.

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               (3)    The LPM shall ensure that a psychology staff member assesses each newly
                      received inmate transferred from another correctional or mental health system
                      (county prison, the Federal Bureau of Prisons, parole supervision, or a State
                      Hospital). The assessment shall be completed within 14 days of admission to the
                      facility. If there is documented evidence of a mental health evaluation within the
                      previous 90 days, a new evaluation is not required, unless the inmate is placed
                      on the MH/ID roster, or the inmate had demonstrated some behavior or made
                      some statement which makes correctional staff believe that further assessment
                      is needed. Mental health assessments shall include, but are not limited to:6

                      (a)   review of available historical records of inpatient and outpatient psychiatric
                            treatment;

                      (b)   review of history of treatment with psychotropic medication;

                      (c)   review of history of psychotherapy, psycho-educational groups, and classes
                            or support groups;

                      (d)   review of history of drug and alcohol treatment;

                      (e)   review of education history;

                      (f)   review of sexual abuse-victimization and predatory behavior;

                      (g)   assessment of current mental status and condition;

                      (h)   assessment of current suicide potential and person specific circumstances
                            that increase suicide potential;

                      (i)   assessment of violence potential and person-specific potential
                            circumstances that increase violence potential;

                      (j)   assessment of drug and alcohol abuse and addiction;

                      (k)   use of additional assessment tools as indicated;

                      (l)   referral to treatment as indicated; and

                      (m) development and implementation of a treatment plan, including
                          recommendations concerning housing, job assignment, and program
                          participation.

                       NOTE: Psychology staff can collect much of this information through
                       participating in the Initial Reception Committee (IRC) and completing the DC-


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                      560 and DC-560A, Initial Reception Mental Health Questionnaire
                      (Attachment 1-I).

          d. Reporting and Distribution of Specialized Psychological and Psychiatric Reports and
             Evaluations

               Every evaluation performed in the permanent facility shall be maintained as noted
               below.

               (1)    Psychological Evaluations – The original psychological evaluation shall be filed
                      in the Integrated Medical Record, Psychiatric/Mental section, and copies of the
                      report placed in the DC-15, Inmate Record. A notation of the fact that an
                      evaluation was performed, the purpose, and date shall be entered in the ICAR.
                      Additionally, the psychology staff responsible for producing the report may
                      maintain a copy of the evaluation in his/her own records. In addition to Health
                      Care and Corrections Counseling staff, access to these evaluations shall be
                      permitted to the Treatment Team, which is generally composed of Unit
                      Management staff (including Unit Manager, Drug and Alcohol Treatment
                      Specialists [DATS], and Corrections Officers), Centralized Services staff,
                      Corrections Classification and Program Manager (CCPM), Deputy
                      Superintendents, and the Facility Manager. Each report shall contain a
                      statement that the contents are confidential and that the document shall not be
                      reviewed by, nor the information shared with, persons who are not members of
                      the Treatment Team.

               (2)    Psychology contacts with inmates shall be recorded employing the Subjective
                      Objective Assessment Plan (SOAP) note format and with date and time on the
                      DC-560. A notation of the fact that a contact occurred and the date shall be
                      entered in the ICAR. It is the responsibility of the treating psychology staff
                      member to ensure that continuity of care is provided and that important
                      information is forwarded to the counselor. Information may be summarized on
                      the ICAR, or copies of the DC-560.

               (3)    Psychiatric Reports

                      (a)   Notes of specialized, ongoing mental health treatment, including infirmary
                            visits by psychiatry staff, shall be entered in the medical record using the
                            DC-472 and maintained in the Integrated Medical Record,
                            Psychiatric/Mental Health section. Assessment shall be written in SOAP
                            format.

                      (b)   Each report shall contain a statement that the contents are confidential and
                            that the document shall not be reviewed by, nor the information shared with,
                            persons who are not members of the Treatment Team.



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          e. Psychology Response to PREA Events

               (1)    Psychology staff are responsible for interviewing all reported victims and alleged
                      inmate perpetrators of sexual abuse within 24 hours of the allegation being
                      made. If the report is made during the timeframe when psychology staff are not
                      on shift, such as a weekend or holiday, then this interview will take place the
                      next business day.

               (2)    If no mental health staff are on duty at the time a report of abuse is made,
                      security staff first responders shall take preliminary steps to protect the victim as
                      outlined in Department policy DC-ADM 008.

               (3)    Prior to conducting the interview, the psychology staff member will explain that, if
                      indicated for the inmate’s protection, information disclosed will be shared only on
                      a need-to-know basis with indicated staff (i.e., Security Office, PREA Compliance
                      Manager [PCM], Unit Manager, Counselor, Sexual Abuse Review Team,
                      Pennsylvania State Police [PSP], etc.). The psychology staff member will then
                      have the inmate sign a DC-484.

               (4)    The purpose of the interview is to evaluate and assess the current level of
                      cognitive, mental, and emotional functioning as well as to determine overall
                      inmate safety (the current risk of self-harm or harm to others or the fear of harm
                      by others). In addition, crisis intervention, education about expected reactions to
                      stressful events, and the normalization of worrisome thoughts and emotions are
                      provided. This interview and the report are neither conducted for the purposes of
                      an investigation nor for the purpose of documenting and illuminating the inmate’s
                      account of events and circumstances that allegedly took place as part of the
                      incident.

               (5)    This interview should be conducted in a private area to ensure confidentiality,
                      with no security staff present during the interview, unless there are documented
                      security concerns.

               (6)    If indicated, a referral to psychiatry for evaluation and possible treatment shall be
                      initiated.

               (7)    The facility shall provide alleged victims with mental health services consistent
                      with the community level of care.

               (8)    The results of this interview shall be documented on the DC-575, Post Sexual
                      Assault Interview in accordance with Department policy DC-ADM 008.

               (9)    Contacts with alleged victim and alleged perpetrator should continue after the
                      initial assessment monthly for at least 90 days and may occur more frequently
                      and last longer due to clinical judgment and inmate’s roster status.


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          f. Monthly Report

               The psychology staff shall keep an accurate record of the number of psychological
               evaluations (testing), number of psychological interviews for information gathering
               (other than testing), and any group testing sessions conducted. These records shall
               be submitted to the facility State Corrections Analysis Network (SCAN) Coordinator at
               the end of each month for inclusion in the facility’s monthly SCAN report.

          g. Mental Health Roster Status

               (1)    The mental health needs of an inmate shall be rated on a four-point nominal
                      scale system according to the following:

                      (a)   "A" Roster - inmate has no identified psychiatric/ID needs or history of
                            psychiatric treatment.

                      (b)   "B" Roster - inmate has identified history of psychiatric treatment, but no
                            current need for psychiatric treatment; inmate is placed on inactive MH/ID
                            roster.

                      (c)   "C" Roster - inmate is currently receiving psychiatric treatment, but is not
                            currently diagnosed with a SMI or functional impairment, and does not have
                            an ID or is not GBMI.

                      (d)   “D” Roster – inmate is currently diagnosed with a SMI, ID, credible
                            functional impairment, or is GBMI. The PRT shall generate an IRP for
                            him/her. An IRP for a newly incarcerated inmate shall be developed within
                            30 days of intake and updated every 120 days, or more frequently if
                            clinically indicated. The Treatment Team shall generate a new IRP
                            annually. The psychology staff shall coordinate with the education
                            department to ensure that any inmate with an ID who is 21 years of age or
                            younger receives an Individual Education Plan (IEP).

               (2)    The MHC (or other psychology staff member who enters data into the mainframe
                      system) is required to enter any mental health roster status change within one
                      working day of the change by the PRT.

          h. Reclassification Summary Psychological Report – Prior Commitment-Parole Violation
             Cases Classification Summaries for Parole Violators (PVs) must be completed as
             quickly as possible after the inmate returns to the permanent facility. The primary
             purpose is to identify special risk factors for violence against self or others in order to
             help the facility make critical decisions about housing and treatment. In addition,
             facility staff may desire information that would be useful in making employment
             decisions. In many cases, the psychology staff can gather sufficient data to complete
             the summary by conducting a clinical interview, administering a Mental Status Exam,
             and reviewing the inmate’s file.

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C. Treatment

     Each psychology staff member will engage in both individual and group therapy
     commensurate with his/her level of skill and training. Social workers will provide services
     consistent with their licenses. PSA personnel shall seek supervision from a LP or the facility
     Psychiatrist/PCRNP when conducting therapy, unless they are licensed and/or are able to
     document specialized supervised training and experience in therapy. Every unlicensed
     psychology staff member engaged in ongoing psychotherapy must arrange for supervision
     by a LP. This constraint does not apply to routine counseling, but rather to sustained in-
     depth, therapeutic endeavors. The psychologist shall, if qualified and if requested to do so,
     make himself/herself available to serve as a consultant and/or supervisor for Corrections
     Counselors who are engaged in counseling or leading groups.

     1. Procedures

          a. When establishing therapeutic programs, the psychology staff member should take
             into account facility routines and appropriate custodial needs. However, all therapeutic
             programs should be driven by inmate need and reflected on individual inmate IRPs.
             The psychology staff are free to use the standard therapeutic techniques of his/her
             choice, unless the Department mandates a particular type of treatment model.
             However, if he/she elects to use some highly unusual or radical therapeutic approach,
             such plans shall be discussed with his/her supervisor, RLPM, and the Central Office
             Chief of Psychology prior to implementation.

          b. Psychology staff members shall conduct or co-facilitate a variety of different types of
             treatment groups. These include, but are not limited to, sex offender treatment, mental
             health related treatment and support, and standardized program groups. Each
             psychology staff member shall conduct at least four hours of group treatment per
             week.

     2. Reporting of Therapeutic Contacts and Progress

          Each therapeutic contact and the date of the contact shall be recorded in the ICAR. A
          periodic, brief summary of progress in therapy shall be prepared and placed in the
          inmate’s medical file, psychology section. Periodic conferences and review of progress
          should be held with the inmate’s counselor. Contacts shall be recorded on the DC-560
          using the SOAP format and filed in the psychology section of the medical record.

     3. Monthly Reports on Treatment

          The DCC psychology staff shall maintain accurate records of the number of individual
          psychological interviews, the number of individual psychological evaluations (testing),
          and the number of individual psychological counseling sessions held each month. The
          number of inmates seen in each activity shall be recorded. In addition, every group
          testing session shall be recorded, including the number of inmates and the number of
          hours involved. Any group counseling session conducted by the psychology staff shall be
          recorded in a similar manner. The data collected shall be submitted at the end of each
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          month for inclusion in the Monthly SCAN Report in accordance with Department policy
          2.1.1, “Planning, Research, and Statistics.”

D. Procedure for Preparation of Commutation Psychological Evaluations

     The Board of Pardons is charged with making critical decisions on the basis of the
     information they receive. Refer to the Procedures for Preparation of Commutation
     Psychological Evaluations. The Format for Commutation Psychological Reports is outlined
     in the Format for Commutation Psychological Reports (Attachment 1-J).

E. Training, Consultation, and Peer Review

     1. The facility psychology staff shall conduct a variety of training, consultation, and other
        supportive services for other staff members in the facility. For example, the corrections
        school principal may coordinate a training during break week, conducted by psychology
        staff after discussing with the LPM/designee at the monthly Deputy Superintendent for
        Centralized Services (DSCS) department head meeting.

     2. Psychology staff members and/or other mental health staff members may be
        required to teach suicide prevention classes to contact staff members in each
        facility in accordance with Department policy 5.1.1, “Staff Development and
        Training.” The recommended delivery of this program is that it is team taught with
        security and treatment staff. It is acceptable to teach with just one instructor if the
        other is unavailable. This is not intended to mean that it is the sole responsibility
        of psychology/mental health staff to teach every suicide prevention class. Other
        treatment staff may co-teach with security staff based on the treatment staff
        member’s experience, interest in training, and the administration’s belief that they
        are capable of teaching. Examples of treatment staff include CCPMs, Unit
        Managers, counselors, DATS, nurses, etc. In addition, psychology staff are
        frequently asked to conduct training in mental health services and communication
        skills.

     3. Psychology staff members and other mental health staff may be requested to provide
        consultation in areas where they possess specialized information or expertise. For
        example, the psychology staff may consult with the Facility Manager regarding the impact
        of new programs upon the inmate population. During emergencies and extraordinary
        occurrences in the facility (riots, hostage takings, or work stoppages), the psychology
        staff may advise the crisis team. A mental health staff member who has received special
        training may coordinate the Critical Incident Stress Management (CISM) services in the
        facility and supervise the delivery of stress defusing and debriefings for any facility
        employee and/or inmate who has been exposed to traumatic events in accordance with
        Department policy 6.7.2, “Special Response Teams.”

     4. Psychology staff members are frequently asked to perform other professional duties in
        the facility that may not relate to the inmate population.


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          a. A LP reviews the personnel packages of Correctional Officer Trainee Candidates, and
             completes the Psychological Screening Report Form (Attachment 1-K) in
             accordance with the instructions found in the Role of Psychologist in Personnel
             Selection of Corrections Officer Trainees (Attachment 1-L).

          b. A LP is required to evaluate a correctional officer who has worked in a SL5 Unit for
             longer than 12 months to judge whether he/she is suited to continue working in these
             units in accordance with Department policy 6.5.1.

          c. Psychology staff members may assist other staff members and make referrals in
             accordance with Department policy 4.1.1, “Human Resources and Labor
             Relations.”

          d. During facility emergencies, psychology staff may be required to perform unusual
             non-professional duties. For example, during crises that involve “lock-downs,”
             psychology staff members will support food services in food preparation and delivery
             of food trays to the blocks, assist in cell searches, and other duties as assigned.

      5. Peer reviews for LPMs shall be completed as specified in Department policy 13.1.1, and
         may include the below listed types.

          a. Scheduled Peer Review – all LPMs shall have a scheduled peer review performed
             every two years. Scheduled peer reviews may be completed as part of the annual
             Psychology Office mental health services review.

          b. Exceptional Peer Review – may also be initiated in response to patient complaints or
             patient care issues identified by health service providers, the Psychology Office,
             Contracted Health Care Provider staff, or non-medical personnel including facility
             staff.7

F. Central Office Oversight, Quality Improvement, and Quality Assurance Activities

      1. Central Office Special Needs Psychiatric Review Team (COSNPRT)

          a. This interdisciplinary team meets monthly and is composed of all Regional Deputy
             Secretaries, Major of Security, Director of the Office of Population Management, Chief
             Data Analyst from Planning, Research, and Statistics, Chief of Psychiatry, Licensed
             Psychologist Director (LPD), and the Mental Health Program Manager from the
             Central Office Psychology Office.

          b. Topics for discussion are to centrally track and capture trends and reach back out to
             the field through action items and the distribution of a report.

               (1)    Review of waiting lists for specialized programs requiring referrals (Special
                      Assessment Unit [SAU], Intermediate Care Unit [ICU], BMU, SRTU, and SMU).

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               (2)    Trends in regard to facility referrals to include consideration of capacities.

               (3)    Use of force and restraint chair trends and totals by region and year-to-date.

               (4)    Review of DTU, MHU, SRTU, and BMU populations.

               (5)    Appropriate plans for SMI/ID in DTU for greater than 30 days.

               (6)    Review of suicides, serious attempts, and SIB for the month and year-to-date.

               (7)    Trending in regard to regions considering location, most frequent self-injurers,
                      etc.

               (8)    Review of MHU commitments.

               (9)    Review of cases due to sentinel events, difficult placements, or referral.

              (10) Distribution of COSNPRT packet to members, Facility Managers, Regional
                   LPMs, and the contract service provider for psychiatric services.

              (11) The Central Office Chief of Psychology will elevate to the Executive Deputy
                   Secretary issues that are significant or cannot be resolved.

     2. RLPM Oversight

          a. RLPMs provide clinical oversight and monitoring of their assigned facilities. They
             review referral packets and monitor trending in operations through visits and
             discussion with appropriate staff. Any issues of significance or those that cannot be
             resolved are elevated to the LPD at Central Office.

          b. At least once per quarter the RLPM will visit their assigned sites and complete a
             compliance report. These reports shall be submitted to the Secretary, Executive
             Deputy Secretary, respective Regional Deputy Secretary, and the Chief of Psychology
             at Central Office. The first report is due by April each year and will be due by the tenth
             day following the end of each quarter. Reports are due by April 10, July 10, October
             10, and January 10. The annual psychology operations audit is an additional visit,
             unless the annual audit is conducted the same day as a compliance report. These
             dates do not limit visits if, in the clinical opinion of the RLPM, they need to be on-site
             more frequently than this schedule.

          c. Quarterly reports will be submitted in a narrative format and cover all measurable
             areas of the Technical Compliance Consultant Matrix.




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A. Identifying Mental Health Needs of Inmates

     Good treatment begins with the appropriate identification of the needs of each inmate. Thus,
     early and appropriate identification of needs for mental health services is the foundation for
     providing appropriate treatment to these individuals.

     1. Automated Tracking System

          Tracking of an inmate with mental illness is accomplished via the Automated Mental
          Health/Intellectual Disability (MH/ID) Tracking System. This tracking system is a
          mechanism through which the Department seeks to ensure that an inmate with mental
          illness is identified and receives treatment, and that he/she receives continuity of care.
          The automated MH/ID tracking program is a system that ensures that mental health staff
          in the Department have access to the most up-to-date information available concerning
          an inmate. The tracking system is composed of the Active MH/ID Roster and Inactive
          MH/ID Roster.

          a. Distinctions between the Active and Inactive MH/ID Rosters

               (1)     The Active MH/ID Roster includes every inmate who is being tracked by the
                       Psychology Department; many of these individuals may be medically compliant
                       and psychiatrically stable.

               (2)     Some of these individuals may earlier have been diagnosed with a "Serious
                       Mental Illness (SMI)" ("A substantial disorder of thought or mood which
                       significantly impairs judgment, behavior, capacity to recognize reality, or cope
                       with the ordinary demands of life."), but may be in remission and/or displaying
                       adequate adjustment to facility life.

               (3)     The Inactive MH/ID Roster includes any inmate who has a history of mental
                       health treatment or was previously followed by the Psychiatric Review Team
                       (PRT) until the team determined that he/she no longer needed mental health
                       monitoring.

               (4)     The inmate’s status on the MH/ID Roster is communicated to other Department
                       staff by means of the Mental Health Roster in the following manner:

                       (a)   “A” Roster – inmate has no identified psychiatric/ID needs or history of
                             psychiatric treatment;

                       (b)   “B” Roster – inmate has identified history of psychiatric treatment (other
                             than SMI or ID history), but no current need for psychiatric treatment and
                             does not require follow-up/support from Psychology on a regular
                             basis. Inmate is placed on Inactive MH/ID Roster;

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                       (c)   “C” Roster – inmate is currently receiving psychological treatment, but
                             may or may not be receiving psychiatric (psychotropic medications)
                             treatment, and is not currently diagnosed with an SMI or functional
                             impairment and does not have an ID or is not Guilty But Mentally Ill (GBMI).
                             An Individual Recovery Plan (IRP) for a newly incarcerated C Roster
                             inmate shall be developed within 30 days of intake and updated annually,
                             or more frequently if clinically indicated; and

                       (d)   “D” Roster – inmate is currently diagnosed with an SMI, ID, credible
                             functional impairment, or is GBMI. The PRT shall generate an IRP for
                             him/her. An IRP for a newly incarcerated inmate shall be developed within
                             30 days of intake and updated every 120 days. The treatment team shall
                             generate a new IRP annually.1 The psychologist shall coordinate with the
                             education department to ensure that any inmate with ID who is 21 years of
                             age or younger receives an Individual Education Plan (IEP).

B. Definition of Serious Mental Illness

      1. Inmates determined by the PRT to have a current diagnosis or a recent significant
         history of any of the DSM5 diagnoses (using International Classification of Diseases
         [ICD] 10 codes and letter tags):

          a. Substance-Induced Psychotic Disorder (excluding intoxication and withdrawal)

               F10.159, Alcohol-Induced Psychotic Disorder, with mild use disorder,
               F10.259, Alcohol-Induced Psychotic Disorder, with moderate-severe use disorder,
               F10.959, Alcohol-Induced Psychotic Disorder, without use disorder

               Substance-Induced Psychotic Disorders employ the same specifiers (.159; .259;
               .959)
               With cannabis F12; sedative, hypnotic, anxiolytic F13; cocaine F14; amphetamine
               F15;
               other hallucinogen/ phencyclidine F16; inhalant F18;
               and other substance/unknown substance F19

          b. Schizophreniform Disorder           F20.81

          c. Schizophrenia                       F20.9

          d. Delusional Disorder                 F22a, Erotomanic type

               F22b, Grandiose type
               F22c, Jealous type
               F22d, Persecutory type
               F22e, Somatic type

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               F22f, Mixed type
               F22g, Unspecified type

          e. Brief Psychotic Disorder              F23

          f. Schizoaffective Disorder              F25.0, BIP type

               F25.1, DEP type

          g. Other Psychotic Disorders

               F06.0, Psychosis due med condition w/delusions
               F06.2, Psychosis due med condition w/hallucinations
               F28 Other specified schizophrenia spectrum and other Psychotic Disorder
               F29 Unspecified schizophrenia spectrum and other Psychotic Disorder

          h. Bipolar I and II

               F31.0, BIP I, current or most recent episode hypomanic
               F31.11, BIP I, current or most recent episode manic, mild
               F31.12, BIP I, current or most recent episode manic, moderate
               F31.13, BIP I, current or most recent episode manic, severe
               F31.2, BIP I, current or most recent episode manic, w/psychotic features
               F31.31, BIP I, current or most recent episode depressed, mild
               F31.32, BIP I, current or most recent episode depressed, moderate
               F31.4, BIP I, current or most recent episode depressed, severe
               F31.5, BIP I, current or most recent episode depressed, w/psychotic features
               F31.71, BIP I, current or most recent episode hypomanic, in partial remission
               F31.72, BIP I, current or most recent episode hypomanic, in full remission
               F31.73, BIP I, current or most recent episode manic, in partial remission
               F31.74, BIP I, current or most recent episode manic, in full remission
               F31.75, BIP I, current or most recent episode depressed, in partial remission
               F31.76, BIP I, current or most recent episode depressed, in full remission
               F31.81, BIP II disorder
               F31.9a, BIP I, current or most recent depressed, unspecified
               F31.9b, BIP I, current or most recent episode hypomanic, unspecified
               F31.9c, BIP I, current or most recent episode manic, unspecified
               F31.9d, BIP I, current most recent episode unspecified

          i.   Major Depressive Disorder

               F32.0,   MDD, single episode, mild
               F32.1,   MDD, single episode, moderate
               F32.2,   MDD, single episode, severe
               F32.3,   MDD, single episode, w/psychotic features
               F32.4,   MDD, single episode, in partial remission
               F32.5,   MDD, single episode, in full remission
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               F32.9a, MDD, single episode, unspecified
               F33.0, MDD, recurrent, mild
               F33.1, MDD, recurrent, moderate
               F33.2, MDD, recurrent, severe
               F33.3, MDD, recurrent, w/psychotic features
               F33.41, MDD, recurrent, in partial remission
               F33.42, MDD, recurrent, in full remission
               F33.9, MDD, recurrent, unspecified

               NOTE: For the purpose of this definition, the term “recent significant history” shall be
               defined as “currently in existence or within the preceding three months.”

     2. Inmates diagnosed by PRT with DSM5 disorders that are commonly characterized by
        breaks with reality, or perceptions of reality, that lead the individual to experience
        significant functional impairment involving acts of self-harm or other behaviors that have
        a seriously adverse effect on life or on mental or physical health.

     3. Inmates diagnosed by PRT with ID, a dementia, or other cognitive disorders that result in
        a significant impairment involving acts of self-harm or other behaviors that have seriously
        adverse effect on life or on mental or physical health.

     4. Any inmate sentenced GBMI.

C. Clinical Guidelines for Functional Impairment

     Factors for consideration when assessing significant functional impairment shall include the
     following:

     1. whether the inmate has engaged in self-harm which shall be defined as a “deliberate,
        intentional, direct injury of body tissue with or without suicidal intent.” Such acts include,
        but are not limited to the following behaviors: hanging, self-strangulation, asphyxiation,
        cutting, self-mutilation, ingestion of a foreign body, insertion of a foreign body, head
        banging, drug overdose, jumping, and biting themselves;

     2. the inmate has demonstrated significant difficulty in his or her ability to engage in
        activities of daily living, including eating, grooming and personal hygiene, maintenance of
        housing area, participation in recreation, and ambulation; and

     3. the inmate has demonstrated a pervasive pattern of dysfunctional or disruptive social
        interactions including withdrawal, bizarre or disruptive behavior.

D. Intellectual Disability (ID)

     Inmates scoring 70 or below on the BETA-III will be administered an individual IQ test
     (WASI-II or WAIS-IV) at the parent facility. If their WASI-II IQ is 70 or below then a full
     WAIS-IV will be administered. If this WAIS-IV comes out to 70 or below, a measurement of
     adaptive behavior including the following will be assessed:
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     1. conceptual skills – language and literacy; money, time and number concepts; and self-
        direction;

     2. social skills – interpersonal skills, social responsibility, self-esteem, gullibility, naiveté,
        social problem solving, the ability to follow rules/obey laws and to avoid being victimized;
        and

     3. practical skills – activities of daily living (personal care), occupational skills, healthcare,
        travel/transportation, schedules/routines, safety, use of money, and use of telephone.

          NOTE: An assessment to determine if the disability originated during the developmental
          period should be conducted to establish if the intellectual and adaptive deficits were
          present during childhood or adolescence. This assessment should include corroborative
          information obtained from complementary reliable and valid sources, which reflect
          functioning outside of the prison setting. Additional factors to take into account include
          the community environment typical of the individual’s peers and culture, linguistic
          diversity, cultural differences in the way people communicate, move, and behave.
          Assessments must also assume that limitations often coexist with strengths, and that a
          person’s level of life functioning will improve if appropriate personalized supports are
          provided over a sustained period.

          F70, Intellectual Disability (Intellectual Developmental Disorder) mild = 50/55-70
          F71, IDD, moderate                    =35/40-50/55
          F72, IDD, severe                      =20/25-35/40
          F73, IDD, profound                    =<20/25
          F74, IDD, severity unspecified

          a. Decision rules for placement of inmates on the Active and Inactive MH/ID Rosters

               An asterisk (*) identifies each criterion that requires consideration of placement upon
               the Active MH/ID Roster. An inmate meeting the non-asterisk criteria may not
               necessarily be placed on a roster; however, his/her case shall be reviewed.

               (1*) History of outpatient treatment or inpatient psychiatric hospitalization -
                    Hospitalization in the past year shall be an automatic MH/ID Roster addition;
                    treatment within the last five years shall be reviewed for possible roster addition.

               (2*) Receiving psychotropic medication - An inmate who receives or is prescribed
                    psychotropic medication shall be placed on the Active MH/ID Roster.

               (3*) History of serious suicide attempt within the last two years - Recent suicide
                    attempts shall trigger review of roster placement.

               (4*) An inmate who is on the Active MH/ID Roster and is non-compliant with
                    psychotropic medication for a period of seven days, has a history of violence,
                    and has a current pattern of facility infractions shall be reviewed by the PRT.

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                       The purpose of the PRT review should be to review the inmate’s IRP, consider
                       enrollment into a medication compliance group, etc.

          b. The PRT shall review the case of an inmate with SMI and/or who is housed on a
             Residential Treatment Unit (RTU) every 120 days or more frequently if clinically
             indicated. C Roster MH/ID cases shall be reviewed at least annually. The scheduling
             of the yearly review may coincide with the inmate’s annual unit review so that the Unit
             Management Team may be as involved as possible in the treatment.

          c. The PRT shall meet at least weekly, and the session shall be documented on the
             appropriate IRP (Initial – IRP [Attachment 2-A], Change of Status – IRP
             [Attachment 2-B], or Review – IRP [Attachment 2-C]). The IRP documentation
             must show clearly that the inmate was invited to attend PRT and that the unit team, to
             include Corrections Officers, were present or had input at the meetings, and were
             actively involved in development and/or review of the recovery plan. The IRP must
             also show that the inmate was involved in the development of the plan, and the
             inmate shall be offered the opportunity to sign the IRP. If the inmate opts not to sign
             the IRP, refusals shall be noted.

          d. In order to maintain confidentiality required by patient/client ethical standards and
             applicable laws, staff approved to make inquiry and maintain records shall be limited.
             Staff must obtain a User ID through Computer Services and security clearance
             through the Central Office, Psychology Office.

          e. The PRT must approve removal of an inmate from the Active MH/ID Roster. The
             rationale for the removal and the date shall be recorded in the psychiatric section of
             the Medical Record. An inmate removed from the Active Rosters shall automatically
             be placed on the Inactive MH/ID Roster and the change noted on the tracking
             system.

          f. Information which is available in the tracking system and is automatically included on
             the MH/ID Roster includes:

               (1)     name, Department number, offense, and dates of minimum and maximum
                       sentence;

               (2)     facility, custody level, block/cell location;

               (3)     history of problem areas including inpatient/outpatient hospitalization (Y/N),
                       GBMI (Y/N), “S” score (i.e. Roster status), and program codes (“Z” and “O”); and

               (4)     Beta IQ score or appropriate individual intelligence test score.

          g. Information which is not available in the system and must be entered by the mental
             health staff:

               (1)     ICD code;
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               (2)     World Health Organization Disability Assessment Schedule (WHODAS) score;
                       and

               (3)     suicide attempt history – means, dates, and severity of attempts.

     4. Reception Officer2

          The first point of contact with a new reception, whether it is in the Diagnostic and
          Classification Center (DCC) or in a permanent facility, is the receiving officer. Therefore,
          every receiving officer shall receive training in the recognition of the signs and symptoms
          of mental illness and ID. Each facility shall develop an appropriate system for the
          immediate referral of any new reception identified as potentially mentally ill, suicidal,
          intellectually disabled, etc., to the appropriate Nursing staff for close observation and
          further evaluation.

     5. Diagnostic and Classification Center3

          a. Observations or concerns about any inmate reporting or displaying mental health
             issues shall be relayed to appropriate treatment staff for evaluation and follow-up
             using the DC-97, Mental Health Referral Form (refer to Section 1 of this
             procedures manual), in non-urgent cases. Under supervision of the Licensed
             Psychology Manager (LPM), Psychology staff will interview the inmate as soon as
             possible after receipt of the referral, but no later than one week.4 This interview will
             be documented using a DC-560, Mental Health Contact Note. The LPM will
             evaluate the need for immediate psychiatric evaluation and/or Psychiatric
             Observation Cell (POC) placement. If the LPM/designee determines psychiatric
             evaluation is warranted but not an emergency, a DC-560 with his/her assessment
             and explanation as to the need for referral shall be forwarded to the psychiatry
             provider the same day. The inmate shall be scheduled to be seen by the psychiatry
             provider within two weeks5 of this referral from Psychology staff or sooner if clinically
             indicated. In urgent cases, a phone call shall be made to the Psychology Department
             (or the infirmary if after hours), or the inmate shall be escorted to the infirmary area.

          b. DCC Psychology staff shall be alert and search for indications of previous
             psychiatric/psychological treatment, current or prior suicidality, use of psychotropic
             medications, hospitalizations or outpatient treatment and/or evaluations, ID
             placements, or history of drug or alcohol abuse. Every effort shall be made to obtain
             prior records of hospitalizations, treatment programs, or specialized placements.

          c. Prior to transfer, when suicidality, assault potential, or other special treatment needs
             are identified during the classification process, appropriate notification via case
             conference shall be made by DCC Psychology staff either by email or phone call to

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               the receiving LPM/designee. A corresponding Inmate Cumulative Adjustment
               Record (ICAR) entry shall be made by DCC staff documenting the case conference
               as previous treatment recommendations, ICAR entries, and psychological reports are
               not sufficient means of communicating about unstable, potentially suicidal, or violent
               mental health transfers.

     6. Permanent Facilities6

          a. Receptions7

               Every permanent facility shall have procedures for reviewing the records and holding
               a personal interview with every new reception. In this review of records and interview,
               staff shall explore with the inmate the possible need for mental health services. When
               such needs are identified, every appropriate staff shall be alerted to these needs and
               appropriate referrals made for follow-up by treatment staff. Under supervision of the
               LPM, the initial record review and interview by Psychology staff shall take place as
               soon after reception as possible, but no later than one week. Every C and D Roster
               inmate shall be scheduled for PRT review within two weeks of arrival and a new IRP
               must be completed by the receiving facility PRT staff and placed in the medical file
               within four weeks of the inmate’s arrival.

          b. General Population

               Since any inmate may report or demonstrate mental health issues whether or not
               they are currently receiving mental health treatment, all contact staff must be trained
               and able to recognize signs of potential mental illness, suicidality, or elevated risk of
               violence. Observations or concerns about any inmate with such issues shall be
               relayed to the appropriate treatment staff for evaluation and follow-up using the DC-
               97 to Psychology. In urgent cases, a phone call shall be made to the Psychology
               Department (or the infirmary if after hours) or the inmate shall be escorted to the
               infirmary area. Under supervision of the LPM, Psychology staff will interview the
               inmate as soon as possible after receipt of the referral, but no later than one week.8
               This interview will be documented on a DC-560. The LPM will evaluate the need for
               immediate psychiatric evaluation and/or POC placement. If the LPM/designee
               determines psychiatric evaluation is warranted but not an emergency, a DC-560 with
               his/her assessment and explanation as to the need for referral shall be
               forwarded to psychiatry the same day. The inmate shall be scheduled to be seen by
               the psychiatry provider within two weeks of receipt of this referral from Psychology
               staff or sooner if clinically indicated.




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E. Processing

     Each facility shall provide mental health services needed by an inmate in its population.

     1. Mental Health Services

          a. Psychiatric Services – Each facility in the Department shall have psychiatric services
             available through contracted services.

               (1)     The treating psychiatrist/Certified Registered Nurse Practitioner-Psychiatric
                       Services (PCRNP) shall see the inmate who is on the C Roster and currently
                       being prescribed psychotropic medications by psychiatry provider at a
                       minimum of once every 120 days, and all D Roster inmates at a minimum of
                       once every 90 days. The psychiatrist/PCRNP is encouraged to see the inmate
                       more frequently if clinically indicated. However, frequency of contacts is driven
                       by clinician discretion, clinical presentation, and acuity of illness. Frequency of
                       psychiatry and psychology contacts shall be noted in the inmate’s IRP. For C
                       Roster patients, the psychiatry provider shall refer to PRT for roster
                       discussion, if and when the psychiatry provider initiates psychotropic
                       medications for an inmate, or discontinues all psychotropic medications
                       (inmates whose psychotropic medications are discontinued shall at least
                       have one scheduled follow up psychiatric appointment within two to four
                       weeks after the discontinuation of psychotropic medications to assess the
                       stability), and/or no longer requires the individual to be followed by the
                       psychiatry provider. For D Roster patients, the team shall follow D Roster
                       downgrade protocol.

               (2)     If an inmate diagnosed with an SMI is placed in a Diversionary Treatment Unit
                       (DTU), the treating psychiatrist/PCRNP must see the inmate out of cell once
                       every 30 days.

          b. Psychological Services - Each facility shall provide sufficient psychological staff to
             provide evaluation, monitoring, and treatment to those inmates in need of such
             services.

               NOTE: The treating psychologist (LPM/Psychological Services Specialist
               [PSS]/Psychological Services Associate [PSA]/Mental Health Coordinator [MHC])
               shall see inmates on the Active MH/ID Roster a minimum of once every 30 days. The
               psychologist has the discretion to see the inmate more frequently, if clinically
               indicated. These contacts can be completed in group settings. All mental health
               contacts will be recorded on a DC-560 and a corresponding ICAR entry. If these
               contacts occur in a group setting, each inmate is required to speak and be spoken to
               by the mental health staff.

          c. Counselors - Each facility shall have available Corrections Counselors trained to work
             with an inmate who is in need of mental health services. Counselors working with an
             inmate in need of residential mental health services (i.e. RTUs, Secure Residential
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               Treatment Units [SRTUs], Behavior Management Units [BMUs], DTUs, etc.) shall
               meet with him/her at least monthly. The frequency of such contacts shall be
               determined by the severity of the need and the personnel available.

          d. MHC - Every facility shall have a MHC on the Psychology staff and shall make
             appropriate use of the coordinator to assist an inmate in receiving each of the mental
             health services he/she is scheduled to receive.

      2. Internal Mental Health Facilities9

          a. Short term inpatient Regional Mental Health Units (MHU) are available at State
             Correctional Institution (SCI) Camp Hill, Rockview, and Muncy to provide mental
             health care for an inmate who needs the service.

          b. The Forensic Treatment Center (FTC) at Waymart is available to provide long-term
             inpatient care for those individuals who need the service. Procedures for referring
             inmates to the FTC and MHUs are presented in Section 4 of this procedures manual.

          c. SRTUs are available at SCI Muncy, Rockview, Smithfield, Phoenix, and Greene.
             Procedures for referring an inmate to the SRTU are contained in Section 10 of this
             procedures manual.

          d. BMUs are located at SCI Muncy for females and SCI Frackville, Smithfield, and
             Retreat for male inmate populations. Procedures for referring an inmate to the
             BMU are contained in Section 12 of this procedures manual.

      3. Information Flow

          a. Each facility shall provide for the flow of information and observations of behavior
             from all levels of staff (particularly from Corrections Officers and trades instructors) to
             appropriate treatment personnel concerning an inmate in need of mental health
             services. The treatment staff member receiving it shall acknowledge receipt of this
             information and, when possible, feedback shall be provided to the originator of the
             information. The DC-97 shall be used to refer mental health related matters to the
             counselor and psychologist.

          b. Treatment staff shall share with Corrections Officers, trades instructors, and other
             staff the goals and direction of recovery plans developed for inmates in need of
             mental health services.

      4. Recovery Plans

          a. The PRT shall develop IRPs for inmates on the Active MH/ID Roster, and the inmates
             shall be given the opportunity to provide input, review, and sign the plan. IRPs for
             inmates on the D Roster shall be updated a minimum of every 120 days and IRPs for

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               inmates on the C Roster shall be updated at least annually. The psychiatrist/PCRNP
               shall participate and approve the development, modification, and discontinuance of
               each treatment plan.10

          b. Recovery plans shall include the goals the team and inmate intends to achieve,
             including symptom stabilization and elimination, and recommendations regarding how
             staff shall interact in dealing with the inmate. The inmate shall be involved in the
             development of his/her recovery plan, shall be given the opportunity to sign-off on the
             completed plan, and shall receive a copy of the IRP. These procedures are more fully
             described under Subsection G. below.11

          c. A DC-551, Continuity of Care and Transfer Individual Treatment Plan
             (Attachment 2-D) shall be generated. Items indicated by an asterisk must be
             completed for an inmate who is being petitioned for transfer to another facility.

F. Mental Health Commitments

     1. General

          a. An inmate who becomes mentally ill and in need of mental health treatment beyond
             interim, community type care is to be considered for commitment to an approved
             mental health facility.12 Every such commitment shall be governed by the Mental
             Health Procedures Acts 143 of 1976 and 324 of 1978, and it is expected that all staff
             dealing with mental health commitments shall be thoroughly familiar with these acts.
             When it is determined that an inmate is in need of a mental health commitment, the
             facility shall move as expeditiously as possible to obtain such a commitment.13

          b. In general, §201 voluntary admissions and §302 and §303 involuntary emergency
             commitments governed by the Mental Health Procedures Act, Acts 143 of 1976 and
             324 of 1978, shall be treated in the MHUs. Longer-term §304 involuntary
             commitments shall be placed in the FTC at Waymart or a Department of Human
             Services (DHS) Forensic Unit. A female inmate requiring a longer-term §304
             involuntary commitment shall be placed in a DHS Forensic Unit.14 Appropriate forms
             for each type of commitment are:

               (1)     Application for Involuntary Emergency Examination and Treatment, MH
                       783 (Attachment 2-E);

               (2)     explanation of Patient’s Bill of Rights, MH 783-A (Attachment 2-F);

               (3)     Application for Extended Involuntary Treatment, MH 784 (Attachment 2-G);

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               (4)     Voluntary Application for Mental Health Treatment (Section 201)
                       (Attachment 2-H);

               (5)     Explanation of Voluntary Admission Rights, MH 781-Z (Attachment 2-I);
                       and

               (6)     Initial Evaluation, MH 781-A (Attachment 2-J).

          c. Facilities are encouraged to use the certified MHUs for emergency and acute care
             commitments that are acceptable within the criteria of the specific unit. Commitments
             to the MHU are governed by the Mental Health Procedures Act and completion of
             appropriate petitions is required. Consent for Voluntary Inpatient Treatment, 201
             petition, is acceptable and preferred for admission to a Department in-house MHU.

          d. Only psychiatrists or other facility physicians can be the examining physicians for the
             purposes of a mental health commitment documentation. A PCRNP cannot take the
             role of an examining physician.

     2. Non-Emergency Commitment to a Mental Health Facility

          a. When an inmate is observed behaving in a way that is dangerous to himself/herself
             or to others, is suicidal or self-mutilating, or so disturbed that he/she is unable to care
             for himself/herself without assistance, a psychiatric evaluation for possible 304
             Mental Health Commitment shall be requested.15

          b. Upon referral for evaluation for possible commitment, the inmate shall be seen by the
             psychiatrist as soon as possible, but no later than the next working day.16

          c. The psychiatrist shall evaluate the inmate in accordance with the criteria for
             commitment contained in the Mental Health Procedures Act.17

          d. If upon evaluation by the psychiatrist, the inmate is found committable, the
             designated facility staff member shall prepare the petitions (Application for
             Involuntary Emergency Examination and Treatment, MH 783), obtain the
             necessary signatures, see that the inmate is advised of the forthcoming hearing, and
             read the inmate's rights to him/her (Patient's Bill of Rights, MH 783-A).

          e. The designated staff member shall submit copies of the petition to the committing
             court and notify the county MH/ID Administrator of the committing county and the
             county MH/ID Administrator of the inmate's home county, if the home county is known
             and is different than the committing county. Local county mental health services shall
             be contacted, when appropriate, for their involvement since they may require a
             delegate to be involved in the involuntary commitment process.

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          f. When approval has been obtained from the committing county, the local mental
             health reviewing officer or local court shall be contacted and a hearing date
             established. If the committing county wishes to conduct the hearing, appropriate
             arrangements shall be made.

          g. When possible, mental health commitment hearings will be conducted in the facility.

          h. If the hearing is to be held outside the facility, appropriate arrangements for custody
             and transportation shall be made as far in advance as practical. A day or two before
             the hearing, a follow-up check shall be made to be certain all transportation and
             security plans are ready. Necessary staff shall also be advised of the date, time, and
             place of the hearing so he/she may be available to testify if needed.

          i. When a commitment hearing has been completed, the designated staff member shall
             make appropriate arrangements for transportation of the inmate to the mental health
             facility. The procedures for a male inmate are fully described in Section 4 of this
             procedures manual. Such transfer shall occur as expeditiously as possible.

          j. Following transfer of an inmate to a mental health facility for treatment, either the
             MHC or another designated staff member shall routinely contact the mental health
             facility every 90 days to determine the status of the inmate. Such contacts shall be
             logged on the ICAR and forwarded to the counselor for filing or recorded on the DC-
             472, Progress Notes and copies forwarded for filing in the Psychiatric Section of the
             medical record.

      3. Emergency Commitments to a Mental Health Facility18

          a. In accordance with Acts 143 of 1976 and 324 of 1978, §302 emergency commitment
             is available, but shall only be used in genuine emergency situations. When properly
             handled, emergency commitments can be effected in less than eight hours and rarely
             take more than 12 hours. Psychology staff at each facility shall make certain that
             §302 emergency commitment forms are available and staff shall familiarize
             themselves with the process.19

          b. In most cases, the MHC shall initiate the §302 emergency commitments and serve as
             the petitioner. The consulting psychiatrist shall serve as the examining physician.
             However, in some facilities, a staff member who has been appointed as a delegate by
             the local county mental health administrator may initiate the §302 petition. In a few
             facilities, either the ranking officer on duty or the staff member who observed the
             behavior may sign the §302 petition or emergency commitment.

          c. Any staff member who has observed the behavior on which the petition is based shall
             be prepared to testify to and document his/her observations in accordance with the


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                Mental Health Act and the requirements of the county administrator conducting the
                extension §303 hearing.

          d. If a DHS mental health facility accepts the inmate on an emergency commitment, the
             MHC or other designated staff member shall maintain contact with the mental health
             facility to determine if the mental health facility will proceed with a §303 commitment
             at the end of the five day emergency commitment or whether the mental health
             facility plans to discharge the inmate at the end of the five days.

          e. In a Department MHU, the MHU staff are responsible to notify the sending facility of
             changes in the inmate’s treatment status. If the inmate is to be discharged,
             appropriate arrangements shall be made for the inmate’s return to the facility from
             which he/she was committed.

      4. Information Provided to the Treating Mental Health Facility

          The complete medical record shall accompany the inmate as well as the documents
          listed in Application for Involuntary Emergency Examination and Treatment, MH
          783 and Patient’s Bill of Rights, MH 783-A.

      5. Voluntary Commitment to a Department MHU

          a. An inmate who believes he/she is experiencing symptoms of a mental illness, is a
             danger to himself/herself or others, or is suicidal or self-mutilating may request a
             psychiatric evaluation and voluntary commitment to the MHU.20

          b. If upon evaluation by the psychiatrist, the inmate is found in need of treatment, the
             designated facility or MHU staff member shall prepare the petition, obtain the
             necessary signatures, see that the inmate is advised of his/her rights and forthcoming
             hearing, if applicable (Patient's Bill of Rights, MH 783-A). A psychiatrist or
             physician shall complete a Voluntary Application for Mental Health Treatment
             petition.

          c. The designated staff member shall submit the original copy of the petition and history
             of the inmate, including treatment program, and any special needs to the MHU staff.

          d. An inmate who is a §201 voluntary admission, who wishes to sign out prior to
             discharge, but presents a threat to self/others or is debilitated, shall be processed as
             an emergency commitment, 302 petition, by MHU staff.21 If deemed necessary, the
             MHU staff shall process extension of emergency commitment, 303 petition, and
             involuntary treatment, 304 petition.

          e. Upon discharge of the inmate from the MHU or FTC, the treatment unit staff shall
             provide the referring facility staff with a discharge summary including treatment

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               recommendations. The discharge conferencing and treatment recommendations
               procedures are discussed more thoroughly in Subsection G. 4. below.

G. Continuity of Care Procedures for Inmates with Mental Illness Being Transferred

     Continuity of care between State Correctional Facilities, DHS State Hospital Regional
     Forensic Centers, and the Department’s MHUs shall be as follows:

     1. General

          a. The Department provides a continuum of mental health services for every inmate in
             the system; this continuum ranges from outpatient services offered to an inmate in
             the general population, to temporary crisis beds, short term psychiatric treatment in a
             Department MHU, or long term hospitalization at the FTC at Waymart, or at a DHS
             Regional Forensic Center. It is the policy of the Department to provide continuity of
             care for an inmate with mental illness who is transferred from:

               (1)     one facility to another;

               (2)     between the facilities and the FTC;

               (3)     between the facilities and the Department MHUs; and

               (4)     from the facilities into mental health services in the community (continuity of
                       care procedures for inmates being discharged into the community are described
                       in Subsection H. below).

          b. The mechanisms which have been developed to ensure this continuity of care include
             the MH/ID Automated Tracking System, enhanced teleconferencing between mental
             health staff who work with these inmates, and the sharing of treatment plans between
             service providers in the interfacing facilities, hospitals, and agencies.

     2. Tracking of an Inmate with Mental Illness Moving from One Facility to Another

          a. The automated tracking system shall ensure that an inmate with mental illness who
             was being tracked in the sending facility shall appear on the MH/ID Roster of the
             receiving facility immediately after his/her arrival. Mental health and medical staff in
             every facility shall review the automated MH/ID Roster daily to see if any new cases
             have been entered into the facility’s population.

          b. When a facility requests to transfer an inmate with mental illness to another facility,
             the mental health staff of the sending facility shall generate an IRP to guide the
             inmate’s treatment in the receiving facility. These procedures shall be in accordance
             with Department policy 11.2.1, “Reception and Classification.”



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          c. The LPM/designee at the sending facility shall initiate a teleconference or email
             correspondence with the mental health staff at the receiving facility to discuss the
             inmate and his/her special needs.

          d. Any additional critical clinical information shall be forwarded to the receiving facility as
             soon as possible via facility courier in an envelope marked confidential and placed in
             the medical file.

     3. Tracking of Inmates Returning from the FTC, Department Regional MHUs, and DHS
        Regional Forensic Centers returning to other Department facilities

          a. Shortly before the inmate is to be discharged from the FTC, Department Regional
             MHU, or DHS Regional Forensic Center, the treatment team at the unit and the PRT
             at the sending facility shall conduct a videoconference or a teleconference to discuss
             the patient's progress and develop an IRP to guide his/her reintegration into the
             facility population.

               (1)     At a minimum, the multi-disciplinary treatment team at the facility shall consist of
                       the following members:

                       (a)   LPM/MHC;

                       (b)   Psychiatrist/PCRNP;

                       (c)   Corrections Health Care Administrator (CHCA) and/or psychiatric nurse;

                       (d)   Corrections Counselor, Drug and Alcohol Treatment Specialist (DATS),
                             and/or Unit Manager; and

                       (e)   Lieutenant from the area.

               (2)     During the videoconference or teleconference, the FTC, DHS Regional Forensic
                       Center, or MHU team shall summarize the inmate’s response to treatment at the
                       forensic facility and offer any insights he/she might have concerning the
                       inmate’s treatment needs and potential readjustment problems upon return to
                       the facility.

               (3)     The MHU and FTC treatment teams shall document their discharge treatment
                       recommendations on the DC-551, and the facility team shall document the
                       teleconference on the DC-97 to ensure that the inmate is evaluated by mental
                       health staff immediately upon return to the facility. The treatment facility shall fax
                       the completed DC-551 to the LPM/MHC at the receiving facility immediately
                       following the videoconference or teleconference so that the updated treatment
                       plan can be attached to the DC-97.



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               (4)     It is likely that the DHS Regional Forensic Centers may use different forms to
                       document videoconference or teleconference treatment recommendations.
                       DHS, FTC, and MHU teams may attach additional information on the DC-551.

               (5)     The treatment teams in the FTC, DHS Regional Forensic Center, and MHU shall
                       make recommendations for the inmate’s facility placement. This is a key
                       component of the videoconference or teleconference.

          b. Upon return to the facility, the inmate shall be placed in an infirmary observation cell
             or other appropriate setting until he/she can be evaluated by the facility
             psychiatrist/PCRNP or licensed psychologist who shall make placement
             recommendations within the facility, based on the evaluation results and the
             recommendations in the DC-551. An inmate returning from the FTC, MHU, or DHS
             unit who is on Administrative Custody (AC) or Disciplinary Custody (DC) status shall
             not be placed in the Restricted Housing Unit (RHU) until his/her case has been
             reviewed by the PRT. The Program Review Committee (PRC) shall be notified
             immediately of the inmate’s return so that the committee can review the inmate’s
             AC/DC status. Insofar as possible, an inmate with an SMI shall be diverted from RHU
             placement to DTU, if appropriate.

          c. The FTC, DHS Regional Forensic Center, MHU, and facility treatment teams shall
             schedule the inmate’s return to the facility to ensure that he/she will receive a mental
             health evaluation immediately following his/her return. The PRC shall be informed
             immediately of the return of any Capital Case inmate from the FTC, DHS Regional
             Forensic Center, SRTU, or MHU.

          d. The PRT shall review the inmate's case monthly for four months to monitor the
             success of the IRP to reintegrate the inmate into prison life.

          e. Several weeks after the inmate’s return to the facility from the FTC, DHS Regional
             Forensic Center, or MHU treatment staff from those units may request information
             concerning the inmate’s readjustment in the facility. This data shall be useful for
             FTC/DHS/MHU program development.

          f. The FTC, DHS Regional Forensic Center, or MHU shall send a discharge summary
             to the facility within 30 days following the inmate’s discharge.

     4. Tracking of Inmates Following Placement in an MHU Housed on the Grounds of the
        Same Facility

          a. If the MHU is housed on the grounds of the same facility, the general procedures
             described in Subsection G.3. above shall apply.

          b. In these cases, it is likely the PRC will be more involved in the placement of the
             inmate in the facility.


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          c. The PRT should work closely with the MHU staff and PRC to ensure appropriate
             placement in the facility.

H. Continuity of Care Procedures for an Inmate with Mental Illness Being Discharged

      These procedures provide direction to staff in developing continuity of care services for an
      inmate with mental illness following his/her release from incarceration into the community
      following Sentence Complete or parole.

      1. Sentence Complete Inmates on the MH/ID Roster22

          a. The Psychology Department shall maintain automated procedures for Active MH/ID
             Roster inmates. Lists of the names and Department numbers of each roster inmate
             shall be updated monthly and sent to the unit staff so that the RHU Lieutenant, Unit
             Manager, Corrections Counselor, and/or DATS can be aware of inmates with mental
             illness who are housed on his/her unit.

          b. The LPM shall schedule special PRT reviews for an inmate on the MH/ID Roster 12
             months prior and again six months prior to the Sentence Complete to update the
             inmate’s IRP on the DC-551. The updated IRP shall address continuity of care
             service needs and actions required to transition the inmate into the community.

                (1)    Participants in the meeting shall include, but are not limited to, the LPM, MHC,
                       psychiatrist/PCRNP, CHCA, DATS, and Corrections Counselor or Unit Manager.
                       It is desirable that the inmate attend the meeting.

                (2)    The IRP shall address the inmate’s anticipated community needs including
                       mental health, medical treatment, substance abuse and/or sex offender specific
                       treatment, aging services, intellectual disability services, Medical Assistance
                       (MA), Supplemental Security Income (SSI), Social Security Disability Insurance
                       (SSDI), and housing. If additional assessments are necessary, this shall be
                       addressed in the IRP.

                (3)    If the inmate did not attend the PRT meeting, this will be documented on the
                       DC-551, and the staff shall meet with the inmate to discuss the planning
                       process. Staff shall determine where the inmate plans/wishes to reside,
                       ascertain his/her view of treatment and benefit needs, and secure the inmate’s
                       participation in the planning process.

                (4)    Staff shall request that the inmate sign the DC-108, Authorization for Release
                       of Information, in accordance with Department policy DC-ADM-003, “Release
                       of Information,” so that the Department staff can share treatment information
                       including the inmate’s Social Security number, physical/medical health
                       diagnoses, and psychiatric diagnosis, with outside agencies.23 Staff shall advise

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                       the inmate that the DC-108 will expire in 30 days for physical/mental health
                       information and 90 days for non-physical/non-mental health information, and it
                       may be necessary to sign several releases of information.

          c. The Central Office Psychology Office shall monitor the MH/ID Roster to identify each
             roster inmate who is within 12 months of Sentence Complete. The Central Office
             Psychology Office shall forward this information quarterly to the DHS Office of Mental
             Health and Substance Abuse Services (OMHSAS) Forensic Liaison so that the
             OMHSAS can be aware of each inmate with mental illness who will be returning to
             the community in the upcoming year, dates he/she is leaving, the facility from which
             he/she is being discharged, and the county to which he/she will be returning. The
             OMHSAS will forward this information to the appropriate county MH/ID
             administrators.

          d. The LPM/MHC shall contact the MH/ID Administrator in the inmate's county of origin
             to advise the county staff of the inmate’s impending Sentence Complete and obtain
             assistance locating community resources. A list of MH/ID administrators can be
             obtained from the OMHSAS Forensic Liaison or Central Office Psychology Office.

               (1)     The LPM/MHC shall document all contact with the MH/ID Administrator in the
                       medical record on the DC-472, and shall follow-up this contact with a
                       collaborating letter to the MH/ID administrator, copied to the correspondence
                       section of the medical record and the OMHSAS Forensic Liaison.

               (2)     If the inmate has signed the DC-108, the LPM/MHC shall provide the county
                       MH/ID agency with the inmate’s Social Security number, current ICD diagnosis,
                       WHODAS score, treatment being provided, and other pertinent data. The
                       information shall be included with the DC-551.

               (3)     If the inmate refused to sign the DC-108, the LPM/MHC shall provide the MH/ID
                       agency with information regarding the inmate’s date of release and number of
                       MHU/FTC commitments while incarcerated. If the inmate refused to sign the
                       DC-108, the LPM/MHC will not provide to the OMHSAS the inmate’s current ICD
                       diagnosis, WHODAS score, level of treatment being provided, and other
                       pertinent data. This confidential information shall not be included with the DC-
                       551 until the inmate has signed a DC-484, Mental Health Confidentiality
                       Disclosure Statement (Attachment 2-K).

               (4)     The LPM/MHC shall invite the County MH/ID staff to visit the correctional facility
                       and/or participate in the PRT meetings. The county MH/ID staff and/or OMHSAS
                       may request to attend the PRT meetings.

               (5)     The Department has made special continuity of care arrangements with
                       Philadelphia County and the four surrounding counties (Bucks, Chester,
                       Delaware, and Montgomery), and Allegheny County, which identify specific
                       MH/ID staff members to contact to arrange continuity of care services for an
                       inmate returning to those jurisdictions. The LPM/MHC is encouraged to contact
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                       the Central Office Psychology Office with any questions regarding these
                       arrangements.

               (6)     If the County MH/ID Administrator is non-responsive to the contact described
                       above, the LPM shall contact the Regional Office of the OMHSAS or the
                       OMHSAS Forensic Liaison and the Chief Psychologist in the Bureau of Health
                       Care Services (BHCS).

               (7)     Staff should also consider contacting the inmate’s family for assistance with
                       aftercare planning, if the inmate has agreed and signed the DC-108.

          e. If the inmate is psychiatrically stable, the LPM/MHC shall arrange a community
             intake/evaluation appointment for the inmate. This includes the date and time of the
             appointment, location of the interview, and contact person. This information shall be
             provided to the inmate both verbally and in writing. The information shall also be
             documented in the medical record on the DC-472 via a Subjective, Objective,
             Assessment, Plan (SOAP) note and in the correspondence section, and it will be
             shared with the county MH/ID contacts or the OMHSAS Liaison.

          f. If the Department treatment team believes that the inmate meets involuntary mental
             health civil commitment criteria outlined in the Mental Health Procedures Act, the
             MHC/psychologist shall advise the inmate’s home county MH/ID
             Administrator/designee and/or OMHSAS Forensic Liaison/designee that the
             Department plans to file a 304 petition with the local court requesting involuntary
             inpatient mental health treatment. Prior to the commitment hearing, the
             MHC/psychologist shall provide documentation of the inmate’s treatment history and
             current treatment needs to the County MH/ID Administrator of the county to which the
             inmate shall be released, and shall request that the county MH/ID Administrator
             designate a community hospital to which the inmate can be committed for the needed
             inpatient services.

          g. If the Department treatment team believes that the inmate meets involuntary mental
             health civil commitment criteria and the county MH/ID Administrator recommends
             direct admission to a state hospital, or is unavailable to make the designation of a
             community placement, the MHC/psychologist will provide documentation of the
             inmate’s treatment history and current treatment needs to the OMHSAS Forensic
             Liaison/designee for review and determination of the most appropriate hospital to
             which the inmate can be committed for the needed inpatient services. Once reviewed
             and accepted for admission to a state psychiatric hospital, planned civil admissions
             can occur on any day of the week. There will be no admission of an inmate
             completing sentence to a state hospital Regional Forensic Center.

          h. If the inmate meets involuntary mental health commitment criteria and there is
             sufficient time prior to Sentence Complete, the LPM/MHC shall initiate an involuntary
             commitment to the FTC/MHU that can be “rolled over” into the civil commitment on
             the date of Sentence Complete. If this procedure is employed, staff shall request that

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               the court order allows placement in both a Department MHU and a community
               hospital.

          i.   If the inmate's condition is such that he/she is in need of immediate treatment, but is
               not committable under the Mental Health Act, the LPM/MHC shall contact the MH/ID
               agency to discuss treatment options including intervention by the county crisis
               services upon release.

          j.   If the inmate refuses to accept processing for community aftercare or is non-
               responsive to recommendations for community aftercare processing, and the staff
               believes that the inmate's state of mental health is such that he/she poses a clear
               and present danger to himself/herself or others in the future following release from
               supervision (but the inmate does not meet inpatient commitment criteria), then the
               BHCS shall be contacted, and in consultation with the Chief Psychologist and the
               Office of Chief Counsel, the following options shall be considered:

               (1)     the mobile crisis or Intensive Case Management (ICM) units of the County
                       MH/ID Program can be alerted and may be able to make community contact
                       even though unsolicited by the inmate;

               (2)     notify local law enforcement authorities of the pending release and the inmate’s
                       condition (seriously mentally ill and non-cooperative);

               (3)     the psychologist is not able to contact the individual, the local law enforcement
                       authority shall be notified; and

               (4)     the identity of those individuals who were contacted and the substance of the
                       communication shall be documented in the medical record, with copies to the
                       ICAR, DC-15, Inmate Records Jacket, and the Facility Manager.

          k. The Medical Department shall provide the inmate with a 60-day supply of prescribed
             medication, in accordance with Department policy 13.2.1, “Access to Health Care”
             to prevent disruption of treatment until the inmate can be seen by a
             psychiatrist/PCRNP. A supply of fewer days may be provided if an overdose potential
             exists and/or an appointment with a psychiatrist/PCRNP can be secured sooner.
             Information concerning medication shall be conveyed to the community treatment
             provider.

          l.   In cases where an inmate is not able to travel on his/her own due to mental health
               status and has no other option, the facility shall provide transportation prior to the
               Sentence Complete. If an inmate, who will require transportation, is approaching
               Sentence Complete, but the facility cannot provide this service due to distance, then
               the unit management team may initiate a transfer petition. In this manner, the inmate
               may be moved to a facility closer to his/her home. In these cases the LPM/MHC in
               the referring facility shall be responsible for continuity of care planning, and these
               activities should be documented on the DC-551.

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          m. In situations in which the inmate is seriously mentally ill and will need benefits
             immediately upon Sentence Complete, the staff may complete the Commonwealth of
             Pennsylvania Application for Social Services (COMPASS) on-line applications to help
             the inmate access Medicaid and other health care services that he/she shall need in
             the community. COMPASS interfaces with the Pennsylvania DHS, Insurance
             Department, medical providers, community-based organizations, advocates, and
             others.

               (1)     COMPASS requires internet access, and staff shall use the computer in the
                       CHCA’s office to complete the on-line application.

               (2)     COMPASS can be reached directly at http://www.compass.state.pa.us.

               (3)     Staff shall submit monthly lists of the number of on-line COMPASS applications
                       completed to the CHCA/designee.

          n. Continuity planning activities need to be documented via the DC-551, entries in the
             DC-472, and the correspondence section of the medical record, with information
             copied to the Corrections Counselor for placement in the ICAR.

     2. Procedures for a Hard to Place Inmate on the MH/ID Roster Being Paroled/Re-Paroled

          Whenever possible, an inmate with a mental illness should be returned to the community
          via parole, rather than Sentence Complete, so that he/she can be mandated to receive
          the community treatment and management services.

          a. Procedures for a Hard to Place inmate will be in accordance with Department policy
             7.3.1, “Reentry and Transition.” In addition:

               (1)     the facility LPM shall attend the parole staffing at the facility for all cases
                       identified as “Hard to Place,” and which are also placed on the MH/ID Roster;
                       and

               (2)     the LPM shall coordinate the activities of the “Hard to Place” meetings and PRT
                       meetings for an inmate receiving mental health treatment.

          b. The LPM/MHC shall monitor the MH/ID Roster to identify any inmate approaching
             one year to his/her parole date and schedule a PRT meeting to update the inmate’s
             IRP on the DC-551 to ensure that the IRP includes objectives that are related to
             community reentry. The PRT shall supplement the “Hard to Place” procedures
             outlined above.

               (1)     The IRP shall be recorded on the DC-551 and shall address mental health and
                       medical treatment needs, co-occurring disorder treatment needs, housing needs
                       and family integration, educational/vocational needs, and community
                       management and support issues. The PRT shall develop relevant, specific plans

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                       to complete entitlement applications such as MA, Veterans Administration (VA)
                       benefits, SSI, SSDI, and Income Maintenance.

               (2)     Participants at the PRT meeting shall include the LPM, consulting
                       psychiatrist/PCRNP, CHCA, MHC, DATS, Corrections Counselor, Unit Manager,
                       and facility parole representative. The county MH/ID liaison should be invited to
                       the meeting.

                       (a)   Department policy 7.2.1, “Counseling Services,” mandates that the
                             Facility Parole Representative shall attend the PRT meeting for any MH/ID
                             inmate who is likely to receive facility support for parole so that the PBPP
                             can participate in aftercare planning.

                       (b)   School staff may attend the meeting if vocational/educational issues are
                             being considered.

               (3)     The PRT shall review every inmate on the MH/ID Roster to determine if he/she
                       meets the referral criteria for placement in one of the Department’s Community
                       Corrections Centers (CCCs) for parolees who suffer from mental illness and/or
                       co-occurring substance abuse disorders.

               (4)     The LPM, MHC, Corrections Counselor, and/or DATS shall meet with the inmate
                       to determine where he/she plans/wishes to live, ascertain his/her view of his/her
                       treatment and benefit needs, and review reentry plans. These discussions may
                       occur during the PRT review meeting, facility release, or parole staffing.

               (5)     The psychologist shall conduct a psychological evaluation for parole, employing
                       the PA Clinical Risk Assessment (P-CRA), to identify community risk
                       management and treatment needs and make community treatment
                       recommendations. The psychological report shall be submitted at least six
                       months prior to the inmate’s minimum date. The report shall include an
                       updated ICD diagnosis and WHODAS score.

               (6)     The LPM and/or MHC shall be available to the PBPP to respond to any
                       questions regarding the inmate’s mental health assessment or response to
                       treatment in the facility. The LPM shall visit the facility parole office regularly to
                       discuss referrals.

     3. Procedures for a Non-Hard to Place Inmate on the MH/ID Roster Being Paroled/Re-
        Paroled

          a. The Psychology Department, Unit Manager, and the Corrections Counselors and/or
             DATS shall monitor the MH/ID Roster to identify an inmate approaching his/her
             parole date.

          b. The LPM/MHC shall monitor the MH/ID Roster to identify any inmate approaching
             one year to his/her parole date and schedule a PRT meeting to update the inmate’s
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               IRP on the DC-551 to ensure that the IRP includes objectives that are related to
               community reentry.

               (1)     The IRP shall be recorded on the DC-551 and shall address mental health and
                       medical treatment needs, co-occurring disorder treatment needs, housing needs
                       and family integration, educational/vocational needs, and community
                       management and support issues. The PRT shall develop relevant, specific plans
                       to complete entitlement applications such as MA, VA benefits, SSI, SSDI, and
                       Income Maintenance.

               (2)     Participants at the PRT meeting shall include the LPM, consulting
                       psychiatrist/PCRNP, CHCA, MHC, DATS, Corrections Counselor, Unit Manager,
                       and facility parole representative. The county MH/ID liaison should be invited to
                       the meeting.

               (3)     School staff may attend the meeting if vocational/educational issues are being
                       considered.

          c. The PRT shall review every inmate on the Active MH/ID Roster to determine if he/she
             meets the referral criteria for placement in one of the Department’s CCCs for
             parolees who are diagnosed with mental illness and/or substance abuse. Flow charts
             outlining the Mental Health CCC Referral Procedures are contained in the Referral
             Procedure for Cromisa Project (Attachment 2-L).

          d. The psychologist shall conduct a psychological evaluation for parole employing the P-
             CRA to identify community risk management and treatment needs and make
             community treatment recommendations. The psychological report shall be submitted
             at least six months prior to the inmate’s minimum date. The report shall include an
             updated ICD diagnosis and WHODAS score.

          e. The Corrections Counselor or DATS and the MHC or LPM shall arrange for a
             meeting with the inmate to discuss and review aftercare treatment needs. Psychology
             staff shall be careful not to usurp the casework prerogatives of the counseling staff.
             These discussions may occur during the PRT review meeting or parole staffing. The
             counselor shall advise the facility parole agent of those aftercare needs at least six
             months prior to the inmate's parole eligibility date.

          f. The Corrections Counselor shall coordinate with the PBPP to provide whatever
             documentation or updated evaluations are necessary for aftercare placement.

I. Limits of Confidentiality

     1. All inmates will be offered the opportunity to sign one DC-484 for Psychology
        upon admission to the DCC of the Pennsylvania Department of Corrections (DOC)
        to indicate that they have been informed that these conditions have been
        explained. If the individual refuses to sign the DC-484, he or she shall be informed
        that this refusal does not change or alter the conditions explained, and will apply
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          throughout the individual’s time with the Pennsylvania DOC. Additionally, if the
          individual is released from DOC custody and is returned, (e.g. parole violator),
          Psychology shall complete a new DC-484. The DC-484 shall be completed once at
          the time of the Initial Psychiatric Assessment or Brief Psychiatric Assessment by
          the psychiatrist/PCRNP.24

      2. Unless the staff can be reasonably certain that the individual can read and understand
         the DC-484, the DC-484 shall be read aloud to the inmate; the clinician shall provide
         him/her with the opportunity to ask questions, and the inmate shall be asked to sign the
         DC-484.

      3. The individual shall be provided with a copy of the DC-484, if requested.

      4. When the inmate is seen for psychological evaluation or treatment, he/she shall be
         reminded of the conditions of confidentiality that were originally explained in the
         DC-484 completed during the classification process.

      5. If the individual refuses the offered evaluation or treatment, he/she will be
         cautioned that assessments by recipients of the report (staffing committees and
         PBPP) might be affected by the lack of information resulting from the refusal.

      6. The individual shall be advised that he/she may later agree to sign the DC-484, if
         initially refused.

      7. It shall be stressed that DC-484 describes conditions under which information may be
         disclosed. This is not a consent to assessment and treatment form. Nothing in the
         document or these directions shall discourage staff members from providing
         health/mental health sustaining services to the individuals.

J. Guilty But Mentally Ill (GBMI) Inmates

      The purpose of these procedures is to aid staff in processing GBMI commitments. It is
      incumbent upon every reception and DCC staff, as well as all treatment staff in the
      permanent facility, to become familiar with the GBMI Act (Act 286-82).

      1. Reception

          a. The GBMI statute is Act 286-82 (18 Pa.C.S.A. §§314 - 315 and 42 Pa.C.S.A.
             §9727). Since not every GBMI commitment may be clearly identified as such, the
             Records Specialist shall carefully review every court commitment order for any
             indication suggesting a GBMI commitment. If any mention of mental illness is noted in
             the commitment order, a check shall be made to determine if this commitment was
             intended to be a GBMI commitment.


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          b. GBMI commitments fall into two categories. Once a commitment has been identified
             as a GBMI commitment, the Records Specialist shall determine which of the following
             categories a particular commitment falls under.

               (1)     Category I consists of those GBMI commitments for whom:

                       (a)   the court held a hearing at the time of sentencing and found the defendant
                             to be seriously mentally disabled and in need of treatment pursuant to the
                             provisions of the Mental Health Procedures Act at the time of sentencing;

                       (b)   the defendant was represented by counsel at this hearing; and/or

                       (c)   not more than 90 days has elapsed since the date of the court order finding
                             the defendant to be seriously mentally disabled and in need of treatment.

               (2)     Category II consists of those GBMI commitments for whom:

                       (a)   the court held a hearing at the time of sentencing and found that the
                             defendant was NOT seriously mentally disabled and in need of treatment
                             pursuant to the provisions of the Mental Health Procedures Act at the time
                             of sentencing;

                       (b)   more than 90 days have elapsed since the date of the court order finding
                             the defendant to be seriously mentally disabled and in need of treatment;
                             and/or

                       (c)   the defendant was not represented by counsel at the court hearing to
                             determine if he/she was presently seriously mentally disabled and in need
                             of treatment.

          c. Upon determination of the above information, the Records Specialist shall
             immediately contact the Corrections Classification Program Manager (CCPM) and
             advise of the reception of a GBMI commitment and of the category under which the
             commitment is determined to fall.

          d. A GBMI commitment who is identified as a Category I commitment shall be housed in
             the infirmary or other appropriate mental health setting if space, facilities, and security
             considerations permit.

          e. While awaiting transfer to a mental health facility, the severely mentally disabled
             (Category I) inmate shall receive such care as available resources permit.

          f. A GBMI commitment who is identified as a Category II commitment will complete the
             normal reception procedures and will, after appropriate staff have been notified, be
             placed in regular DCC housing unless contraindications to such placement are noted
             during the reception process.

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          g. A Category I GBMI inmate shall not be double celled in a DCC until reviewed by the
             treatment team. This review shall be completed as soon as operations permit, but no
             later than 72 hours. If the treatment team find the inmate to be neither seriously
             mentally ill, a serious threat to others, nor disruptive, double celling may be
             considered if approved by the treatment team. A Category II GBMI inmate who
             exhibits no serious mental illness, is not a threat to others, and is not disruptive may
             be double celled if approved for double celling by the reviewing treatment team.

     2. Staff Contacts and Procedures

          a. Upon notification from the Records Specialist that a GBMI inmate has been received,
             the DCC Director/designee or CCPM/designee shall:

               (1)     immediately review the case and its category designation; and/or

               (2)     immediately notify the appropriate counselor and the MHC of the reception of a
                       GBMI commitment; and

               (3)     immediately ensure the inmate is scheduled for review by PRT within 72 hours
                       or as soon as operations permit.

          b. The counselor assigned to the case shall see the GBMI inmate as soon after
             reception as possible, but no later than one week after reception.

          c. Counselor contacts shall be continued on at least a weekly basis, or more frequently
             if necessary, throughout the classification period.

          d. The classification profile shall be developed as soon as possible after reception, but
             no later than one week after reception.

          e. The MHC shall visit the GBMI inmate as soon after reception as possible, but no later
             than one working day after reception.

          f. The MHC shall contact other relevant staff to determine what mental health needs
             have been identified for the GBMI inmate and shall assist in coordinating these
             needs.

          g. Within one working day after reception, the DCC Psychologist or PSS shall see the
             GBMI inmate for an initial evaluation.

     3. Psychiatric Evaluation

          a. All GBMI inmates shall be placed in D Roster upon arrival to the DOC.

          b. All GBMI inmates shall have an initial psychiatric evaluation and psychological
             assessment upon arrival to the DCC.

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          c. All GBMI inmates shall have treatment follow ups on regular intervals by
             Psychiatry and Psychology as per the current policy.

          d. All GBMI inmates shall receive a PRT review at least once every four months,
             more if clinically indicated.

          e. A GBMI commitment who was found by the court to be severely mentally disabled
             and in need of treatment at the time of sentencing (a Category I commitment) does
             not require a psychiatric reevaluation prior to transfer to a mental health facility;
             however, he/she shall be seen and evaluated by the psychiatrist/PCRNP as soon
             after reception as possible, but by the next working day. Appropriate treatment shall
             be prescribed and implemented until the inmate is transferred to a mental health
             facility.

          f. If the GBMI commitment is a Category II commitment, a psychiatric evaluation shall
             be arranged as soon after reception as possible and in no case longer than five days
             after admission for those facilities with psychiatric services routinely available. If
             psychiatric services are not available, a psychological evaluation may be substituted.

          g. If it is determined that a Category II commitment is in need of commitment to a
             mental health facility, Mental Health Procedures Act commitment procedures shall be
             followed and a current psychiatric evaluation shall be obtained.

     4. Transfer to a Mental Health Facility

          If a Category II commitment is subsequently found to be severely mentally disabled and
          in need of treatment, normal commitment procedures as required by the Mental Health
          Procedures Act shall be followed.

     5. Return from a Mental Health Facility

          a. When the treating mental health facility determines that a GBMI inmate sent to them
             from the Department is ready to return to the correctional system, the mental health
             facility shall contact the receiving facility and work out a return date.

          b. The receiving facility shall arrange to pick up the returning GBMI inmate.

     6. Mentally Disabled GBMI Commitments

          If a GBMI commitment is found to be so mentally impaired as to suggest the likelihood of
          being intellectually disabled, a psychological and psychiatric evaluation of his/her
          intellectual and functioning level shall be made by the DCC staff.

     7. Transfer to a Intellectual Disability Program

          If a GBMI commitment is found to be so cognitively impaired as to be unable to function
          in a correctional setting, a petition for commitment to an Intellectual Disability facility shall
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          be initiated. Submission of this petition shall be guided by the procedures found in the
          Mental Health Procedures Act.

     8. Transfer to a Department Permanent Facility

          a. Upon completion of the classification process for a GBMI inmate, a transfer petition
             shall be submitted to Central Office in the same manner as every other DCC case,
             except the case shall be clearly identified as a GBMI case.

          b. Once the transfer petition has been approved, the Director of the DCC shall, via
             memo, inform the Facility Manager of the permanent facility that a GBMI inmate is
             being transferred to that facility.

          c. The memo to the Facility Manager shall include appropriate identifying data, a
             statement of the essential DCC findings in the case, and any treatment recommend-
             ations for needed follow-up treatment. The memo shall include the anticipated date of
             transfer. The Facility Manager of the receiving facility shall distribute copies of the
             memo to appropriate staff.

          d. When any GBMI inmate is being transferred from a DCC to a permanent facility, it is
             the responsibility of the DCC LPM to contact the LPM in the receiving permanent
             facility and review with him/her the mental status of the GBMI inmate being
             transferred. The DCC LPM shall provide the permanent facility LPM with the name
             and number of the GBMI inmate, the essential psychiatric/psychological findings of
             the DCC staff, any treatment recommendations for needed follow-up treatment, and
             the anticipated date of transfer.

     9. Programming GBMI Inmates at Permanent Facilities

          a. Reception

               (1)     Upon reception of a GBMI inmate, his/her case shall be reviewed by appropriate
                       intake staff. This staff shall make the proper housing assignment and shall refer
                       the inmate to the mental health review team or counselor, as the case warrants.

               (2)     Based on a review of the case and the recommendations of the DCC staff, the
                       intake staff of the permanent facility shall develop an appropriate program for
                       the inmate. If follow-up psychiatric/psychological treatment is needed,
                       arrangements shall be made, subject to available resources, to provide needed
                       treatment.

          b. Programming

               (1)     For the first month after reception, the counselor assigned to the case shall see
                       the inmate on a weekly basis. The facility Psychologist shall see the GBMI
                       inmate at least once during the first month, more frequently if necessary.

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               (2)     After the first month, the counselor in conjunction with his/her supervisor and the
                       facility Psychologist shall determine the continued frequency of counselor
                       contacts. However, the counselor contacts shall be no less than once a month
                       for the first year. If the inmate’s behavior remains stable for that period of time (a
                       year), the counselor and his/her supervisor will determine frequency of contact
                       thereafter. The decision shall be documented on the DC-14, Counselor File
                       and copied to the Medical Record.

               (3)     Any GBMI inmate, who decompensates to the point where inpatient care is
                       required, shall be considered for commitment to a mental health facility via the
                       Mental Health Procedures Act and usual commitment procedures shall be
                       followed.

K. Dealing with a Potentially Suicidal Inmate and an Inmate who Attempts Suicide

     Suicide and self-injurious acts are serious dangers in any correctional setting. Therefore,
     early identification, appropriate housing and monitoring, and proper treatment of a
     potentially self-destructive inmate is critically important, both for the individual in need of
     service and for the facility charged with his/her care.

     1. Assessment of Suicide Risk

          Suicide potential can be evaluated by using the criteria listed below. These criteria are
          intended to help staff formulate a plan of prevention and treatment.

          a. Suicidal Plan

               The potential for suicide is greater when there is a well-organized and detailed plan
               developed by the inmate. The potential also increases when the means of the suicide
               identified in the plan is readily available to the inmate and can be lethal.

          b. Prior Suicidal Behavior

               The potential for suicide is greater if the individual has experienced one or more prior
               attempts of a lethal nature or has a history of repeated threats and depression. In
               addition, individuals involved in many episodes of self-injurious behavior (SIB) are at
               increased risk to complete suicide.

          c. Stress

               The potential for suicide is greater if the individual is subject to stress from increased
               pressures such as, but not limited to:

               (1)     difficulties in coping with legal problems;

               (2)     the loss of a loved one through death or divorce;

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               (3)     the loss of valued employment (high paying position in Correctional Industries
                       [CI]);

               (4)     anniversary of incarceration date or offense;

               (5)     serious illnesses or diagnosis of terminal illness;

               (6)     threats or perceived threats from peers;

               (7)     sexual victimization, particularly after the first submission;

               (8)     placement in RHU/Special Management Unit (SMU);

               (9)     unexpected punishment (misconducts or additional sentence or parole denial);

              (10) cell restriction;

              (11) recent transfer from another state or county facility;

              (12) recently returned to prison due to a parole violation;

              (13) any movement to and from Level 5 Housing Unit (watch closely for several
                   hours);

              (14) long sentence coupled with poor external supports (family or volunteers) and/or
                   minimal involvement in facility supports (education, treatment, activities, and
                   employment);

              (15) somatic complaints of a vague nature that do not respond to treatment;

              (16) history of violence toward others;

              (17) low IQ;

              (18) requesting protective custody;

              (19) deemed to be a “high profile” case;

              (20) long sentence, including life;

              (21) history of alcohol and/or drug abuse; and/or

              (22) transition periods within a correctional institution (i.e. release from a POC,
                   placement into an RHU, removal from general population).



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          d. Prior Suicidal Behavior of Significant Other

               The potential for suicide is greater if a parent, spouse, or other close relative has
               attempted or completed suicide.

          e. Signs and Symptoms

               The potential for suicide is greater if the individual manifests signs/symptoms such
               as:

               (1)     auditory and/or visual hallucinations, particularly command hallucinations
                       ordering the person to harm himself/herself;

               (2)     delusions;

               (3)     any change from the individual’s sleep pattern (this may be manifested by either
                       a decrease or increase in sleep);

               (4)     any change from the individual’s ordinary eating pattern. (This may be
                       manifested by either a decrease or an increase in the individual’s appetite with
                       an accompanied decrease or increase in weight);

               (5)     social withdrawal;

               (6)     apathy;

               (7)     despondency;

               (8)     severe feelings of hopelessness and helplessness;

               (9)     general attitude of physical and emotional exhaustion;

              (10) agitation through such symptoms as tension, guilt, shame, poor impulse control
                   or feelings of rage, anger, hostility, or revenge;

              (11) giving away personal property;

              (12) removal of every visitor from the visiting list;

              (13) changing next of kin notifications;

              (14) expressions of death or finality (i.e. “it will all be better tomorrow” or “the world is
                   better off without me”);

              (15) frequent engagements in self-injurious behaviors and/or serious suicide
                   attempts;
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              (16) sudden elevated mood (“everything’s OK attitude”); and/or

              (17) psychic or somatic anxiety.

          f. Personal Resources

               The potential for suicide is greater if the person has no family or friends, or his/her
               family and friends are unwilling to help. Potential is greater if a significant other
               evidences a defensive, rejecting, punishing attitude, or denies that the individual
               needs help.

          g. Acute vs. Chronic Aspects

               The potential for suicide is greater when there is a sudden onset of specific
               symptoms. An individual who has recently learned that he/she has a serious disorder
               is at greater risk than a person who has been coping with the problem for years. The
               acute risk is higher if the person appears anxious.

          h. Medical Status

               The potential for suicide is greater when there is a chronic, debilitating illness,
               especially when it involves an alteration of body image or life style.

          i. A person considering suicide does not demonstrate all of these signals. Generally,
             the more characteristics the individual has, the greater the potential for self-
             destruction. Every suicide attempt, including gestures, shall be taken seriously.

      2. Screening/Assessment

          a. Every contact employee will receive training in suicide prevention in accordance with
             Department policy 5.1.1, “Staff Development and Training.” If a staff member
             observes suicidal behavior, the Unit Manager shall be notified, and a referral shall be
             made to the LPM/designee. In the absence of the Unit Manager, the staff person
             shall contact the Shift Commander. The Unit Manager or Shift Commander shall
             immediately contact the LPM/designee and brief him/her on the situation.

          b. The LPM/designee shall assess the inmate's suicidal potential in the most
             appropriate location depending on the inmate's level of agitation and security needs
             (inmate's cell, psychologist's office, or observation area).

          c. A suicidal inmate shall be under continuous observation.25

          d. Based on the screening, a referral to the psychiatrist/PCRNP for further evaluation
             and treatment may be necessary. If the psychiatrist/PCRNP determines the inmate is


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               a danger to self and/or others, he/she shall order a watch. The watch may only be
               reduced or terminated by a physician or psychiatrist/PCRNP.26

          e. In the absence of the psychiatrist/PCRNP, and with the authorization of the senior
             ranking official in the facility, the LPM/designee, or the Nurse Supervisor can order
             that the inmate be moved to the POC to be placed on constant watch.27 Procedures
             for monitoring the watches in the POC are described in Subsection K.3. below.

          f. Every inmate placed in Level 5 Housing Units shall be assessed on the DC-510,
             Suicide Risk Indicators Checklist (refer to Section 1 of this procedures
             manual). The checklist shall also be used for every returned parole violator.28 Every
             inmate placed in a Level 5 housing unit shall also be provided with the “Living
             Through It” brochure.

               (1)     The ranking Corrections Officer present in the unit shall ensure that the checklist
                       is completed immediately when an inmate is brought to the Level 5 Housing
                       Unit/Intake Unit.

               (2)     The escorting officer shall note any special physical/behavioral characteristics
                       (crying, poor hygiene, and cuts and/or bruises); he/she shall be asked:29

                       (a)   why the inmate is being brought to the Level 5 Housing Unit/Intake Unit;

                       (b)   if the inmate is expressing suicidal thoughts/making threats to harm
                             himself/herself;

                       (c)   whether the inmate shows signs of depression (crying, withdrawn,
                             passive);

                       (d)   is the inmate acting/talking in a strange manner (hearing/seeing things that
                             aren’t there?);

                       (e)   whether the inmate appears to be under the influence of drugs/alcohol;

                       (f)   whether there is any information that the inmate may be self-destructive;
                             and

                       (g)   whether the inmate is requesting protective custody.

               (3)     The inmate shall be asked:



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                       (a)   whether he/she has experienced a recent family change (i.e. death of
                             child/spouse/parent or “Dear John letter”);

                       (b)   if there has been a recent legal status change (i.e. parole violation or new
                             detainer);

                       (c)   if this is his/her first placement in Level 5 Housing (if applicable);

                       (d)   if he/she has any special problems or needs the staff shall be made aware;

                       (e)   whether he/she has been assaulted (physically or sexually) by another
                             inmate; and/or

                       (f)   if he/she is on any psychotropic medication.

               (4)     Staff shall note whether the inmate:

                       (a)   shows anger, hostility, and threats;

                       (b)   appears anxious, afraid (pacing, wringing hands);

                       (c)   displays signs of self-neglect or abuse (i.e. poor hygiene or cuts); and/or

                       (d)   states that he/she is taking psychiatric medication.

               (5)     If any of the items in Subsection K.2.f. above are present the Unit Officer shall
                       immediately phone the following staff:

                       (a)   between 8:00 AM and 4:30 PM, nursing and LPM or MHC. A psychologist
                             will immediately visit the unit to review the checklist, assess the inmate,
                             and discuss the case with unit staff prior to the inmate being placed in cell.
                             The time and results of the assessment will be recorded in the “Clinical
                             Staff Action” section including a plan; or

                       (b)   after hours, or on weekends, the Shift Commander shall notify nursing staff
                             and nursing staff shall immediately review the checklist, assess the inmate,
                             and discuss the case with unit staff prior to inmate being placed in cell. The
                             time and results of the assessment will be recorded in the “Clinical Staff
                             Action” section. Psychology staff will review the checklist, assess the
                             inmate, and discuss the case with unit staff upon the next available working
                             day.

               (6)     Even if no items are present the nurse and/or psychologist will assess the
                       inmate within 24 hours and note the date, time, and the results of the
                       assessment in the “Clinical Staff Action” section. The completed form will remain
                       in the ICAR until reviewed by PRC.

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               (7)     Any time an inmate appears in immediate danger of harming himself/herself or
                       someone else, the unit staff shall contact the Shift Commander, nursing staff,
                       and LPM or MHC to request an immediate assessment.

     3. Levels of Observation and Housing in POCs, Infirmary Settings, and Other Areas

          a. This subsection addresses observation and housing in all areas, except for MHUs.
             For MHUs, the administrative and clinical staff of the MHU have governing authority
             and provide watches and all other operational requirements over inmates committed
             to the MHU. All watches will occur in accordance with Department policy DC-ADM
             008, “Prison Rape Elimination Act (PREA).”

          b. Each facility shall provide an observation area to monitor suicidal inmates. Such an
             area requires well lit, adequately ventilated and heated cells that allow for quiet and
             necessary communication with appropriate treatment and custody staff. The area
             shall be as nearly suicide-proof as possible, without protrusions of any kind that
             would enable the inmate to hang himself/herself. Observations shall be conducted in
             infirmary areas or other areas. At a facility without an infirmary, the POCs shall be
             located close to the medical area to allow for frequent observation and rapid
             response.

          c. If a RHU or DTU cell is temporarily utilized as a POC for a psychiatric
             admission, it must be a camera cell. Additionally, if an RHU or DTU cell is
             temporarily utilized as a POC, it is mandatory that all provisions of
             implementing all safeguards, levels of watch, documentation, and operational
             procedures as directed by Subsection K.3. above and Section 3 of this
             procedures manual, as well as other policies directing other disciplines’
             operations for this setting are followed. It is imperative that all disciplines and
             members of multidisciplinary teams, including security, are informed of the
             individual’s needs and the expectations of this temporary housing placement.

          d. Staff safety is a critical consideration in deciding where to conduct the observation.
             Custody and supervisory staff shall not enter a cell until sufficient staff are available
             to handle the inmate.

          e. An individual placed in these settings shall be provided with basic items needed for
             personal hygiene, as well as items such as eyeglasses, writing materials, and reading
             materials consistent with his/her custody level. If mental health staff judges there is
             imminent danger that an inmate will destroy an item or use it to induce self-injury, the
             inmate may be deprived of the item; however, every effort shall be made to provide a
             substitute for the item or allow the inmate to use the item under the supervision staff.
             Watches and precautions should not be punitive. For example, except in extreme
             circumstances where contraindicated due to active suicidality or otherwise, inmates
             should be permitted reading materials without staples, mattresses, etc.

          f. The different levels of observation require different types of restrictions. In every
             case, the least restrictive measures shall be determined by the psychiatrist/PCRNP,
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               LPM/designee, and the senior ranking official (in consultation with the facility nursing
               supervisor or charge nurse) based on the inmate's security needs. However, every
               inmate shall initially be evaluated for constant watch. If the inmate is behind a locked
               door, the observing staff shall be able to open the cell door immediately.30

          g. The levels of observation are described below. Post orders for the observation shall
             specify the officer's duties in providing for custody and control and the treatment staff
             responsibility in providing clinical services.31

               (1)     Constant Watch32

                       Constant watch is the most restrictive watch and requires constant visual
                       contact with recording of observations on an irregular schedule that does not
                       develop a pattern but occurs at
                        least once every ten minutes for a total of at least seven entries per hour.33 The
                       DC-483, Psychiatric Observation Monitoring Form shall not be made out in
                       advance with times entered in advance i.e. 0810, 0820, 0830, 840, and 0850. All
                       personal clothing shall be removed from the inmate and an anti-suicide smock
                       and blanket shall be provided.34 The psychiatrist/PCRNP will determine what
                       items are permitted in the cell based on security needs and the inmate’s current
                       behavior. Any items not permitted need an explanation on the DC-447,
                       Psychiatric Observation Cell Orders. Psychiatry provider shall assess if a
                       mental health commitment is necessary and shall provide recommendations
                       and document accordingly as soon as possible.

                       An officer shall be assigned to provide constant watch. The assigned officers
                       are scheduled to rotate every two hours. The officer is required to have
                       visual contact of the inmate at all times. This may also be accomplished if
                       the inmate is located in a camera cell and has full view of the inmate at all
                       times. If the camera is covered, then the necessary actions must take
                       place in order to remove the objects covering the camera. If this is not
                       possible, then the officer shall be assigned to the cell door and must have
                       full view of the inmate at all times. If the inmate is continuously covering
                       the view into the cell, all necessary actions need to take place in removing
                       the objects that are being used to cover the view of the inmate, this does
                       not require orders from Psychiatry. This must be documented in the DC-
                       483. Any planned use of force shall be documented in accordance with
                       Department policy 6.3.1, “Facility Security.”

                       If more than one inmate is on constant watch at the same time, they may be
                       placed in adjacent POCs so that one officer may watch more than one

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                       inmate. Constant watch may not be assigned to one officer who cannot observe
                       both inmates simultaneously.

               (2)     Close Watch35

                       This is less restrictive than constant watch; however, there is still potential
                       danger for self-injurious behavior. Visual checks shall be made in such a fashion
                       that the inmate is not aware of a pattern developing, but at least once in every
                       ten-minute period for a total of seven entries per hour. The assigned officers
                       are scheduled to rotate every two hours. The type of clothing and cell items
                       permitted is based on the clinical judgment of the psychiatric provider based on
                       the inmate’s security needs and current behavior. 36 Any items not permitted
                       require an explanation on the DC-447. A log is kept of the visual checks, and a
                       record is maintained for the approved clothing and related items employing the
                       DC-483.

               (3)     Regular Watch

                       This is the least restrictive level of observation and is usually the last step prior
                       to release from observation. Visual checks shall be made in such a fashion that
                       the inmate is not aware of a pattern developing, but at least within a 30-minute
                       period (random – three entries in an hour). This level of observation does not
                       require the assignment of a dedicated officer. Periodic checks are to be made
                       by the officer regularly assigned to the area. A log is kept of the visual checks,
                       and a record is maintained for the approved clothing and related items
                       employing the DC-483.

               (4)     A Recovery Plan shall be designed by the PRT with goals to reduce the level of
                       observation as soon as possible and eventually discharge the inmate from the
                       observation area to a follow-up plan. Double celling should be considered,
                       particularly for inmates under regular or close watch. PRT entries shall be made
                       on the DC-472 and in the psychiatric section of the Medical Record.

      4. Governing Authority over the Watches

          a. A psychiatrist/PCRNP shall order an admission to the POC and specify the type of
             suicide watch and any items permitted in the cell (i.e. clothing, reading materials,
             etc.). However, in an emergency, the Facility Manager/designee and/or Shift
             Commander, LPM/designee, or Nurse Supervisor/Charge Nurse can order an
             admission. The psychiatrist/PCRNP or physician shall order discharges from the
             watch and Infirmary.

          b. Administration and clinical staff of the MHU govern operation of a watch in the MHU.


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          c. Confinement outside of the infirmary area is governed by Department policies DC-
             ADM 801, “Inmate Discipline” and DC-ADM 802, “Administrative Custody
             Procedures.” Each inmate shall be allowed privileges and personal property,
             encouraged to exercise, and provided personal property consistent with his/her level
             of custody and within the guidelines established by Department policy.

               (1)     Every inmate placed on suicide observation, both inside and outside the
                       infirmary, shall be given written notice of the reasons for Administrative Custody
                       using a DC-141, Part 1, Other Report Form. For an inmate placed in
                       observation outside of the infirmary, a hearing is scheduled according to the
                       provisions of Department policy DC-ADM 802.

               (2)     An inmate placed in observation status outside the infirmary shall be given a
                       review whereby he/she is presented with the reasons for AC and given the
                       opportunity to discuss the situation with PRC.

               (3)     The PRC controls the level of observation outside of the infirmary area and
                       based on the recommendations made by members of the PRT. Privileges are
                       recommended by the mental health staff and authorized by the PRC.

          d. Each facility shall develop local procedures to ensure close collaboration between the
             health care, treatment, and custody departments, and compliance with the National
             Commission Correctional Health Care (NCCHC) and American Correctional
             Association (ACA) standards, DHS regulations for MHUs/FTCs, and Department
             policies and directives.

      5. Use of Psychiatric Restraints37

          Psychiatric restraints shall be used to protect a mentally disabled inmate from harming
          himself/herself or others in accordance with Department policy 6.3.1, Section 32 and
          Section 33.

      6. Mental Health Commitment

          If the inmate remains a high suicidal risk, the facility mental health staff shall initiate a
          mental health commitment to a licensed inpatient facility using established local
          procedures for processing the necessary commitment.

          a. Emergency Involuntary (302) Commitments may be initiated to one of the MHUs in
             the Department or to the FTC at SCI Waymart.

          b. Long Term Involuntary (304) Commitments may be initiated to the FTC at Waymart,
             or to a DHS Forensic State Hospital if the inmate is a female. Although the FTC and
             Forensic State Hospital are the preferred sites for long-term commitments, 304s may
             also be conducted in the MHUs.

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          c. Voluntary (201) Commitments may be placed in a Department MHU, or in the FTC at
             SCI Waymart.

     7. Discharge of an Inmate from a POC

          a. The staff shall be aware of the increased risk of suicide for an inmate released from a
             POC and shall be conservative in discharging him/her.

          b. If the inmate who has been housed in an infirmary observation cell is returning to
             general population, the following precautions shall be ensured by the discharging
             authority:

               (1)     the inmate shall be closely monitored by staff;

               (2)     Psychology staff will interview the inmate in the POC on the day of discharge.
                       Additionally, the inmate will be interviewed by Psychology on the day of
                       discharge on the unit they are discharged to, the following day, and as clinically
                       indicated until PRT convenes (i.e. within seven days);

               (3)     arrangements shall be made to discuss the case with staff assigned to the unit
                       to which he/she shall be released;

               (4)     PRT develops an aftercare plan for the inmate; and

               (5)     the inmate will be scheduled for PRT within seven days of discharge.

          c. Release of an inmate from POC to housing units that are not general population
             (RHU, SRTU, SMU, DTU, etc.):

               (1)     PRT will create an aftercare plan, to include an updated Change of Status IRP.
                       Arrangements should be made to discuss the aftercare plan with staff on the
                       housing unit receiving the inmate;

               (2)     placement of the inmate in a cell within close observation of Corrections
                       Officers;

               (3)     15-minute close observation and/or continuous video monitoring is initiated and
                       maintained;

               (4)     the Psychology staff, in conjunction with the inmate’s counselor, shall maintain
                       daily contact with the inmate and review the corrections staff logs, incident
                       reports, and any classification materials;

               (5)     the inmate shall be scheduled for a psychiatry appointment as per the
                       recommendations indicated in the POC discharge progress note; and


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               (6)     the inmate shall be scheduled to be reviewed by PRT within seven days of
                       discharge. PRT shall continue to review the inmate until the team determines
                       that close observation is no longer needed. PRT will also review roster status
                       upon discharge and assess for credible evidence of functional impairment.

      8. Treatment Planning and Responsibilities

          a. PRT

               The PRT members shall meet within three working days of the inmate’s placement in
               observation to discuss present and future interventions. The PRT shall develop an
               aftercare plan based on the inmate’s therapeutic needs. The PRT shall monitor the
               inmate’s progress for at least 30 days after his/her release from observation.
               Monitoring may be extended, based on the inmate’s risk level, if determined by team
               members.

          b. Continuity of Care38

               An aftercare plan is developed by the PRT based on the inmate’s therapeutic and
               custodial needs. Recommendations for RTU placement (if one is available in the
               facility), monitoring via the regular facility tracking system, and/or weekly counselor or
               psychologist contacts are possible components of a plan. The PRT monitors the
               inmate’s progress for at least 30 days after his/her release from observation.
               Monitoring may be extended, based on the inmate’s risk level, if determined by team
               members.

          c. Unit Psychologist and Counselor/DATS

               Based upon the recommendation of the PRT, both the Unit Psychologist and
               counselor/DATS, as part of the PRT, shall visit the inmate daily while he/she is on a
               constant or close watch. Afterward, follow-up is determined by the PRT.

          d. Psychiatrist/PCRNP

               These visits are determined by the psychiatrist/PCRNP’s availability during a one-
               week period. If the inmate is on constant or close watch, the treating
               psychiatrist/PCRNP shall visit the inmate every day he/she is in the facility.

          e. Physician

               The facility physician shall visit the inmate daily.




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          f. Licensed Psychologist Manager (LPM)

               The LPM/designee shall arrange for timely mental status examinations and monitor
               the daily adjustment of every inmate in the observation area. The LPM shall chair the
               PRT meetings and ensure that recommendations are provided to the PRC when the
               inmate is released from the POC.

          g. Unit Manager

               The Unit Manager shall provide information regarding the inmate’s current situation,
               and assist in the implementation of the aftercare plan after the inmate’s release from
               observation.

          h. Nursing Staff

               The nursing staff shall open a psychiatric inpatient record upon admission. The
               registered nurse shall be the contact person for the psychiatrist/PCRNP. Nursing staff
               shall visit each inmate in a POC every two hours in accordance with Department
               policy 13.2.1

          i.   Training Coordinator

               The Training Coordinator shall ensure that all contact staff receive training in suicide
               prevention, in accordance with Department policy 5.1.1. The training sessions shall
               be team-taught by a member of the treatment staff and a custody staff member.

L. Suicide Prevention Committee

     1. The Suicide Prevention Committee at each facility is a multi-disciplinary, multi-level
        committee with a designated chairperson who is expected to remain current on research
        and scholarship about correctional suicide prevention. The composition of this committee
        is the same as the clinical review team referenced in Department policy 13.1.1,
        “Management and Administration of Health Care,” Section 9 although the Facility
        Manager/designee has the discretion in adding members as deemed clinically and
        professionally necessary. This committee meets monthly and reviews completed
        suicides, serious suicide attempts and recommends changes for the future. The purpose
        of the Suicide Prevention Committee is to review ACA standards pertaining to suicide
        prevention and evaluate local facility processes and procedures as they relate to suicide
        prevention with the intent of improving and developing best practices. Additionally, each
        month the Suicide Prevention Committee will review the most recent and available
        Central Office Special Needs Psychiatric Review Team (COSNPRT) packet for the
        specific purpose of completing all outstanding DC-516, Evaluation of Inmate Self-
        Injury and clinical reviews. A specific plan of action will be included in the Suicide
        Prevention Committee meeting minutes to resolve the outstanding DC-516s and clinical
        reviews identified by COSNPRT. Furthermore, operational recommendations regarding
        systemic and institutional suicide prevention should be considered and proposed from
        the data provided by COSNPRT. A copy of the most recent and available COSNPRT
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          packet will be provided for all Suicide Prevention Committee members at the time of this
          meeting or earlier, if possible, for planning purposes.

     2. Examples of what this committee should review shall include, but not be limited to the
        following:

          a. ACA standards in regard to all contact staff receiving annual refresher training in
             suicide prevention also in concert with Department policy 5.1.1;

          b. the process by which all inmates received at the facility receive a suicide prevention
             orientation within 30 days of their reception at the facility;

          c. methods for distributing the “Living Through It” brochure;

          d. POC procedures;

          e. developing and updating a video to be aired on the inmate dedicated channel
             introducing mental health staff and services offered by Psychology;

          f. developing wallet or pocket cards for dealing with inmates suffering from mental
             illness or intellectual disability and potentially suicidal inmates;

          g. ensuring proper submission and review of all DC-516s;

          h. quarterly suicide drills for response time from medical, custody, and other appropriate
             staff, which are to be submitted to the institutional Critical Incident Manager to ensure
             that the Critical Incident Stress Management (CISM) Team is activated afterward;
             and

          i.   post POC PRTs that are required to occur.

M. Mental Health Services Review Committee (MHSRC)

     The Mental Health Services Review Committee (MHSRC) at each facility shall annually
     review this procedures manual and make recommendations for changes or improvements
     believed to be helpful. Recommendations for changes or additions to the procedures
     manual shall be submitted to the Chief of Psychiatry, Chief of Psychological Services, and
     the respective Regional LPM for review and coordination. In addition, the MHSRC shall
     review the facility’s written procedures for screening, treating, tracking, and follow-up of
     inmates in need of mental health services and recommend changes and updating as
     necessary. All staff participating in the MHSRC (i.e. to include all Psychology staff members)
     shall sign a training roster reflecting that they have received training on this procedures
     manual. The MHSRC report is due the month preceding the SCI’s annual audit month.




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                                                         BULLETIN
                                    Commonwealth of Pennsylvania • Department of Corrections




Policy Subject:
                         Access to Mental Health Care Procedures Manual
                           Section 3 – Delivery of Psychiatric Services

Policy Number:
                                       13.08.01, Section 03-01
Original Issue Date:
                                          August 17, 2018
Date of Issue:                    Authority:                               Effective Date:
      December 10, 2018                  Signature on File                      December 17, 2018
                                          John E. Wetzel

The purpose of this bulletin is to revise Section 3 – Delivery of Psychiatric Services of
Department policy 13.8.1, “Access to Mental Health Care Procedures Manual.” Changes below
are noted in bold and italics.

Subsection D. Guidelines for Psychiatric Observation Cells (POC) 4.j. shall now read:

j.   complete an on-site or via Tele psychiatry (where feasible) evaluation within two hours after the
     application of any psychiatric restraints in the POC (psychiatrist only). During times of extreme
     weather conditions, it is expected that the psychiatrist shall communicate with site,
     complete the assessment over the phone, and complete the documentation in Sapphire
     accordingly. The psychiatrist will assess the patient face to face as soon as the extreme
     conditions abate and it is safe to drive to the site.




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Section 3 – Delivery of Psychiatric Services

A. Documentation of Psychiatry Services

     This section establishes procedures for the delivery of psychiatric services. All psychiatric
     reports, assessments (practitioner/nursing), exams, progress notes, etc. shall be filed under
     the psychiatric divider in the inmate medical record.

     1. DC-472C, Outpatient Psychiatry Progress Notes (Attachment 3-A)

          a. A DC-472C shall only be used by a psychiatrist or Psychiatry Certified Registered
             Nurse Practitioner (PCRNP) to document psychiatric patient care provided at all
             locations within the Department of Corrections (DOC). Psychiatry providers at a
             Mental Health Unit (MHU)/Forensic Treatment Center (FTC) shall utilize DC-
             472E, Inpatient Progress Note. The Subjective Objective Assessment Plan (SOAP)
             format includes:

               (1)     military time and date;

               (2)     S (Subjective) – The inmate’s described interval (since last visit) and current
                       psychiatric and medical symptoms, pertinent interval history, pertinent
                       pharmacology or medication concerns, etc;

               (3)     O (Objective/Observations) – The clinician’s mental status examination (MSE),
                       Abnormal Involuntary Movement Scale (AIMS) score, other test or observation
                       results (including cognitive screening examinations), and significant laboratory
                       test results which the work up and/or treatment will be based upon. Additional
                       components of an MSE can be described in the line spaces provided. Behaviors
                       observed by other staff and reported to the clinician can be described here;

               (4)     A (Assessment) – Diagnosis/rationale – need for treatments,
                       medications/medication adjustments/change in medications/medication
                       compliance; and

               (5)     P (Plan) – The clinician’s treatment plan, including a diagnostic component and a
                       therapeutic component, could include:

                       (a)   psychotropic medications (new or modify pre-existing) with rationales;

                       (b)   laboratory test including blood levels, electrocardiogram (EKG), X-Rays,
                             etc.;

                       (c)   referrals to other disciplines such as Medical and Psychology
                             (psychotherapy, psycho education, etc.);

                       (d)   request/review of medical records from outside sources;

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                       (e)   administrative/security concerns to be addressed;

                       (f)   Program Review Team (PRT) regarding changes to C and D Roster
                             status;

                       (g)   next appointment (routine and/or brief follow-up); and

                       (h)   statement of discussion with the inmate.

          b. All outpatient psychiatry progress notes shall be signed by the psychiatric provider,
             above a block stamp of the name and professional degree-certifications.

     2. Psychiatric Reports/Examinations

          a. The following are examples of psychiatric examinations:

               (1)     psychiatric assessments;

               (2)     second opinions;

               (3)     commutation;

               (4)     pardon;

               (5)     guilty but mentally ill (GBMI);

               (6)     specialized housing units; and

               (7)     other reports as requested.

          b. Each report shall be dictated and signed. The exam evaluation shall cover:

               (1)     demographic information;

               (2)     current psychiatry history;

               (3)     past psychiatric history;

               (4)     substance abuse/dependence history;

               (5)     current psychotropic medications and compliance;

               (6)     mental status examination;

               (7)     diagnostic impression;

               (8)     recommendations including ongoing and routine treatment; and
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               (9)     any other relevant information.

     3. Informed Consent for Psychotropic Medication

          a. The DC-452D, Informed Consent for Psychotropic Medication (Attachment 3-B)
             shall be completed by a psychiatrist/PCRNP when a new medication is ordered. The
             purpose of the form is to ensure the inmate is aware of possible side effects, and
             verbalizes an understanding of the medications. A Spanish version of the DC-452D is
             available (Attachment 3-C).

          b. The inmate shall be asked to document whether he/she wants, or does not want, to
             take the medication.

          c. Upon form completion, the inmate shall be asked to date/time and sign the document.

          d. When an inmate refuses to sign the form, the psychiatrist/PCRNP shall document the
             inmate refusal on the DC-452D. If the inmate needs the medication, and wants to
             continue taking it, refusing to sign the form does not mean the medication shall be
             stopped; this shall be documented in the progress notes.

          e. The psychiatrist/PCRNP shall be required to date/time and sign the form. Patient
             facilitator can complete this form during the Telepsychiatry session.
             Telepsychiatry provider shall document the medication consent process
             accordingly in the progress note.

B. Provisions of Psychiatric Services by a PCRNP

     1. Terms of Practice

          a. A PCRNP is subject to the terms of agreement for credentialing and privileging
             established by the Bureau of Health Care Services (BHCS) (refer to Department
             policy 13.1.1, “Management and Administration of Health Care Services,”
             Section 1) and the contract services provider providing psychiatric services. The
             individual PCRNP’s practice is also subject to the terms specified in the Collaborative
             Agreement for Prescriptive Authority (“Collaborative Agreement”) between a
             collaborating psychiatrist and the PCRNP, as stipulated by the Pennsylvania State
             Board of Nursing.

          b. The Collaborative Agreement is signed by the PCRNP, the collaborating psychiatrist,
             and a substitute psychiatrist who can provide collaboration for up to 30 days if the
             collaborating psychiatrist is unavailable. The collaborating psychiatrist may designate
             another psychiatrist to be contacted in urgent situations where he/she and the
             substitute psychiatrist are both not immediately available. The Collaborative
             Agreement also describes the PCRNP’s ability to prescribe psychotropic medications
             and limitations in prescribing controlled substances. A copy of the signed
             Collaborative Agreement shall be kept on file at the contract service provider’s
             regional office and by the Correctional Health Care Administrator (CHCA) at the
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               PCRNP’s facility of clinical practice. More than one Collaborative Agreement may be
               necessary, if the PCRNP practices at two or more facilities with different
               psychiatrist(s). At a minimum, the PCRNP and his/her collaborating
               psychiatrist/substitute psychiatrist shall meet, or talk by telephone, at a minimum
               once a month and, if needed, weekly to discuss cases, prescription practices, or
               other clinical practice issues. Any changes in clinical care, plan, or treatment
               because of the collaboration discussion shall be documented in patient’s
               record by the PCRNP.

     2. Scope of Psychiatric Practice

          a. The scope of PCRNP practice is the same as that for a contract service provider
             psychiatrist working in the Department, except for the following limitations in
             accordance with Commonwealth statutes:

               (1)     may not provide the required first or second psychiatric opinion in cases where
                       the involuntary administration of psychotropic medication is being considered, in
                       accordance with Subsection E.2.g. below;

               (2)     may not assume the role of examining physician for the purposes of any
                       voluntary or involuntary mental health commitment, in accordance with Section
                       2 of this procedures manual;

               (3)     may not be assigned as, or assume the role of, a Clinical Director of an MHU or
                       of a Psychiatric Director of a unit in the FTC of the State Correctional Institution
                       (SCI) Waymart;

               (4)     may not order the initiation, renewal/continuation, reduction, or discontinuation of
                       psychiatric restraints for an inmate; and

               (5)     shall prescribe controlled substances in accordance with Pennsylvania Code:

                       (a)   schedule I: cannot prescribe;

                       (b)   schedule II: 30 day maximum prescription order;

                       (c)   schedule III and IV: 90 day maximum prescription order; and

                       (d)   schedule V: cannot prescribe, as these are not part of the Collaborative
                             Agreement.

          b. Can function as the sole outpatient psychiatric provider at a facility.

          c. May provide psychiatric services at all Department facilities, including:

               (1)     any of the outpatient housing units;

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               (2)     Diagnostic and Classification Centers (DCCs);

               (3)     admission to, and discharge from, a Psychiatric Observation Cell (POC);

               (4)     admission assessments, discharge, and routine care of patients in the FTC
                       (inpatient) including psychiatric restraints with the approval from the
                       Department of Human Services (DHS); and

               (5)     after hours on call for a facility, as contracted by the contract services provider.

C. Psychiatric Therapeutic Restraints

      1. Psychiatric therapeutic restraints are designed to control acute, or episodic, aggressive
         behaviors of inmates, only when less restrictive measures and techniques have proven to
         be less effective.

      2. Therapeutic restraints shall only be used when an inmate is acting in a manner as to be a
         clear and present danger to himself, to other inmates, or employees due to psychiatric, or
         organic medical, causes or conditions.

      3. Psychiatric therapeutic restraints shall be used in accordance with Department policy
         6.3.1, “Facility Security,” Section 33.1

D. Guidelines for Psychiatric Observation Cells (POC)

      1. General Procedures

          a. The Registered Nurse Supervisor/designee shall notify the Shift Commander of every
             POC admission and discharge.

          b. Every inmate placed in a POC shall be within sight or sound observation of the
             medical and/or operations staff at all times. A facility with an infirmary shall locate the
             POC close to the medical area where feasible.

          c. If a Restricted Housing Unit (RHU) or Diversionary Treatment Unit (DTU) cell is
             temporarily utilized as a POC for a psychiatric admission, it must be a camera
             cell and the individual must initially be placed on a constant watch unless the
             psychiatry provider decides to change it based on his/her assessment. This
             initial constant watch will remain in place until a face-to-face assessment is
             completed by the psychiatric provider. Additionally, if an RHU or DTU cell is
             temporarily utilized as a POC, it is mandatory that all provisions of
             implementing all safeguards, levels of watch, documentation, and operational
             procedures as directed by this Section and Section 2, Subsection K.3. of this
             procedures manual, as well as other policies directing other disciplines’
             operations for this setting are followed. It is imperative that all disciplines and

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               members of multidisciplinary teams, including security, are informed of the
               individual’s needs and the expectations of this temporary housing placement.

          d. The Department discourages prolonged psychiatric admission/stay in POC,
             unless the inmate is being provided/receiving appropriate treatment, steadily
             improving, and/or awaiting discharge to an appropriate housing unit, MHU, or FTC.

          e. In accordance with Department policy 6.3.1, a DC-141, Part 1, Other Report, must
             be prepared by the facility staff witnessing the event; completed reports shall be
             submitted to the Shift Commander. The Shift Commander/designee shall distribute
             copies of the DC-141 to the Program Review Committee (PRC), Facility Manager,
             psychiatrist, PCRNPs, Mental Health Coordinator (MHC), Control, CHCA, Unit
             Manager, counselor and/or Drug and Alcohol Treatment Specialist (DATS), and
             Inmate Records.

          f. An inmate shall only be discharged from a POC upon being assessed face-to-face or
             via Telepsychiatry by the psychiatrist/PCRNP with a documented DC-472C and DC-
             474A, POC Discharge Summary Form (Attachment 3-D), and only upon a written
             order by the psychiatrist/PCRNP. Verbal or telephone orders for discharge are not
             acceptable.

          g. The Registered Nurse Supervisor/designee shall ensure that the PRC is notified of
             planned POC discharges so that PRC may arrange for appropriate housing.

     2. Notification of Facility Psychiatrist/PCRNP or MHC for Psychiatric Emergencies by
        Facility Staff

          a. During regular working hours, the MHC/Registered Nurse (RN)/designee shall call
             the facility psychiatrist/PCRNP. The psychiatrist/PCRNP shall evaluate the inmate for
             a POC admission. If a psychiatric emergency exists, psychiatry provider shall
             instruct the nursing staff to admit the inmate to a POC for psychiatric reasons. The
             psychiatrist/PCRNP shall complete a DC-447, Psychiatric Observation Cell Order
             (Attachment 3-E) and document the reasons/findings in the DC-472C.

               (1)     If a psychiatric emergency exists and a psychiatric provider orders a POC
                       admission, but all current POCs at the current facility are currently
                       occupied or otherwise unavailable, collaboration of members of PRT and
                       PRC must consider the following:

                       (a)   whether any of the current patients in the POC can be moved to a less
                             restrictive setting with provisions of safeguards and watches, as
                             appropriate, and ordered and supported by the psychiatric provider;

                       (b)   if the above is not possible, an RHU or DTU cell may be temporarily
                             utilized as a POC for a psychiatric admission. This cell must be a
                             camera cell and the individual must initially be placed on a constant
                             watch unless the psychiatry provider decides to change the watch
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                             based on his/her assessment. This initial constant watch will remain
                             in place until a face-to-face assessment is completed by the
                             psychiatric provider. Additionally, if an RHU or DTU cell is temporarily
                             utilized as a POC, it is mandatory that all provisions of implementing
                             all safeguards, levels of watch, documentation, and operational
                             procedures as directed by this Section and Section 2, Subsection K.3.
                             of this procedures manual, as well as other policies directing other
                             disciplines’ operations for this setting are followed. It is imperative
                             that all disciplines and members of multidisciplinary teams, including
                             security, are informed of the individual’s needs and the expectations
                             of this temporary housing placement; and

                       (c)   transfers to another facility for this purpose are strongly discouraged.

               (2)     If a psychiatric admission to POC is not warranted, MHC/RN/designee shall
                       inform the Captain/Shift Commander of the clinical decision. The
                       psychiatry provider shall document the findings in the DC-472C with plan
                       and recommendations.

                       (a)   If concern still exists regarding keeping the inmate safe from himself
                             or herself that is not due to psychiatric etiology (e.g., the inmate
                             expresses/making threatening suicidal gestures or inflicts self-harm,
                             but the psychiatric provider has deemed the ideations or actions to
                             not be the result of psychiatric impairment), collaboration between
                             members of PRT and PRC should consider alternative housing in a
                             DTU or RHU, with provisions of implementing enhanced security
                             measures and restrictions (e.g. Intermediate Restraint System,
                             Restraint Chair, etc.) as appropriate and outlined in Department
                             policies 6.3.1 and 6.5.1, “Administration of Security Level 5 Housing
                             Units,” to provide a housing setting commensurate with the
                             individual’s current needs. Once an alternative location at the current
                             facility has been identified, it is imperative that all disciplines and
                             members of multidisciplinary teams, including security, are informed
                             of the individual’s needs and the expectations of this placement.

                       (b)   Unit psychology staff/counselor/designee shall provide support,
                             assess for suicidality, and monitor the inmate regularly until it is no
                             longer deemed necessary during working days.

                       (c)   Unit Certified Peer Specialist (CPS) shall also provide peer support
                             daily as needed.

                       (d)   The inmate will be scheduled for follow-up with psychiatry within one
                             to three days, if deemed necessary.

          b. During non-regular working hours, the Shift Commander may bring the inmate into a
             POC. The Registered Nurse Supervisor/designee shall evaluate the inmate using a
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               DC-586NN, Nursing Evaluation Tool: General Psychiatric Concern and contact
               the on-call psychiatrist/PCRNP to report the inmate’s condition and behavior.

               (1) If a psychiatric emergency exists, the psychiatrist/PCRNP shall order a POC
                    admission for psychiatric reasons, which shall include the level of observation
                    required and the items permitted to be in his or her possession; the nurse
                    receiving the verbal/telephone orders shall initiate/complete a DC-447, and other
                    documentations as outlined in this procedures manual.

               (2)     If a psychiatric emergency exists and a psychiatric provider orders a POC
                       admission, but all current POCs at the current facility are currently
                       occupied or otherwise unavailable, members of PRC and/or Shift
                       Commander must consider the following:

                       (a)   utilizing an RHU or DTU cell temporarily as a POC for a psychiatric
                             admission. This cell must be a camera cell and the individual must
                             initially be placed on a constant watch unless the psychiatry provider
                             decides to change the watch based on his/her assessment. This initial
                             constant watch will remain in place until a face-to-face assessment is
                             completed by the psychiatric provider. Additionally, if an RHU or DTU
                             cell is temporarily utilized as a POC, it is mandatory that all provisions
                             of implementing all safeguards, levels of watch, documentation, and
                             operational procedures as directed by this Section and Section 2,
                             Subsection K.3. of this procedures manual, as well as other policies
                             directing other disciplines’ operations for this setting are followed. It
                             is imperative that all disciplines and members of multidisciplinary
                             teams, including security, are informed of the individual’s needs and
                             the expectations of this temporary housing placement; and

                       (b)   transfers to another facility for this purpose are strongly discouraged.

               (3)     If a psychiatric admission to POC is not warranted (after the review by the
                       psychiatry provider), nurse/designee shall inform the Captain/Shift
                       Commander of the clinical decision.

                       (a)   If concern still exists regarding keeping the inmate safe from himself
                             or herself that is not due to psychiatric etiology (e.g. the inmate
                             expresses/making threatening suicidal gestures or inflicts self-harm,
                             but the psychiatric provider has deemed the ideations or actions to
                             not be the result of psychiatric impairment), collaboration between
                             members of PRC and/or Shift Commander should consider alternative
                             housing in a DTU or RHU, with provisions of implementing enhanced
                             security measures and restrictions (e.g. Intermediate Restraint
                             System, Restraint Chair, etc.) as appropriate and outlined in
                             Department policies 6.3.1 and 6.5.1 to provide a housing setting
                             commensurate with the individual’s current needs. Once an
                             alternative location at the current facility has been identified, it is
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                             imperative that all disciplines and members of multidisciplinary
                             teams, including security, are informed of the individual’s needs and
                             the expectations of this placement.

                       (b)   Unit psychology staff/counselor/designee shall follow-up the next
                             working day.

                       (c)   Unit CPS shall also provide peer support daily as needed.

                       (d)   The inmate will be scheduled for follow-up with psychiatry within one
                             to three working days.

      3. Nurses shall be required to perform/ensure the following.

             a. The RN shall perform an initial nursing assessment; and document the findings in a
                progress note. The note must include:

                (1)    chief complaint;

                (2)    vital signs;

                (3)    reason for admission (to include admission date and time);

                (4)    nursing assessment; and

                (5)    plan of care.2

             b. The RN shall contact the psychiatric practitioner to report the inmate’s condition, and
                to obtain physician orders; if receiving verbal orders, initiate the DC-447 and a copy
                of DC-447 shall be provided to the officer in charge of POC to follow through all
                the restrictions as ordered by the psychiatry provider. Any changes to these
                restrictions requires a new DC-447, and the RN shall communicate with the
                officer in charge of the changes by providing a copy of the new DC-447.

             c. Initiate and maintain the Inpatient Area Admission/Discharge Log (see Department
                policy 13.2.1, “Access to Health Care,” Section 7) which shall be used daily for
                updating the automated infirmary tracking log.

             d. Initiate and maintain the inpatient medical record in accordance with Department
                policy 13.1.1, “Management and Administration of Health Care,” Section 10.

             e. The RN shall initiate a DC-478, Inpatient Unit Nursing Care Plan (see Department
                policy 13.2.1, Section 7). The DC-478 shall include active psychiatric or medical



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                  problems, interventions, and expected outcomes. The DC-478 shall be updated
                  according to change of patient status.3

             f. Ensure the outpatient record is available in the inpatient unit nurse's station.

             g. Inform the Corrections Officer regarding the level of watch for the inmate, and the
                items permitted to be in his or her possession.

             h. Transcribe and initial all verbal and written practitioner orders. The practitioner must
                sign-off on all verbal orders within two hours on regular working days, and within 72
                hours/next working day during off hour, weekends, and holidays.

             i.   Verbal orders for medications shall be entered in the electronic Medication
                  Administration Record (e-MAR).

             j.   Procedures for psychiatric therapeutic restraints shall be followed in accordance with
                  Department policy 6.3.1, Section 33.

             k. The RN shall observe inmate behaviors, interact with the inmate to assess the
                stability, and provide therapeutic support at least every two hours during the
                shift, and document (using the SOAP [IER] format) the findings, observations, and
                behaviors in the inpatient progress notes, at a minimum of twice (every four hours)
                per shift, unless otherwise ordered by the psychiatric/medical practitioner.

             l. The RN shall report significant changes in the inmate's behavior or mental status to
                the psychiatric provider.

             m. Give a verbal and written shift-to-shift report to the incoming infirmary nurse. The
                Inpatient Daily Shift to Shift Report must be completed by each infirmary nurse at the
                end of each shift.

      4. The facility psychiatrist/PCRNP shall accomplish the following duties related to the POC:

             a. psychiatrist/PCRNP shall assess the inmate for the need of POC admission and
                document all clinical findings with respect to the need for the POC admission in
                the progress note, along with recommendations in relation to his/her treatment
                while the inmate is in the POC, and also complete the DC-447;

             b. POC admitted inmates shall be assessed daily during working hours on regular
                working days. Document the assessed clinical findings/progress/
                recommendations in the progress note;

             c. when appropriate, the psychiatric provider or psychology staff member may
                request an out-of-cell contact for those individuals psychiatrically admitted to
                the POC;

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           d. team review of the restrictions must be done on a daily basis on working days,
              same shall be documented and if any changes to the restrictions are
              considered, a new DC-447 shall be completed with all the new restrictions or
              lesser restrictions. This form must be completed in its entirety at all times;

           e. all POC discharge decisions shall be made during the team review. The
              MHC/RN/designee shall inform PRC of POC discharges;

           f. where feasible, Telepsychiatry may be utilized for POC admits/rounds/
              discharges, 302 commitments, and psychiatric restraints assessments;

           g. enter medication orders in the Electronic Health Record (EHR) eMAR;

           h. review and co-sign every verbal psychiatric order given to nursing staff upon
              admission within two hours on regular working days. All on-call psychiatry
              provider’s verbal orders shall be signed off by the same provider within 12
              hours after reviewing the DC-447 completed by the RN in the EHR;

           i.   complete the DC-474A within 24 hours of discharge or by the end of the next
                working day with follow-up recommendations.4 All patients who are being
                discharged from POC shall be referred to PRT; and

           j. complete an on-site or via Telepsychiatry (where feasible) evaluation within two
              hours after the application of any psychiatric restraints in the POC (psychiatrist only).5

     5. The Facility Physician shall be required to ensure the following.

           a. Review the annual or bi-annual physical examination.

           b. Perform an initial examination including:

                (1)    review of the medical problem list;

                (2)    review of the medical record including recent progress notes and orders;

                (3)    physical examination focused on current and newly developed medical
                       problems, such as recent trauma and abnormal findings listed on the DC-440,
                       Physical Examination Form;

                (4)    assessment with updated medical problem list; and

                (5)    medical treatment plan and orders to address current problems.6



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             c. Examine the inmate daily.

             d. Document daily in the progress notes via the SOAP format.

             e. Call the emergency on-call psychiatrist/PCRNP to obtain treatment recommendations
                regarding difficult to manage clinical cases. This may include recommendations for
                commitment to an MHU.

      6. The psychologist shall be required to ensure the following:

             a. Provide counseling and support during regular working hours (Monday – Friday). The
                psychology staff shall evaluate the inmate Monday – Friday with the psychiatric
                provider.

             b. Update the Individual Recovery Plan (IRP) addressing behavior warranting POC
                admission on the day of admission, or as soon as normal institution operations
                permit.7

             c. Verbally communicate concerns about the inmate’s condition to the nursing staff and
                inmate’s counselor and/or DATS.

             d. Document results of daily contacts in the progress notes.

             e. Assign each inmate placed in a POC to the PRT list for discussion at the first PRT
                meeting after the POC admission date.

             f. Facilitate, through the MHC, referrals and mental health commitments to MHUs or the
                FTC.8

             g. Complete the following monitoring when an inmate transfers from the POC to general
                population or a Residential Treatment Unit (RTU):

                (1)    the inmate shall be seen in the POC on the discharge day, or when normal
                       institution operations permit;

                (2)    the inmate shall be seen on the housing block, or when normal institution
                       operations permit;

                (3)    the inmate shall be seen the day after discharge from the POC; and

                (4)    the inmate shall be seen as clinically indicated until the PRT convenes. PRT
                       shall meet within seven days of the discharge.



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      7. The Shift Commander shall be required to ensure the following.

             a. During non-working hours, order the POC placement and contact the Registered
                Nurse Supervisor/designee to evaluate the inmate.

             b. Ensure Correctional Officers are documenting observation of behavior, as ordered.

      8. The Correctional Officer assigned to the POC shall.

             a. Document observation of behavior on the DC-483, Psychiatric Observation
                Monitoring Form (Attachment 3-F) as ordered by the physician. For constant and
                close watches, as defined in Section 2, Subsection K.3. of this procedures
                manual. All recording of observations is made on an irregular schedule that does not
                develop a pattern, but occurs at least once every ten minutes, for a total of at least
                seven entries per hour. The DC-483 shall not be completed with times entered in
                advance e.g. 0800, 0810, 0820, 0830, and 0840. Upon completion, the DC-483 shall
                be forwarded to the medical records department to be placed in the inpatient record.

             b. Notify the nursing staff immediately of any unusual behavior.

             c. CPSs can be used to provide support during watches conducted by Correctional
                Officers; the Correctional Officer must always be present during these watches.9
                Under no circumstances do CPSs replace staff; they increase supportive services.
                CPS supervisors should be aware, and explore any issues in regard to providing
                services in POCs during monthly supervision contacts. If issues arise requiring
                supervision sooner than the monthly interval, they shall occur.

             d. The supervisors of the CPSs, due to the sensitive nature of these assignments, will
                take considerable care in ensuring CPSs are mature, reliable, have credibility with
                both staff and inmates, are able to protect the suicidal inmate's privacy from other
                inmates, and can perform duties with minimal need for supervision.

             e. Each CPS will receive a job orientation, and sign the Inmate Job Orientation Form
                (see Department policy DC-ADM 816, “Inmate Compensation,” Section 1)
                maintained by the CPS supervisor that such occurred. This orientation, and ongoing
                training, will cover:

                (1)    location of suicide watch area (POCs);

                (2)    summoning of staff;

                (3)    recognizing behavioral signs of stress or agitation;

                (4)    two hours of on-the-job training; and


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                (5)    guidance on refraining from counseling or advising the inmate on watch.

          f. CPS supervisor will ensure all CPSs receive suicide prevention training. If this
             training is needed, CPS supervisor will coordinate the training.

E. Involuntary Administration of Psychotropic Medications10

      1. Guidelines

          Involuntary administration of psychotropic medication shall be given to an inmate only if:

          a. The inmate suffers from a mental disorder and/or an organic, mental, or emotional
             impairment that has a substantial adverse impairment on the inmate’s
             cognitive/volitional function.

          b. The inmate is an imminent threat of danger to self or others.

          c. The inmate is either currently:

                (1)    under an involuntary commitment in an MHU or the FTC;

                (2)    under a voluntary commitment in an MHU or the FTC, but an involuntary
                       commitment will now be initiated; and/or

                (3)    is housed in a POC or infirmary, and shall be assessed for an involuntary
                       commitment by a psychiatrist and if needed, it will now be initiated.

      2. Procedures for Treating Acutely Mentally Ill and Unstable Inmates

          a. An inmate showing signs of significant, impairing mental disorganization, including
             significant inability to care for self, and/or who possess a danger of hurting
             himself/herself or others, shall be immediately placed in a POC by security staff.

          b. The inmate shall be assessed for danger of physical harm to himself/herself or others
             by POC security staff, and nursing staff will be contacted.

          c. If the inmate is deemed dangerous to himself/herself or others, or cannot care for self,
             the Registered Nurse Supervisor/designee shall call the on-site psychiatrist/PCRNP
             during normal business hours. The on-site psychiatrist/PCRNP shall examine the
             inmate and assess the need for POC admission or psychotropic medication, and/or
             other interventions. After conducting an assessment of the inmate, the on-site
             psychiatrist/PCRNP shall document his/her findings in the progress notes with
             recommendations.



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          d. After normal business hours, or if there is no psychiatrist/PCRNP currently available
             during normal business hours, the on-call psychiatrist/PCRNP shall be contacted. The
             Registered Nurse Supervisor/designee shall discuss the inmate’s condition with the
             on-call psychiatrist/PCRNP, and document this discussion, and any psychiatric
             recommendations and verbal orders, in the progress notes and the Physician’s Order
             Sheet.

          e. After determining that the inmate requires psychotropic medication, the inmate shall
             be offered the opportunity to voluntarily accept the prescribed psychotropic
             medication. The inmate’s response(s) shall be recorded in the progress notes and
             filed in the psychiatric section of the inmate’s medical record.

          f. If the inmate refuses to voluntarily accept the prescribed psychotropic medication, the
             on-site/on-call psychiatrist/PCRNP shall be contacted for further instructions on how
             to treat the inmate.

          g. The on-site/on-call psychiatrist may then consider ordering the involuntary
             administration of psychotropic medication for the purpose of patient’s standing
             doses of medication treatment; however, the facility psychiatrist must obtain a
             second opinion from another psychiatrist on-site or elsewhere (a PCRNP cannot
             provide the initial or second opinion) in order to proceed with this plan of care.

          h. If this consulting psychiatrist does not concur, then a third consulting psychiatrist’s
             concurring opinion must be obtained, prior to ordering this medication. In these cases,
             it is preferable that the Psychiatry Contract Service Provider’s State Medical Director
             provides this opinion. If disagreement continues over the need for the involuntary
             administration of this psychotropic medication, then the Bureau Chief of Psychiatry
             shall be consulted.

          i.   If a final decision is made by the Chief of Psychiatry to not involuntarily administer the
               psychotropic medication, the medication shall not be given. The reasons for final
               decision will be recorded by the attending psychiatrist/PCRNP in the progress notes
               section of the inmate’s medical record, and an alternative treatment plan shall be
               developed in order to stabilize and ensure the health and safety of the inmate.

          j. In the case of extreme emergency

               The on-site/on-call psychiatrist determines that there is no less invasive means for
               preventing the inmate from causing harm to himself/herself or others, the
               psychiatrist/PCRNP may order STAT psychotropic medication over patient’s
               objection and shall assess the need for a mental health commitment as soon as
               possible.

               The psychiatry provider (on-site or on call) shall document the rationale and need
               for the involuntary administration of psychotropic medication in the progress note.
               This documentation must include the immediate threat posed to the inmate or others,
               all the efforts to have the inmate accept the medications voluntarily, every previous
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               unsuccessful treatment effort, and every emergency treatment that was needed to
               stabilize the dangerous behavior exhibited by the inmate.11

     3. Process for the Administration of Involuntary Psychotropic Medication12

          a. Upon approval of order, the nurse shall administer the involuntary psychotropic
             medication with the assistance of the security staff. Every measure shall be taken to
             ensure the safety of the inmate and staff, including the use of restraints as deemed
             necessary by security staff, and with consultation, as needed, from the psychiatrist;
             the ordering of psychiatric restraints can only be accomplished by a psychiatrist, not
             security staff.

          b. After the administration of medication, vital signs shall be monitored by the RN every
             30 minutes at a minimum, or until otherwise directed by the psychiatrist/PCRNP.
             Medication efficacy and side effects shall be monitored by the RN and documented
             in the progress note. In addition, hydration status, food intake, changes in mental
             status, etc. shall also be routinely assessed and documented accordingly by the RN.13

          c. The RN shall contact and inform the psychiatry provider if the medication did not
             produce the desired results and get further recommendations with respect to the
             need for further medication.14 The same shall be documented in the progress
             note. The verbal nursing order(s) for the first dose of medication, and any subsequent
             doses, shall be cosigned by the psychiatry provider as soon as possible.

          d. The psychiatrist (not PCRNP) shall perform an evaluation face-to-face or via
             Telepsychiatry as necessitated by reported concerns of inadequate response to one
             or more doses of the medication, deterioration of the inmate’s overall condition,
             worsening risk of harm to self or others, or at the specific request of the site Facility
             Manager/Deputy/CHCA/designee at any time.

          e. Recommended plan shall be documented in the progress note by the psychiatrist.15

          f. The treatment team shall begin emergency commitment procedures if indicated. The
             transfer to the FTC or MHU shall be completed at the earliest possible date.16 The
             inmate shall be placed on the PRT roster for review at the next meeting.

          g. This PRT review shall address the following:

               (1)     the reason for use of involuntary psychotropic medication;

               (2)     the inmate’s current status;

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15 4-4350, 4-4401
16 4-4374, 4-4404

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               (3)     a review of proposed or completed commitments to an MHU or FTC; and

               (4)     notification of the actions taken; all recommendations/comments must be
                       forwarded to the Facility Manager through the CHCA and Deputy Superintendent
                       for Centralized Services (DSCS). The CHCA shall notify the BHCS of this event
                       in the next monthly CHCA report.

F. Sleep Medications

     Department practice specifically prohibits the use of sleep medications, as well as other
     soporific medication for sleep disorder alone (in the absence of psychopathology). If the
     inmate does not have a documented/diagnosed sleep disorder, the following shall occur:

     1. the psychiatrist/PCRNP shall refer the inmate to psychology for the Sleep Hygiene
        Enhancement Program by initiating/completing a DC-97;

     2. sleep medications and minor tranquilizers are to be used only when other techniques,
        such as relaxation and support groups, have been found to be ineffective;

     3. minor tranquilizers, and sleep medications, shall only be prescribed when the need for
        such medication has been clearly documented by the psychiatrist/PCRNP;

     4. minor tranquilizers and sleep medications shall only be ordered for the shortest time
        period needed to achieve the therapeutic or diagnostic goal, and not to exceed 30 days,
        unless re-evaluated by a psychiatrist/PCRNP;

     5. the psychiatrist/PCRNP may renew the prescription only upon a face-to-face re-
        evaluation of the inmate. The psychiatrist/PCRNP shall document the rationale for
        continuing/renewing the prescription in the inmate's medical record; and

     6. the PRT must develop a treatment plan to address the sleep issues, and the
        discontinuation of the medication, as soon as therapeutically possible.

G. Benzodiazepines

     1. Department practice specifically prohibits the use of benzodiazepines, as well as other
        soporific medications.

     2. Use of benzodiazepine medication is discouraged because of the high potential for abuse
        through malingering and/or diversion, and because of the high potential for psychological
        and physiological dependence.

     3. Benzodiazepines are not to be used when there is a history of abuse, dependence on
        drugs or alcohol, or if the inmate has been detected to have utilized illegal drugs on a
        prison urinalysis drug test.


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     4. When the use of benzodiazepines is deemed necessary, rationale for the same shall be
        documented in the progress notes; it is recommended that use be in accordance with
        guidelines limiting continued utilization for a maximum of two months.

     5. The psychiatrist/PCRNP may renew the prescription if they are expiring prior to the
        scheduled appointment with the psychiatry provider for up to ten days, so as not
        to have abrupt withdrawals, and the inmate must be scheduled to have a face-to-
        face re-evaluation within seven days. The psychiatrist/PCRNP shall document the
        rationale for continuing/renewing the prescription in the progress notes.

     6. The PRT shall develop a treatment plan to address the issues, and the discontinuation of
        the medication, as soon as therapeutically possible.

     7. In those instances in which benzodiazepines are being withheld, it is recommended that
        withdrawal is managed by a gradual reduction of the benzodiazepines, or by switching to
        a longer-acting cross tolerant drug with which to begin the taper. Schedules may vary
        from tapering by 25% every five to seven days, which may produce some symptoms that
        are not severe, and still mitigates against seizures to a gradual reduction over six to eight
        weeks. If there is mixed alcohol and benzodiazepine dependence, use of a longer acting
        benzodiazepine with graded reduction is recommended. If there is polydrug abuse with
        benzodiazepine dependence, substitution of Phenobarbital for benzodiazepines with a
        slow tapering is sometimes recommended.

     8. In those cases where benzodiazepines are prescribed in association with other
        psychotropic medications and benzodiazepines are being discontinued, care shall be
        taken, as the psychotropic medications have the potential for lowering seizure threshold.

H. Psychiatric Medication Monitoring

     The Department provides clinical management of psychiatric illness and medication
     management through chronic care clinics. Medications specifically reviewed and monitored
     include Antipsychotics, Mood Stabilizers, and Tricyclic Antidepressants (TCA). Minimum
     guidelines shall be followed in order to monitor and evaluate for possible side effects of
     antipsychotic medications, mood stabilizers, and TCAs.

     1. Antipsychotic Medication**

          a. Initial Work Up – Fasting Serum Glucose, Fasting Lipid Panel, Complete Blood Count
             (CBC), Complete Metabolic Panel (CMP), Prolactin level*, Weight plus Body Mass
             Index (BMI), Blood Pressure, Electrocardiogram (EKG), Abnormal Involuntary
             Movement Scale (AIMS).

          b. Every Six Months – Fasting Serum Glucose, Cholesterol Panel, CMP, CBC, Blood
             Pressure, Weight plus BMI, AIMS.

          c. Every 12 Months – EKG

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               *Prolactin level initially, at six month mark and 12 month mark, then only if clinically
               indicated.

               **Pregnancy test if applicable.

          d. Documentation

               (1) DC-468C, Antipsychotic Medication Flow Sheet (Attachment 3-G)

                       (a)   A Psychiatric Provider/RN/Licensed Practical Nurse (LPN)/designee can
                             complete the DC-468C. The psychiatrist/PCRNP shall review and sign the
                             form and document any clinically significant findings in a progress note
                             (DC-472C or DC-472, Progress Notes).

               (2) Practitioner orders

                       (a)   Psychiatrist/PCRNP shall order required labs, EKG, AIMS, etc. and
                             document any clinically significant findings in the progress note.

                       (b)   Any labs/EKG done within 30 days of the due date are acceptable. The
                             provider shall review the lab results/EKG. Provider shall order new
                             labs/EKG if they are clinically indicated, and shall document the same in the
                             progress note.

               (3) DC-470, Abnormal Involuntary Movement Scale (AIMS)

                       (a)   The AIMS shall be completed in accordance with Department policy 13.2.1,
                             “Access to Health Care,” Section 3.

     2. Mood Stabilizer Medication*

          a. Lithium:

               (1) CMP, CBC with Platelets, Thyroid Stimulating Hormone (TSH) done: Initially, at
                   three months, at six months, then every six months thereafter.

               (2) Lithium level weekly x two at initiation or dose change, then at three months.
                   Once stable, every six months.

          b. Depakote:

               (1) CMP, CBC with Platelets: Initially, at three months, at six months, then every six
                   months thereafter.

               (2) Depakote level weekly x two at initiation or dose change, then at three months.
                   Once stable, every six months.

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          c. Trileptal:

               CMP, CBC with Platelets: Initially, at three months, at six months, then every six
               months thereafter.

          d. Tegretol:

               (1) CMP, CBC with Platelets: Initially, at three months, at six months, then every six
                   months thereafter.

               (2) Tegretol level weekly x two at initiation or dose change, then at three months.
                   Once stable, every six months.

                       *Pregnancy test if applicable.

          e. Documentation

               (1) DC-468B, Lithium, Depakote, Trileptal, Tegretol Flow Sheet (Attachment 3-
                   H)

                       A Psychiatric Provider/RN/LPN/designee can complete the DC-468B. The
                       Psychiatrist/PCRNP shall review and sign the form and document any clinically
                       significant findings on a progress note.

               (2) Practitioner Orders

                       (a)   Psychiatrist/PCRNP shall order required labs and document any clinically
                             significant findings on a progress note.

                       (b)   Any labs done within 30 days of the due date are acceptable. The provider
                             shall review the lab results. The provider shall order new labs if they are
                             clinically indicated, and shall document the same in the progress note.

     3. Tricyclic Antidepressants (TCA)*

          a. TCA: Laboratory tests (CMP, and CBC), EKGs will be ordered as clinically indicated
             based on patient’s Cardiac History (i.e. Cardio Vascular Disease, Coronary Artery
             Disease, history of A-fib, etc.) and/or knowledge of any adverse reactions.

               *Pregnancy test if applicable.

          b. Documentation

               (1) Practitioner Orders

                       (a)   Psychiatrist/PCRNP shall order required labs/EKG and document any
                             clinically significant findings on a progress note.
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                       (b)   Any labs/EKG done within 30 days of the due date are acceptable. The
                             provider shall review the lab results/EKG. The provider shall order new
                             labs/EKG if they are clinically indicated, and shall document the same in the
                             progress note.

     4. Other Special Labs

          Any special lab orders (Haldol levels/TCA levels/Clozaril levels etc.) shall require Mental
          Health Contract Statewide Psychiatric Director Approval.




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Section 4 - Temporary Transfer of Mental Health Commitments                  Revised 8/2010

Section 4 - Temporary Transfer of Mental Health Commitments

A. General Considerations

   1. If a state correctional facility has a Mental Health Unit (MHU) located on site, then the
      local MHU shall be used for voluntary (201) and involuntary (302), emergency commit-
      ments, extended involuntary emergency commitment (303), and interim placement for a
      patient with court ordered involuntary commitment (304c) awaiting transfer for extended
      care at the Forensic Treatment Center (FTC) at Waymart. If the facility does not have a
      MHU on site, then a Department Regional MHU shall be considered first for 201, 302
      applications, and 303 commitments. An inmate requiring 304 commitments shall be
      referred to the FTC at Waymart through the Bureau of Health Care Services (BHCS).

   2. Intra-facility transfers shall apply to Voluntary Commitments (201), and Involuntary
      Commitments for Evaluation and Treatment (302 and 304) as established by the Mental
      Health Procedures Act.

   3. If there is no bed available at a Department Regional MHU or alternate MHU, the inmate
      shall be referred to the FTC at Waymart for the 302 application and 303 commitment.

   4. If a MHU bed is available, but transportation considerations are prohibitive (due to
      distance and/or weather), a referral to the FTC may be approved by the BHCS.

   5. When the Department Regional Mental Health Unit determines that the inmate is to be
      discharged due to improved condition or transferred to the FTC at Waymart for extended
      care or a Department of Public Welfare (DPW) Forensic MHU, the MHU shall advise the
      mental health staff at the sending facility. The treatment staff from the two facilities shall
      conduct a discharge planning conference phone call, and the sending facility shall pick up
      the inmate within 72 hours of the date of the discharge from the MHU or in conjunction
      with the new admission to the FTC at Waymart or a DPW forensic unit.

   6. Each state correctional facility shall develop local procedures, assigning specific duties to
      appropriate staff, and develope special post orders for corrections officers conducting the
      transports.

   7. Every facility is encouraged to use Psychiatric Observation Cells (POCs) to control
      problem behaviors such as self-inflicted injury or uncontrolled agitation toward others.
      These cells can be used for two to three days to further assess suicide ideation or threats
      until a treatment plan can be developed such as transfer to a MHU or return to general
      population when stable. The use of these cells for longer than three days is discouraged,
      unless the purpose is to wait for a 304c hearing, which can take five to seven days.

B. Eligibility Criteria for Intra-Facility Transfer

   1. The identification, evaluation, and petition for voluntary commitment via 201 application
      and involuntary commitment via 302 and 304 petition shall be conducted in accordance


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         with the Mental Health Procedures Act 1 and Section 2, Delivery of Mental Health
         Services of this procedures manual.

      2. Every facility referral to be considered for transfer to a Department Regional MHU shall
         meet the following criteria:

         a. voluntary commitments shall have a Voluntary Application For Mental Health
            Treatment Form (refer to Section 2, Attachment 2-F of this procedures manual)
            completed by the sending unit and accepted by the receiving Department Regional
            MHU, as well as request for temporary transfer;

         b. 302 and 304 commitments shall have appropriate forms completed, as well as a
            Request for Temporary Transfer to a Mental Health Unit (Attachment 4-A);

         c. the custody level of the inmate being transferred shall be suspended for the course of
            that inmate’s time at the MHU or FTC;

         d. males shall be housed in a men’s MHU and females housed in a women’s MHU;

         e. the sending facility must guarantee a bed for the inmate when he/she is discharged
            from the Department Regional MHU or FTC;

         f. the appropriate Department temporary transfer petition shall be completed; and

         g. transportation to and from the Department Regional MHU or FTC shall be provided by
            the sending facility.

C. Department MHU Commitment Process

      1. At the Facility Manager’s request, the facility mental health staff shall identify individuals
         who may be in need of inpatient psychiatric evaluation and treatment.

      2. The facility Mental Health Coordinator (MHC) or designated psychology staff shall
         determine if the inmate meets the criteria for a mental health examination and
         commitment.

      3. If a mental health examination and emergency involuntary commitment is deemed
         appropriate and the facility does not have a MHU on site, then the MHC or designated
         psychology staff shall pursue a placement at a Department Regional Mental Health Unit.
         If a male inmate meets the criteria for non-emergency involuntary commitment status, the
         staff shall refer the inmate to the FTC at Waymart if he is determined to be chronically
         mentally ill and unable to care for himself in the facility. A female inmate who meets this
         criteria shall be referred to the forensic units at either Mayview or Norristown State
         Hospitals.



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   4. The MHC or designated psychology staff shall contact the Department Regional MHU
      Director to discuss the case and obtain approval for MHU admission. The MHC or
      designated psychology staff shall also contact their facility CHCA or designee and
      provide the name and Department number of the inmate and the mental health facility to
      which the inmate will be transferred. The sending facility CHCA/designee shall review the
      medical file and contact the CHCA/designee of the designated receiving mental health
      facility and provide any additional medical information/status to ensure no lapse in
      medical treatment. The MHC shall fax a Request for Temporary Transfer to a Mental
      Health Unit to the MHU Director and the office of the Chief of Psychological Services
      that shall include the date of transfer. The sending facility shall telephone the
      Transportation Division at 717-731-7072 or email the transportation group at CR-DOC
      Inmate Transportation.

   5. The sending facility shall telephone the Bureau of Treatment Services (BTS), Diagnostic
      and Classification Coordinator, who handles transport to advise of the impending transfer
      and provide the information from the Request for Temporary Transfer to a Mental
      Health Unit.

   6. The facility mental health staff requesting commitment shall process the 201, 302, or 304
      petition in accordance with the Mental Health Procedures Act. The preferred procedure
      for completing the 302 and 304c petition shall be for the physician examination sections
      to be completed by a psychiatrist or physician in the sending facility, not the receiving
      MHU or Waymart.

   7. The MHC of the sending facility shall arrange vehicle transportation for the patient to the
      Department Regional MHU.

   8. The MHC shall prepare the transfer package consisting of at least the following
      documents, which must accompany the inmate:

      a. original 201 application, 302 or 304 petition;

      b. complete DC-15, Inmate Record file;

      c. complete medical/dental and psychiatric files;

      d. a copy of the DC-17, Conduct Record; and

      e. a copy of the Inmate Cumulative Adjustment Record for the past 90 days.

   9. Staff shall ensure the inmate is sent with the minimum approved inmate property required
      for transfer in accordance with Department policy 6.3.1, “Facility Security” (see
      Approved Inmate Property for Transfer to a Mental Health Unit, Attachment 4-B).

 10. Upon arrival at the designated MHU, the transporting officer shall deliver the inmate and
     records to the Department Regional MHU staff through appropriate reception channels or
     procedures developed by the MHU staff. The complete medical/dental and psychiatric
     files shall be delivered to the facility’s medical records department.
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D. Department Regional MHU Responsibilities

   1. The Department Regional MHU Director/designee shall immediately review any cases
      submitted for consideration for commitment. The Director may request any additional
      information he/she believes is necessary and may also request a telephone conference
      call with referring staff to discuss the case. The MHU Director/designee shall notify the
      facility CHCA/designee when such a conference is scheduled.

   2. The MHU Director shall consult with the MHC to schedule the date and time for transfer
      and request any additional information.

   3. If the patient is ready for discharge at or before the treatment limits, the Department
      Regional MHU or FTC shall notify the MHC of the sending facility of the impending
      discharge. Treatment staff from the MHU or FTC and sending facility shall conduct a
      discharge treatment planning conference call. The facility shall arrange to pick up the
      inmate within 72 hours following the discharge date. Both parties shall document the date
      of the conference call, the participants, and a summary of the plans that were agreed
      upon.

   4. If an inmate needs care beyond the limits of the Regional MHU, the Regional MHU staff
      shall initiate a transfer to the FTC at Waymart or DPW Forensic MHU (females only). The
      referring facility shall be responsible for transportation of any transfer cases from the
      Department Regional MHU to the Forensic Psychiatric Unit at Waymart or a DPW Mental
      Health Unit.

   5. If the Department Regional MHU is transferring the inmate to the FTC at Waymart or to a
      DPW Forensic MHU, the MHU staff shall follow procedures in Section 2 of this
      procedures manual, including conference call, copy of 304 petition, Classification
      Summary, Mental Health Commitment - Medical Summary, and advising security and
      records office.

   6. The MHU staff shall advise the Corrections Classification Program Manager (CCPM) of
      the receiving facility of the inmate's presence in the MHU.




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Section 5 – Residential Treatment Units (RTUs)

A. Program Mission

     1. The Residential Treatment Unit (RTU) is designed to provide structure, consistency, and
        support to inmates who have been diagnosed with a serious psychiatric disorder and/or a
        serious impairment with psychological functioning. The RTU will implement treatment
        strategies that rely on the Recovery Model, which is based on recovery principles that
        facilitate individual growth, hope, self-determination, overcoming obstacles, coping skills,
        and re-connection to support systems. The Recovery Model is an evidence-based
        practice. The RTU is intended to provide opportunities for inmates and staff to establish a
        therapeutic alliance which is of the utmost importance for the recovery of the RTU
        inmate. The ultimate goal of the RTU is to maximize functioning within the Department
        and to facilitate a successful community reentry for relevant inmates.

     2. All “D” Roster facilities shall operate a RTU in accordance with this section. Each facility
        with a RTU is responsible for developing post orders, a unit operations manual, and local
        procedures consistent with this procedures manual. The manual, local procedures, and
        any revisions shall be reviewed and approved by the respective Regional Deputy
        Secretary. An annual review of every procedure and post order governing the RTU
        operation is to be conducted by unit staff and reviewed by the Facility Manager. Every
        revision, approval, and yearly review is to be maintained in the operations manual.

B. Admission Criteria and Process for Transfer

     1. The RTU is a unit designated for inmates with current, significant psychiatric and
        impaired psychological functioning. These inmates may be experiencing or may be
        predicted to have difficulty adapting to general population housing in the Department.
        Inmates currently in the RTU will not meet commitment criteria according to the
        Pennsylvania Mental Health Procedures Act.

          a. Only inmates on the active Mental Health Tracking Roster (Mental Health Rosters “C”
             and “D”) are eligible for placement on the RTU. Intellectual limitations may be taken
             into account, but only in the case of inmates with current, significant mental health
             issues. Inmates who carry a stability rating of C or D and who are receiving
             psychiatric services may be considered for placement in the RTU even if he/she could
             be safely housed in general population. An inmate should not be considered for RTU
             placement without a current significant mental health issue(s)/diagnosis. Inmates of
             every age group, custody level (except custody level 5), program code, and sentence
             structure are eligible for RTU placement, if they are identified as “active” on the
             Mental Health Roster.

               NOTE: The ultimate goal for RTU inmates is to be housed at the most
               independent/least restrictive level of care. This is especially important after Individual
               Recovery Plan (IRP) goals have been met.


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          b. An inmate who may have physical limitations, sensory impairments, is elderly, or who
             appears vulnerable, or who has other “special” needs that may inhibit positive
             adjustment to general population, but who does not have any current, significant
             mental health issues should be housed in another appropriate area of the facility.

      2. Referrals from within the facility may be made by the Unit Management Team, Medical
         Department, Psychology staff, Program Review Committee (PRC), or any other staff
         member who perceives an inmate as having adjustment difficulties due to a limitation.1
         The referral shall be made to the Psychiatric Review Team (PRT), who shall screen and
         evaluate the referred inmate.2 The inmate will attend this meeting and will have input into
         his/her potential placement in the RTU. If he/she declines to attend that meeting, this will
         be documented in the IRP and an Inmate Cumulative Adjustment Record (ICAR) entry
         shall be entered. Following the evaluation, the Unit Team shall prepare a DC-46, Vote
         Sheet concerning RTU admission. The recommendation shall be forwarded for
         administrative staff review and action through the Corrections Classification and Program
         Manager (CCPM), the Deputy Superintendent for Centralized Services (DSCS), and the
         Deputy Superintendent for Facilities Management (DSFM). The Facility Manager must
         review any split votes regarding RTU program admission or rejection.

      3. Facility staff who identifies an urgent need for RTU placement may request admission
         approval directly from the Facility Manager/designee.

      4. A referral from a facility where there is no RTU (such as a Security Level 2 facility), from
         a facility that has an inmate whose mental health needs it cannot accommodate, or
         where a separation is required, may be considered. Transfer requests shall be made via
         the transfer petition process as outlined in Department policy 11.1.1, “Population
         Management.”

      5. Every attempt shall be made to place any inmate who needs RTU housing into a suitable
         unit within 30 days of the initial evaluation.

      6. In cases where an inmate has been approved for RTU placement and space is not
         available, the PRT shall prioritize placement in the program. The following criteria shall
         be used:

          a. ability to function within general population;

          b. alternative placement availability;

          c. length of time inmate is likely to be in RTU;

          d. programming offered in the RTU; and

          e. objectives of the inmate’s IRP.

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      7. In order to generate additional RTU bed space, the PRT shall consider the following:

          a. double-celling an inmate; or

          b. discharge of a higher functioning inmate to alternative housing (if available, step down
             unit or appropriate general population housing).

      8. In those cases where an inmate is seriously disruptive within the unit, the RTU
         Management Team shall consider alternative but appropriate housing.3

C. RTU Cell Assignment

      1. Ideally, RTU inmates are compatibly double-celled.

      2. The Unit Management Team will make every effort to facilitate a double-celling
         agreement between compatible RTU inmates.

      3. Individualized determinations shall be made to ensure the safety of each inmate.
         (28 C.F.R. §115.42[b]) Inmates may be double-celled as long as there are no
         compatibility contraindications present including, but not limited to, age differences,
         disparate physical size, history of sexual perpetration or sexual victimization,
         Security Threat Group (STG) affiliation, security needs, PRAT scores, medical issues,
         geographic/regional differences, and/or a documented history of ethnic/religious violence.

      4. Inmates who have engaged in sexual abuse in a confinement setting shall not be
         doubled-celled.

      5. Involuntary double-celling of a RTU inmate should only occur under the direct oversight
         and supervision of the Unit Manager.

      6. The Involuntary Double-Celling Checklist (Attachment 5-A) shall be used prior to
         double-celling a RTU inmate. Any “yes” response in the Staff Review Section stops the
         process, pending review by the Unit Manager.

      7. Involuntary RTU double-celling after normal working hours is prohibited except in the
         event of extenuating circumstances, and should only occur with the authorization of the
         Shift Commander.

      8. RTU inmates will only be placed in a single cell if they meet the criteria for single-cell/Z-
         code status as outlined in Department policy 11.2.1, “Reception and Classification.”

D. Individual Recovery Plans (IRPs) and Psychiatric Review Team (PRT)

      1. An inmate on the Mental Health Tracking Roster requires an Initial IRP, Parts 1-3
         (Attachment 5-B). Within 14 days of admission, the RTU staff, in conjunction with PRT,

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          Psychology staff, and the inmate shall complete an Initial IRP (if the inmate does not
          already have one) or a Change of Status IRP (Attachment 5-C).

     2. All inmates on RTUs shall have their recovery plan updated every 120 days. This shall be
        accomplished using the Review-IRP (Attachment 5-D).

          a. IRPs should be specific to the inmate’s needs and should include obtainable goals
             that the inmate has helped create. The IRP should be recovery-based keeping
             recovery principles as the focus. The inmate’s input concerning his/her IRP should be
             taken into account by the PRT.

          b. The IRP Guidelines (Attachment 5-E) provide additional guidelines for writing IRPs
             as well as which type of IRP is appropriate for the inmate such as an Initial, Review,
             and/or Change of Status IRP.

          c. At SCI Muncy, the Daily Adult Interactive Learning Experience (DAILE) staff will work
             in conjunction with the RTU staff and the inmate to complete their IRPs. The inmate’s
             IRP will encompass both on-unit and DAILE goals. This will ensure that treatment is
             cohesive between both programs and not confuse the inmate with two separate
             treatment plans.

     3. PRT will be held on the RTU or another appropriate location. RTU inmates will be
        permitted and encouraged to attend PRT meetings related to their treatment. If an inmate
        declines to attend the PRT meeting, this shall be noted in the IRP and an entry in the
        ICAR should be noted. RTU staff and/or PRT shall review the IRP every 120 days as
        stated above and make appropriate revisions.

E. Treatment Team Meetings

     1. Treatment Team Meetings shall be conducted weekly if possible, bi-weekly at a
        minimum. Meetings shall include all disciplines of the RTU (Corrections Officer [CO],
        Counselor, Psychology, Unit Manager, Psychiatry, Alcohol and Other Drugs [AOD],
        Education, Medical, and Activities, as appropriate). Meetings shall be utilized to review
        IRP progress, review goals for inmates, review incentive programs, discuss inmate
        behavior, and evaluate inmates and recovery-oriented programming. Attendance of the
        Treatment Team meeting should be recorded and kept on file.

     2. At SCI Muncy, DAILE staff will be included in the RTU PRT meetings. This allows
        opportunity for pertinent information to be shared between the two programs.

F. Treatment Programming

     1. The RTU staff offer at least 35 hours of programming per week; including two hours each
        day of unstructured recreational activity. Participation in religious services, employment,
        or educational programs can be included in the required 35 hours. However, these areas
        cannot account for more than ten hours and the DC-43, Integrated Correctional Plan
        (ICP) programs cannot account for more than eight hours. Remaining programs must be
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          equally distributed through the provision of recreation, treatment specific, community, and
          therapeutic support.

          NOTE: At SCI Muncy, the DAILE program’s hours can be included in the required 35
          hours per week.

     2. Programming shall be voluntary, but highly encouraged, with assigned inmate
        participation in activities that should help the inmate meet his/her goals from their IRP.

     3. Programming shall be designed to stabilize and stimulate the recovery needs of the
        inmate with the ultimate goal, where appropriate, of re-integration into a general
        population housing unit.

     4. An inmate in RTU housing will be permitted to participate in group activities and other
        programs with general population inmates.

     5. The required 35 hours of RTU programming should include programs on and off the unit
        to meet the needs of both higher and lower functioning inmates. Programming should
        focus on meeting IRP objectives to include influencing inmates to have frequent
        opportunities for social interaction and to be actively involved with recovery oriented
        activities.

          NOTE: Trained Peer Assistants and/or Certified Peer Support Specialists can be utilized
          to assist staff in providing support programs and activities in compliance with Department
          policy 7.3.1, “Inmate Reentry and Transition.” At no time will a peer assistant or a peer
          support specialist be responsible for supervision of the RTU inmates. Peer Assistants
          and/or Certified Peer Specialists may be housed on the RTU even if they are not on the
          “C” or “D” Roster, as long as doing so does not take a bed away from an inmate who
          requires that level of care.

     6. A suggested menu of required and optional therapeutic groups is as follows:

          a. Group Therapy

               (1)     *goals group;

               (2)     *coping skills;

               (3)     anger management;

               (4)     self-esteem;

               (5)     *medication adherence;

               (6)     hygiene group;

               (7)     alcohol and other drugs;
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               (8)     life management skills;

               (9)     *support based groups;

              (10) daily living skills;

              (11) inter-personal relations;

              (12) communication skills;

              (13) stress management;

              (14) healthy relationships;

              (15) healthy living;

              (16) human sexuality;

              (17) relapse prevention;

              (18) mental health THU workshop;

              (19) WRAP© (Wellness Recovery Action Plan); and

              (20) social skills.

          b. Recreation

               (1)     aerobics;

               (2)     special exercise class;

               (3)     recreational therapy;

               (4)     art therapy;

               (5)     music therapy;

               (6)     specially designed tournaments;

               (7)     bingo;

               (8)     structured card and board games;

               (9)     yard-out activities;

              (10) sports activities; and
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              (11) game systems (Xbox, Wii).

          c. Insight Oriented Therapeutic Groups

               (1)     dialectical behavior therapy informed groups;

               (2)     depression-anxiety groups;

               (3)     adjustment groups; and

               (4)     prison adjustment.

          d. Standardized Psycho-Educational Groups

               (1)     Start Now;

               (2)     Seeking Safety;

               (3)     Taking a Chance at Change; and

               (4)     Medlin Sex Offender Treatment.

               *Required in every RTU due to the special recovery needs of the mentally ill
               individual. The Medication Adherence groups will be facilitated by a Psychological
               Services Specialist (PSS)/Psychological Services Associate (PSA), and may be co-
               facilitated by nursing, Psychiatry, or other appropriate staff members.

          e. The Group Therapy Resources for RTU Inmates (Attachment 5-F) references
             resources that have shown to be helpful with inmates who have participated in the
             DAILE program at SCI Muncy and the Residential Treatment Unit (RTU) at SCI
             Camp Hill. These resources should be considered for use during the required and
             optional group therapy sessions.

          f. WRAPs© can help reduce troubling feelings and behaviors, help individuals feel more
             control over their mental illness, and have the potential to improve quality of life.
             WRAPs© may be developed and used by any individual who chooses to create
             a WRAP©. If an individual chooses to develop a WRAP© he/she may do so;
             however, staff or CPSs who have completed WRAP© Seminar I may assist an
             individual in developing a WRAP©. WRAP© groups may be facilitated by a CPS
             or staff who have completed WRAP© Seminar II. WRAP© may be utilized to
             support any individual housed in any housing unit within the Department of
             Corrections.

               (1)     Religion

                       (a)   religious studies;

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                       (b)   regular services;

                       (c)   musical group or choir; and/or

                       (d)   literacy.

               (2)     Education

                       (a)   Adult Basic Education (ABE);

                       (b)   General Education Diploma (GED); and/or

                       (c)   life skills.

               (3)     Employment

                       (a)   regular facility inmate details;

                       (b)   specially designed details for mentally ill inmates;

                       (c)   block workers; and/or

                       (d)   janitors.

     7. Programming should enlist a variety of facility staff or community volunteers who are
        essential in the development of appropriate programs.

     8. A schedule for RTU programming must be posted in conspicuous areas in the RTU. A
        copy of the RTU Program Schedule (Attachment 5-G) shall be given to each RTU
        inmate by his/her counselor upon admission to the unit and reviewed with the inmate
        prior to the initial RTU IRP (within 14 days). RTU program schedule shall be posted by
        the Unit Manager/designee when updates/changes are made.

G. Milieu/Unit Atmosphere

     1. The RTU shall display posters that include motivational quotes and/or goal oriented
        language. Daily and/or weekly quotes are encouraged to be displayed throughout the
        unit. Decorative bulletin boards should be used to display inmate artwork, RTU program
        schedules, and the name of the selected “resident” of the week. Selecting a resident of
        the week has the potential to enhance motivation among the RTU inmates and can help
        facilitate a sense of pride. A resident of the week should be chosen using the following
        consideration:

          a. an inmate who participates in unit activities;

          b. an inmate who has demonstrated improved behavior;

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          c. an inmate who has achieved identified IRP goal(s); and/or

          d. an inmate who is helpful to others.

     2. Rewards

          a. The following are “rewards” that should be considered for the resident of the week:

               (1)     chips;

               (2)     candy;

               (3)     pretzels;

               (4)     crackers;

               (5)     popcorn; and/or

               (6)     other small snack items.

          b. The Unit Manager, in cooperation with the Business Office, will purchase a supply of
             the above listed items. The resident of the week will be allowed to choose any two
             items from that supply.

          c. Other rewards that could be considered instead of or in addition to the above items
             are:

               (1)     TV privileges;

               (2)     first release to meals;

               (3)     photo on the bulletin board; and/or

               (4)     other privileges as allowed by policy.

     3. Community Meetings are encouraged on the RTU and should be facilitated by the
        Counselor, Unit Manager, and/or CO at least twice per month. Psychology staff are highly
        encouraged to attend. These meetings shall allow for inmate input regarding the
        happenings on the unit as well as to help facilitate a sense of ownership and
        connectedness with other inmates and staff.

     4. The RTU is encouraged to have at least one “game” night a week which will provide
        structured opportunities for the inmate to socialize. Prizes should be considered as an
        option for participation/”winning” the game.



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H. Treatment Team Responsibilities

     Staffing needs for each RTU shall vary based upon the unit size, physical structure, type of
     inmate services, etc. All staff directly assigned to the RTU will receive an annual review of
     their continued assignment to the unit in conjunction with their routine EPR. Re-assignment
     will be made based on approval through the Unit Manager, the staff member’s supervisor,
     and appropriate chain of command. The Unit Manager, Psychologist, Counselor, and COs
     shall have designated and trained staff to cover the unit in their absence to the greatest
     extent possible.

     1. Unit Manager

          The Unit Manager is responsible for supervision of all Unit Management members of the
          Treatment Team, as well as the delivery of security and program services for the RTU.
          The Unit Manager shall work in conjunction with other supervisors/Department Heads in
          providing staff and services for the unit. If space does not permit a permanent office on
          the unit, the Unit Manager shall attend PRT unit meetings and visit the unit on a daily
          basis (Monday through Friday). Unit visits will consist of meaningful interaction with staff
          and residents during activity/programs and through the use of cell tours, office hours,
          etc., with a minimum of three hours spent on the unit daily.

     2. Counselor

          The Counselor will perform case management duties to the RTU inmates, as assigned by
          the RTU Unit Manager. Such duties may include (but are not limited to) attending
          Commissary meetings, co-facilitating therapeutic groups, individual inmate contacts, and
          supervising inmate out-of-cell time. The Counselor shall manage the casework duties for
          every inmate assigned to the unit. He/she shall complete every necessary report, staffing,
          assist in the development of IRPs, and provide individual and group counseling. If space
          does not permit a permanent office on the unit, Counselors shall attend every unit
          meeting and visit the unit on a daily basis (Monday through Friday).

     3. Corrections Officers (CO)

          A CO must be selected to work in the RTU by a committee consisting of at least the Unit
          Manager, Major, Shift Commander, and/or Zone Lieutenant. Licensed Psychologist
          Manager (LPM) involvement in this decision is highly encouraged. The committee shall
          select officers who have demonstrated ongoing interest in and effective management
          skills working with mentally ill inmates. COs shall be assigned to the unit on a regular
          basis to foster investment in the program, as well as to maintain continuity of care. When
          possible, regular alternate COs should be selected to replace primary COs during off
          days, vacation, or illness. The alternate can also be used to replace the primary CO when
          he/she is rotated or otherwise leaves the unit. Due to required training and specialized
          selection process, assignment to this unit will not utilize a bid post process.

          a. The CO staffing complement for the RTU should be in accordance with the facility’s
             staffing survey.
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          b. COs shall make three security patrols per hour on the RTU.

     4. Psychology Services Specialist/Associate (PSS/PSA)

          A member of the Psychology staff shall be responsible for providing ongoing monitoring,
          individual and group therapy, developing IRPs with the inmates, as well as required
          assessments and reports. If space does not permit a permanent office on the unit, the
          PSS shall attend PRT, unit meetings, and visit the unit on a daily basis (Monday through
          Friday). Unit visits will consist of meaningful interaction with staff and residents during
          activity/programs and through the use of cell tours, office hours, etc. with a minimum of
          one hour spent on the unit daily participating in these services; this hour does not include
          programs/workshops facilitated on the unit. Psychology staff is required to provide a total
          of 20 hours of Mental Health services on the RTU a week per 75 RTU inmates.

     5. Licensed Psychologist Manager (LPM)

          The LPM will not be dedicated solely to the RTU but he/she will also supervise and
          administer psychological services in other areas of the facility. The LPM will provide
          administrative and clinical supervision of all Psychology staff, including Psychology staff
          in the RTU. The LPM will also provide clinical oversight and guidance to the entire RTU
          team and should consult with the RTU Unit Manager on a regular basis.

     6. Psychiatry Staff

          The Psychiatrist/Psychiatric Certified Registered Nurse Practitioner (PCRNP) will meet
          with RTU inmates as often as deemed clinically necessary, but no less than once every
          90 days. The Psychiatrist/PCRNP will also attend the PRT meetings held on the unit. The
          Psychiatrist/PCRNP will consult with the RTU staff on an as-needed and emergency
          basis and will attend RTU Treatment Team meetings as possible.

     7. Medical Staff

          Nursing or other medical staff assigned to the unit shall monitor the medical needs of the
          inmates on the unit, medication compliance, assist with psychiatric referrals, and provide
          health and hygiene education where staffing levels permit. Medications may be delivered
          by Nursing/Medical staff to the RTU and will be administered on that unit according to
          policy. RTU inmates may also participate in going to the infirmary for medication. Each
          facility will decide which method of delivery works better.

     8. Centralized Services Staff

          Staff from other departments may be assigned to the unit to provide specific services.
          When possible, services shall be provided by the same persons to foster investment in
          the program and maintain continuity of care. When possible, services should be provided
          on the unit. The remaining list (Subsections H.9.-13. below) of service providers is not
          mandatory nor is it all-inclusive.

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     9. Activities Staff

          Corrections activities staff shall provide structured recreational programming, plan and
          facilitate special events, and coordinate the scheduling of space, supplies, and
          equipment. Requests for funding for supplies and equipment may be submitted to the
          Inmate General Welfare Fund (IGWF) through the Activities Department. Activities should
          be available to RTU inmates on the RTU. If RTU inmates are participating in a
          recreational activity in another area of the facility, they should be able to do so at a time
          that other inmates are not permitted in that area (e.g., RTU only gym time).

   10. Education Staff

          Education programs shall be developed in accordance with the needs of each inmate
          being serviced in the unit.

   11. Alcohol and Other Drugs (AOD) Specialists

          AOD staff, in conjunction with Psychology staff, shall develop and implement programs
          for dually diagnosed individuals and others with alcohol and other drug problems.

   12. Contracted Services

          A facility which has specific services provided by contracted vendors shall review the
          agreements and in conjunction with the director of the service, provide services for each
          inmate in need. Services such as art, music, recreational or occupational therapy may be
          obtained using the inmate IGWF as the funding source in accordance with Department
          policy 3.1.1, “Fiscal Administration.”

          NOTE: At SCI Muncy, MHM Correctional Services currently operates the DAILE program.
          This program will be available for the majority of the RTU inmates. However, for those
          that do not attend, they will be encouraged to participate in the on-unit programming as
          outlined in the RTU policy. The RTU Team and DAILE Team will work together to
          determine which inmates will benefit from the DAILE program or the on-unit RTU
          programming.

   13. Volunteer/Student Interns

          When possible and appropriate, community volunteers or groups shall be used to provide
          support services. Facilities with student intern programs may assign students from
          appropriate fields of work in the unit.

I. Medications

     For inmates housed in the RTU, medications shall be either delivered to the unit or an
     independent medication line movement shall be established. Medication compliance shall be
     monitored in accordance with Department policy 13.2.1, “Access to Health Care,” Section
     12.
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J. Razors

     RTU inmates are permitted to retain issued razors, razor blades, and mirrors in their cell.
     Unit Officers shall thoroughly inspect each razor upon an inmate’s admission to the unit to
     ensure the item has not been altered. The RTU staff member conducting the inventory of the
     inmate’s property will ensure the inmate only has one razor in his/her possession. RTU staff
     require PRT approval to restrict razor possession or shaving privileges of any RTU inmate.
     Restriction of shaving privileges or razor possession shall only occur when legitimate
     security, psychiatric, or other concerns exist. Examples of concerns include, but are not
     limited to, assaulting/threatening other with razor, inflicting/threatening self-injurious behavior
     with razor, or any physical modification to a razor. In the event an inmate is placed on razor
     restriction, this will constitute a status change. Accordingly, the inmate’s IRP will be updated
     to address this status change and to outline the specific goals, objectives, and time frame
     necessary for razor restriction removal. RTU staff require PRT approval to remove any RTU
     PRT’s decision to approve the removal of any RTU inmate from razor restriction is
     contingent on the inmate’s performance with his/her updated IRP.

K. Staff Training and Development

     Each contact staff member shall receive Crisis Intervention Training (CIT), Mental Health
     First Aid (MHFA), and Suicide Prevention in accordance with Department policy 5.1.1, “Staff
     Development and Training.” In addition, all RTU staff shall receive training on recovery
     model concepts, behavior modification, conflict intervention, and managing the intellectually
     impaired, etc. Newly assigned staff shall receive RTU Training within six months of their
     assignment to that unit. When this is not feasible, staff will be scheduled as soon as possible
     to meet with the Unit Manager and LPM. This meeting will provide a RTU briefing based on
     the approved RTU training material. RTU staff will also be scheduled to attend CIT prior to or
     soon after their assignment to that unit.

L. Behavioral Adjustment Cell (BAC)

     The Behavioral Adjustment Cell (BAC) is an option when an inmate is experiencing
     behavioral decomposition that could potentially lead to the issuing of a misconduct. In this
     case the BAC is used as a behavioral management tool. The BAC is an option when the
     inmate is becoming disruptive due to inappropriate language and/or non-compliance, etc.
     The BAC is not appropriate for inmates who are threatening to harm themselves or others.
     The BAC is viewed as a therapeutic intervention. The goal of the BAC is to facilitate the
     positive adjustment of the inmate. Placement in a BAC must be made by the Unit Team
     and/or Shift Commander on off hours. The decision to use a BAC will be a Unit Team
     decision. The BAC shall be located in close proximity to the officer’s station. Ideally, two cells
     near the officer’s station should be reserved for use as BAC cells.

     1. The BAC should be considered by the Unit Team after all recovery oriented and
        established behavioral modification interventions have been exhausted.

     2. The Unit Team will use the BAC Tracking Sheet (Attachment 5-H) to outline the
        behaviors for BAC placement. The BAC Tracking Sheet will document initial time of
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          placement and anticipated release, permitted in-cell contents, if regular inmate movement
          is permitted, goals for BAC discharge, and involved Unit Team members. Note that the
          time of anticipated release can change at the Unit Teams discretion but cannot exceed
          48 hours.

     3. COs should make three security patrols per hour of the BAC. Documentation of this
        observation should be made in the Housing Unit Log Book.

     4. Inmates who are placed in the BAC shall be re-evaluated by the Unit Team/Shift
        Commander every 24 hours and as indicated below.

     5. There should be clearly defined goals for behavioral improvement prior to discharging an
        inmate from a BAC. These goals should be immediately documented on the Change of
        Status IRP upon placement and included on the BAC Tracking Sheet. The Unit Team
        shall make an effort to work collaboratively with the inmate in the establishment of these
        goals and to encourage the inmate to achieve his/her recovery goals.

     6. The PSS assigned to the RTU shall be contacted immediately upon inmate placement in
        the BAC during normal business hours. If an inmate is placed in the BAC outside of
        normal business hours, nursing staff shall be contacted immediately for an initial
        assessment. If the nursing staff (during off hours) makes initial contact, he/she will
        assess the inmate and determine if the BAC is appropriate and/or if the Psychiatric
        Observation Cell (POC) is warranted. The PSS should also be available for PRN contact
        with the inmate during his/her placement in the BAC.

     7. If the PSS/designee makes initial contact with the inmate housed in the BAC, he/she will
        help the inmate to identify the origins of the problematic behavior and to encourage the
        inmate to achieve his/her recovery goals. The PSS shall also determine if the BAC is
        appropriate and/or if the POC is warranted. The PSS should also be available for PRN
        contact with the inmate during their placement in the BAC.

     8. If no behavioral improvement is noted while the inmate is housed in the BAC, the Unit
        Team and/or Shift Commander will reassess placement. Confinement in the BAC should
        not exceed 48 hours.

     9. If the inmate significantly decompensates in the BAC at any time, the Unit Team/Shift
        Commander will reassess the inmate’s behavioral state and make alternate
        recommendations, which may include POC placement or Mental Health Unit (MHU)
        referral.

M. Discharge and Transfer Procedures

     1. An inmate shall be considered for discharge by the RTU Management Team when
        he/she no longer needs the security, structure, and/or programming provided by the unit.
        This process is also to be used when alternate housing may be appropriate for a
        seriously disruptive inmate or for an inmate who refuses to participate in stipulated IRP

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          activity, programs, and taking prescribed medication. Removal will be made only when it
          does not endanger his/her welfare and stability.

     2. Prior to discharging an inmate from the RTU, the PRT will meet to consider such
        discharge. The PRT will be held on the RTU and the inmate will be offered the
        opportunity to attend that meeting and give his/her input and feedback related to potential
        discharge from the unit. If he/she declines to attend that meeting or provide input that will
        be documented in the IRP and an ICAR entry shall be made.

          NOTE: At SCI Muncy, the DAILE program staff will participate in the development of the
          discharge summary and process to include recommendations for continued care.
          Inmates may continue to participate in the DAILE program even though they are
          discharged from the RTU.

     3. The recommendation for discharge of the inmate to general population or to other
        housing shall be done via DC-46 by the RTU Management Team. Included in the body of
        the DC-46 shall be a discharge summary that documents the inmate’s progress, reasons
        for discharge and recommendations for follow-up monitoring, future programming and
        continuing care. The DC-46 shall be sent, at a minimum, through the CCPM and DSFM
        for final action. The Facility Manager/designee must review every split vote.

          NOTE: In those cases where the inmate is to be returned to another facility, a transfer
          petition shall be submitted in accordance with Department policy 11.1.1. Inmates on the
          active Mental Health/Intellectual Disability (MH/ID) Roster (“C” or “D” Roster) must have
          an IRP attached to the petition.




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Section 6 – Post Traumatic Stress Disorder Treatment Program

The Post Traumatic Stress Disorder (PTSD) Treatment program is for inmates who are combat
veterans.

This section describes an abbreviated version of the earlier treatment program and is being
retained in the policy to provide counseling and psychology staff members with general
guidelines to conduct treatment with the inmate if sufficient resources are available in his/her
facility. If not available, it may be necessary to initiate a transfer petition to another facility.

Although the PTSD program was developed for a combat veteran of the Viet Nam War, it is
likely that components of the model may be relevant for an inmate combat veteran of other
military conflicts.

A. Awareness and Education Phase

   The PTSD victim tends to be guarded, suspicious, and non-trusting of authority figures.
   Therefore, preplanning, structure, and communication are essential elements to the
   presentation and implementation of the program.

   1. An inmate veteran who is interested in participating in the program shall be advised of the
      documents he/she needs to obtain in order to validate his/her combat service and to be
      evaluated for admission to the program.

   2. An interested inmate veteran shall also complete the DC-553, Military Veterans Scale
      (Attachment 6-A) and the DC-552, Military Experience Scale (Attachment 6-B) at this
      meeting. The original of these forms shall be filed in the inmate’s medical record and a
      copy shall be filed in the DC-14, Inmate Cumulative Adjustment Record.

   3. Staff may choose to hold three or four "decision group" sessions with an interested
      inmate veteran to give him/her an opportunity to learn what the program is like and for
      treatment staff to get to know and evaluate him/her before proceeding with diagnostic
      evaluations.

B. Evaluation

   The evaluation phase shall be conducted to select candidates for the PTSD program.

   1. Before being accepted for evaluation, the inmate veteran shall obtain and present
      documentation that he/she served in combat or a similar stressful position. The primary
      verification document shall be the Department of Defense form DD-214, Report of
      Separation from Active Duty. Staff shall provide the inmate with addresses of Veterans
      Administration (VA) Offices to request appropriate application forms. If the inmate has
      already been evaluated by the VA, other agencies, or individuals for PTSD or other
      similarly related disability claims, copies of the release of information for said reports shall
      be secured.


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   2. The PTSD treatment staff member shall conduct the intake interview. The in-depth
      interview shall develop a personal history including the veteran inmate's social,
      educational, criminal justice, vocational, and military experiences. A thorough background
      history prior to his/her military experience and prior to offense is essential to establish
      behavioral and personality characteristics and changes in line with criteria described in
      the DSM-IV.

   3. The psychologist shall administer and interpret the Minnesota Multiphasic Personality
      Inventory (MMPI-2) or the Personality Assessment Inventory (PAI). If the inmate’s
      reading level prohibits the use of the MMPI-2 or the PAI, an alternative battery of at least
      two projective techniques may be employed. A report shall be prepared that presents the
      standard scores and a narrative summary.

   4. The licensed psychologist or psychiatrist/Certified Registered Nurse Practitioner –
      Psychiatric Services(PCRNP) shall make a diagnosis of PTSD based upon the criteria
      in the DSM-IV.

   5. The PTSD treatment staff shall develop an Individual Treatment Plan (ITP), which shall
      be reviewed every 120 days. The ITP shall be filed in the DC-14 if the inmate is not
      placed on the Mental Health/Mental Retardation (MH/MR) Roster. If the inmate is placed
      on the MH/MR Roster, the plan shall be filed in the psychiatric section of the medical
      record with a copy placed in the DC-14.

C. Treatment Program

   1. Group Counseling

      Group counseling shall be the primary treatment approach. The group may be led by an
      individual staff member or by co-leaders, if sufficient personnel are available. Emphasis
      shall be placed upon understanding the military experience, as well as related personal
      adjustment problems. Guidance shall be given to bring out feelings and develop
      emotional awareness. Attempts of the inmate to skirt the main issues and/or discuss
      prison concerns/complaints shall be kept to a minimum.

   2. Group Size and Frequency

      Groups shall be run on a variable schedule as needed and as staff resources permit, but
      generally shall run for one to one and one-half hours, three times a week. Group size
      shall generally be limited to five to 10 participants.

   3. Individual Counseling

      In rare cases, an inmate veteran may be assigned to individual counseling in conjunction
      with or instead of group counseling when needed. The program staff, at the time of initial
      evaluation, shall determine the inmate veteran who is in need of individual counseling.
      The staff member providing individual counseling shall determine the number of the
      counseling sessions based on the client's needs and resources available.

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   4. Personal Journal

      Each inmate shall be required to maintain a personal, daily journal and/or complete
      readings of materials recommended by the program staff, counselor, and VA consultants.
      The personal journal shall be a confidential document to be used in the treatment
      process with the treatment staff, in group and individual counseling, and in peer
      interactions when deemed appropriate. The journal shall include, but not be limited to, the
      inmate's daily interactions, feelings, attitudes, and reflections. The journal shall not
      become a part of the inmate file.

   5. Veterans Administration Services

      Whenever possible, the treatment staff shall encourage VA representatives to provide
      services to each inmate veteran. VA representatives may be willing to visit the facilities to
      conduct groups and provide other supportive services.

   6. Ancillary Services

      In the evaluation phase and treatment plan development, the staff shall address ancillary
      services needs. Such areas as Alcoholics Anonymous/Narcotics Anonymous groups,
      drug/alcohol counseling, educational/vocational, and leisure time needs shall be
      considered. Consultation with, and participation of, staff from the Veterans Outreach
      Centers shall be encouraged.

   7. Confidentiality

      It is likely that program staff shall enter into a relationship with the inmate in which the
      client shares personal, sometimes sensitive, information. The position of the Department
      is consistent with the “Code of Ethics” for the treatment profession.

      (1)   The confidential nature of the relationship between the inmate and the staff member
            is respected in most situations. However, when information is revealed to the staff
            person, which indicates clear and imminent danger to the inmate, other individuals,
            the security of the facility, or to society, the staff person is legally and ethically
            obligated to disclose such information to appropriate officials or supervisors.

      (2)   The staff person shall enter the relationship with the client by indicating the limits of
            confidentiality. It is suggested that the conditions be stated during the treatment plan
            development phase and in initial group settings.

      (3)   Each inmate shall be required to sign the DC-484, Mental Health Informed
            Consent Form.

      (4)   Individual progress notes shall be documented on the DC-14.




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D. Training

   It shall be the responsibility of the Department to provide, when resources permit, training to
   selected PTSD program staff. The training shall include the recognition of PTSD signs and
   symptoms, diagnosis, and treatment.

E. Program Discharge

   Upon completion of PTSD treatment, a narrative discharge summary indicating the inmate's
   initial treatment goals, progress, follow-up goals and recommendations shall be prepared.
   The report shall be filed in the DC-14. If the inmate is placed on the MH-MR roster, the report
   shall be copied to the psychiatric section of the medical record.




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Section 7 – Special Assessment Unit (SAU)

Section 7 – Special Assessment Unit (SAU)

A. Mission/Purpose

     The intended purpose and overriding mission of the SAU is to conduct an in-depth and time-
     limited clinical assessment under the ultimate supervision of a licensed psychologist. Out-of-
     cell activities are encouraged and expected but solely for evaluation purposes as opposed to
     in-depth treatment efforts. The SAU enlists clinical assessments for the following reasons:

     1. to determine the presence or absence of a serious mental illness;

     2. to provide diagnostic clarification;

     3. to determine the need for referral to a specialized program and housing status;

     4. other treatment and housing recommendations; and

     5. to determine reason(s) for Secure Residential Treatment Unit (SRTU) removal and
        proper subsequent placement.

B. Time Frame

     Assessments are short term and focused with the expectation that they be completed within
     45 calendar days; the vast majority being able to be completed in 30 calendar days. If an
     assessment remains incomplete after 45 days, the Licensed Psychology Manager (LPM) at
     SCI Camp Hill or the Licensed Psychologist Director (LPD) at SCI Waymart will notify the
     LPD at Central Office.

C. Location

     The SAU is located within the State Correctional Facilities at Waymart and Camp Hill. SCI
     Waymart has five beds and SCI Camp Hill has seven beds. The units at both facilities have
     closed-circuit television monitoring for each SAU cell. Every inmate shall be single celled.

D. Admission Criteria

     Admission criteria includes, but is not limited to, the following:

     1. uncertainty and lack of diagnostic clarification, or the case requires differential diagnosis
        for program placement. The information the referring facility requires for their decision
        making process should be clearly articulated in the referral question to guide the
        assessment;

     2. may have lengthy or multiple admissions to the Restricted Housing Unit (RHU),
        Administrative Custody/Disciplinary Custody (AC/DC) (refer to Department policy 6.5.1,
        “Administration of Security Level 5 Housing Units”);

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     3. severe mental illness or a history of mental illness and not currently a danger to self or
        others and does not fulfill commitment criteria for an in-patient Mental Health Unit (MHU);

     4. Special Management Unit (SMU) or long term RHU inmate four to six months prior to
        sentence completion may be referred;

     5. medically cleared of acute medical problems by the referring facility’s medical
        department;

     6. a mental health inmate in the Diagnostic and Classification Center (DCC) who has
        accumulated a significant amount of DC time or a mental health inmate in the DCC who
        has unsuccessfully adjusted to the DCC Special Needs Unit with multiple admissions to
        the Psychiatric Observation Cell (POC), the Special Observation Unit (SOU) and/or the
        RHU; and/or

     7. an inmate currently housed in a SMU or SRTU and who has been approved for program
        failure and an evaluation is requested to determine alternative program
        recommendations.

E. Process for Transfer to SAU

     1. The Mental Health Coordinator (MHC) at any State Correctional Facility referring an
        inmate to a SAU program shall submit the following information to the Office of
        Population Management (OPM). The referral packet shall include the following:

          a. a completed Special Program Referral Approval/Rejection Form, in accordance
             with Department policy 11.1.1, “Population Management,” Section 2 – Transfer
             Petition System, Attachment 2-C, requesting SAU and Program/Unit Admission;

          b. DC-14, Cumulative Adjustment Record (past three months, unless significant
             details predate the cutoff);

          c. DC-46, Vote Sheet;

          d. DC-186, Separation File;

          e. Pre-Sentence Investigation (PSI) (if available);

          f. a current Individual Treatment Plan (ITP);

          g. DC-487, Transfer Health Information Form (including Medication Compliance
             Records);

          h. request for Temporary Transfer to a Mental Health Unit Form; and

          i. a copy of the Mental Health Section of the medical record.

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     2. Once the SAU referral packet is completed at the facility, it will be forwarded
        simultaneously to the OPM mailbox dedicated to the Special Programs Referral and the
        respective Regional LPM. This mailbox is located at: CR, CEN OPM Special Program
        REFERRALS. This packet must only be forwarded electronically. OPM will log and track
        the referral packet as it moves through the approval/rejection process.

     3. The Regional LPM will review the SAU referral packet and schedule a face-to-face (on-
        site or via video conference) interview with the referred inmate. The purpose of this
        interview is to facilitate an appropriate referral to the SAU. This interview provides a
        focused independent assessment, upon which the Regional LPM can make further
        recommendations, then if needed, to the facility regarding the referral process.
        Additionally, this focused interview process will provide guidance to the Bureau of Health
        Care Services (BHCS) Chief Psychologist and Chief of Psychiatry in their approval
        process of this packet. The Regional LPM will notify OPM when the referral packet is
        ready to be forwarded to the Chief Psychologist and Chief of Psychiatry. The findings and
        recommendations of the Regional LPM will be communicated to the Chief Psychologist
        and OPM electronically, with a copy to the referring facility’s LPM.

     4. The Chief Psychologist, Chief of Psychiatry, and Regional Deputy Secretaries for the
        sending and receiving region will vote on the SAU referral. If the recommendations are
        not unanimous, the Executive Deputy Secretary will make the final recommendation.

     5. Referrals for other specialized programs like the SMU or SRTU may be changed to SAU
        referrals by the Chief Psychologist, Chief Psychiatrist, Regional Deputy Secretaries or
        Executive Deputy Secretary if specialized assessment for diagnosis and program
        appropriateness is deemed relevant for clarity.

     6. When an inmate is approved or disapproved for admission to the SAU, OPM notifies the
        referring facility via email with copies to the Chief of Psychology, BHCS, and Diagnostic
        and Classification Coordinator, Bureau of Treatment Services (BTS). This email includes
        the reasons for rejections and recommendations.

     7. Once OPM has notified the referring facility that an inmate has been approved for SAU
        admission and the inmate is placed on the SAU waiting list, the referring facility will
        immediately implement the following protocol for Enhanced Mental Health Services which
        has been established for inmates on the SAU waiting list:

          a. weekly out-of-cell psychology contact, at minimum, will be conducted, with the Inmate
             Cumulative Adjustment Record (ICAR) and the DC-560, Mental Health Contact
             Note documentation copies to the medical report;

          b. additional psychological contacts, if requested by the inmate or a staff member, will be
             provided by the assigned psychologist during his/her scheduled daily psychology
             rounds;

          c. monthly out-of-cell psychiatrist/Certified Registered Nurse Practitioner – Psychiatric
             Services contacts;
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          d. weekly review by the Psychiatric Review Team (PRT);

          e. monthly Program Review Committee (PRC) review; and

          f. continued weekly Correctional Counselor visits.

     8. If the referring facility cannot fully provide the above protocol for enhanced mental health
        services, the facility should contact OPM as soon as possible so that OPM can expedite
        transfer to the nearest facility which is able to provide this protocol.

     9. Once an inmate is approved for the SAU and is receiving enhanced mental health
        services, an interim mental health commitment should not preclude subsequent SAU
        placement, unless decided otherwise by Central Office.

F. Transportation

     Every inmate received into the SAU at SCI-Camp Hill or SCI-Waymart shall be a temporary
     transfer. Transfer procedures for the SAU shall be in accordance with Department policy
     6.3.1, “Facility Security.” Additional restrictions and/or requirements are listed below.

     1. Every admission to the SAU shall be received no later than 2:00 p.m. Monday, Tuesday,
        and Wednesday of each week so that the inmate can be observed. Staff shall be
        available to conduct initial assessments and provide for a period of stabilization. The
        inmate can only bring personal property items permitted in accordance with Section 4 –
        Temporary Transfer of Mental Health Commitments, Attachment 4-B of this
        procedures manual.

     2. An initial phone conference will be initiated by SAU staff and be held with the PRT at the
        referring facility to clarify the inmate’s behavior, psychiatric history, staff observations,
        what treatment interventions have worked and which have not, and general clarification
        of the referral questions and what the assessments should accomplish.

     3. Transportation is the responsibility of the referring facility. The inmate will be transported
        alone without other inmates. The transport date will be coordinated between the SAU
        team, the referring facility, and the OPM.

     4. Transfers out of this unit shall take place no later than five days after a final discharge
        decision has been made. Discharge transport can be via regular bus transport based on
        support of discharge summary and/or risk assessment. The SAU team shall determine
        the method and time of discharge in coordination with the referring facility.

     5. When an inmate is discharged from the SAU, the inmate is permitted to return to the
        parent facility with only personal property items permitted in accordance with Department
        policy 6.5.1, “Administration of Security Level 5 Housing Units” and Section 4,
        Attachment 4-B of this procedures manual.

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G. Orientation

     The inmate shall be received in the Property Room and processed for the SAU. Once in the
     SAU, staff shall orient the inmate to the rules and regulations of the housing unit.

H. Admission Process

     Upon admission, the inmate shall meet with the SAU Team who shall:

     1. review referral packet;

     2. screen for suicide and/or assaultive potential; and

     3. create a planned assessment battery under the direction of the LPM to answer the
        referral question.

I. Assessment Process

     1. Members of the Multidisciplinary Team shall conduct an intensive clinical assessment to
        determine the presence or absence of a serious mental illness, for diagnostic clarification
        or the need for referral to a specialized program and/or other treatment or housing
        recommendations.

     2. The LPM shall supervise and provide oversight of all clinical assessments to determine
        the presence or absence of a serious mental illness, for diagnostic clarification or the
        need for clarification or the need for referral to a specialized program and/or treatment or
        housing recommendations. Additional out-of-cell testing and interviewing is expected to
        address the referral question. For example, the Million Clinical Multiaxial Inventory-3
        (MCMI) may be given to clarify psychopathology and augment Personality Assessment
        Inventory results. Tests to address organicity, intellectual deficiency, and clarify diagnosis
        shall be utilized to address the referral question. Due to the specialized clinical nature of
        these assessments, licensed psychology staff should conduct them or supervise staff
        conducting SAU assessments.

     3. Daily rounds will be conducted in concert by psychiatry and licensed psychology staff.
        Other members of the SAU team may include staff from nursing, counseling, and will
        provide important information/observations regarding the inmate’s behaviors, actions,
        and verbalizations.

     4. When the assessment is completed, the SAU shall hold a teleconference with members
        of the PRT from the inmate’s parent facility. During the teleconference, the SAU Team
        shall provide a report to the PRT that shall include the assessment findings, an
        evaluation of the inmate’s level of functioning while in the SAU, and recommendations for
        further programming.

     5. If appropriate, the SAU Team shall initiate commitment proceedings to the Forensic
        Treatment Center (FTC) at SCI-Waymart. While in the FTC, the inmate is monitored
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          periodically by a member of the SAU Team. Discharge planning shall include members of
          the Multidisciplinary Team with the PRT from the inmate’s designated facility.

     6. In those cases where continued DC time could result in further de-compensation of the
        inmate’s mental status, the SAU Team shall make recommendations to the referring
        facility’s Program Review Committee (PRC) to modify or systematically reduce that DC
        time per Department policy DC-ADM 801, “Inmate Discipline.”

J. Discharge Process

     1. The SAU Team will create a Discharge Summary which will address the following:

          a. any previous mental health diagnosis(es);

          b. the presence or absence of significant mental illness;

          c. the need for referral to a specialized program;

          d. any specialized housing considerations;

          e. any treatment recommendations; and/or

          f. transportation requirements, i.e., sedan or via regular bus transport.

     2. The SAU will fax the Final Discharge Summary to the referring facility, with a copy being
        placed in the Medical Record. If questions arise after the inmate has returned to the
        referring facility, the SAU Team will make itself available for consultation with the
        referring facility’s PRT.

     3. In the event that the SAU staff recommends a specialized housing unit placement
        (e.g., SRTU, Behavior Management Unit [BMU], Intermediate Care Unit [ICU], SMU,
        etc.) they will contact the OPM who in turn will contact the Licensed Psychologist
        Director at Central Office for direction on placement. Arrangements shall be made
        for direct placement from the SAU to the recommended program. The inmate will
        not need to be returned to the referring facility prior to placement in the specialized
        housing unit.




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Section 8 - Intermediate Care Unit (ICU)

A. Admission Criteria and Custody Level Overrides

     1. When an inmate is transferred to the Intermediate Care Unit (ICU), his/her custody level
        is suspended for the course of his/her time in the ICU. While security is always a
        concern, the primary purpose of the transfer is for the intensive mental health treatment
        of the inmate. The ICU has secure space for this population. Once the inmate is released
        from the ICU, the inmate’s custody level shall be reinstated.

     2. An inmate shall have the ability to learn, adapt, and participate in his/her Individual
        Treatment Plan (ITP), as developed by the ICU Treatment Team. Admission to the ICU
        shall be based on the following general criteria:

          a. multiple admissions to the Forensic Treatment Center (FTC) and/or other specialized
             units due to mental illness;

          b. patterns of inability to cope with general population or Special Needs Unit (SNU)
             stressors which are a result of mental illness; and

          c. noted intermittent non-compliance with medication that results in decompensation of
             the inmate's overall mental health.

B. Process for Transfer

     1. The Mental Health Coordinator (MHC) at any facility referring an inmate to an ICU
        Program shall submit the following information for review to the Bureau of Treatment
        Services (BTS):

          a. DC-1, Classification Summary;

          b. DC-13, Reclassification Summary (if applicable);

          c. DC-14, Cumulative Adjustment Record (past three months unless significant details
             predate the cutoff);

          d. DC-46, Staff Vote Sheet;

          e. DC-2, A&B (photo copies);

          f. DC-186, Separation File;

          g. initial or reclassification Pennsylvania Additive Classification Tool (PACT) form;

          h. Pre-Sentence Investigation (if available);

          i.   a current ITP;
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          j. DC-487, Transfer Health Information form (Including Medication Compliance
             Record);

          k. request for Temporary Transfer to a Mental Health Unit form; and

          l.   DC-3C, Transfer Petition for the purpose of “ICU Admission” indicating
               “Permanent Transfer to the ICU,” typed in the remarks section.

     2. The packet containing all of the above information shall be sent by the BTS to the ICU
        Referral Coordinator for review by the ICU Admission Review Committee. This committee
        shall review the entire packet and respond to the BTS within 10 working days.

C. Transfers and Transportation

     Every inmate received into the SCI-Waymart ICU shall be a permanent transfer for the
     duration of the program. Transfer procedures for the ICU shall be in accordance with
     Department policy 6.3.1, “Facility Security.” Additional restrictions and/or requirements are
     as follows:

     1. every admission to the ICU shall be received no later than 2:00 p.m. Monday, Tuesday,
        and Wednesday of each week so that the inmate can be observed. Staff shall be
        available to conduct initial assessments and provide for a period of stabilization;

     2. transfers shall be via sedan and are the responsibility of the referring facility;

     3. transfers out of this unit shall take place after a final discharge decision has been made.
        The ICU team shall determine the method and time of discharge in coordination with the
        original referring facility, or facility designated for transfer by the Office of
        Population Management (OPM); and

     4. Upon discharge from the ICU Program, the following options will be available for
        transfer:

          a. a Permanent Transfer Petition for the purpose of “ICU Discharge” will be
             entered by ICU and will specify the return of the inmate to his previously
             assigned/referring Permanent Facility;

          b. a Permanent Transfer Petition for the purpose of “ICU Discharge” will be
             entered by ICU with the selected facility remaining open for OPM to evaluate
             and determine the most appropriate Permanent Facility based on ICU
             recommendations. ICU recommendations will be contained in the comment
             section of petition; or

          c. inmates may be approved for Department bus transportation by the ICU
             Treatment Team upon discharge. If sedan transportation is required and the
             inmate is returning directly to the referring facility, that facility will provide pick

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               up and return transportation. All other sedan transportation requirements will
               be provided by ICU.

D. Bureau of Health Care Services (BHCS) Responsibilities

     1. The ICU Admission Review Committee shall make the final decision for admission.

     2. Every transfer to the ICU shall follow established Department procedures through the
        Diagnostic and Classification Coordinator at Central Office.

     3. When the transfer is approved, the ICU Referral Coordinator shall coordinate the transfer
        procedures, bed availability, waiting lists, etc. If bed space is not currently available, the
        ICU Admission Review Committee shall prioritize each inmate scheduled for placement.

     4. The FTC Treatment Team shall process referrals from the FTC to the ICU between the
        FTC and ICU Treatment Teams. This shall be formalized through local procedures.

E. Orientation for an ICU Inmate

     The orientation procedures listed below shall be used upon admission to the ICU.

     1. The Unit Registered Nurse shall meet with the inmate on the day of his/her admission to
        perform an assessment of his/her physical/mental needs.

     2. Members of the ICU Treatment Team shall conduct an initial assessment within three
        working days of admission. At that time, a preliminary plan shall be developed based on
        a review of the inmate’s current ITP, information available at the time of transfer, and
        observation of the inmate since his/her admission.

     3. The Unit Treatment Team shall meet with the inmate following a variety of assessments
        to develop an ITP within 14 days of admission. These Treatment Plans shall be reviewed
        every 60 days or sooner, if needed.

     4. Every inmate admitted to an ICU shall carry an "O" code.

     5. An inmate processed for admission to an ICU is permitted to bring all personal property
        as a permanent transfer.

F. Treatment Programs/Levels of Treatment

     1. Treatment program components in the ICU include Group Therapy, Mental Health
        Rehabilitation, Therapeutic Activities, and Self-Help.

     2. Participation in treatment programs shall be based on a level system. The treatment level
        system uses progressive steps to increase inmate privileges. Movement to a higher
        treatment level is based on appropriate inmate behavior and compliance with the
        treatment plan. The initial treatment level shall be determined by the inmate's present
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          level of functioning, recent historical information, and mental status. Within the ICU, the
          treatment team shall assign the treatment level. The unit team shall monitor the behavior
          of every ICU inmate and may grant specific privileges according to the level system. The
          Unit Team reserves the right to govern and/or terminate all levels and privileges at any
          time. Levels may be dropped and programs may be restricted due to inmate behavior
          (non-compliance with treatment plan, incurred misconducts, etc.). Treatment levels are
          listed below.

          a. Level A

               Intensive treatment shall continue in this level. Reintegration with general population
               programs and activities may be used. The inmate is prepared for discharge to a
               general population or SNU.

          b. Level B

               This is a more intense treatment level. Off-unit programs and more intense group
               therapy programs may be used.

          c. Level C

               This is the introductory level for on-unit group therapy. An inmate at this level shall
               begin to develop a basic understanding of his/her mental health problems.

          d. Level D

               This is the basic treatment level for most inmates admitted to the ICU. Every program
               shall be conducted on-unit.

G. Discharge Procedures

     1. While there are no definite periods which would determine the length of program
        involvement, discharge of an inmate from an ICU shall be considered when:

          a. the treatment plan goals have been satisfied;

          b. the unit staff feels the inmate has achieved maximum benefit from treatment;

          c. the ICU Treatment Team concludes that the inmate remains resistant to participation
             in the ITP that was developed for him/her;

          d. the inmate is found guilty of a serious misconduct unrelated to his/her mental illness.
             In this case, the inmate may be returned to his/her referring facility or the
             designated new facility determined by OPM to serve Disciplinary Custody (DC)
             time; and/or


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          e. commitment to the FTC may be appropriate for behavior directly related to the
             inmate's mental health diagnosis.

     2. When an inmate is to be discharged from the ICU, the ICU treatment team shall conduct
        a conference phone call with the unit team of the referring facility or facility designated
        for transfer, to discuss the inmate’s response to treatment. Both teams shall document
        the date, participants, and issues discussed in the conference call. At a minimum, the
        following issues shall be addressed:

          a. the inmate’s progress toward meeting the goals of his/her ITP;

          b. the extent to which he/she has achieved maximum benefits from treatment available
             at the ICU;

          c. any on-going resistance to program participation;

          d. any serious misconducts and whether these were related to his/her mental illness;
             and

          e. any treatment needs that shall be addressed when the inmate returns to his/her home
             or designated facility.




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Section 9 – Staffing and Security of Mental Health Units

A. Responsibilities

      1. Regional Deputy Secretary

         Act as a point of contact along with the Chief of Clinical Services and/or the Chief of
         Psychological Services at the Bureau of Treatment Services (BTS) regarding the
         transportation, admission, programming, and discharge of capital case inmates requiring
         Mental Health Unit (MHU) treatment.

      2. Bureau of Health Care Services (BHCS) 1

         The BHCS shall act as a central resource for the facilities MHU Directors and shall assist
         in the coordination of mental health treatment and services provided to an inmate and the
         annual training of staff members assigned to provide mental health services and
         treatment to an inmate housed within the Department.

      3. Bureau of Treatment Services

         Assist in coordinating the transportation and/or placement of every inmate being admitted
         or discharged from the MHUs in accordance with Department policies 11.5.1, “Records
         Office Operations,” and 11.2.1, “Reception and Classification.”

      4. Central Office Security Division

         a. Assist in coordinating and transportation of every capital case admitted or discharged
            from the MHUs in accordance with Department policies 6.3.1, “Facility Security,”
            and 6.5.8, “Capital Case Administration.”

         b. Act as a point of contact regarding the transportation of a non-capital case inmate
            being admitted or discharged from a MHU.

      5. Facility Manager

         The Facility Manager shall ensure that the procedures set forth in this policy/
         procedures manual are implemented. The Facility Manager shall also ensure that any
         local procedures drafted and enacted to address issues not covered by this procedures
         manual, or that are unique to the facility, are reviewed and/or updated
         on an annual basis to ensure compliance with Department policy/procedures and to verify
         the continued need for the local procedures manual.

      6. Deputy Superintendent for Facilities Management (DSFM)

         The DSFM shall ensure:


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      a. that an adequate number of corrections officers are assigned to the MHUs in
         accordance with Department policy 6.3.1, Section 15, Corrections Officer Staffing
         and that the officers have been appropriately screened and approved according to the
         post orders for the MHUs and the staffing procedures and criteria contained in this
         procedure manual;

      b. that every officer assigned to the MHU has received training regarding the procedures
         contained in Section 2, Delivery of Mental Health Services of this procedures
         manual; and

      c. that every post order regarding the operation of the MHU is created according to
         Department policy 6.3.1, Section 5, Post Orders, reviewed on an annual basis and
         rewritten, if necessary, to reflect any changes in the method and manner in which
         mental health services are provided to an inmate.

   7. Deputy Superintendent for Centralized Services (DSCS)

      The DSCS/designee shall be responsible for coordinating efforts between the facility and
      the medical department regarding access to medical/mental health treatments and other
      related medical programs. As the Facility Manager’s representative, he/she shall have
      joint responsibility along with the Corrections Health Care Administrator (CHCA) and the
      BHCS to address those issues outlined in this procedures manual.

   8. Director of the MHU

      The Director of the MHU shall ensure:

      a. each MHU/Forensic Treatment Center (FTC)/Intermediate Care Unit (ICU) develops
         local seclusion and restraint procedures, consistent with Office of Mental Health and
         Substance Abuse Services (OMHSAS) regulations and Department policies and
         administrative directives, Section 3 of this procedures manual and Department policy
         6.3.1, Section 32. Video recording of cell extractions in the MHU shall not be
         necessary if the recording might cause delay in providing necessary treatment and
         security. If the incident is video recorded, the recording of the incident shall be
         stopped once the inmate has been secured and the officer in charge has finished
         his/her debriefing of the extraction team and the incident;

      b. administer the program in compliance with the regulations promulgated by OMHSAS
         and every policy and procedure mandated by the Department;

      c. maintain liaison and optimal working relations between the contract health care
         provider, host facility, and the Department, including the BHCS and the Director of the
         FTC at Waymart;

      d. report to the DSCS either directly or through the CHCA or Chief Psychologist, as
         appropriate;


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      e. meet with the CHCA, Licensed Psychologist Manager (LPM), and Major of the Guard
         (CO5) at least quarterly and otherwise as needed, to coordinate activities. The
         Director, at his/her discretion, may appoint an MHU Advisory Board composed of key
         facility staff members to review policies, procedures, and address local problems;

      f. provide monthly reports to the BHCS regarding census and other issues;

      g. advise the BHCS, via fax, of every temporary mental health transfer between the
         MHUs and facilities;

      h. coordinate with the Training Coordinator and Training Lieutenant to ensure that
         Corrections Officers (COs) working in the MHU are familiar with and aware of MHU
         duties and responsibilities (post orders);

      i. coordinate with the facility LPM, CHCA, and Training Coordinator to ensure that
         training for MHU staff is conducted in accordance with Department policy 5.1.1, “Staff
         Development and Training.” Training shall include, but not be limited to:

          (1)   suicide prevention;

          (2)   crisis intervention;

          (3)   access to health care;

          (4)   access to emergency care;

          (5)   security issues; and/or

          (6)   care, custody, and control of an inmate, which shall be provided to every CO in
                the facility, since every custody staff member is likely to rotate through the MHU.

      j. have the responsibility for being the liaison between the MHU and outside agencies
         including OMHSAS, the courts, and county mental health/social service agencies;

      k. compliance with the Mental Health Procedures Act for every necessary hearing for the
         involuntary commitment of an inmate patient to the MHU; and

      l. arrange with the OMHSAS to schedule annual mental health audits.

B. Corrections Officer Staffing Levels and Inmate Custody Levels in the MHUs

   1. Corrections Officer Assignments to MHUs

      a. The MHU officer shall be required to perform a variety of complex tasks in the MHUs.

      b. Although an inmate’s custody level is suspended while in the MHU, an inmate may
         still pose a significant danger to himself/herself and/or others. Enriched custody
         staffing levels are needed in the units to provide protection to staff and inmates and
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          ensure that mental health programming can be provided. The DSFM shall ensure that
          CO coverage is maintained to allow the unit to conduct out-of-cell mental health
          programming, protect persons and property on the unit, and escort an inmate in and
          out of cells. The DSFM shall meet regularly with the MHU Director to discuss custody-
          staffing needs.

      c. The CO assigned to the unit shall provide input into MHU treatment decisions through
         regular contact with the treatment staff. It is expected that the CO shall report on
         his/her observations of every inmate activity, as well as any interaction that he/she
         may have had with a client.

      d. CO staff shall be provided with training on an annual basis regarding the
         confidentiality of Department and medical records.

   2. Determination and Maintaining of Staffing Levels for the MHUs

      a. The DSFM and the Major(s)/designee shall be responsible for selecting and assigning
         Corrections Officer Staff to Mental Health Units. The MHU Director shall have input
         into this selection; however, the final determination shall be made by the DSFM.

      b. MHU assignments shall be made from COs who have submitted a written request to
         the Major(s)/designee to be considered for placement in a MHU position.

      c. Volunteers for these assignments must exhibit the following characteristics prior to
         placement in MHU positions:

          (1)   willingness to work in a non-traditional corrections environment;

          (2)   the ability and willingness to become an integral part of the MHU Treatment
                Team;

          (3)   the ability and willingness to perform non-professional counseling and crisis
                intervention with MHU inmates;

          (4)   good communications skills;

          (5)   the ability to react appropriately to crisis situations;

          (6)   good emotional stability;

          (7)   interest in mental health issues; and/or

          (8)   any other attributes considered important, but not listed above.

      d. A CO assigned to MHUs shall be reviewed for rotation out of the MHU at least
         annually by the DSFM and Major(s)/designee.


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      e. Removal from the MHU position may occur at any time if it is determined that the CO
         is inappropriate for his/her assignment or detrimental to the operation of the MHU.
         This determination shall be made by the DSFM with input from the Major, Shift
         Commander, and/or MHU Director and shall be based on written documented
         incidents.

      f. An Officer assigned to a MHU beyond one year shall be interviewed by a facility
         psychologist to determine his/her fitness for the MHU assignment. Reports shall be
         confidential and shared only with appropriate personnel.

   3. Custody Status of Inmates Transferred to the Mental Health Units

      a. A capital case shall be managed under Department policy 6.5.8, “Capital Case
         Administration,” and shall be segregated from other inmates. Any exceptions to this
         procedure must be approved through the Regional Deputy Secretary in consultation
         with the Chief of Clinical Services and/or Chief of Psychological Services in the
         BHCS.

      b. Custody levels of non-capital cases shall be suspended while the inmate is placed in
         the MHU so that they can participate in treatment to the maximum extent possible.

      c. Every MHU reception shall be initially placed in “hard cell” observation cells until the
         inter-disciplinary treatment team can review his/her case to determine if special
         security and/or clinical precautions are required to protect staff and/or other inmates.
         Issues to be considered include, but are not limited to:

          (1)    separation from other inmates or staff members, or transfer of the patient to
                 another MHU for treatment;

          (2)    reason for any disciplinary time (assaults, verbal abuse, possession of
                 contraband); and/or

          (3)    clinical conditions that require special treatment such as extreme agitation,
                 lability, acute suicide threats, or other detrimental behavior.

      d. The MHU clinical staff shall determine when the patient can leave the hard cell to
         enter the therapeutic environment, using consultation from the custody staff.

      e. In some situations, the psychiatrist/Certified Registered Nurse Practitioner –
         Psychiatric Services (PCRNP), psychologist, or Director may have already
         evaluated the inmate, before the patient arrived on the unit, and recommendations
         made at that time concerning cell placement may be followed. This placement shall
         be reviewed at the next meeting of the treatment team, or earlier if required.




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C. Tracking System Access

   Vendor and Department staff members working in specialized units shall have reading and
   inquiry access to the MH/MR tracking system, and reading access to Inmate Classification,
   Inmate Records, Separations, Medical Tracking, and Misconduct information that is
   maintained on the Department mainframe.

   1. Staff members shall be able to review the clinical information contained in the PRT and
      Mental Health/Mental Retardation (MH/MR) rosters (entering new International
      Classification of Diseases (ICD codes) and Global Assessment Functioning (GAF)
      scores.

   2. The treatment unit staff shall monitor the mainframe system to note any changes in the
      inmate’s status (impending max date).

   3. The BHCS Chief Psychologist shall ensure that training is provided to vendor staff in the
      use of the mainframe data system.

D. Discharge Procedures

   1. Pre-discharge Procedures

      a. Every patient scheduled for discharge from the MHU must be approved, both
         medically and in terms of security, for transport back to his/her parent facility
         according to Department policy 6.3.1.

      b. Before the patient is discharged from the MHU, the MHU treatment team shall
         conduct a teleconference with the treatment team in the patient’s home facility.

      c. The MHU treatment staff shall provide a summary of the patient’s response to
         treatment and recommendations for aftercare in the facility. This summation shall be
         based upon the inmate’s treatment and his/her Individual Treatment Plan (ITP).

      d. The MHU team shall also make recommendations to the treatment team and the
         Program Review Committee (PRC) regarding adjustments or forgiveness of the
         inmate’s Disciplinary Custody (DC) time, consistent with policy 6.5.1,
         “Administration of Security Level 5 Housing Units,” and DC-ADM 801, “Inmate
         Discipline.”

      e. If the treatment team and PRC in the sending facility have reservations regarding the
         MHU recommendations for treatment and adjustment of DC time, a teleconference via
         phone or telemedicine consultation shall be the forum for the discussion of these
         concerns.

      f. If the PRC elects to disregard the MHU’s recommendations regarding disciplinary
         time, the Facility Manager of the facility shall submit a memorandum to the Regional
         Deputy Secretary, copied to the BHCS, outlining the rationale for PRCs disagreement.

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   2. Continuity of Care Planning for Parole and Final Discharge Maximum Expiration (FDME)
      Inmates

      a. Mental health staff members from the sending facility and a MHU/FTC/ICU staff
         member shall share joint responsibility for an inmate nearing parole or FDME.

      b. For an inmate who is within one year of parole or FDME when he/she is referred to
         the MHU/ICU/FTC, the staff in the sending facility shall advise the treatment unit staff
         of every continuity care activity that has been initiated.

      c. For an inmate who is within one year of parole or FDME while he/she is placed in the
         MHU/FTC/ICU, staff members in the sending facility and the treatment unit shall
         conduct teleconferences to coordinate continuity of care activities.

   3. Transferring Inmates to a Second Facility Following Completion of Treatment at the
      MHU/FTC/ICU

      a. In some cases (due to classification to another facility, separations, or special
         treatment needs), it may not be appropriate to return an inmate to the sending facility.

      b. In these cases, the sending facility staff shall initiate transfer petitions through the
         classification section of the BTS. The BHCS mental health staff shall approve the
         transfer petitions when completed by BTS before the inmate is transferred.

      c. The MHU/FTC/ICU staff shall be responsible for initiating a teleconference with the
         treatment team staff in the third (receiving) facility to:

          (1)   ensure that appropriate bed space is available for the inmate (in the Special
                Needs Unit); and

          (2)   advise the team of the inmate’s needs.

      d. The sending facility shall be responsible for picking up the inmate and his/her property
         and transporting the inmate from the MHU/ICU/FTC to the new facility.




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Section 10 – Secure Residential Treatment Unit (SRTU)

Section 10 – Secure Residential Treatment Unit (SRTU)

A. Program Mission 1

      1. The Secure Residential Treatment Unit (SRTU) is designed to provide management,
         programming, and treatment for an inmate who exhibits Serious Mental Illness (SMI),
         chronic disciplinary issues, and demonstrates an inability to adapt to a general population
         setting. This is a secure diversionary unit for mentally ill inmates who do not currently
         meet commitment criteria according to the Pennsylvania Mental Health Procedures Act
         and require a secure setting due to their demonstrated problematic behavior in less
         secure environments. The unit is intended to provide focused staff interaction,
         programming, and treatment for this select inmate population. The focus of the SRTU is
         to convey sufficient skills in behavioral control, coping, and compliance with
         recommended treatment.

      2. Each inmate in the SRTU will be scheduled and offered a minimum of 20 hours out-of-
         cell activity per week; 10 hours of structured activity and 10 hours unstructured activity.
         This intensive specialized treatment program will assist an inmate in progressing to the
         least restrictive environment for managing his/her demonstrated behavior. The least
         restrictive environment will vary among inmates and may include eventual return to a
         general population, continued placement within the SRTU, and even fulfillment of the
         inmate’s reentry plan upon Sentence Complete. An inmate’s custody level will be
         suspended while in the SRTU but their Disciplinary Custody (DC) sanctions, if they have
         any, will run concurrent to their time in the SRTU until the sanction expires or until placed
         in Phase 1 of the program. This occurs so the inmate may still participate in and benefit
         from treatment to the maximum extent possible and be returned to the least restrictive
         setting as soon as possible. An inmate who is unable to transition from the SRTU,
         complete the SRTU program, or requires a therapeutically recommended transfer to
         another SRTU, will be processed for alternative placement by review of the Central Office
         Special Needs/Psychiatric Review Team (COSN/PRT).

      3. At any point during the program, the Program Review Committee (PRC) can
         recommend that an inmate be removed from the Restricted Release List (RRL) and
         initiate this process.

          a. An inmate may not be released to general population, i.e. Phase 1 probationary
             status, until he/she has been officially removed from the RRL.

          b. On Phase 2, when staff have discretion in bringing an inmate out unrestrained,
             if the inmate still is maintained on the RRL list, this phase can be modified so
             he/she receives Phase 2 privileges, but still comes to out-of-cell activity in
             restraints.



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          c. In the event that an RRL inmate makes it to Phase 2, is still on the RRL list, and
             goes on an escorted trip to a destination in general population, arrangements
             shall be made to appropriately restrain or conduct the escorted trip during
             count to maintain security of those still active on RRL.

B. Location

      SRTUs will be located at various facilities within the Department as outlined on the
      Institutions with SRTUs Listing (Attachment 10-A).

C. Staffing 2

      1. SRTU Treatment Team

          a. Comprised of the Licensed Psychologist Manager (LPM), Unit Manager, Unit
             Counselor, Psychiatrist/Certified Registered Nurse Practitioner (CRNP), full-time
             Psychology staff (Psychological Services Specialist [PSS] and/or Psychological
             Services Associate [PSA]), Activities, and SRTU Correctional Officers (COs). The
             SRTU Treatment Team will meet with and review all SRTU inmates at least every 30
             days. Inmates placed on Accountability Status in accordance with Subsection M.
             below will be reviewed daily. This team follows the inmate in all phases, including at
             least three months of probationary status in a general population Residential
             Treatment Unit (RTU) or other population housing unit deemed appropriate by the
             Treatment Team; this probation can be extended for an additional three months if
             indicated. However, the duration of Phase 1 must not exceed six months’ time,
             irrespective of any off unit placements. Other staff and teams involved in the daily
             operation of the SRTU include, but are not limited to: the PRC, staff members from
             Alcohol and Other Drug (AOD) treatment, Education, Social Worker, Therapeutic
             Activities Services (TAS) Worker, Medical - Nursing, Chaplaincy, and Certified Peer
             Specialists (CPS). Staff contacts with inmates participating in the SRTU will be noted
             on the SRTU Accepted/Refused Structured Out-of-Cell Program Log
             (Attachment 10-B) and the SRTU Accepted/Refused Unstructured Out-of-Cell
             Program Log (Attachment 10-C). In addition, the SRTU Treatment Team will meet
             at least twice each week to discuss the general operation of the unit and review the
             recovery plans of each inmate. These meetings will be facilitated by the Unit Manager
             and the LPM and should generally be held at the change of shift in order to maximize
             Officer involvement.

          b. Responsibilities and Ratios 3

                (1)     SRTU Unit Manager



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                        The Unit Manager will provide manager-level direction with the assistance of the
                        Lieutenants. The Unit Manager will provide the team with daily leadership and
                        will review and direct the treatment and activity of the inmates in his/her care. If
                        not permanently assigned to the SRTU, the Unit Manager will visit the unit daily
                        and sign the log book.

               (2)      LPM

                        The LPM is not solely assigned to the SRTU, but also oversees all psychological
                        services in the institution. The LPM functions as the administrative and clinical
                        supervisor of all psychological staff on the SRTU. The LPM also provides clinical
                        oversight, via the Treatment Team and the Individual Recovery Plan (IRP), to the
                        entire SRTU Treatment Team. The LPM is responsible for chairing any treatment
                        team meetings held on the SRTU. However, in all aspects of the program, the
                        LPM will closely collaborate with Psychiatry and the Unit Manager.

               (3)      Psychiatrist/Psychiatric Certified Registered Nurse Practitioner (PCRNP)

                        The Psychiatrist/PCRNP will meet with SRTU inmates as often as deemed
                        clinically necessary, but no less than once every 30 days. In addition, they
                        will coordinate medication monitoring. Psychiatric coverage will include 30
                        minutes per inmate. All Psychiatric contacts are to be out-of-cell unless the
                        inmate refuses or security issues prohibit out-of-cell contact at that time. This
                        includes those SRTU inmates who may be on Accountability Status. The
                        Psychiatrist/PCRNP will also be required to participate in all scheduled
                        Treatment Team meetings.

               (4)      PSS/PSA

                        For SRTUs that have more than one full-time equivalent PSS/PSA assigned, a
                        portion of those additional hours will be assigned to a 12-8 work shift. The
                        PSS/PSAs assigned to the SRTU will be responsible for developing IRPs with
                        their assigned inmate caseload. These IRPs will specifically identify goals and
                        objectives designed to restore the inmate to a stable and healthy level of
                        functioning. The goals on the IRP, established collaboratively with the SRTU
                        Treatment Team and the inmate shall drive the clinically structured out-of-cell
                        offerings on the unit. The PSS/PSA will work closely with custody staff and all
                        disciplines assigned to the SRTU. The PSS/PSA will be responsible for
                        delivering individual and group therapy directed at addressing the issues outlined
                        in the IRP. All contacts will be noted on the SRTU Accepted/Refused
                        Structured Out-of-Cell Program Log, at a minimum weekly Inmate
                        Cumulative Adjustment Record (ICAR), and DC-560, Mental Health Contact
                        Note entries are required. The PSS/PSA will also offer all inmates on
                        Accountability Status daily AM and PM 30-minute out-of-cell contacts for the
                        duration of Accountability Status. At the discretion of the LPM, the PSS/PSAs
                        assigned to the SRTU may have other assigned facility duties.

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               (5)      Corrections Counselor (CC)

                        The CCs will provide professional counseling and case management activities to
                        an inmate caseload assigned by the Unit Manager. This will include treatment
                        groups, individual contacts, and supervising inmate unstructured out-of-cell time.
                        All contacts will be noted on the SRTU Accepted/Refused Structured Out-of-
                        Cell Program Log and SRTU Accepted/Refused Unstructured Out-of-Cell
                        Program Log, and at a minimum weekly ICAR entries will also be made to
                        document the inmate’s status. The CCs will work with the SRTU Staff to assure
                        that proper documentation is kept by maintaining the tracking forms for all out-of-
                        cell structured and unstructured activity. In addition, the CCs will ensure that all
                        incentive tracking charts are up-to-date on a weekly basis with results reported
                        as an ICAR entry. Thus, charting the progress each inmate is making in
                        preparation for his/her possible graduation from the program and possible
                        reentry into the general population.

               (6)      TAS Worker

                        The TAS Worker will develop and deliver activities during the days, evenings,
                        and on the weekends. The TAS Worker will implement, monitor, and evaluate
                        the therapeutic recreational segments of IRPs including instructing, directing,
                        and providing support in a variety of activities relating to therapeutic recreation,
                        occupational therapy, and vocational adjustment services. The activities would
                        be directed at engaging self-isolated or reclusive inmates and providing
                        structured and unstructured recreational time for SRTU inmates. The increased
                        activity and out-of-cell time will be assisting with improving the inmate’s
                        emotional control. All contacts will be noted on the SRTU Accepted/Refused
                        Structured Out-of-Cell Program Log and the SRTU Accepted/Refused
                        Unstructured Out-of-Cell Program Log. This employee may also be assigned
                        to work with inmates on the General Population RTU as supervised by the
                        Activities Manager and in collaboration with the Unit Manager.

               (7)      Custody Staff

                        (a)   The Facility Manager/designee shall establish local procedures outlining the
                              appropriate security staffing levels and security measures to be followed for
                              inmate movement, showers, meals, activities, etc. Unit staffing and security
                              measures may be reduced by the Unit Team and the PRC for an SRTU
                              inmate in Phases 3, 2, and 1 but, should always remain at a level to provide
                              escort coverage for daily out-of-cell contacts.

                        (b)   COs assigned to the unit will provide daily input for the SRTU Treatment
                              Team decisions through regular contact with treatment staff and via
                              documentation utilizing the SRTU Shift Pass Down Form (Attachment 10-
                              D). This form is utilized in order to ensure accurate communication between
                              shifts and the Treatment Team. In addition, it is important for custody staff’s
                              observations to be included in the Treatment Team’s review of the inmate’s
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                              progress with their treatment objectives. COs are expected to communicate
                              their observations of an inmate’s activity and any interactions they may
                              have had with the inmate. In addition, custody staff will participate in all
                              Treatment Team meetings, comment on, and sign the IRP.

                        (c)   Because the potential exists that an inmate may become a significant
                              danger to himself/herself and/or others, enriched custody staffing levels are
                              required in the units to provide protection to staff and inmates. This
                              modification ensures that out-of-cell mental health programming can be
                              provided as well. The Deputy Superintendent for Facilities Management
                              (DSFM) shall ensure that CO coverage is maintained and sufficient to
                              permit the unit to conduct out-of-cell structured and unstructured activities,
                              protect persons and property on the unit, and escort inmates in and out of
                              cells throughout the day, even during count time. The DSFM shall meet
                              regularly with the Major of the Guard and Unit Manager to discuss custody
                              staffing needs.

     2. Other Staff Involved on the SRTU

          a. PRC

               This committee is generally comprised of the DSFM, the Deputy Superintendent for
               Centralized Services (DSCS), and the Corrections Classification Program Manager
               (CCPM). The PRC will review all SRTU inmates monthly or as necessary as indicated
               by submissions of SRTU Program Review Sheet (Attachment 10-E) by the SRTU
               IRP. Inmates in the SRTU on Accountability Status will be reviewed by the PRC at
               least weekly.

          b. AOD

               Drug and Alcohol Treatment Specialists (DATS) will provide group and/or individual
               structured out-of-cell contacts for SRTU inmates with identified AOD treatment needs.
               The goals/objectives of such treatment will be reflected on the inmate’s IRP. All
               contacts will be noted on the SRTU Accepted/Refused Structured Out-of-Cell
               Program Log.

          c. Education/Adult Basic Education (ABE) Teacher

               This staff member will address the educational needs of the inmates participating in
               the SRTU. He/she would provide educational opportunities for those who are
               mandated to participate in education to meet guidelines and also those who wish to
               volunteer. The goal would be to have inmates prepare for reentry to general
               population classes or reentry into society. All out-of-cell contacts will be noted on the
               SRTU Accepted/Refused Structured Out-of-Cell Program Log. This team member
               will be supervised by the School Principal in collaboration with the Unit Manager.


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          d. Social Worker (Master of Social Work [MSW])

                This employee will develop, implement, and provide social work, counseling, and case
                management services to SRTU inmates to enhance their social functioning and to
                help them attain a more satisfactory social, economic, emotional, or physical
                adjustment within a Department facility. All out-of-cell contacts will be noted on the
                SRTU Accepted/Refused Structured Out-of-Cell Program Log. This employee will
                be interacting with inmates, inmate family members, inmate guardians, and
                community agency staff to plan, provide, or coordinate needed social work services
                upon release to the community. This employee will work primarily within the SRTU,
                however, at the direction of the LPM; the Social Worker will also assist the general
                population Mental Health Coordinator (MHC) with reentry services to general
                population inmates.

          e. Medical-Nursing

                Any medication concerns identified will be forwarded to the Psychiatrist/CRNP, the
                assigned PSS/PSA, and recorded in the inmate’s medical file. All out-of-cell contacts
                will be noted on the SRTU Accepted/Refused Structured Out-of-Cell Program
                Log.

          f. Chaplaincy

                The Facility Chaplaincy Program Director (FCPD) will provide structured individual
                and group religious services to inmates in the SRTU. Structured group contact will be
                available at least weekly. All out-of-cell contacts will be noted on the SRTU
                Accepted/Refused Structured Out-of-Cell Program Log.

          g. CPS

                CPSs will be available on the unit to provide support for participants in the program.
                Duties may include individual out-of-cell contacts with inmates, educational group
                programming, recreational activities, and assistance with daily living skills. CPSs will
                function under the direct supervision of the Unit Manager. Contacts will be noted by
                supervising staff on the SRTU Accepted/Refused Unstructured Out-of-Cell
                Program Log.

D. Determination and Maintenance of Staffing Levels for the SRTUs 4

      1. The DSFM and the Major(s)/designee shall be responsible for selecting and assigning
         CO Staff to SRTUs. The Unit Manager and LPM shall have input into this selection;
         however, the final determination shall be made by the DSFM.



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     2. SRTU assignments shall be made from COs who have submitted a written request to the
        Major(s)/designee to be considered for placement in an SRTU position.

     3. Volunteers for these assignments must exhibit the following characteristics prior to
        placement in SRTU positions:

          a. willingness to work in a non-traditional corrections environment;

          b. the ability and willingness to become an integral part of the SRTU Treatment Team;

          c. the ability and willingness to perform non-professional counseling and crisis
             intervention with SRTU inmates;

          d. good communications skills;

          e. good emotional stability;

          f. interest in mental health issues;

          g. Crisis Intervention Team (CIT) and Mental Health First Aid (MHFA) trained or willing
             to obtain the training; and/or

          h. any other attributes considered important, but not listed above.

     4. A CO assigned to the SRTU shall be reviewed for rotation out of the SRTU at least
        annually by the DSFM and Major(s)/designee.

     5. A CO assigned to an SRTU beyond one year shall be interviewed by the facility
        LPM/designee to determine his/her fitness for the SRTU assignment. Reports shall be
        confidential and shared only with appropriate personnel.

     6. Removal from the SRTU position may occur at any time if it is determined that the CO is
        inappropriate for his/her assignment or detrimental to the operation of the SRTU. This
        determination shall be made by the DSFM with input from the Major, Shift Commander,
        and/or SRTU Unit Manager. In addition to custody staff, any staff member, recommended
        by the Unit Manager and the LPM, may be removed from being assigned to the SRTU if
        that staff is deemed inappropriate for assignment to the SRTU.

E. Chain of Command

     1. The Unit Manager shall provide daily guidance/direction for all officers assigned to the
        SRTU. The Unit Manager and Shift Commander are responsible for monitoring and
        evaluation of staff performance.

     2. The Shift Commander is in charge of use of force situations and assumes responsibility
        for operation of the unit in the absence of the Unit Manager.

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      3. The Unit Manager shall have the discretion to make essential administrative, program,
         and operational decisions regarding unit security and inmate management. Clinical
         decision will be made via the SRTU Treatment Team as directed by the LPM.

F. Staff Training

      All staff selected or assigned to the SRTU to provide programming and supervision will be
      required to complete certain Department training. Within six months of placement into the
      unit, staff will be required to have completed the Department’s Crisis Intervention Team
      Training (CITT) and the Department’s MHFA Training. If it is necessary to assign a staff
      member to the SRTU who has not completed this training, the facility shall, within two weeks,
      advise the CITT Program Coordinator of the need. The facility’s Training Coordinator shall
      also communicate such training needs to the CITT Program Coordinator to ensure that
      sufficient training is conducted to meet the needs of the facility. CO Trainees (COTs) will not
      be assigned to the SRTU.

G. Admission Criteria 5

      Admission criteria shall include the following:

      1. a diagnosis of SMI as defined in the Definition of a SMI Outline (Attachment 10-F) of
         this policy.

      2. history of multiple admissions to a Restricted Housing Unit (RHU), either AC or DC
         status, a Diversionary Treatment Unit (DTU), a Mental Health Unit (MHU), and/or the
         Forensic Treatment Center (FTC);

      3. presenting problems may include significant difficulties such as self-injury, overtly
         aggressive behavior, and/or impulse control disorder;

      4. a Special Assessment Unit (SAU) evaluation may be required;

      5. C stability code inmates may be considered for placement in an SRTU;

      6. he/she is cleared of acute medical problems by the referring facility’s medical
         department; and

      7. an inmate that meets SRTU program criteria who is also currently maintained on
         the RRL, as a step-down process, upon PRC recommendation.

H. Process for Transfers

      1. When an inmate is being recommended by the PRT, Unit Management Team, or
         Psychology staff, for placement in an SRTU, the PRC shall review the recommendation

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          with the inmate and inform him/her of the reason(s) for the transfer recommendation. The
          recommendation shall be documented on the DC-141, Part 4, Facility Manager’s
          Review, with a copy to the inmate. The inmate will be given the opportunity to respond to
          the rationale given and object to his/her placement in an SRTU, if he/she so desires. The
          inmate may appeal the recommendation for transfer to the Facility Manager/designee
          and Central Office, as outlined in Department policy DC-ADM 802, “Administrative
          Custody” and DC-ADM 801, “Inmate Discipline.”

     2. The MHC/designee at the referring facility shall submit a completed Referral Packet to
        the Office of Population Management (OPM) mailbox (CR, CEN OPM Special Program
        REFERRALS) dedicated to the Special Programs Referral. OPM is responsible for
        tracking the SRTU Referral Packet through the approval/rejection process. This packet
        must only be forwarded electronically.

          a. If needed, the Regional LPM may be consulted to review the SRTU Referral Packet
             and schedule a face to face (on site or via videoconference) interview with the
             referred inmate prior to the referring facility submitting the packet to OPM. The
             purpose of this interview is to facilitate an appropriate referral to the SRTU or any
             other specialized placement. This interview provides a focused independent
             assessment, upon which the Regional LPM can make further recommendations to the
             facility regarding the referral process, if needed. Additionally, this focused interview
             process will provide guidance to the Director of Psychology and Chief of Psychiatry
             in their approval process of this packet.

          b. The SRTU referral may be changed to an SAU referral by the Regional LPM if a
             specialized assessment for diagnosis and program appropriateness is deemed
             necessary.

     3. The OPM will then electronically forward the SRTU Referral Packet to the Chief
        Psychologist, Chief of Psychiatry, and the Executive Deputy Secretary for Institutional
        Operations (EDSI)/Regional Deputy Secretary for the sending and receiving region who
        will vote on the SRTU referral. If the recommendations are not unanimous, the Executive
        Deputy Secretary will make the final recommendation.

     4. The approved and/or rejected SRTU Referral Packet will then be sent to the OPM. The
        OPM will record the disposition of the Referral Packet in the Transfer Petition System.
        OPM notifies, via email, the referring facility with copies to the Chief of Psychological
        Services, BHCS, and Diagnostic and Classification Coordinator, Bureau of Treatment
        Services (BTS). This email will include the rationale for the rejection and
        recommendations.

     5. The OPM will return any disapproved Referral Packets to the referring facility’s
        LPM/designee.

     6. Following final approval, BHCS will coordinate, with the sending and receiving facilities
        and the OPM, the inmate’s transfer to the designated SRTU. If space is not available, the
        OPM and BHCS shall retain the inmate’s name on a waiting list.
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     7. Prior to an inmate’s transfer, the transferring facility’s PRT shall conduct a
        videoconference or teleconference call, with the SRTU Treatment Team at the receiving
        facility. The sending facility shall document the date, names of participants, and issues
        discussed in the conference call in the ICAR/DC-14 and on the DC-472, Progress Note.

     8. Once BHCS has notified the referring facility that an inmate has been approved for SRTU
        placement, and the inmate is placed on the SRTU waiting list, the referring facility will
        immediately implement the following Protocol for Enhanced Mental Health Services
        which has been established for inmates on the SRTU waiting list. The protocol is as
        follows:

          a. a weekly out-of-cell psychology contact, at minimum, will be conducted, with ICAR
             and DC-560 documentation copied to the medical record;

          b. additional psychological contacts, if requested by the inmate or a staff member, will be
             provided by the assigned psychologist during his/her scheduled daily psychology
             RHU rounds;

          c. monthly out-of-cell Psychiatrist/CRNP contacts;

          d. weekly review by the PRC;

          e. monthly PRT review; and

          f. continued weekly Correctional Counselor visits.

     9. If the referring facility cannot fully provide the above protocol for enhanced mental health
        services, the facility should contact OPM as soon as possible so that OPM can expedite
        transfer to the nearest facility which is able to provide this protocol.

   10. An inmate who is on the waiting list for the SRTU can be transferred to an MHU/FTC if
       necessary. This does not affect his/her SRTU waiting list status, unless decided
       otherwise by Central Office.

I. Transportation

     An inmate received into the SRTU will be sent as a permanent transfer. Transport
     procedures for the SRTU shall be in accordance with Department policy 6.3.1, “Facility
     Security.” Additional restrictions and/or requirements are as follows:

     1. all of the inmate’s property will be transported with him/her to the SRTU;

     2. an inmate transferred to the SRTU shall be received no later than 2:00 PM Monday,
        Tuesday, or Wednesday. This schedule allows staff to be available to conduct an initial
        assessment and provides for a period of stabilization; and

     3. the inmate shall be transported via sedan; this is the responsibility of the referring facility.
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J. Admission and Orientation

     1. All inmates will receive a standardized “SRTU Inmate Handbook.” This handbook will be
        distributed to all inmates upon arrival and admission to the SRTU. The inmate handbook
        will address and include at a minimum the following:

          a. general program description and purpose of the unit;

          b. SRTU rules and regulations;

          c. the process of treatment planning and the inmate’s involvement in that process;

          d. overview of the Levels of Treatment/Phase System and the role of the Treatment
             Team;

          e. what an inmate needs to do to advance through the Phases/Levels of Treatment;

          f. earning and utilizing incentive points;

          g. property and privileges;

          h. description of groups and treatment milieu;

          i.   discipline and “Accountability Status;” and

          j.   discharge and transition from the SRTU.

     2. Once admitted to the SRTU, the inmate shall receive the SRTU Inmate Handbook and
        staff will orient the inmate to the rules and regulations of the unit, within 48 hours of
        arrival. The inmate will be asked to sign the SRTU Inmate Handbook Receipt Form
        (Attachment 10-G).

     3. Staff shall complete the DC-510, Suicide Risk Indicators Checklist in accordance with
        Section 1 of this procedures manual.

     4. Inmates housed in an SRTU, will be issued royal blue hobby jeans and a royal blue shirt
        with DOC printed in large white block letters on the back.

     5. SRTU Cell Assignments

          a. An inmate shall be housed in a single cell for Phases 5, 4, and 3 of the SRTU
             program. Suitability for double celling will be considered in Phases 2 and 1 and will be
             contingent upon the inmate’s program code in accordance with Department policies
             11.2.1, “Reception and Classification,” and DC-ADM 008, “Prison Rape
             Elimination Act (PREA).”


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          b. When considering double celling Phase 2 inmates on the unit, the SRTU Treatment
             Team should make every effort to facilitate voluntary double celling agreements
             between SRTU inmates.

          c. If no compatibility contraindications are present (these include, but are not limited to:
             age differences, disparate physical size, gang affiliations, security needs, custody
             level, medical issues, geographic/regional differences, PREA Risk Assessment Tool
             [PRAT] designations, and a documented history of ethnic/religious violence, or
             propensity for such) the SRTU Treatment Team may consider voluntary double
             celling.

          d. SRTU double celling after normal working hours is prohibited, except in extenuating
             circumstances, and only with authorization from the Shift Commander. The double
             celling assignment will be reviewed by the SRTU Treatment Team the next working
             day.

     6. Medical staff shall conduct the medical screening in accordance with Department policy
        13.2.1, “Access to Health Care.”

     7. Upon admission, Psychology staff will interview/assess the inmate and:

          a. review the Referral Packet; and

          b. screen for any acute mental health symptoms including potential suicide risk.

     8. Within 48 hours, the unit Psychology staff will review the SRTU Initial Annual Recovery
        Treatment Plan (Attachment 10-H) with the inmate and outline specific targeted goals
        and objectives. Documentation that the IRP was completed with the inmate will be made
        in the ICAR.

     9. The SRTU Treatment Team shall conduct an initial review of the inmate’s IRP within
        three working days.

   10. Within seven working days, a Psychiatric admission summary note with treatment
       recommendations will be completed. Summary of the SRTU admission shall include at a
       minimum, but not be limited to the following information:

          a. history of present illness/reasons for SRTU admission;

          b. past psychiatric treatment history in the community/Department;

          c. mental status examination;

          d. diagnosis;

          e. risk assessment; and

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          f. treatment recommendations and any needed referrals.

K. Transfers of Inmates in the SRTU System

      1. An inmate who is participating in the SRTU program may be permanently transferred
         between SRTUs, only when the SRTU Treatment Team believes it would be of
         therapeutic benefit and then only with the approval of both the receiving and sending
         facility’s EDSI/Regional Deputy Secretary with input from the Chief of Psychological
         Services. These transfers will be coordinated through the BHCS and OPM. Any
         permanent transfer of an SRTU inmate to a non-SRTU location will require written
         approval by the Executive Deputy Secretary.

          NOTE: Transfers between SRTUs will be coordinated with an exchange of transfer
          packets, a DC-46, including a transfer rationale and a copy of the most recent Psychiatric
          Assessment.

      2. At times it may be necessary to temporarily transfer an inmate from an SRTU to a non-
         SRTU facility. In these cases, the SRTU inmate will be housed in a Psychiatric
         Observation Cell (POC), unless written approval has been granted by the Executive
         Deputy Secretary for placement in another setting such as a DTU or RHU. The Chief of
         Psychological Services, BHCS, must be notified within 24 hours of any temporary
         transfer of an SRTU inmate.

      3. Prior to an SRTU inmate’s temporary or permanent transfer, a member of the transferring
         facility’s SRTU Treatment Team shall communicate, with a member of the SRTU
         Treatment Team or PRT at the receiving facility. The sending facility shall document the
         date, names of participants, and issues discussed in the conference call in the ICAR and
         on the DC-472.

      4. If an inmate is committed to a Department MHU or the FTC, that inmate’s SRTU bed will
         be held open for a reasonable period of time, pending the inmate’s return from the MHU
         or FTC.

L. Treatment Programs/Levels of Treatment 6

      1. The program components in the SRTU include a multi-disciplinary treatment
         environment.

      2. All inmates in the SRTU will have an IRP. These IRPs shall be created using the
         “Recovery Model” of treatment. The recovery model has the goal of enhancing the
         individual’s quality of life. It supposes that the treatment delivered be tailored to the




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          individual’s strengths, needs, and directions; and treatment decisions are made in
          partnership with the individual. In adopting the recovery model, we understand that the
          focus is on a path of recovery, not just goals. We also understand that recovery is an
          ongoing process and does not mean there is an absence of symptoms. Overall, this
          person-centered approach can reduce therapeutic disruption, noncompliance,
          decompensation, violence, and self-harm.

          a. The first step in developing a “Recovery Model” IRP is to identify the “person-
             centered” goal. Listening to the individual with empathy, acceptance, and validation
             will allow the goal to be expressed. Second, identify the individual’s strengths. This
             will tell us what is already working that can be amplified, supported, and used as a
             resource to facilitate change. Third, identify obstacles that prevent the individual from
             reaching their goal. Fourth, identify treatment objectives. These treatment objectives
             need to be measurable, concrete, and clear. It is important that the treatment
             objectives are relevant to the individual’s stated recovery goal and to the obstacles
             that are hindering the inmate from reaching their goal. Fifth is to identify treatment
             interventions. Treatment interventions will be chosen that are likely to increase the
             individual’s strengths.

          b. Treatment planning may also include variations to the standard phases, treatment
             goals, and length of time in a phase, privileges, and management of problematic
             behavior. Modifications to the inmate’s level of security related to restraints and escort
             will also be noted on the IRP. These security modifications will also be clearly noted in
             the Unit control booth. An overview of property and privileges associated with each
             Phase of treatment is found in the SRTU Property, Privileges, and Services Chart
             (Attachment 10-I).

          c. In conjunction with the SRTU Treatment Team, the Psychology staff will update the
             Initial/Annual IRP, using the SRTU Recovery Treatment Plan Review (Attachment
             10-J), every 30 days while the inmate is in Phases 5 through 1. The IRP shall be
             reviewed out-of-cell with the SRTU inmate at a minimum of every 30 days. The
             inmate must have input into the goals rather than all of them being generated by the
             SRTU Treatment Team in a standardized fashion. All inmates will be invited to
             personally attend and participate in all SRTU Treatment Team meetings. Treatment
             plan reviews will be documented in the ICAR.

          d. The goals on the IRP, established collaboratively with the SRTU Treatment Team and
             the inmate, drive the clinically structured out-of-cell offerings on the SRTU.

     3. Participation in treatment programs is based on a phase system. Movement to a lower
        treatment phase is based on appropriate inmate behavior and compliance with the IRP.
        The initial treatment phase shall be determined by the inmate’s present level of
        functioning, recent historical information, and mental status. The SRTU Treatment Team
        shall recommend all treatment phase changes. Ultimately the PRC, with input from the
        SRTU Treatment Team, has the final decision on awarding or terminating privileges and
        granting phase changes.

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     4. The SRTU treatment program includes a progressive phase system that may include, but
        is not limited to, Phases 5 through 1, plus Accountability Status, and Post-SRTU
        aftercare. The length of time spent in each phase is dependent on the inmate’s
        demonstrated level of adjustment. The specific time parameters for each phase
        movement will be defined in the inmate’s IRP.

     5. Changes in status from phase to phase shall be accomplished through staff action by the
        SRTU Treatment Team and documented by circulating an SRTU Program Review
        Sheet, with final approval by the Facility Manager. All status changes will be documented
        in the ICAR by the Unit Counselor. A DC-46 is not required for phase change following
        placement on Accountability Status. A DC-46 will be required to be circulated for all
        Phase 1 approvals.

     6. The SRTU is designed to support inmates with mental health problems in achieving the
        highest level of functioning within a safe environment. The phase system is designed to
        provide incentives for inmates who are able to remain free of self-injury, aggression, and
        other problematic behaviors as well as for attendance and participation in programming.
        Incentives will be earned when inmates engage in appropriate behavior. Incentives may
        be purchased weekly via the points system and points are deducted at the time they are
        redeemed.

     7. The SRTU Treatment Team is aware that from time to time participation in programming
        may be difficult for some individuals. They may exhibit a lack of meaningful participation
        in the milieu offered. It is the goal of the SRTU that all participants receive the maximum
        benefit from treatment. Therefore, the SRTU Treatment Team will closely monitor
        program participation. Each month, every participant's IRP and out-of-cell participation
        will be reviewed by the Treatment Team. Should an individual's participation in out-of-cell
        offerings fall below 60% of the minimum 20 hours programming, the institution's LPM will
        lead the Treatment Team in collaborating with the individual to discuss
        goals/objectives/barriers to out-of-cell participation. Part of that review will include a
        discussion of the programming offered in order to ensure that it addresses the individual's
        expressed needs. The Treatment Team will also assess whether a higher level of
        care is indicated. The institution's LPM may coordinate a videoconference/
        teleconference consultation with their Treatment Team, their respective Regional LPM,
        and the Mental Health Advocate at Central Office, to discuss and review the Recovery
        Plan changes recommended by the institution's LPM and their Treatment Team.

     8. Consequences for engaging in self-injurious, aggressive, or other problematic behavior
        will be immediate with the inmate being placed on Accountability Status where the
        capacity to earn incentives is limited.

     9. Phase advancement will be recommended by the SRTU Treatment Team, which includes
        mental health staff, security staff, and unit team staff. Phase advancement shall be based
        on behavior and attendance as well as participation in programming. The SRTU is an
        incentive-based program, meaning that as behavioral stability is demonstrated, more
        privileges are earned. Inmates who engage in problematic behavior will not be afforded
        these privileges until they demonstrate they are able to function more independently.
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          Overriding goals include no disciplinary reports, treatment compliance, and active
          program participation.

   10. Criteria for consideration of cutting set-aside-disciplinary sanctions and for advancement
       from phase to phase include:

          a. remain free of misconducts and problematic behavior reports;

          b. remain free of self-injury;

          c. attend at least 60% of the minimum 20 hours out-of-cell structured and unstructured
             programming;

          d. attend at least 90% of individual sessions; and

          e. other individualized recommendations on the IRP made by the SRTU Treatment
             Team.

   11. Phase System

          a. Phase 5 (seven days)

               (1)      This is the starting point for new admission to the program. The inmate is eligible
                        to advance to Phase 4 programming after seven days with no problematic
                        behavior demonstrated and active participation in out-of-cell programming. This
                        phase includes:

                        (a)   the initial assessment of the inmate;

                        (b)   works with staff to develop an IRP to identify behavioral and clinical needs
                              and goals;

                        (c)   attend initial SRTU Treatment Team session and orientation to the unit;

                        (d)   introduction to incentive plan;

                        (e)   rules of the unit;

                        (f)   behavioral expectations;

                        (g)   overview of the phase system;

                        (h)   group descriptions; and

                        (i)   unit schedule of activities and programs.


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               (2)      Phase 5 privileges and restrictions include the following:

                        (a)   as outlined in the SRTU Property, Privileges, and Services Chart;

                        (b)   may earn up to 50 incentive points per week. Incentive points may be used
                              on Phase 5 for items approved on the SRTU Incentive Order Form
                              (Attachment 10-K); and

                        (c)   escorted in restraints to all out-of-cell activities. Restrained inmates will not
                              be in mixed out-of-cell groups/activities with unrestrained inmates.

          b. Phase 4 (60 days or longer based on clinical recommendation)

               (1)      After seven consecutive days on the Phase 5/Stabilization Phase without
                        problematic behavior, the inmate is eligible for transition to Phase 4. Advancing
                        through phases depends on active participation in programming. After 60 days
                        on Phase 4, the inmate is eligible to move to Phase 3.

               (2)      Phase 4 privileges and restrictions include the following:

                        (a)   as outlined in the SRTU Property, Privileges, and Services Chart;

                        (b)   may earn up to 50 incentive points per week;

                        (c)   15 incentive points may be used for food items;

                        (d)   30 additional earned points may be used for Phase 4 incentive point menu
                              items; and

                        (e)   escorted in restraints to and from all activities. Restrained inmates will not
                              be in mixed out-of-cell groups/activities with unrestrained inmates.

          c. Phase 3 (60 days or longer based on clinical recommendation)

               (1)      An inmate may be considered appropriate for transition from Phase 3 to Phase 2
                        when the following is evident:

                        (a)   demonstrates the ability to maintain safe behavior for at least 60 days;

                        (b)   compliant with institutional regulations for at least 60 days;

                        (c)   demonstrates an overall level of functioning that is consistent with general
                              population; and

                        (d)   compliant with treatment objectives as outlined in the inmate’s IRP.


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               (2)      Phase 3 privileges and restrictions include the following:

                        (a)   as outlined in the SRTU Property, Privileges, and Services Chart;

                        (b)   may earn up to 50 incentive points per week;

                        (c)   30 incentive points may be used for food items;

                        (d)   any incentive point value may be used for incentive point menu items other
                              than food items up to a total of 70 points per week;

                        (e)   in Phase 3 the inmate can be considered for on-unit employment based on
                              team approval and job-availability. The Phase 3 inmate may be permitted to
                              eat meals out-of-cell. Phase 3 inmates will be paid General Labor Pool
                              (GLP) for five days per week; and

                        (f)   restraints - Upon placement on Phase 3 the Treatment Team may approve
                              reduced restraints during escort to and from therapeutic modules for
                              groups, recreation, and showers. However, Phase 3 inmates are generally
                              unrestrained for regular movement within the unit unless out with another
                              inmate who requires restraints.

          d. Phase 2 (30 days or longer based on clinical recommendation)

               Phase 2 privileges and restrictions include the following:

               (1)      as outlined in the SRTU Property, Privileges, and Services Chart;

               (2)      may earn up to 50 incentive points per week;

               (3)      any incentive point value may be used for any incentive point menu item
                        including food up to a total of 70 points per week;

               (4)      may generally move unrestrained out-of-cell unless out with another inmate who
                        requires restraints;

               (5)      in Phase 2 the inmate can be considered for on-unit employment based on team
                        approval and job-availability and may be permitted to consume meals out-of-cell.
                        Phase 2 inmates will be paid GLP for five days per week; and

               (6)      may exercise in a group with up to six other unrestrained inmates.




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          e. Phase 1 (90 days or longer)

               (1)      An inmate attaining this phase is considered ready to begin reintegrating into a
                        general population RTU or other housing unit deemed appropriate by the
                        Treatment Team at the current treating facility or another SRTU facility. This
                        probationary phase will be 90 days in length; with an option to extend probation
                        for another 90 days through the Vote Sheet process. However, the maximum
                        amount of time this phase will last is 180 days. Should the inmate be away from
                        the facility for any reason, such as Authorized Temporary Absence (ATA) or a
                        Mental Health Commitment, Phase 1 time will be suspended until such time as
                        the inmate returns to the facility.

               (2)      While on Phase 1, the SRTU Treatment Team will continue to review the
                        individual’s IRP every 30 days. Incentive points will not be earned nor can they
                        be used while an inmate is on Phase 1. The focus of this Phase shall be to
                        continue to address treatment goals while adjusting to the general population
                        setting. Thus, acclimating and blending into the general population routine is
                        vital. Incentive points should be used prior to earning Phase 1. Once promoted
                        to Phase 1, any unused points will be lost.

               (3)      When an inmate successfully completes the probationary status after 90 to 180
                        days without any significant incidents of behavioral or mental health regression,
                        the SRTU Treatment Team will staff him/her for discharge/graduation from the
                        program. Graduation from the SRTU will be completed by Vote Sheet with final
                        approval from the Facility Manager. Since the inmate has completed/graduated
                        the program, the Treatment Team may consider transferring him/her to another
                        facility, or permit him/her to remain at the current facility. After completing the
                        probationary period, the release of any Phase 1 inmate to general population
                        requires facility approval via the EDSI/Regional Deputy Secretary.

M. Accountability Status

     Accountability Status is a temporary placement within the unit or off of the unit for SRTU
     inmates whose behavior is acutely dangerous to self or others or whose behavior is
     threatening and disruptive to programming and the operational functioning of the unit. The
     inmate on Accountability Status shall be evaluated daily with a plan for his/her timely return
     to the program.

     1. Purpose of Accountability Status

          a. It is the goal of the SRTU to provide quality out-of-cell programming to inmates who
             can benefit from treatment, but who, because of their behavior, have been restricted
             to units where intensive therapy is difficult to provide. An essential part of all Behavior
             Management programs is the provision for an immediate consequence for serious
             negative behavior. Therefore, Accountability Status may be instituted to temporarily
             address an acutely aggressive, threatening, disruptive inmate participating in SRTU

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               programming. This ensures the education of the inmate; safety of staff and other
               inmates; and the smooth continuation of the program for treatment compliant inmates.

          b. The SRTU inmate may be held on Accountability Status no longer than 24 hours.
             Additional placement on Accountability Status may be approved by the Facility
             Manager in 24-hour increments up to an additional 72 hours if the individual’s status
             has not stabilized after the first 72 hours, the Psychiatrist will be consulted to
             determine the need for POC or inpatient placement. In addition, upon reaching the
             initial 72-hour time frame, the institution’s LPM will forward the SRTU Change of
             Status IRP to the institution’s Regional LPM and the Chief of Psychology for review.
             Also, the SRTU Treatment Team will schedule and conduct a videoconference with
             the Department’s Mental Health Advocate. Recommendations for case management
             will be made in conjunction with Central Office.

     2. Indicators for Accountability Status Process

          a. SRTU inmates who are exhibiting acutely aggressive and/or threatening behavior
             toward themselves or others or are exhibiting extremely disruptive behavior that
             interferes with the safe and orderly functioning of the program will immediately be
             placed on Accountability Status. These behaviors may be reported and documented
             by utilizing the:

               (1)      DC-141, Misconduct or Other report; or

               (2)      DC-121, Part 3, Employee Report of Incident.

          b. Once a staff member observes a harmful, potentially harmful, or disruptive behavior,
             they will inform the Area Lieutenant, Unit Manager, and the LPM/designee. They will
             also complete one of the above noted documents. The Area Lieutenant will notify the
             Shift Commander of the noted behavior and the recommendation to place the inmate
             on Accountability Status. The Lieutenant, Unit Manager, or LPM will complete the
             SRTU Accountability Status Restriction Form (Attachment 10-L). Recommended
             property and privilege restrictions must relate to the behavior which prompted the
             inmate’s placement on Accountability Status. All documentation shall be completed
             immediately and forwarded to the Shift Commander for initial disposition.

          c. In general, cells utilized for Accountability Status should be away from the routine
             activity of the SRTU program. However, cells should be outfitted to ensure the
             maximum ability to observe and ensure the safety of the inmate.

          d. Prior to placing the inmate into Accountability Status, he/she shall be strip searched
             and given property and privileges as indicated on the SRTU Accountability Status
             Restriction Form. Once placed on Accountability Status, the inmate shall be seen by
             his/her assigned Psychology staff member. Together they shall complete the SRTU
             Accountability Status – Individual Recovery Plan (Attachment 10-M). This
             recovery plan shall specifically address the inmate’s goals related to why he/she is on
             Accountability Status and his/her return to regular programming. Placement in
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               Accountability Status and subsequent treatment planning shall be documented in the
               ICAR. After being reviewed by the institution’s LPM, the SRTU Accountability
               Status – Individual Recovery Plan will then be scanned to the institution’s Regional
               LPM for review. They shall then be scheduled for the next Treatment Team meeting.
               All staff contacts shall occur as described in the Accountability Status Monitoring
               Protocol as follows:

               (1)      the assigned Psychology staff member shall offer daily 30-minute AM and PM
                        out-of-cell contacts for the duration of the Accountability Status placement.
                        Contacts will be documented in the ICAR and DC-560 documentation copied to
                        the medical record;

               (2)      additional psychological contacts, if requested by the inmate or a staff member,
                        will be provided by the assigned psychologist during his/her scheduled daily
                        psychology unit rounds;

               (3)      one 30-minute daily out-of-cell Therapeutic Recreation Specialist contact;

               (4)      one 30-minute daily out-of-cell Social Worker contact;

               (5)      one 30-minute daily out-of-cell CPS contact;

               (6)      one hour of yard daily;

               (7)      PRC review during the Accountability Status placement;

               (8)      SRTU Treatment Team review at the initiation of the Accountability Status
                        placement, including review of treatment compliance, and property and
                        privileges permitted with recommendations forwarded to PRC on a new SRTU
                        Accountability Status Restriction Form; and

               (9)      continued 30-minute daily out-of-cell Correctional Counselor visits.

          e. While on Accountability Status, the Treatment Team will make the final decision as to
             when and whether the inmate may have more property privileges or programming, or
             qualify for ending Accountability Status. While on Accountability Status inmates may
             earn one incentive point for each day without exhibiting acute aggressive and/or
             threatening behavior toward themselves or others or are exhibiting extremely
             disruptive behavior to the safe and orderly functioning of the program.

          f. To be removed from Accountability Status an inmate must be treatment compliant,
             (including out-of-cell participation of at least 50%), in behavioral control, and
             misconduct free to finish Accountability Status. The Treatment Team shall decide
             when an inmate has successfully completed Accountability Status. The inmate will
             then be returned to the program Phase deemed appropriate by the SRTU Treatment
             Team.

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N. Structured Versus Unstructured Programming

     1. All structured and unstructured programming will take place in therapeutic modules and
        Restart Chairs upon determination by the Treatment Team. Each facilitator of structured
        and unstructured programming shall document their group contact with each individual
        on the SRTU Group Participation Form (Attachment 10-N). Each facilitator shall keep
        the SRTU Group Participation Form in their possession. At the end of each 30 days,
        the SRTU Group Participation Form shall be forwarded to the medical record for filing.
        At the same time, the facilitator shall place a brief monthly summary in the ICAR.

     2. Structured activities are those that are lead/facilitated by a Department or contracted staff
        member, or a Volunteer. These may include: Morning Meetings, Mental Health groups,
        the HELPING: Multimodal Self-Change Approach, Carey Guides, Relapse Prevention
        Plan, AOD, chaplaincy, Thinking for a Change groups, Violence Prevention, Taking a
        Chance on Change groups, Start Now program, groups run by activities staff, education,
        Reentry groups and modules on accepting mental illness, activities for challenged
        inmates, body basics, staying healthy on your medications, exploring the United States,
        handle anger better, personal hygiene, planning for a better life, self-esteem, social skills
        for challenged inmates, and substance abuse treatment introduction and other treatment
        interventions. Staff may also choose to use the “Traffic Light” Tool in order to illustrate
        targeted goals and objectives for each inmate. This visual representation of their
        immediate objectives can be placed where the inmate may view and have immediate
        feedback concerning appropriate and inappropriate behavior. This intervention will be
        utilized in a way that protects the confidentiality of the inmate. These resources and
        activities may be acquired from the LPM assigned to your region.

     3. Unstructured activities are defined as activities occurring outside the cell but not
        conducted by Department staff members. For example: law library, recreation, visits,
        viewing movies, eating in small groups, and reading out-of-cell. They do not include
        activities of daily living like showers; however, eating meals in a small group would be
        considered unstructured.

     4. At a minimum, ten structured and ten unstructured out-of-cell hours of programming will
        be offered to all inmates housed in the SRTU. The number of structured out-of-cell hours
        or portions of an hour of programming the inmate participates in will be logged by the
        staff member who provides the structured out-of-cell contact. The staff member will log
        the completed time on the SRTU Accepted/Refused Structured Out-of-Cell Program
        Log. The number of unstructured out-of-cell hours or portions of an hour of programming
        the inmate participates in will be logged by a CO assigned to the unit. The CO will log the
        completed time on the SRTU Accepted/Refused Unstructured Out-of-Cell Program
        Log.

     5. Weekly, the SRTU Counselor will compile the total hours of programming for each
        inmate, document the total in the ICAR and report the data on the Weekly
        Structured/Unstructured Out-of-Cell Program Report (Attachment 10-O). Completed
        logs will be forwarded to the SRTU Unit Manager for filing. The Weekly

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          Structured/Unstructured Out-of-Cell Program Report will be forwarded to the Chief of
          Psychological Services.

O. Phase Modification

     The SRTU treatment program will tailor individualized phase modifications/alternatives when
     necessary. The modifications will be documented on the IRP with the rationale and goals for
     the modification and the steps to be taken to reach those goals. These alternatives include,
     but are not limited to:

     1. Accountability Status for an SRTU inmate who is celled in an area apart from the SRTU
        (if available) due to his/her behavior, psychiatric symptoms, and/or facility need. The
        inmate may be committed to a MHU, or other appropriate housing unit;

     2. temporary phase change and/or phase demotion;

     3. phase freeze (a hold in one phase for various reasons, where privileges may be
        modified); and

     4. modified phase (e.g., an inmate with previous assaults on female staff will lock up when
        female staff are on the unit, or a Phase 4 inmate may be permitted uncuffed out-of-cell
        time when other inmates are all in their cells).

P. Incentive Program

     1. The Incentive Program is designed to allow inmates in the SRTU the opportunity to earn
        incentive points that may be redeemed for items on a regularly scheduled basis.
        Incentive points are earned based on individual performance and for positive and pro-
        social behaviors.

     2. Incentives are a proven method for increasing pro-social behavior and reducing
        problematic (target) behaviors. Once the target behaviors and goals are identified with
        the inmate, incentives are used as a reward for achieving identified goals. Within the
        Incentive Program design is also life skill opportunities such as basic math and reading,
        learning to save and plan, and facilitating positive social communication.

     3. Program Design

          a. Inmates who follow facility rules and regulations evidenced by not receiving a
             misconduct report or demonstrating any problematic behavior will earn a point for the
             day. A notation in the ICAR will be written as supporting documentation for an inmate
             who does not earn his/her point for the day. This will be noted by the Unit Counselor.

          b. Treatment points are earned based on treatment attendance and participation without
             problematic disruptive behavior. Inmates earn two points for each hour of structured
             activity and one point for each hour of unstructured activity they attend. Structured
             and unstructured programming will occur daily. Inmates are assigned to specific
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               groups based on individual needs. Inmates who do not have an excused absence,
               who ask to leave group before it is finished, or who are escorted out due to disruptive
               behavior do not earn points for that group.

          c. Inmates’ points are aggregated each week. Inmates are informed, weekly, both
             verbally and in writing of all points earned. Inmates then may order items or purchase
             privileges using their points. Items are given point values from 5 to 50 points. Unused
             points may be carried over from week to week and month to month, but an inmate
             may not use more than the total stated for each phase in a given week. Once a point
             or privilege is earned, it cannot be taken away. Points and privileges will be held in
             abeyance should the inmate be placed in Accountability Status.

          d. The following is an overview of the incentive points that may be earned in each week:

               (1)      seven daily points for no disciplinary reports or information reports (Maximum to
                        be earned is seven);

               (2)      seven daily points for Good/Fair ratings for Cell Cleanliness and Hygiene
                        (Maximum to be earned is seven);

               (3)      two points for each hour of attendance and participation in structured
                        programming (Maximum to be earned is 20);

               (4)      one point for each hour of attendance and participation in unstructured
                        programming (Maximum to be earned is ten);

               (5)      six bonus points for attending and participating in all groups and meeting
                        recovery plan requirements for one week; and

               (6)      seven daily points for no disciplinary reports or negative information reports
                        while under Accountability Status (Maximum to be earned is seven).

          e. At the end of each week, the SRTU Counselor will tabulate each inmate’s incentive
             point total for the previous week using the SRTU Weekly Point Summary
             (Attachment 10-P). The total points will be transposed to the SRTU Monthly Point
             Summary (Attachment 10-Q) in order to track the total incentive points earned and
             redeemed over time. After tabulating the weekly point totals, the SRTU Counselor will
             then distribute the SRTU Incentive Order Form to each inmate. They will then
             complete and return the forms by the end of the day. Incentives earned will then begin
             to be distributed no later than the week following when they were redeemed.




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Q. Misconducts

     1. The alleged commission of a Class 1 Misconduct charge 1 to 14 will result in formal
        disciplinary action if found guilty and Accountability Status for no more than three days.

     2. The alleged commission of a Class 1 Misconduct charge 15 to 25 may result in formal
        disciplinary action if found guilty and placement in Accountability Status for no more than
        three days.

     3. An inmate will not be issued misconducts for self-mutilation, however, a DC-121, Part 3
        will be generated. This may result in the inmate's placement in the POC or on
        Accountability Status.

     4. The assigned Psychology staff will provide input to the Hearing Examiner for all formal
        hearings in regard to whether the infraction was due to the inmate’s mental illness or
        volitional. The Hearing Examiner will use this input for sanctions or modifying sanctions.

     5. An inmate on probationary status in Phase 1 in a general population RTU does not
        automatically need to be returned to the SRTU. This decision will be made by the PRC
        with input from the SRTU Treatment Team.

R. Changes in Status

     1. Inmates may be transferred to the SRTU in either Administrative Custody (AC) or DC
        status. DC sanctions should not be cut by the sending facility. The major goal of the
        SRTU program is to stabilize the inmate’s behavior so he/she can progress to placement
        in the least restrictive environment, based on his/her demonstrated behavior. Any
        remaining DC time will be addressed by the PRC at the SRTU facility.

     2. While in the SRTU, DC status is set aside. As stated above, the DC sanction time
        continues to expire while the inmate is in the SRTU. An inmate can earn further
        reductions in his/her DC sanctions for appropriate behavior.

     3. An inmate who exhibits misconduct-related behavior while in the SRTU will generally
        serve a period of suspension on Accountability Status with a phase change (reduction in
        privilege level) based on the recommendation of the SRTU Treatment Team and
        approval of PRC.

     4. All changes in status in regard to Phase progression will be completed via the SRTU
        Program Review Sheet. Once the unit team makes a recommendation to PRC to
        advance a phase, and PRC approves, an ICAR entry will be made by the counselor
        indicating such.




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S. Release of SRTU Inmates

     1. Phase 1 constitutes the release of the inmate to a general population housing unit
        generally within the treating facility. The release of any Phase 1 inmate from the SRTU to
        a general population RTU or appropriate housing unit requires approval of the
        EDSI/Regional Deputy Secretary.

     2. An inmate who is being considered for release to general population as a result of
        placement on Phase 1 must have completed all requirements of his/her IRP for Phase 2.

     3. Approval to move to Phase 1 and release to a general population RTU shall be requested
        via memo to the office of the EDSI/Regional Deputy Secretary. Documentation should
        include the SRTU Treatment Team’s approval, PRC action, Facility Manager’s approval,
        and submission of appropriate rationale concerning the inmate’s progress in the SRTU
        program. The release is usually to the general population RTU of the treatment facility.

     4. If approval is granted for transition to Phase 1 and ultimate discharge to the designated
        facility, the Unit Manager/designee shall verify the status and move date.

     5. The Unit Manager shall ensure that the following are completed:

          a. the inmate is readied for transition on the approved date;

          b. the inmate packs his/her property and cleans the cell;

          c. the inmate’s property is inventoried by unit staff;

          d. all SRTU property, clothing, etc., is returned to the SRTU inventory;

          e. the inmate’s property is released to the inmate and/or the Department transportation
             crew;

          f. if the inmate is being released to the SRTU facility’s general population, request
             appropriate staff to escort the inmate to the newly assigned housing unit;

          g. review all documentation to ensure proper log entries, forms, location boards, and
             SRTU paperwork is completed accurately and in a timely manner;

          h. notify the facility’s Control Center to ensure inmate movement forms for count
             procedures are completed; and

          i.   in a case where the inmate is being discharged to an RTU placement at another
               facility with an SRTU, the SRTU Treatment Team shall conduct a videoconference or
               teleconference call, with the Unit Management Team of the receiving facility to
               discuss the inmate’s response to treatment. The referring facility shall document in the
               ICAR and on the DC-560 the date, names of participants, and issues discussed in the

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               conference call. At a minimum, the following issues shall be addressed:

               (1)      the inmate’s progress toward meeting the goals of his/her IRP;

               (2)      the extent to which he/she has achieved maximum benefit from treatment
                        available at the SRTU;

               (3)      any ongoing resistance to program participation; and/or

               (4)      any treatment needs to be addressed when the inmate arrives at his/her
                        designated facility.

     6. An inmate being transferred to another facility as a Phase 1 SRTU inmate on
        probationary status will be afforded the same privileges and services as defined in the
        SRTU Privileges and Services Chart (Phase 1) and placed in general population.

     7. In the event that an inmate’s behavior deteriorates, during his/her Phase 1 probationary
        period, the inmate may be returned to the SRTU. If the inmate’s behavior deteriorates,
        after he/she has completed Phase 1, return to the SRTU is an option, but is not
        mandated. If a decision has been made to place the inmate back into SRTU
        programming, a new Referral Packet will be generated and the packet submitted for
        review as stated in this policy. Depending on the nature of the deterioration, the inmate
        may require a short time stay in the RHU and/or a mental health inpatient setting. If there
        are questions regarding the preferred option, cases in this status can be reviewed with
        the COSN/PRT and the Regional LPM.

T. Discharge Procedures

     1. Discharge/Graduation of an inmate from SRTU programming after successful completion
        of the Phase 1 probationary period shall be considered when:

          a. the IRP goals have been satisfied with successful reintegration into a general
             population RTU or step-down unit for three to six months in a permanent facility;

          b. it is necessary to place an SRTU graduate in the RHU, he/she will be managed
             according to his/her Stability Rating and Department policy DC-ADM 801; or

          c. an inmate successfully completing Phase 1 probationary period and graduating from
             SRTU programming may be eligible for transfer to a facility in his/her home region by
             submission of a permanent transfer petition utilizing the purpose, Other and
             Comments: SRTU Graduate.

     2. Discharge of an inmate from the SRTU for other than successful program completion
        shall be considered when:

          a. the SRTU Treatment Team concludes that the inmate remains resistant to
             participation in the IRP that was developed for him/her; and/or the inmate engages in
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               repeated negative behavior which is contrary to the mission of the SRTU, and
               undermines the treatment of other SRTU participants;

          b. all inmates being considered for discharge from the SRTU for reasons other than
             successful completion shall be automatically referred to the SAU for review and
             recommendation for subsequent placement. The SAU recommendations will then be
             included in the Referral Packet; and

          c. the following criteria should be met when an inmate is being considered for removal
             from overall SRTU programming:

               (1)      clinician and custody consensus that the inmate’s presentation is intentional and
                        volitional and is not driven by SMI; and

               (2)      evidence of both disruptive actions and deleterious impact on valid SRTU
                        inmates’ progress.

     3. The facility recommending an inmate for removal from SRTU programming should send a
        Referral Packet to the OPM for review at COSN/PRT. The Referral Packet should include
        the following information:

          a. a completed Special Program Referral Approval/Rejection Form, which will serve
             as the face sheet. In the Requested Action Section, the Program/Unit Removal box
             should be checked;

          b. DC-46 circulated through the SRTU Treatment Team and the referring facility’s
             administrative staff;

          c. rationale for the inmate’s removal from SRTU programming to include listing of
             disruptive behaviors, misconducts, and actions of self-injury;

          d. the review and recommendations as prepared by the SAU; and

          e. documented evidence of behaviors to include, but not limited to Misconduct Report(s),
             DC-121s, ICAR entries from SRTU Treatment Team, and PRT notes.

     4. If the COSN/PRT determines that removal from the SRTU programming is not
        appropriate, all options will be reviewed and a decision as to the disposition of the
        inmate’s case will be generated.

     5. If the final recommended disposition by COSN/PRT does not include placement in
        another SRTU, the Executive Deputy Secretary will conduct the final review.

     6. If removal from SRTU Programming is approved by the COSN/PRT and the Executive
        Deputy Secretary, then a Transfer Petition will be completed by the OPM. COSN/PRT will
        determine where the inmate should be placed and the OPM will assign a facility
        accordingly.
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     7. The receiving facility can submit the inmate for consideration by COSN/PRT for reentry
        into the SRTU programming, if the inmate displays behaviors consistent with SRTU
        admission criteria.

     8. Prior to discharge or transfer to another SRTU or other placement, documentation from
        the Psychiatric provider shall include at a minimum, but not limited to the following
        information:

          a. overall progress, any symptoms which have not responded to treatment;

          b. summary of response to medication trials, reasons/need to continue any
             polypharmacy, and any significant events while in the SRTU;

          c. SRTU discharge treatment recommendations; and

          d. any inmate who’s Psychiatric Evaluation is over five years old, shall have an updated
             Summary Psychiatric Assessment at the time of his/her discharge from the SRTU
             which shall include the above information.

U. Release via Sentence Complete (Formerly Final Discharge Maximum Expiration
   [FDME])

     1. If an inmate is scheduled for release via Sentence Complete before completion of the
        SRTU program, the inmate shall be referred to the facility Psychology Department 12
        months prior to release for continuity of care/release planning, in accordance with
        Section 2 of this procedures manual.

     2. The inmate may be referred to the SAU in accordance with this procedures manual
        for an evaluation. The inmate may be placed on the Hard to Place Offender List in
        accordance with Department policy 7.3.1, “Reentry and Transition.”

     3. Any release of a highly assaultive inmate due to sentence completion shall follow
        procedures set forth in Department policy 6.5.1, “Administration of Security Level 5
        Housing Units,” Section 1. Reentry services shall be offered in accordance with
        Department policies 6.5.1 and 7.3.1.

V. Unit Operation Evaluation

     1. Monday of each week, the SRTU Unit Manager/designee will provide, via email, the
        Licensed Psychologist Director at Central Office with an updated roster to include SRTU
        inmates on Mental Health (MH) commitment, WRIT, etc. This roster shall include phases,
        effective date of current phase, and date admitted to the SRTU.

     2. Also, on Monday of each week, the SRTU Unit Manager/designee will submit via email,
        to the Licensed Psychologist Director at Central Office, the log sheet of out-of-cell hours
        on the SRTU Accepted/Refused Structured Out-of-Cell Program Log and the SRTU
        Accepted/Refused Unstructured Out-of-Cell Program Log.
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     3. In conjunction with this review, the SRTU Unit Manager/designee will submit a list of
        SRTU individuals who participated in out-of-cell programming at less than a 60% average
        for the previous month. This list will be reviewed by the institution’s LPM who will ensure
        that all listed individual’s IRPs have recovery plan goals/objectives related to program
        participation and overcoming obstacles to treatment. This list will be forwarded to the
        institution’s Regional LPM and the Chief of Psychology. The type and content of
        programming offered will be evaluated as to its efficacy in engaging the individuals in the
        therapeutic process. Upon Central Office review, consultations with the institution may
        occur with recommendations to modify the programming delivered to the SRTU.

     4. The SRTU Unit Manager/designee shall provide, via email, a summary of the monthly
        Treatment Team meeting to the Licensed Psychologist Director (LPD) on the first of each
        month.

     5. In order to evaluate the operation of the SRTU, each Facility Manager/designee shall
        ensure that an SRTU Semi-Annual Report (Attachment 10-R) is completed and
        submitted to the Executive Deputy Secretary, the LPD, and the Regional LPM by July 31
        (reporting period 1/1 to 6/30) and January 31 (reporting period 7/1 to 12/31) of each
        calendar year. This report shall include, but not be limited to, the following:

          a. the number of inmate receptions by month;

          b. a list of facilities transferring inmates to the unit;

          c. the name and Department number of every inmate transferred to the unit;

          d. the name and Department number of every inmate promoted to Phase 1;

          e. the average length of an inmate’s stay in all Phases (5, 4, 3, 2, and 1);

          f. the name and Department number of every inmate released from the unit and the
             location where he/she was transferred;

          g. the name and Department number of every inmate with Sentence Complete expiring
             while in the unit;

          h. the name and Department number of every inmate moved to Accountability Status
             and Post SRTU;

          i.   the number of grievances filed by inmates in the unit;

          j.   the number of misconducts issued to inmates in the unit;

          k. the number of SRTU inmates at the beginning and end of the reporting period;

          l.   any recommendations to facilitate the operation of the unit; and

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          m. any concerns regarding the operation of the unit.




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Section 11 - Sex Offender Treatment

Section 11 - Sex Offender Treatment (SOT)

A. Standards, Guidelines, and Theoretical Orientation for the Assessment and Treatment
   of Adult Sex Offenders

     1. Standards and Guidelines

          The Department’s Standards and Guidelines for the Assessment, Evaluation, and
          Treatment of Sex Offenders are found in Attachment 11-A. Every provider of sex
          offender-specific treatment shall thoroughly familiarize himself/herself with these prior to
          facilitating treatment.

     2. Theoretical Orientation

          The overarching theoretical orientation of the Department is derived from the modern
          research in the field of Sex Offender Treatment (SOT). All program components and
          therapeutic strategies are evidence-based on a cognitive behavioral model of treatment.

B. Risk/Need Assessment

     1. Assessment Strategy

          a. An Adjusted Actuarial Approach shall be employed in evaluating sexual offenders.
             This strategy, involving first the use of a validated sex offender risk instrument that
             measures static or unchangeable risk factors shall be adjusted based on a
             comprehensive analysis of the inmate’s dynamic risk factors.

          b. The risk assessment should be updated if an inmate’s dynamic risk factors change,
             even minimally post-treatment and (if different) at time of parole review.

          c. When the inmate’s reentry into the community is being considered, reports to the
             Pennsylvania Board of Probation and Parole (PBPP) should specify the offender’s
             dynamic risk factors that are more acute in nature, particularly those that have a
             stronger correlation with re-offending and/or those that may change rapidly, such as
             affective regulation or substance use disorder, etc., as these may be more
             amenable to observation by supervising officers and service providers. These issues
             may indicate that risk has increased such that offending is potentially more imminent
             than it was previously.

     2. Facility Responsibilities

          a. Permanent facilities will assign a sex offender coordinator/designee who will be
             responsible for identifying, initial tracking, and assessing all sexual offenders
             received. All facilities shall use the automated Unit Management System for
             recommending an SOT Program and maintain waiting lists. A trained SOT provider
             shall conduct specialized assessments of a sexual offender within three months of

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               his/her arrival at the facility, and subsequent to the assessment, ensure the
               appropriate program is placed on the offender’s DC-43, Correctional Plan (CP).

          b. Participation in sex offender-specific treatment shall be “minimum sentence-driven,”
             with an offender closest to his/her minimum date taking priority over those further from
             his/her minimum sentence date. However, this is not to say that lifers and/or offenders
             with very long sentences shall not be afforded treatment. Whenever possible (when it
             would not take a slot needed for an offender two years within his/her minimum date),
             these offenders shall be considered for placement in treatment.

     3. Informed Consent

          Prior to initiating an interview for the purpose of initial risk assessment, the evaluator shall
          explain the nature, scope, and purpose of the interview to the inmate, emphasizing its
          importance in determining treatment needs. The DC-484, Mental Health Informed
          Consent form shall be completed in accordance with Section 2 of this procedures
          manual.

     4. Assessment protocol for an inmate offender with a current sex offense

          a. Every offender currently incarcerated for a sex offense shall be assessed for level of
             risk within three months of arrival at the permanent facility.

          b. For every male sexual offender, assessment shall include, but not be limited to, a
             case file review, and completion of the Static-99R. For an explanation of how to
             score the Static-99R refer to Static-99R Coding Rules, Revised 2016
             (Attachment 11-B). Relative risk tables related to the Static-99R can be found
             online at www.Static99.org).

               The Static-99R will be scored electronically in DOCInfo under the Assessments
               tab. Refer to the Coding Form Preamble (Attachment 11-C) for a paper copy of
               the Static-99R.

          c. Unless the convicted sexual offender refuses or exigent circumstances exist, an
             individual interview shall also be part of the assessment process. During the interview,
             the assessor may use the DC-577, Sex Offender Data Collection Instrument
             (Attachment 11-D). NOTE: The use of the DC-577 may assist the assessor in
             structuring the interview. Much of the information required for completion of the DC-
             577 can be gleaned through the case file review, but can be verified and/or clarified in
             the individual interview. The same assessment process shall occur with every
             convicted female or juvenile sexual offender, excluding the completion of the Static-
             99R as this risk assessment tool has not been cross-validated with this population.

          d. Any inmate who refuses to be interviewed for purposes of sex offender risk
             assessment shall have documentation placed in the Inmate Cumulative
             Adjustment Record (ICAR). Upon refusal, the inmate shall be counseled as to the
             possible consequences of failure to participate in treatment, including the possibility of
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               being denied parole and of increasing his/her chances of re-offending upon return to
               the community. In cases where the inmate is appealing his/her case based upon
               claim of innocence and/or is in total denial of the crime(s) and refusing treatment, this
               shall also be documented using the ICAR and the DC-578, Sex Offender Program
               Evaluation (Attachment 11-E).

          e. Once the Static-99R has been completed, the treatment provider shall determine if
             the risk level gleaned from the Static-99R is to be adjusted based upon the following
             static and dynamic risk factors that have been empirically validated to increased risk
             of sexual recidivism:

               (1)      indication that the offender is at high risk for general recidivism based on Level
                        of Services Inventory - Revised (LSI-R) scores (if available);

               (2)      indication that the offender maintains attitudes that support sexual offending
                        (articulates belief that individuals under the age of 18 are not harmed by
                        sexual activity with adults);

               (3)      indication that the offender has a primary sexual attraction to individuals under
                        the age of 18 and/or becomes sexually aroused by violence;

               (4)      indication that the inmate has engaged in a high degree of deviant sexual
                        behavior or known paraphilia rather than appropriate sexual behavior;

               (5)      indication based on historical data or behavioral observations that the inmate
                        has serious emotion management/impulsivity problems;

               (6)      indication that the inmate has significant history of conflict-ridden intimate
                        relationships; and/or

               (7)      documented evidence of early onset sexual offending behavior.

          f. In the case of the female or juvenile sexual offender, the treatment provider shall
             determine the level of risk based upon the case file review, the individual interview,
             and the presence (or absence) of any of the above-cited dynamic risk variables.

          g. In making decisions to adjust the risk level obtained from the Static-99R based upon
             identification of the above-cited static and dynamic risk factors, the following
             guidelines apply:

               (1)      Static-99R scores translated into Low and Low-Moderate risk categories shall be
                        adjusted upward (Moderate/High Risk) in cases where the presence of the
                        dynamic risk factor deviant arousal is confidently identified. There should be
                        documented evidence of a pattern of deviant behavior as evidenced by multiple
                        offenses and/or victims over an extended period of time;


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               (2)      a primary attraction to individuals under the age of 18 and/or sexually
                        aroused by violence; or

               (3)      Static-99R scores translated into Low and Low-Moderate risk categories shall be
                        adjusted upward (Moderate/High Risk) in cases where four or more of the risk
                        factors (1) through (7) are confidently identified.

          h. In the event that the inmate does not self-refer (via written or verbal request) to
             treatment within a period of one year, the Corrections Counselor shall ensure that
             he/she is again counseled regarding the possible consequences of failure to
             participate in treatment at the time of his/her annual review. In the event that an
             inmate does self-refer for treatment, a risk assessment shall then be completed.

          i.   The results of the sex offender assessment shall be summarized using the DC-578,
               which provides two levels of risk (Low and Moderate/High). A male offender assessed
               to be low risk shall be prescribed Low Intensity SOT Programming, while an offender
               assessed to be moderate or high risk shall be prescribed Moderate/High Intensity
               SOT Programming. Prior to the individual’s enrollment in group, the group
               facilitator will also complete the Program Enrollment Notification form. The
               original form will be forwarded to the inmate’s counselor with a copy being
               given to the inmate and a copy will be placed in the individual’s SOT file.
               Assessment results (including copies of the completed Static-99R and the DC-578)
               can be found on DOCNet.

     5. Assessment Protocol for a Technical Parole Violator

          When a male inmate previously convicted of a sexual offense (previously a successful
          completer of Department of Corrections (DOC) sex offender-specific treatment) fails on
          conditional release and is returned to prison as a technical parole violator, decisions
          about what level to return him to treatment shall be based in the following assessment
          protocol.

          a. These cases shall be designated as Act 122 TPVs and will have an automatic
             release date. Designated staff will administer a Treatment Placement Screening
             (TPS). At the present time, all levels of risk as assessed on the TPS will be
             recommended for Parole Violator-Sex Offender Programming (PV-SOP).
             Programmatic recommendations shall be entered into the Transfer Petition
             using the Act 122 template provided by the Office of Population Management
             (OPM). All placement decisions (i.e. State Correctional Institution [SCI] or
             Contract County Jail [CCJ], and exact location) will be noted by OPM in the
             approved Transfer Petition.

          b. Upon reception, the receiving placement site will administer the PV-SOP
             program to these individuals.



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     6. Assessment of a Convicted Parole Violator

          a. A Convicted Parole Violator, re-incarcerated due to a sexual offense conviction shall
             be evaluated as described in Subsection B.4. above, using the most recent sex
             offense as the index offense. Results of the evaluation, along with the programming
             recommendation, shall be summarized using the DC-578.

          b. Convicted Parole Violators, re-incarcerated due to a non-sexual offense conviction
             shall be evaluated accordingly:

               (1)      if the offender has lived sex offense free in the community for ten or more
                        years from the date of his/her most recent release, then there will be a “No
                        Evaluation or Treatment” recommendation;

               (2)      if the offender has lived sex offense free in the community for less than ten
                        years from the date of his/her most recent release and he/she has
                        previously completed the PA DOC Sex Offender program, then there will be
                        a “No Evaluation or Treatment” recommendation; and

               (3)      if the offender has lived sex offense free in the community for less than ten
                        years from the date of his/her most recent release and he/she has not
                        completed the PA DOC Sex Offender program, then he/she will be
                        recommended for a “Treatment Evaluation” as described in Subsection
                        B.4. above (using the prior sex offense as the index offense, scoring the
                        Static-99R retrospectively if not available in prior records, and adjusting, if
                        indicated, as described in Subsection B.4. above) and subject to
                        programming recommendations.

     7. Assessment of a male inmate referred for evaluation by the Corrections Counselor and/or
        the PBPP due to a prior sex offense conviction who was not on parole at the time of the
        current, instant offense.

          a. An inmate who was not on parole at the time he was convicted of his instant
             offense, will be evaluated accordingly:

               (1)      if the offender has lived sex offense free in the community for a total of ten
                        or more years from the date of his most recent release, then there will be a
                        “No Evaluation or Treatment” recommendation;

               (2)      if the offender has previously completed the PA DOC Sex Offender
                        program, then there will be a “No Evaluation or Treatment”
                        recommendation; and

               (3)      if the offender has lived sex offense free in the community for less than ten
                        years from the date of his most recent release and he has not completed
                        the PA DOC Sex Offender program, then he will be recommended for a
                        “Treatment Evaluation” as described in Subsection B.4. above (using the
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                        prior sex offense as the index offense, scoring the Static-99R
                        retrospectively if not available in prior records, and adjusting, if indicated,
                        as described in Subsection B.4. above) and subject to programming
                        recommendations.

C. Sex Offender Treatment (SOT) Programming

     1. Standardized Treatment Model

          a. A program of sex offender-specific treatment is made available to every inmate
             convicted of a sexual offense, and in cases where specialized assessment indicates,
             treatment shall also be made available to an inmate who has a history of prior sexual
             convictions.

          b. Every facility that offers sex offender-specific treatment shall use the “Responsible
             Living: A Sex Offender Treatment Program.” The program shall be implemented as
             using the “Group Only” format and the designated “Point System.” The process is
             described in Creating and Managing Groups in the Unit Management System
             (Attachment 11-F).

          c. Initially, a denier shall be accepted into the program, but he/she shall be re-evaluated
             at intervals specified by the program, and ultimately terminated if satisfactory progress
             is not evidenced. Use of the 60-day notice is required before
             termination/discharge from programming.

          d. The order of presentation of the seven treatment phases should follow the order as
             outlined in the program manual. Programming thus should begin with Module
             One, Responsibility Taking. Programming shall be delivered in a standardized
             fashion with respect to content and, to a lesser extent, process. Any/all refinement
             and/or modification of programming must initially be approved through Central Office
             Psychology. If approved, any changes shall be incorporated into written procedure
             before implementation in the field.

          e. Point System - Program participants must accrue 85% of the total possible points in
             order to “graduate” from the program. (NOTE: The total number of possible points
             may vary as a function of several factors, including group size and the speed at which
             the facilitator(s) are able to work through the material.)

               (1)      Using the “Group Only” format, each participant shall be able to accrue a total of
                        six points per session, two for attendance, two for participation in the group
                        session, and two for completion of the week’s homework assignment.

               (2)      A participant may be given a score of one rather than a score of two for
                        participation and/or homework completion, if the group facilitator finds either or
                        both marginal rather than satisfactory.

               (3)      A participant can accrue ten points upon completion of the “Major Project”
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                        associated with each phase of the program. In order to accrue all ten points, the
                        quality of the participant’s work shall be excellent. Nine points are awarded for
                        good work, and eight for satisfactory work. If the facilitator does not find the
                        participant’s Major Project worthy of at least an “eight,” the work shall not be
                        accepted and the offender shall be advised of the reasons for rejection and
                        performance expectations, and asked to resubmit the project after revisions have
                        been completed.

               (4)      A program participant shall be issued a completed Points Update form (located
                        on page 96 of the “Getting Started” facilitator’s manual) at the completion of each
                        treatment phase. The treatment provider shall complete Points Updates along
                        with the Therapist’s Ratings on Treatment Goals form (located at the end of the
                        facilitator’s manual for each phase), which also shall be given to the program
                        participant.

               (5)      At this time, the treatment provider may have the program participant
                        complete the Self Rating on Treatment Goals and Review of Progress on
                        Treatment Goals forms (located at the end of the facilitator’s manual for each
                        phase), and shall submit these to the treatment provider. This exchange of
                        assessments shall permit the program participant, as well as the therapist,
                        opportunity to check the extent to which the program participant’s ratings agree
                        with the treatment provider’s. The treatment provider shall ensure that copies of
                        Points Update, Therapist’s Ratings on Treatment Goals, Self Rating on
                        Treatment Goals, and Review of Progress on Treatment Goals forms are
                        maintained in the sex offender-specific treatment record.

          f. Modifications For Correctional Setting - Use of Phallometry and Polygraphy as
             outlined in Responsible Living shall be omitted due to unavailability of equipment and
             trained personnel. Aversive therapy techniques requiring use of ammonia shall also
             be omitted, and a written script shall be required instead of audiotapes for the Major
             Project (Covert Sensitization) in the Behavioral Techniques phase.

          g. Procedure for implementing completion of the Major Project for the Victim Empathy
             Phase of Responsible Living: Victim Scrapbook - completing this project requires that
             the inmate create a series of collages depicting victim impact. Procedure for
             Implementing Victim Scrapbook Process (Attachment 11-G) outlines a procedure
             for managing the materials necessary to complete the collage.

          h. A Moderate-High and High Risk offender, as assessed by the assessment protocol
             outlined in Subsection B. above shall receive all seven phases of Responsible
             Living: A Sex Offender Treatment Program.

          i.   A Low and Low-Moderate Risk offender, as assessed by the assessment protocol
               outlined in Subsection B. above shall receive Responsibility Taking, Sex Education
               and Relapse Prevention phases.

          j.   Special Populations - Responsible Living: A Sex Offender Treatment Program was
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               originally designed for the male sexual offender and, therefore, programs for female
               sexual offenders may be modified to address gender differences. Treatment for a
               Special Needs inmate includes Intellectual/Developmental Disability, Serious Mental
               Illness, and/or physical disability. A non-English speaking sexual offender may also
               be modified accordingly, with modifications based upon field research and findings
               pertaining to best practices for these populations. The institution is responsible for
               acquiring translation services in order to provide programming to non-English
               speaking individuals. These programs shall be reviewed and approved through
               Central Office Psychology.

     2. Treatment Variables

          Group therapy with sex offenders is viewed as the treatment modality of choice. Given
          skilled clinicians, the group therapy experience can be very effective.

          a. Group size - Group size shall be limited to not more than 15 participants.

          b. Group composition – Group composition is primarily determined by minimum
             date. Groups are heterogeneous in make-up in regard to offense conviction,
             etc. Depending on institutional need, group composition may also be dictated
             by specialized populations as identified above.

          c. Group process - Any ongoing group is in a continuous process of development. There
             have been several models outlining group development. A 4-stage model of group
             development summarizing the work of Corey (1995) can be found in Four-Stage
             Model of Group Development (Attachment 11-H).

          d. Getting Started - Documents explaining the DC-580, Limits of Confidentiality
             (Attachment 11-I) and Conditions of Participation (Attachment 11-J) should be
             thoroughly reviewed, signed by the inmate, and witnessed by staff prior to the
             inmate’s involvement in programming.

          e. Levels of Treatment and Adding Group Participants

               (1)      Responsible Living: A Sex Offender Treatment Program, as it is implemented for
                        a sexual offender whose level of risk and need fall into moderate and high
                        categories, consists of seven treatment phases. Once a treatment phase has
                        been initiated, the group composition is “set” and no new group members shall
                        be added. At the discretion of the treatment team, new members may be added
                        when a new treatment phase is initiated. However, such decisions should be
                        carefully considered and based upon the treatment team’s assessment of the
                        impact of these variables on the group and each participant. Close and accurate
                        record keeping shall be very important in managing changes in group
                        composition, as well as variations in the sequential ordering of individual
                        participant’s progression through the seven treatment modules.

               (2)      Responsible Living: A Sex Offender Treatment Program, as it is implemented for
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                        low risk offenders, shall generally be a “closed” group. That is, once the group
                        composition is decided upon and the program is initiated, no new group
                        members shall be added. The only exception to this shall be the case in which
                        attrition has resulted in a Low Intensity group consisting of fewer than five
                        program participants. In such case, this group may be joined with another Low
                        Intensity group at the onset of a new treatment phase, provided the resulting
                        larger group could ultimately complete the entire Low Intensity Program
                        concurrently.

          f. Frequency/Duration – It is recommended that group sessions be conducted once
             weekly for two consecutive hours. This allows time between groups for the
             individual to process the information discussed in group and will allow time for
             them to complete assigned homework. The total target time to complete the
             program as it is implemented for moderate and high risk/need level participants shall
             be no less than 18 months and no more than 24 months. The overall number of
             sessions required shall be determined by the rate of the group’s progress through the
             required components. The total target time to complete the program as it is
             implemented for low risk offenders shall be no less than eight months and no more
             than 12 months; however, this also shall be a function of the group’s rate of progress
             through the program material.

          g. Facilitation - Groups may be co-facilitated depending upon availability of staff
             resources. Given availability of adequate resources, co-facilitation by male-female
             pairs is optimal and recommended.

D. Support Groups

     Individuals who have successfully completed treatment (i.e. either low intensity or
     moderate/high intensity) are eligible to also participate in voluntary support groups
     for sex offenders supervised by the DOC Psychology Staff. The support group will not
     be entered on the Correctional Plan and cumulative attendance will not be tracked.
     Participation in the support group will be strictly voluntary. This group should review
     SOP concepts and can be used to help individuals prepare for their parole interview.
     This group shall be offered to the inmate population at least one time per month. This
     SOP support group is also available to those individuals who have been evaluated
     and are awaiting participation in sex offender treatment. They will have the
     opportunity to familiarize themselves with the issues to be addressed in treatment.
     This will also afford them the opportunity to understand they are not alone in this
     difficult treatment process. Participation for this group will also be voluntary. Negative
     participation in the support group will be reviewed and documented by the SOP
     Coordinator, if needed, and result in the individual being removed from this support
     group.

E. Delivery of Sex Offender Booster

     1. All individuals who have successfully completed the SOT Program (i.e. either low
        intensity or moderate/high intensity) will be recommended to also complete the
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          Sex Offender Treatment Booster (Attachment 11-K). This program recommendation
          should occur approximately four to six months prior to the individual seeing the
          parole board. The Sex Offender Treatment Booster is recommended for the
          individual regardless of whether it is mandated in the individual’s paroling action
          or not.

     2. It is expected that the Sex Offender Treatment Booster will be completed in four to
        six weeks, preferably in a group setting or with one on one treatment as needed.
        The expectation is that two sessions per week will be conducted to allow the
        individual ample opportunity to appropriately complete homework assignments
        and readdress issues related to offending. Individuals who completed Low
        Intensity Sex Offender program must complete the corresponding Booster
        segments (1, 2, 11, and 12) and individuals who completed the moderate/high
        intensity Sex Offender Program must complete all Booster segments. Individuals
        will need to pass the Booster with a score of 80% or better and will be required to
        attend all scheduled sessions. Further questions are addressed in Sex Offender
        Booster Frequently Asked Questions (Attachment 11-L).

     3. Upon completion of the SOT Booster, the group facilitator will complete the Unit
        Management Program Evaluation Document. He/she will evaluate the individual via
        the Sex Offender Booster Assessment (Attachment 11-M) and include that score
        into the Unit Management program evaluation. Completion will also be
        documented in the ICAR.

     4. SOT Booster failures will be managed according to the instructions found in the
        Sex Offender Booster Frequently Asked Questions.

F. Staff Qualifications and Minimum Training

     Qualifications for facilitating the DOC standardized SOT Program.

     1. Credentialing and Supervision

          a. Staff who possess a graduate degree in the behavioral health, or social sciences.

          b. All group facilitators must have completed the DOC Fundamentals of Sex
             Offender Treatment (FSOT) prior to delivering this program.

          c. Upon completing the DOC FSOT training, it is recommended that the newly
             trained staff co-facilitate at least one complete moderate/high treatment group.

          d. They must hold the job classification of Psychological Services Specialist
             (PSS), Psychological Services Associate (PSA), or Social Worker.

          e. Individuals with other levels of education experience and/or holding other job
             classifications may be approved individually by Central Office Psychology.

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     2. Training

          a. Education, experience, and training are the critical qualifications associated with the
             provision of SOT.

          b. Every provider must obtain at least six hours annually of continuing education in the
             field of sex offender assessment and treatment. Continuing education includes
             courses, conferences, workshops, and other training experiences including self-
             directed literature review. A provider may request out-service trainings through his/her
             facility administrators. A provider may also take advantage of trainings made available
             by the Sexual Offender Assessment Board (SOAB). These six-hour trainings are
             typically offered quarterly and free of charge.

     3. Consultation and Professional Affiliations

          a. Providers, regardless of degree and years of experience in the field of sexual abuse,
             should supplement their education and professional experience with informal
             consultation with other providers of SOT in the Department.

          b. Providers should consider affiliations with other professional organizations, agencies,
             or groups involved in the assessment, treatment, and management of sexual abusers
             such as: Association for the Treatment of Sexual Abusers (ATSA), Midatlantic
             Association for the Treatment of Sexual Abusers (MARATSA – a chapter of
             ATSA), Massachusetts Society for a World Free of Sexual Abuse by Youth
             (MASOC), and Massachusetts Association for the Treatment of Sexual Abuser.

          c. Every provider should make a good faith effort to remain informed of all applicable
             statutory and regulatory requirements to warn, report, and notify the appropriate
             persons or entities of information learned during the course of providing clinical
             services. Central Office Psychology shall periodically provide information as it
             becomes available.

G. Multidisciplinary Treatment and Management of the Sex Offender

     The Department supports a multidisciplinary approach to the treatment and management of
     sex offenders. A variety of professionals including, but not limited to, Corrections
     Counselors, Psychologists, Psychiatrists, Certified Registered Nurse Practitioners –
     Psychiatric Services (PCRNPs), Unit Managers, and Corrections Officers may be involved in
     the treatment and/or management of sex offenders.

     Every staff member involved in the treatment and management of sex offenders will become
     familiar with the cognitive distortions or “thinking errors” commonly used by sex offenders, as
     this may assist in therapeutic confrontations and/or monitoring the extent to which the
     offender is internalizing and practicing pro-social attitudes and behaviors addressed in the
     group treatment setting.


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     1. Counselors

          The Corrections Counselor shall be the primary case manager for the sexual offender,
          ensuring he/she has been identified, has completed his/her risk/needs assessment, and
          has either been placed in programming subsequent to this assessment, or, if necessary,
          been placed on a waiting list for future involvement in programming. The Corrections
          Counselors will also monitor the “Green Sheet” to determine if the Parole Board
          has made any modifications for SOT Program recommendations. These changes
          will be communicated to the institution’s Sex Offender Coordinator via email.

     2. Psychologists

          The Licensed Psychology Manager (LPM)/SOT Program Coordinator shall coordinate
          and oversee the SOT in each facility. For sex offenders who are also placed on the
          Mental Health/Intellectual Disability (MH/ID) tracking roster(s), the psychology staff
          shall ensure that the inmate’s Individual Recovery Plan (IRP) addresses sex offender
          assessment and treatment needs that may fall beyond the scope of the standardized
          SOT Program.

     3. Psychiatrists/PCRNPs

          A Psychiatrist/PCRNP shall treat those sex offenders with co-existing Mental Health
          problems.

     4. Unit Managers

          When managing a Residential Sex Offender Unit for sex offenders, the Unit Manager
          may become involved in the monitoring and, in some cases, tracking of progress of
          offenders on his/her housing unit.

     5. Corrections Officers

          Particularly when posted on a Residential Sex Offender Unit for sex offenders,
          Corrections Officers can become involved in the tracking and monitoring of the offender’s
          progress in treatment. Because an Officer tends to observe the inmates more than the
          treatment providers in settings outside of groups, he/she can be an invaluable source of
          information with regard to gauging the extent to which there is “transfer of learning”
          outside the group setting.

H. Record Keeping

     Record keeping is essential to maintaining documentation of offense-related data, risk
     assessments, program participation, progress in treatment, relapse prevention plans, and
     successful program completion. Good record keeping assists the provider in remaining
     organized and provides a handy resource for those working with large numbers of program
     participants. All documentation must be completed by the individual who actually
     provided the services.
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     1. A file shall be developed for all inmate program participants. This file shall be a separate
        file developed and securely maintained by the treatment provider solely for maintenance
        of documents associated with sex offender-specific treatment. This file shall contain the
        record of the individual’s group attendance and their points updates. Other SOT
        specific documents are maintained electronically in DOCNet. There is no need to
        reproduce and maintain these in a hard copy file. All completed homework
        assignments and completed major projects will be retained by the group leader for
        review and scoring. They will then be returned as soon as possible to the group
        participant.

     2. As stated above, the majority of record keeping is done electronically within
        DOCNet. An overview of those documents includes:

          a. DC-577 – this may be utilized by the assessor or treatment provider to assist in
             an initial structured interview;

          b. DC-578;

               (1)      completed in conjunction with the Static-99R within 90 days of the
                        individual’s arrival at the programming institution;

               (2)      evaluation is memorialized with a note in the ICAR. Documentation will
                        note that the program evaluation was completed. The individual’s attitude
                        toward treatment will also be reflected;

               (3)      the evaluator will modify the DC-43 by removing “Evaluation” and
                        assigning a level of treatment; and

               (4)      if the individual is refusing treatment, that will also be noted on the plan.

          c. Static-99R – will be completed in conjunction with the Sex Offender Program
             Evaluation within 90 days of the individual’s arrival at the programming
             institution; and

          d. DC-579, Summary of Progress in Sex Offender Treatment (Attachment 11-N) –
             this document is to be completed on the following occasions and memorialized
             with a note in the ICAR. This ICAR note should briefly summarize the
             individual’s progress in treatment. The group leader will also complete a Unit
             Management Program evaluation reflecting this same information.

               (1)      At the successful completion of the group.

               (2)      Prior to the individual’s parole staffing with his/her unit team for inclusion
                        in the parole staffing packet.

               (3)      If the Parole Board would request an update at the time of his/her board
                        hearing.
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               (4)      When the individual transfers to another institution prior to completion and
                        at the time, an individual is terminated/discharged from the program.

               (5)      Upon successful completion, discharge, or failure.

     3. Upon the offender’s release on parole or completion of the maximum sentence, any
        remaining documents in the file shall be destroyed.

I. Assistor/Peer Programs

     Peers can be an asset in assisting other inmates who may be struggling with any number of
     programmatic/treatment related issues. Guidelines for selecting peer assistors are as
     follows:

     1. Selection - The SOT Program Coordinator shall initially identify and interview
        potential assistors/peer group facilitator for inclusion in the program. Every candidate for
        sex offender assistor/peer should be entering the program on a voluntary basis, must
        have successfully completed the appropriate treatment program, must be misconduct-
        free for at least one year, and should be recommended by a consensus among SOT
        providers.

     2. At facilities where there is a Residential Unit for sex offenders, the Unit Manager, in
        conjunction with the treatment provider, shall delineate assignments, times, and places
        where an assistor and peer groups can meet with their assigned inmate(s). The Unit
        Manager or treatment provider shall determine the number of assignments a particular
        assistor or peer group facilitator can manage, as well as the duration of his/her sessions.
        All mentoring sessions shall take place in a day room or conference room, which shall be
        intermittently monitored by correctional staff. The Unit Manager or treatment provider
        shall also be responsible for the management of inmate movement in those cases where
        the assistor is no longer housed in the Residential Sex Offender Unit or in an institution
        where there is no Residential Unit.

     3. Treatment providers shall meet with the assistors and/or peer group leaders at least once
        monthly to process any concerns or problems, as well as any positive feelings associated
        with the mentoring process.

J. Managing Program Participants who are Found Guilty of Misconduct(s)

     1. When the misconduct results in three consecutive missed sessions, the offender shall be
        terminated from his/her current program. In a case where imposed sanctions may allow
        program participation, i.e. cell restriction, the offender may continue his/her
        participation with his/her group.

     2. If terminated from programming, this will be documented using the Unit
        Management Program Evaluation form and the ICAR.


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K. Managing Inmates without a Sexual Conviction who Sexually Assault during
   Incarceration.

     1. If this sexual assault results in a formal legal charge and criminal conviction in a
        Pennsylvania court of law, this individual will then be referred for assessment
        according to this policy.

     2. Consistent with the Prison Rape Elimination Act (PREA), all prisons shall attempt
        to conduct a mental health evaluation of all known inmate-on-inmate abusers
        within 60 days of learning of such abuse history and offer treatment when deemed
        appropriate by mental health practitioners. (28 C.F.R. §115.83[h]) If the facility
        offers SOT, the facility shall consider whether to require the offending inmate to
        participate in such interventions as a condition of access to programming or other
        benefits. (28 C.F.R. §115.78[d]) Inmates who have been found to have engaged in
        sexual abuse without an accompanying criminal conviction, shall be evaluated for
        SOT and, if deemed appropriate, offered the opportunity to participate voluntarily
        in SOT.

L. Collaborating with the Sexual Offender Assessment Board (SOAB)

     Collaboration requires agencies to share resources and work together to enhance capacity
     toward attainment of a common goal. Because of the importance of collaboration in attaining
     goals of reduced recidivism and increased public safety, staff involved in the treatment and
     management of sexual offenders shall routinely exchange available pertinent information
     with the SOAB. Treatment staff shall apprise themselves of available SOAB evaluations, and
     shall be receptive to arranging times to answer the SOAB evaluators’ questions upon
     request. Responses to questions may be communicated verbally or via available written
     reports and/or email. The SOAB will make their assessment reports available to treatment
     staff.




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Section 12 – Behavior Management Unit (BMU)

Section 12 – Behavior Management Unit (BMU)

A. Program Mission

     1. The Behavior Management Unit (BMU) is designed to provide management,
        programming, and treatment for an inmate who exhibits severe Personality Disorder with
        functional impairment, chronic disciplinary issues, and demonstrates an inability to adapt
        to a general population setting. This is a secure diversionary unit for mentally ill inmates
        who are not acutely mentally ill and do require a secure setting due to their demonstrated
        problematic behavior in less secure environments. The unit is intended to provide
        focused staff interaction, programming, and behavior management for this select inmate
        population. The focus of the BMU is to convey sufficient skills in behavioral control,
        coping, and compliance with recommended interventions.

     2. Each inmate in the BMU will be scheduled and offered a minimum of 20 hours out-of-cell
        activity per week; ten hours of structured activity and ten hours of unstructured activity.
        This intensive specialized treatment program will assist an inmate in progressing to the
        least restrictive environment for managing his/her demonstrated behavior. The least
        restrictive environment will vary among inmates and may include eventual return to
        general population, continued placement within the BMU, and even fulfillment of the
        inmate’s reentry plan upon Sentence Complete. An inmate’s custody level will be
        suspended while in the BMU but their Disciplinary Custody (DC) sanctions, if they have
        any, will run concurrent to their time in the BMU until the sanction expires or until placed
        in Phase 1 of the program. This occurs so the inmate may still participate in and benefit
        from treatment to the maximum extent possible and be returned to the least restrictive
        setting as soon as possible. An inmate who is unable to transition from the BMU,
        complete the BMU program, or requires a therapeutically recommended transfer to
        another BMU, will be processed for alternative placement by review of the Central Office
        Special Needs/Psychiatric Review Team (COSN/PRT).

     3. At any point during the program, the Program Review Committee (PRC) can
        recommend that an inmate be removed from the Restricted Release List (RRL) and
        initiate this process.

          a. An inmate may not be released to general population, i.e. Phase 1 probationary
             status, until he/she has been officially removed from the RRL.

          b. On Phase 2, when staff have discretion in bringing an inmate out unrestrained,
             if the inmate still is maintained on the RRL list, this phase can be modified so
             he/she receives Phase 2 privileges, but still comes to out-of-cell activity in
             restraints.

          c. In the event that an RRL inmate makes it to Phase 2, is still on the RRL list, and
             goes on an escorted trip to a destination in general population, arrangements
             shall be made to appropriately restrain or visit during count to maintain security
             of those still active on RRL.

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B. Location

     BMUs will be located at various facilities within the Department.

C. Staffing

     1. BMU Treatment Team

          a. Comprised of the Licensed Psychology Manager (LPM), Unit Manager, Unit
             Counselor, Psychiatrist/Certified Registered Nurse Practitioner (CRNP), full-time
             Psychology staff (Psychological Services Specialist [PSS] and/or Psychological
             Services Associate [PSA]), Activities, and BMU Correctional Officers. The BMU
             Treatment Team will meet with and review all BMU inmates at least every 30 days.
             Inmates placed on Accountability Status will be reviewed daily. This team follows the
             inmate in all phases, including at least three months of probationary status in a
             general population Residential Treatment Unit (RTU) or other population housing unit
             deemed appropriate by the Treatment Team; this probation can be extended for an
             additional three months if indicated. However, the duration of Phase 1 must not
             exceed six months’ time, irrespective of any off unit placements. Other staff and
             teams involved in the daily operation of the BMU include, but are not limited to: the
             Program Review Committee (PRC), staff members from Alcohol and Other Drug
             (AOD) treatment, Education, Social Worker, Therapeutic Activities Services (TAS)
             Worker, Medical – Nursing, Chaplaincy, and Certified Peer Specialists (CPS). Staff
             contacts with inmates participating in the BMU will be noted on the BMU
             Accepted/Refused Structured Out-of-Cell Program Log (Attachment 12-A) and
             the BMU Accepted/Refused Unstructured Out-of-Cell Program Log (Attachment
             12-B).

          b. In addition, the BMU Treatment Team will meet at least twice each week to discuss
             the general operation of the unit and review the recovery plans of each inmate. These
             meetings will be facilitated by the Unit Manager and the LPM and should generally be
             held at the change of shift in order to maximize Officer involvement.

          c. Responsibilities and Ratios

               (1)      BMU Unit Manager

                        The Unit Manager will provide manager-level direction with the assistance of the
                        lieutenants. The Unit Manager will provide the team with daily leadership and will
                        review and direct the treatment and activity of the inmates in his/her care. If not
                        permanently assigned to the BMU, the Unit Manager will visit the unit daily and
                        sign the log book.

               (2)      LPM

                        The LPM is not solely assigned to the BMU, but also oversees all psychological
                        services in the facility. The LPM functions as the administrative and clinical
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                        supervisor of all psychological staff on the BMU. The LPM also provides clinical
                        oversight, via the Treatment Team and the Individual Recovery Plan (IRP), to the
                        entire BMU Treatment Team. The LPM is responsible for chairing any Treatment
                        Team meetings held on the BMU. However, in all aspects of the program, the
                        LPM will closely collaborate with Psychiatry and the Unit Manager.

               (3)      Psychiatric provider

                        The Psychiatric provider will be responsible for interviewing all BMU cases
                        weekly. Psychiatric coverage will include 30 minutes per inmate biweekly. All
                        Psychiatric contacts are to be out-of-cell unless the inmate refuses or security
                        issues prohibit out-of-cell contact at that time. The Psychiatrist/PCRNP will
                        meet with BMU inmates as often as deemed clinically necessary, but no
                        less than once every 14 days. This includes those BMU inmates who may be
                        on Accountability Status. The Psychiatric provider will also be required to
                        participate in all scheduled Treatment Team meetings.

               (4)      PSS/PSA

                        For BMUs that have more than one full-time equivalent PSS/PSA assigned, a
                        portion of those additional hours will be assigned to a 12-8 work shift. The
                        PSS/PSAs assigned to the BMU will be responsible for developing IRPs with
                        their assigned inmate caseload. These IRPs will specifically identify goals and
                        objectives designed to restore the inmate to a stable and healthy level of
                        functioning. The goals on the IRP established collaboratively with the BMU
                        Treatment Team and the inmate shall drive the clinically structured out-of-cell
                        offerings on the unit. The PSS/PSA will work closely with custody staff and all
                        disciplines assigned to the BMU. The PSS/PSA will be responsible for delivering
                        individual and group therapy directed at addressing the issues outlined in the
                        IRP. All contacts will be noted on the BMU Accepted/Refused Structured Out-
                        of-Cell Program Log, at a minimum weekly Inmate Cumulative Adjustment
                        Record (ICAR), and DC-560, Mental Health Contact Note entries are required.
                        The PSS/PSA will offer daily AM and PM out-of-cell contacts for the duration of
                        the Accountability Status placement. At the discretion of the LPM, the PSS/PSAs
                        assigned to the BMU may have other assigned facility duties.

               (5)      Corrections Counselor (CC)

                        The CCs will provide professional counseling and case management activities to
                        an inmate caseload assigned by the Unit Manager. This will include treatment
                        groups, individual contacts, and supervising inmate unstructured out-of-cell time.
                        All contacts will be noted on the BMU Accepted/Refused Structured Out-of-
                        Cell Program Log and BMU Accepted/Refused Unstructured Out-of-Cell
                        Program Log, and at a minimum weekly ICAR entries will also be made to
                        document the inmate’s status. The CCs will work with the BMU staff to ensure
                        that proper documentation is kept by maintaining the tracking forms for all out-of-
                        cell structured and unstructured activity. In addition, the CCs will ensure that all
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                        incentive tracking charts are up to date on a weekly basis with results reported
                        as an ICAR entry. Thus, charting the progress each inmate is making in
                        preparation for his/her possible graduation from the program and possible
                        reentry into the general population.

               (6)      TAS Worker

                        The TAS Worker will develop and deliver therapeutic activities during the days,
                        evenings, and on the weekends. The TAS Worker will implement, monitor, and
                        evaluate the therapeutic recreational segments of IRPs including instructing,
                        directing, and providing support in a variety of activities relating to therapeutic
                        recreation, occupational therapy, and vocational adjustment services. The
                        activities would be directed at engaging self-isolated or reclusive inmates and
                        providing structured and unstructured recreational time for BMU inmates. The
                        increased activity and out-of-cell time will be assisting with improving the
                        inmate’s emotional control. All contacts will be noted on the BMU Accepted/
                        Refused Structured Out-of-Cell Program Log and the BMU Accepted/
                        Refused Unstructured Out-of-Cell Program Log. This employee may also be
                        assigned to work with inmates on the general population RTU as supervised by
                        the Unit Manager on the BMU/RTU.

               (7)      Custody Staff

                        (a)   Appropriate security staffing levels and security measures for inmate
                              movement, showers, meals, activities, etc., shall be conducted in
                              accordance with Department policy 6.5.1, “Administration of Security
                              Level 5 Housing Units,” Section 1. Unit staffing and security measures
                              may be reduced by the Unit Team and PRC for a BMU inmate in Phases 3,
                              2, and 1, but should always remain at a level to provide escort coverage for
                              daily out-of-cell contacts.

                        (b)   Corrections Officers (COs) assigned to the unit will provide daily input for
                              the BMU Treatment Team decisions through regular contact with treatment
                              staff and via documentation utilizing the BMU Shift Pass Down Form
                              (Attachment 12-C). This form is utilized in order to ensure accurate
                              communication between shifts and the Treatment Team. In addition, it is
                              important for custody staff’s observations to be included in the Treatment
                              Team’s review of the inmate’s progress with their treatment objectives. COs
                              are expected to communicate their observations of an inmate’s activity and
                              any interactions they may have had with the inmate. In addition, custody
                              staff will participate in all Treatment Team meetings, comment on, and sign
                              the Treatment Plan.

                        (c)   Because the potential exists that an inmate may become a significant
                              danger to himself/herself and/or others, enriched custody staffing levels are
                              required in the units to provide protection to staff and inmates. This
                              modification ensures that out-of-cell mental health programming can be
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                         provided as well. The Deputy Superintendent for Facilities Management
                         (DSFM) shall ensure that CO coverage is maintained and sufficient to
                         permit the unit to conduct out-of-cell structured and unstructured activities,
                         protect persons and property on the unit, and escort inmates in and out of
                         cells throughout the day, even during count time. The DSFM shall meet
                         regularly with the Major of the Guard and Unit Manager to discuss custody
                         staffing needs.

     2. Other Staff Involved on the BMU

          a. PRC

               This committee is generally comprised of the DSFM, the Deputy Superintendent for
               Centralized Services (DSCS), and the Corrections Classification Program Manager
               (CCPM). The PRC will review all BMU inmates monthly or as necessary as indicated
               by submissions of the BMU Program Review Sheet (Attachment 12-D) by the BMU
               Treatment Team. Inmates in the BMU on Accountability Status will be reviewed by the
               PRC at least weekly.

          b. AOD

               Drug and Alcohol Treatment Specialists (DATS) will provide group and/or individual
               structured out-of-cell contacts for BMU inmates with identified AOD treatment needs.
               The goals/objectives of such treatment will be reflected on the inmate’s Treatment
               Plan. All contacts will be noted on the BMU Accepted/Refused Structured Out-of-
               Cell Program Log.

          c. Education/Adult Basic Education (ABE) Teacher

               This staff member will address the educational needs of the inmates participating in
               the BMU. He/she would provide educational opportunities for those who are
               mandated to participate in education to meet guidelines and also those who wish to
               volunteer. The goal would be to have inmates prepare for reentry to general
               population classes or reentry into society. All out-of-cell contacts will be noted on the
               BMU Accepted/Refused Structured Out-of-Cell Program Log. This team member
               will be supervised by the School Principal in collaboration with the Unit Manager.

          d. Social Worker

               This employee will develop, implement, and provide social work, counseling, and case
               management services to BMU inmates to enhance their social functioning and to help
               them attain a more satisfactory social, economic, emotional, or physical adjustment
               with a Department facility. All out-of-cell contacts will be noted on the BMU
               Accepted/Refused Structured Out-of-Cell Program Log. This employee will be
               interacting with inmates, inmate family members, inmate guardians, and community
               agency staff to plan, provide, or coordinate needed social work services upon release
               to the community. This employee will work primarily within the BMU, however, at the
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                direction of the LPM; the Social Worker will also assist the general population Mental
                Health Coordinator (MHC) with reentry services to general population inmates.

          e. Medical-Nursing

                Any medication concerns identified will be forwarded to the Psychiatrist/CRNP, the
                assigned PSS/PSA, and recorded in the inmate’s medical file. All out-of-cell contacts
                will be noted on the BMU Accepted/Refused Structured Out-of-Cell Program Log.

          f. Chaplaincy

                The Facility Chaplaincy Program Director (FCPD) will provide structured individual
                and group religious services to inmates in the BMU. Structured group contact will be
                available at least weekly. All out-of-cell contacts will be noted on the BMU
                Accepted/Refused Structured Out-of-Cell Program Log.

          g. CPS

                CPSs will be available on the unit to provide support for participants in the program.
                Duties may include individual out-of-cell contacts with inmates, educational group
                programming, recreational activities, and assistance with daily living skills. CPSs will
                function under the direct supervision of the Unit Manager. CPSs will not facilitate a
                group on their own and will not supervise inmates. Contacts will be noted by
                supervising staff on the BMU Accepted/Refused Unstructured Out-of-Cell
                Program Log.

D. Determination and Maintenance of Staffing Levels for the BMUs 1

      1. The DSFM and the Major(s)/designee shall be responsible for selecting and assigning
         CO staff to BMUs. The Unit Manager and LPM shall have input into this selection;
         however, the final determination shall be made by the DSFM.

      2. BMU assignments shall be made from COs who have submitted a written request to the
         Major(s)/designee to be considered for placement in a BMU position.

      3. Volunteers for these assignments must exhibit the following characteristics prior to
         placement in BMU positions:

          a. willingness to work in a non-traditional corrections environment;

          b. the ability and willingness to become an integral part of the BMU Treatment Team;

          c. the ability and willingness to perform non-professional counseling and crisis
             intervention with BMU inmates;


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          d. good communication skills;

          e. good emotional stability;

          f. interest in mental health issues;

          g. Crisis Intervention Team and Mental Health First Aid (MHFA) trained or willing to
             obtain the training; and

          h. any other attributes considered important, but not listed above (e.g., willingness and
             interest to work with inmates exhibiting chronic disciplinary issues, self-injurious
             behaviors, and/or the inability to adapt to a general population setting).

     4. A CO assigned to the BMU shall be reviewed for rotation out of the BMU at least annually
        by the DSFM and Major(s)/designee.

     5. A CO assigned to a BMU beyond one year shall be interviewed by the facility
        LPM/designee to determine his/her fitness for the BMU assignment. Reports shall be
        confidential and shared only with appropriate personnel.

     6. Removal from the BMU position may occur at any time if it is determined that the CO is
        inappropriate for his/her assignment, ineffective, or detrimental to the operation of the
        BMU. This determination shall be made by the DSFM with input from the Major, Shift
        Commander, and/or BMU Unit Manager. In addition to custody staff, any staff member,
        recommended by the Unit Manager and the LPM may be reassigned from the BMU if that
        staff is deemed inappropriate for assignment to the BMU.

E. Chain of Command

     1. The Unit Manager shall provide daily guidance/direction for all COs assigned to the BMU.
        The Unit Manager and Shift Commander are responsible for monitoring and evaluation of
        staff performance.

     2. The Shift Commander is in charge of use of force situations and assumes responsibility
        for operation of the unit in the absence of the Unit Manager.

     3. The Unit Manager shall have the discretion to make essential administrative, program,
        and operational decisions regarding unit security and inmate management. Clinical
        decision will be made via the BMU Treatment Team as directed by the LPM.

F. Staff Training

     All staff selected or assigned to the BMU to provide programming and supervision will be
     required to complete certain Department training. Within six months of placement into the
     unit, staff will be required to have completed the Department’s Crisis Intervention Training
     (CIT) and the Department’s MHFA Training. If it is necessary to assign a staff member to the
     BMU who has not completed this training, the facility shall, within two weeks, advise the CIT
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     Training Program Coordinator of the need. The facility’s Training Coordinator shall also
     communicate such training needs to the CIT Training Program Coordinator to ensure that
     sufficient training is conducted to meet the needs of the facility. CO Trainees (COTs) will not
     be assigned to the BMU.

G. Admission Criteria

     Admission criteria shall include the following:

     1. a determination of functional impairment not a result of serious mental illness as defined
        in Definition of a Serious Mental Illness (SMI) Outline (refer to Section 10 of this
        procedures manual);

     2. history of multiple admissions to a Restricted Housing Unit (RHU) either Administrative
        Custody (AC) or DC status, a Mental Health Unit (MHU), and/or the Forensic Treatment
        Center (FTC);

     3. presenting behaviors that may include significant difficulties such as self-injury, overtly
        aggressive behavior, and/or impulse control disorder;

     4. a Special Assessment Unit (SAU) evaluation may be required;

     5. an inmate who exhibits severe Personality Disorder with functional impairment, chronic
        disciplinary issues, and demonstrates an inability to adapt to a general population setting;

     6. he/she is cleared of acute medical problems by the referring facility’s medical
        department; and

     7. an inmate that meets BMU program criteria who is also currently maintained on the
        RRL, as a step-down process, upon PRC recommendation.

H. Process for Transfers

     1. When an inmate is being recommended by the PRT, Unit Management Team, or
        Psychology staff for placement in a BMU, the PRC shall review the recommendation with
        the inmate and inform him/her of the reason(s) for the transfer recommendation. The
        recommendation shall be documented on the DC-141, Part 4, Facility Manager’s
        Review, with a copy to the inmate. The inmate will be given the opportunity to respond to
        the rationale given and object to his/her placement in a BMU, if he/she so desires. The
        inmate may appeal the recommendation for transfer to the Facility Manager/designee
        and Central Office, as outlined in Department policy DC-ADM 802, “Administrative
        Custody” and DC-ADM 801, “Inmate Discipline.”

     2. The MHC/designee at the referring facility shall simultaneously submit a completed
        Referral Packet to the Office of Population Management (OPM) mailbox (CR, CEN OPM
        Special Program REFERRALS) dedicated to the Special Programs Referral and to the
        respective Regional LPM. OPM is responsible for tracking the BMU Referral Packet
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          through the approval/rejection process. This packet must only be forwarded
          electronically.

          a. If needed, the Regional LPM may be consulted to review the BMU Referral Packet
             and schedule a face-to-face (on site or via videoconference) interview with the
             referred inmate prior to the referring facility submitting the packet to OPM. The
             purpose of this interview is to facilitate an appropriate referral to the BMU. This
             interview provides a focused independent assessment, upon which the Regional LPM
             can make further recommendations to the facility regarding the referral process, if
             needed. Additionally, this focused interview process will provide guidance to the
             Director of Psychology and Chief of Psychiatry in their approval process of this
             packet.

          b. The BMU referral may be changed to an SAU referral by the Regional LPM if a
             specialized assessment for diagnosis and programs appropriateness is deemed
             necessary.

     3. The OPM will then electronically forward the BMU Referral Packet to the Chief
        Psychologist, Chief of Psychiatry, and the Executive Deputy Secretary for Institutional
        Operations (EDSI)/Regional Deputy Secretary for the sending and receiving region who
        will vote on the BMU referral. If the recommendations are not unanimous, the Executive
        Deputy Secretary will make the final recommendation.

     4. The approved and/or rejected BMU Referral Packet will then be sent to the OPM. The
        OPM will record the disposition of the Referral Packet in the Transfer Petition System.
        OPM notifies, via email, the referring facility with copies to the Chief of Psychological
        Services, Bureau of Health Care Services (BHCS), and Diagnostic and Classification
        Coordinator, Bureau of Treatment Services (BTS). This email will include the rationale for
        the rejection and recommendations.

     5. The OPM will return any disapproved Referral Packets to the referring facility’s
        LPM/designee.

     6. Following final approval, the BHCS will coordinate, with the sending and receiving
        facilities and the OPM, the inmate’s transfer to the designated BMU. If space is not
        available, the OPM and BHCS shall retain the inmate’s name on a waiting list.

     7. Prior to an inmate’s transfer, the transferring facility’s PRT shall conduct a
        videoconference or teleconference call, with the BMU Treatment Team at the receiving
        facility. The sending facility shall document the date, names of participants, and issues
        discussed in the conference call in the ICAR/DC-14 and on the DC-472, Progress
        Notes.

     8. Once BHCS has notified the referring facility that an inmate has been approved for BMU
        placement, and the inmate is placed on the BMU waiting list, the referring facility will
        immediately implement the following Protocol for Enhanced Mental Health Services

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          which has been established for inmates on the BMU waiting list. The protocol is as
          follows:

          a. a weekly out-of-cell psychology contact, at a minimum, will be conducted, with ICAR
             and DC-560 documentation copied to the medical record;

          b. additional psychological contacts, if requested by the inmate or a staff member, will be
             provided by the assigned psychologist during his/her scheduled daily psychology
             RHU rounds;

          c. monthly out-of-cell Psychiatrist/CRNP contacts;

          d. weekly review by the PRC;

          e. monthly PRT review; and

          f. continued weekly CC visits.

     9. If the referring facility cannot fully provide the above protocol for enhanced mental health
        services, the facility should contact OPM as soon as possible so that OPM can expedite
        transfer to the nearest facility which is able to provide this protocol.

   10. An inmate who is on the waiting list for the BMU can be transferred to an MHU/FTC if
       necessary. This does not affect his/her BMU waiting list status, unless decided otherwise
       by Central Office.

   11. If an inmate is not being followed for mental health concerns, the Enhanced Protocol
       does not have to be implemented. Contacts shall be in accordance with Department
       policy 6.5.1.

I. Transportation

     An inmate received into the BMU will be sent as a permanent transfer. Transport procedures
     for the BMU shall be in accordance with Department policy 6.3.1, “Facility Security.”
     Additional restrictions and/or requirements are as follows:

     1. all of the inmate’s property will be transported with him/her to the BMU;

     2. an inmate transferred to the BMU shall be received no later than 2:00 PM Monday,
        Tuesday, or Wednesday. This schedule allows staff to be available to conduct an initial
        assessment and provides for a stabilization period; and

     3. the inmate shall be transported via sedan; this is the responsibility of the referring facility.




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J. Admission and Orientation

     1. All inmates will receive a standardized “BMU Inmate Handbook.” This handbook will be
        distributed to all inmates upon arrival and admission to the BMU. This handbook will
        address and include at a minimum the following:

          a. general program description and purpose of the unit;

          b. BMU rules and regulations;

          c. the process of behavior management planning and the inmate’s involvement in that
             process;

          d. Overview of the Levels of Treatment/Phase System and the role of the Treatment
             Team;

          e. what an inmate needs to do to advance through the Phases/Levels of Treatment;

          f. earning and utilizing Incentive Points;

          g. property and privileges;

          h. description of groups and treatment milieu;

          i.   discipline and “Accountability Status;”

          j.   discharge and transition from the BMU; and

          k. Prison Rape Elimination Act (PREA) contacts and reporting information.

     2. Once admitted to the BMU, the inmate shall receive the BMU Inmate Handbook and staff
        will orient the inmate to the rules and regulations of the unit within 48 hours of arrival. The
        inmate will be asked to sign the BMU Inmate Orientation Handbook Receipt Form
        (Attachment 12-E).

     3. Staff shall complete the DC-510, Suicide Risk Indicators Checklist (refer to Section 1
        of this procedures manual).

     4. Inmates housed in a BMU will be issued royal blue hobby jeans and a royal blue shirt
        with DOC printed in large white block letters on the back.

     5. BMU Cell Assignments

          a. An inmate shall be housed in a single cell for Phases 5, 4, and 3 of the BMU program.
             Suitability for double celling will be considered in Phases 2 and 1 and will be
             contingent upon the inmate’s program code in accordance with Department policy
             11.2.1, “Reception and Classification.”
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          b. When considering double celling Phase 2 inmates on the unit, the BMU Treatment
             Team should make every effort to facilitate voluntary double celling agreements
             between BMU inmates.

          c. If no compatibility contraindications are present (these include, but are not limited to:
             age differences, disparate physical size, gang affiliations, security needs, custody
             level, medical issues, geographical/regional differences, and a documented history of
             ethnic/religious violence, or propensity for such) the BMU Treatment Team may
             consider voluntary double celling.

          d. BMU double celling after normal working hours is prohibited, except in extenuating
             circumstances, and only with authorization from the Shift Commander. The double
             celling assignment will be reviewed by the BMU Treatment Team the next working
             day.

     6. Medical staff shall conduct the medical screening in accordance with Department policy
        13.2.1, “Access to Health Care.”

     7. Upon admission, Psychology staff will interview/assess the inmate and:

          a. review the Referral Packet; and

          b. screen for any acute mental health symptoms including potential suicide risk.

     8. Within 48 hours, the unit Psychology staff will review the BMU Initial Recovery
        Treatment Plan (Attachment 12-F) with the inmate and outline specific targeted goals
        and objectives. Documentation that the IRP was completed with the inmate will be made
        in the ICAR.

     9. The BMU Treatment Team shall conduct an initial review of the inmate’s IRP within three
        working days.

   10. Within seven working days, a Psychiatric Admission Summary Note with treatment
       recommendations shall be completed. Summary of the BMU admission shall
       include at a minimum, but not limited to the following information:

          a. history of present illness/reasons for BMU admission;

          b. past psychiatric treatment history in the community/Department;

          c. mental status examination;

          d. diagnosis;

          e. risk assessment; and

          f. treatment recommendations and any needed referrals.
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   11. While the inmate progresses through Phases 5, 4, 3, and 2, the Psychiatrist/CRNP will
       see the inmate weekly. At least one session per week will be held out-of-cell.

K. Transfers of Inmates in the BMU System

     1. An inmate who is participating in the BMU program may be permanently transferred
        between BMUs, only when the BMU Treatment Team believes it would be of therapeutic
        benefit and then only with the approval of both the receiving and sending facility’s
        EDSI/Regional Deputy Secretary with input from the Director of the Psychology Office.
        These transfers will be coordinated through the Psychology Office and OPM. Any
        permanent transfer of a BMU inmate to a non-BMU location will require written approval
        by the Executive Deputy Secretary.

          NOTE: Transfers between BMUs will be coordinated with an exchange of transfer
          packets, a DC-46 including a transfer rationale, and a copy of the most recent Psychiatric
          Assessment.

     2. At times it may be necessary to temporarily transfer an inmate from a BMU to a non-BMU
        facility. In these cases, the BMU inmate may be housed in a Psychiatric Observation Cell
        (POC), unless written approval has been granted by the Executive Deputy Secretary. The
        Director of the Psychology Office must be notified within 24 hours of any temporary
        transfer of a BMU inmate.

     3. Prior to a BMU inmate’s temporary or permanent transfer, a member of the transferring
        facility’s BMU Treatment Team shall communicate, with a member of the BMU Treatment
        Team or PRT at the receiving facility. The sending facility shall document the date,
        names of participants, and issues discussed in the conference call in the ICAR and on
        the DC-472.

     4. If an inmate is committed to a Department MHU or the FTC, that inmate’s BMU bed will
        be held open for a reasonable period of time, pending the inmate’s return from the MHU
        or FTC. At the time of discharge, alternative placement into a Secure Residential
        Treatment Unit (SRTU) may be recommended and considered. Should this be
        recommended, the BMU will generate a formal SRTU Referral Packet and send to
        Central Office for review.

L. Treatment Programs/Levels of Treatment

     1. The program components in the BMU include a multidisciplinary treatment environment.

     2. All inmates in the BMU will have an IRP. These IRPs will be created using the “Recovery
        Model” of treatment. The Recovery Model has the goal of enhancing the individual’s
        quality of life. It supposes that the treatment delivered will be tailored to the individual’s
        strengths, needs, and directions; and treatment decisions are made in partnership with
        the individual. In adopting the recovery model, we understand that the focus is on a path
        of recovery, not just goals. We also understand that recovery is an ongoing process and
        does not mean there is an absence of symptoms. Overall, this person-centered approach
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          can reduce therapeutic disruption, noncompliance, de-compensation, and violence and
          self-harm.

          a. The first step in developing a “Recovery Model” IRP is to identify the “person-
             centered” goal. Listening to the individual with empathy, acceptance, and validation
             will allow the goal to be expressed. Second, identify the individual’s strengths. This
             will indicate what is already working that can be amplified, supported, and used as a
             resource to facilitate change. Third, identify obstacles that prevent the individual from
             reaching his/her goal. Fourth, identify treatment objectives. These treatment
             objectives need to be measurable, concrete, and clear. It is important that the
             treatment objectives are relevant to the individual’s stated recovery goal and to the
             obstacles that are hindering the inmate from reaching his/her goal. Fifth, identify
             treatment interventions. Treatment interventions will be chosen that are likely to
             increase the individual’s strengths.

          b. Treatment planning may also include variations to the standard phases, treatment
             goals, and length of time in a phase, privileges, and management of problematic
             behavior. Modifications to the inmate’s level of security related to restraints and escort
             will also be noted on the IRP. These security modifications will also be clearly noted in
             the Unit Control Booth. An overview of property and privileges associated with each
             Phase of treatment is found in the BMU Property, Privileges, and Services Chart
             (Attachment 12-G).

          c. In conjunction with the BMU Treatment Team, the Psychology staff will update the
             initial IRP, using the BMU Recovery Treatment Plan Review (Attachment 12-H),
             every 30 days while the inmate is in Phases 5 through 1. The IRP shall be reviewed
             out-of-cell with the BMU inmate at a minimum of every 30 days. The inmate must
             have input into the goals rather than all of them being generated by the BMU
             Treatment Team in a standardized fashion. All inmates will be invited to personally
             attend and participate in all BMU Treatment Team meetings. Treatment plan reviews
             will be documented in the ICAR.

          d. The goals on the IRP, established collaboratively with the BMU Treatment Team and
             the inmate, shall drive the clinically structured out-of-cell offerings on the BMU.

     3. Participation in treatment programs is based on a phase system. Movement to a lower
        treatment phase is based on appropriate inmate behavior and compliance with the IRP.
        The initial treatment phase shall be determined by the inmate’s present level of
        functioning, recent historical information, and mental status. The BMU Treatment Team
        shall recommend all treatment phase changes. Ultimately the PRC, with input from the
        BMU Treatment Team, has the final decision on awarding or terminating privileges and
        granting phase changes.

     4. The BMU treatment program includes a progressive phase system that may include, but
        is not limited to, Phases 5 through 1, plus Accountability Status and Post-BMU aftercare.
        The length of time spent in each phase is dependent on the inmate’s demonstrated level

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          of adjustment. The specific time parameters for each phase movement will be defined in
          the inmate’s IRP.

     5. Changes in status from phase to phase shall be accomplished through staff action by the
        BMU Treatment Team and documented by circulating a BMU Program Review Sheet,
        with final approval by the Facility Manager. All status changes will be documented in the
        ICAR by the Unit Counselor. A DC-46 is not required for phase change following
        placement on Accountability Status. A DC-46 will be required to be circulated for all
        Phase 1 approvals.

     6. The BMU is designed to support inmates with a severe personality disorder exhibiting
        functional impairment in achieving the highest level of functioning within a safe
        environment. The phase system is designed to provide incentives for inmates who are
        able to remain free of self-injury, aggression, and other problematic behaviors as well as
        engage in appropriate behavior. Incentives may be purchased weekly via the points
        system and points are deducted at the time they are redeemed.

     7. The BMU Treatment Team is aware that from time to time participation in programming
        may be difficult for some individuals. They may exhibit a lack of meaningful participation
        in the milieu offered. It is the goal of the BMU that all participants receive the maximum
        benefit from treatment. Therefore, the BMU Treatment Team will closely monitor program
        participation. Each month, every participant’s IRP and out-of-cell participation will be
        reviewed by the Treatment Team. Should an individual’s participation in out-of-cell
        offerings fall below 60% of the minimum of 20 hours programming, the institution’s LPM
        will lead the Treatment Team in collaborating with the individual to discuss
        goals/objectives/barriers to out-of-cell participation. Part of that review will include a
        discussion of the programming offered in order to ensure that it addresses the individual’s
        expressed needs.

     8. The Treatment Team will also assess whether a higher level of care is indicated.
        The institution’s LPM/designee may coordinate a videoconference/teleconference
        consultation with their Treatment Team, their respective LPM, and the Mental Health
        Advocate at Central Office, to discuss and review the Recovery Plan changes
        recommended by the institution’s LPM and their treatment plan.

     9. Consequences for engaging in self-injurious, aggressive, or other problematic behavior
        will be immediate with the inmate being placed on Accountability Status where the
        capacity to earn incentives is limited.

   10. Phase advancement will be recommended by the BMU Treatment Team, which includes
       mental health staff, security staff, and unit team staff. Phase advancement shall be based
       on behavior and attendance as well as participation in programming. The BMU is an
       incentive-based program, meaning that as behavioral stability is demonstrated, more
       privileges are earned. Inmates who engage in problematic behavior will not be afforded
       these privileges until they demonstrate they are able to function more independently.
       Overriding goals include no disciplinary reports, treatment compliance, and active
       program participation.
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   11. Criteria for consideration of cutting set-aside-disciplinary sanctions and for advancement
       from phase to phase include:

          a. remain free of misconducts and problematic behavior reports;

          b. remain free of self-injury;

          c. attend at least 60% of the minimum 20 hours out-of-cell structured and unstructured
             programming;

          d. attend at least 90% of individual sessions; and

          e. other individualized recommendations on the IRP made by the BMU Treatment Team.

   12. Phase System

          a. Phase 5 (seven days)

               (1)      This is the starting point for new admission to the program. The inmate is eligible
                        to advance to Phase 4 programming after seven days with no problematic
                        behavior demonstrated and active participation in out-of-cell programming. This
                        phase includes:

                        (a)   the initial assessment of the inmate;

                        (b)   working with staff to develop an IRP to identify behavioral and clinical needs
                              and goals;

                        (c)   attending initial BMU Treatment Team session and orientation to the unit;

                        (d)   introduction to incentive plan;

                        (e)   rules of the unit;

                        (f)   behavioral expectations;

                        (g)   overview of the phase system;

                        (h)   group descriptions; and

                        (i)   unit schedule of activities and programs.

               (2)      Phase 5 privileges and restrictions include the following:

                        (a)   as outlined in the BMU Property, Privileges, and Services Chart;


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                        (b)   may earn up to 50 incentive points per week. Incentive points may be used
                              on Phase 5 for items approved on the BMU Incentive Order Form
                              (Attachment 12-I); and

                        (c)   escorted in restraints to all out-of-cell activities. Restrained inmates will not
                              be in mixed out-of-cell groups/activities with unrestrained inmates.

          b. Phase 4 (60 days or longer based on clinical recommendation)

               (1)      After 14 consecutive days on the Phase 5/Stabilization Phase without
                        problematic behavior, the inmate is eligible for transition to Phase 4. Advancing
                        through phases depends on active participation in programming. After 60 days
                        on Phase 4, the inmate is eligible to move to Phase 3.

               (2)      Phase 4 privileges and restrictions include the following:

                        (a)   as outlined in the BMU Property, Privileges, and Services Chart;

                        (b)   may earn up to 50 incentive points per week;

                        (c)   15 incentive points may be used for food items;

                        (d)   30 additional earned points may be used for Phase 4 incentive point menu
                              items; and

                        (e)   escorted in restraints to and from all activities. Restrained inmates will not
                              be in mixed out-of-cell groups/activities with unrestrained inmates.

          c. Phase 3 (60 days or longer based on clinical recommendation)

               (1)      An inmate may be considered appropriate for transition from Phase 3 to Phase 2
                        when the following is evident:

                        (a)   demonstrates the ability to maintain safe behavior for at least 60 days;

                        (b)   compliant with facility regulations for at least 60 days;

                        (c)   demonstrates an overall level of functioning that is consistent with general
                              population; and

                        (d)   compliant with treatment objectives as outlined in the inmate’s IRP.

               (2)      Phase 3 privileges and restrictions include the following:

                        (a)   as outlined in the BMU Property, Privileges, and Services Chart;

                        (b)   may earn up to 50 incentive points per week;
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                        (c)   30 incentive points may be used for food items;

                        (d)   any incentive point value may be used for incentive point menu items other
                              than food items up to a total of 70 points per week;

                        (e)   in Phase 3 the inmate can be considered for on-unit employment based on
                              team approval and job-availability. The Phase 3 inmate may be permitted to
                              eat meals out-of-cell. Phase 3 inmates will be paid General Labor Pool
                              (GLP) for five days per week; and

                        (f)   restraints – upon placement on Phase 3 the Treatment Team may approve
                              reduced restraints during escort to and from therapeutic modules for
                              groups, recreation, and showers. However, Phase 3 inmates are generally
                              unrestrained for regular movement within the unit unless out with another
                              inmate who requires restraints.

          d. Phase 2 (30 days or longer based on clinical recommendation) privileges and
             restrictions include the following:

               (1)      as outlined in the BMU Property, Privileges, and Services Chart;

               (2)      may earn up to 50 incentive points per week;

               (3)      any incentive point value may be used for any incentive point menu item
                        including food up to a total of 70 points per week;

               (4)      may generally move unrestrained out-of-cell unless out with another inmate who
                        requires restraints;

               (5)      in Phase 2 the inmate can be considered for on-unit employment based on team
                        approval and job-availability and may be permitted to consume meals out-of-cell.
                        Phase 2 inmates will be paid GLP for five days per week;

               (6)      may exercise in a group with up to six other unrestrained inmates;

               (7)      at the discretion of the BMU Treatment Team, during Phase 2 the inmate may
                        begin a Step-down Plan. The plan will begin by allowing the BMU inmate to wear
                        institutional browns and state-issued boots. A CPS will meet the BMU inmate on
                        that unit and will then escort the BMU inmate to the mainline lunch or dinner
                        meal. Staff will be aware of when the inmate is leaving and returning to the BMU.
                        Upon returning to the unit, he will return the institutional browns and boots and
                        will be issued BMU clothing. As per policy, the BMU inmate will be strip-searched
                        before leaving the unit and when returning to the unit;

               (8)      after Step 7 above has occurred several times, the same system may be utilized
                        to have the CPS escort the BMU inmate to receive a haircut or commissary. The

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                        procedure will be similar to the above; staff will be aware when the inmate is
                        leaving and returning to the unit;

               (9)      once all BMU Treatment Team members believe that the inmate is ready, the
                        BMU inmate may be escorted by the CPS to another supervised activity such as,
                        but not limited to, Chapel or Library, following the same procedure as above; and

             (10) once all BMU Treatment Team members believe that the inmate is ready, the
                  BMU inmate may be escorted to the yard or gym utilizing the same system. The
                  RTU yard/gym may be considered given that it is a smaller, less crowded
                  environment. However, another suitable location may be utilized at the discretion
                  of the BMU Treatment Team. The inmate will be escorted by the CPS and the
                  same procedures will be utilized as outlined above.

          e. Phase 1 (90 days or longer)

               (1)      An inmate attaining this phase is considered ready to begin reintegrating into a
                        housing unit deemed appropriate by the Treatment Team at the current treating
                        facility or another BMU facility. This probationary phase will be 90 days in length;
                        with an option to extend probation for another 90 days through the Vote Sheet
                        process. However, the maximum amount of time this phase will last is 180 days.
                        Should the inmate be away from the facility for any reason such as Authorized
                        Temporary Absence (ATA), or a Mental Health Commitment, Phase 1 time will
                        be suspended until such time as the inmate returns to the facility.

               (2)      While on Phase 1, the BMU Treatment Team will continue to review the
                        individual’s IRP every 30 days. Incentive points will not be earned nor can they
                        be used while an inmate is on Phase 1. The focus of this phase will be to
                        continue to address treatment goals while adjusting to the general population
                        setting. Thus, acclimating and blending into the general population routine is
                        vital. Incentive points should be used prior to earning Phase 1. Once promoted
                        to Phase 1, any unused points will be lost.

               (3)      When an inmate successfully completes the probationary status after 90 or 180
                        days without any significant incidents of behavioral or mental health regression,
                        the BMU Treatment Team will staff him/her for discharge/graduation from the
                        program. Graduation from the BMU will be completed by Vote Sheet with final
                        approval from the Facility Manager. Since the inmate has completed/graduated
                        from the program, the Treatment Team may consider transferring him/her to
                        another facility, or permit him/her to remain at the current facility. The graduation
                        of any Phase 1 inmate to general population requires facility approval via the
                        EDSI/Regional Deputy Secretary.

M. Accountability Status

     Accountability Status is a temporary placement within the unit or off-of-the unit for BMU
     inmates whose behavior is acutely dangerous to self or others or whose behavior is
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     threatening and disruptive to programming and the operational functioning of the unit. The
     inmate on Accountability Status will be evaluated daily with a plan for his/her timely return to
     the program.

     1. Purpose of Accountability Status

          a. It is the goal of the BMU to provide quality out-of-cell programming to inmates who
             can benefit from treatment, but who, because of their behavior, have been restricted
             to units where intensive therapy is difficult to provide. An essential part of all Behavior
             Management programs is the provision for an immediate consequence for serious
             negative behavior. Therefore, Accountability Status may be instituted to temporarily
             address an acutely aggressive, threatening, disruptive inmate participating in BMU
             programming. This ensures the education of the inmate, safety of staff and other
             inmates, and the smooth continuation of the program for treatment compliant inmates.

          b. The BMU inmate may be held on Accountability Status for as little as one day, but no
             longer than 72 hours. Additional placement on Accountability Status may be approved
             by the Facility Manager in 24-hour increments up to an additional 72 hours. If the
             individual’s status has not stabilized after the first 72 hours, the Psychiatrist will be
             consulted to determine the need for POC or inpatient placement. In addition, upon
             reaching the initial 72-hour timeframe, the institution’s LPM will forward the BMU
             Change of Status IRP to the institution’s Regional LPM and the Chief of Psychology
             for review. Also, the BMU Treatment Team will schedule and conduct a
             videoconference with the Department’s Mental Health Advocate. Recommendations
             for case management will be made in conjunction with Central Office.

     2. Indicators for Accountability Status Process

          a. BMU inmates who are exhibiting acutely aggressive and/or threatening behavior
             toward themselves or others or are exhibiting extremely disruptive behavior that
             interferes with the safe and orderly functioning of the program will be immediately
             (i.e., when appropriate) assessed by a Psychology staff member, if the behavior(s)
             occur(s) during normal business hours, or by a nursing staff member, if during off
             business hours, to determine whether or not the inmate requires a higher level of care
             (e.g., POC placement). These behaviors may be reported and documented by
             utilizing the:

               (1)      DC-141, Part 1, Misconduct or Other Report; or

               (2)      DC-121, Part 3, Employee Report of Incident.

          b. Additionally, once a staff member observes a harmful, potentially harmful, or
             disruptive behavior, they will inform the Area Lieutenant, Unit Manager, and the
             LPM/designee. They will also complete one of the above noted documents. In
             consultation with the LPM/designee or a nursing staff member, the Area Lieutenant
             will notify the Shift Commander of the noted behavior and recommendation, if
             appropriate, to place the inmate on Accountability Status. The Lieutenant, Unit
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               Manager, or LPM will complete the BMU Accountability Status Restriction Form
               (Attachment 12-J). Recommended property and privilege restrictions must relate to
               the behavior which prompted the inmate’s placement on Accountability Status. All
               documentation will be completed immediately and forwarded to the Shift Commander
               for initial disposition.

          c. In general, cells utilized for Accountability Status should be away from the routine
             activity of the BMU program. However, cells should be outfitted to ensure the
             maximum ability to observe and ensure the safety of the inmate.

          d. Prior to placing the inmate into Accountability Status, he/she will be strip searched
             and given property and privileges as indicated on the BMU Accountability Status
             Restriction Form. Once placed on Accountability Status, the inmate will be seen by
             his/her assigned Psychology staff member within 24 hours or as soon as normal
             facility operations permit for the purpose of collaboratively completing the BMU
             Accountability Status – Recovery Treatment Plan (Attachment 12-K). This
             treatment plan will specifically address the inmate’s goals related to why he/she is on
             Accountability Status and his/her return to regular programming. Placement in
             Accountability Status and subsequent treatment planning will be documented in the
             ICAR. After being reviewed by the institution’s LPM, the BMU Accountability Status
             – Recovery Treatment Plan will then be scanned to the institution’s Regional LPM
             for review. They will then be scheduled for the next Treatment Team meeting. All
             other staff contacts will occur as described in the Accountability Status Monitoring
             Protocol as follows:

               (1)      the assigned Psychology staff member will offer daily 30-minute AM and PM out-
                        of-cell contacts for the duration of the Accountability Status placement. Contacts
                        will be documented with ICAR and DC-560 documentation copied to the medical
                        record;

               (2)      additional psychological contacts, if requested by the inmate or a staff member,
                        will be provided by the assigned psychologist during his/her scheduled daily
                        psychology unit rounds;

               (3)      one 30-minute daily out-of-cell Therapeutic Recreation Specialist contact;

               (4)      one 30-minute daily out-of-cell Social Worker contact;

               (5)      one 30-minute daily out-of-cell CPS contact;

               (6)      one hour of yard daily;

               (7)      PRC review during the Accountability Status placement;

               (8)      BMU Treatment Team review at the initiation of the Accountability Status
                        placement, including review of treatment compliance and property and privileges
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                        permitted with recommendations forwarded to PRC on a new BMU
                        Accountability Status Restriction Form; and

             (9)        continued 30-minute daily out-of-cell CC visits.

          e. While on Accountability Status, the Treatment Team will make the final decision as to
             when and whether the inmate may have more property privileges or qualify for ending
             Accountability Status. While on Accountability Status, inmates may earn one incentive
             point for each day without exhibiting acute aggressive and/or threatening behavior
             toward themselves or others or are exhibiting extremely disruptive behavior to the
             safe and orderly functioning of the program.

          f. To be removed from Accountability Status, an inmate must be treatment compliant, in
             behavioral control, and misconduct free to finish Accountability Status. The Treatment
             Team will decide when an inmate has successfully completed Accountability Status.
             The inmate will then be returned to the program phase deemed appropriate by the
             BMU Treatment Team.

N. Structured Versus Unstructured Programming

     1. All structured and unstructured programming will take place in therapeutic modules and
        Restart Chairs upon determination by the Treatment Team. Each facilitator of structured
        and unstructured programming will document his/her group contact with each individual
        on the BMU Group Participation Form (Attachment 12-L). Each facilitator will keep the
        Group Participation Form in his/her possession. At the end of each 30 days, the Group
        Participation Form will be forwarded to Medical Records for filing. At the same time, the
        facilitator will place a brief monthly summary in the ICAR.

     2. Structured activities are those that are lead/facilitated by a Department or contracted staff
        member or a Volunteer. These may include: Morning Meetings, Mental Health groups,
        the HELPING: Multimodal Self-Change Approach, Carey Guides, Relapse Prevention
        Plan, AOD, chaplaincy, Thinking for a Change groups, Taking a Chance on Change
        groups, Start Now program, groups run by activities staff, education, Reentry groups and
        modules on accepting mental illness, activities for challenged inmates, body basics,
        staying healthy on your medications, exploring the United States, handle anger better,
        personal hygiene, planning for a better life, self-esteem, social skills for challenged
        inmates, and substance abuse treatment introduction and other treatment interventions.
        Staff may also choose to use the “Traffic Light” Tool in order to illustrate targeted goals
        and objectives for each inmate. This visual representation of their immediate objectives
        can be placed where the inmate may review and have immediate feedback concerning
        appropriate and inappropriate behavior. This intervention will be utilized in a way that
        protects the confidentiality of the inmate. These resources and activities may be acquired
        from the LPM assigned to the region.

     3. Unstructured activities are defined as activities occurring outside the cell but not
        conducted by Department staff members. For example, law library, recreation, visits,
        viewing movies, eating in small groups, and reading out-of-cell. They do not include
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          activities of daily living like showers, however, eating meals in a small group would be
          considered unstructured.

     4. At a minimum, ten structured and ten unstructured out-of-cell hours of programming will
        be offered to all inmates housed in the BMU. The number of structured out-of-cell hours
        or portions of an hour of programming the inmate participates in will be logged by the
        staff member who provides the structured out-of-cell contact. The staff member will log
        the completed time on the BMU Accepted/Refused Structured Out-of-Cell Program
        Log. The number of unstructured out-of-cell hours or portions of an hour of programming
        the inmate participates in will be logged by a CO assigned to the unit. The CO will log the
        completed time on the BMU Accepted/Refused Unstructured Out-of-Cell Program
        Log.

     5. Weekly, the BMU Counselor will compile the total hours of programming for each inmate,
        document the total in the ICAR, and report the data on the Weekly Structured/
        Unstructured Out-of-Cell Program Report (Attachment 12-M). Completed logs will be
        forwarded to the BMU Unit Manager for filing. The Weekly Structured/Unstructured
        Out-of-Cell Program Report will be forwarded to the Chief of Psychological Services.

O. Phase Modification

     The BMU treatment program will tailor individualized phase modifications/alternatives when
     necessary. The modifications will be documented on the IRP with the rationale and goals for
     the modification and the steps to be taken to reach those goals. These alternatives include,
     but are not limited to:

     1. Accountability Status for a BMU inmate who is celled in an area apart from the BMU (if
        available) due to his/her behavior, psychiatric symptoms, and/or facility need. The inmate
        may be committed to an MHU, or other appropriate housing unit;

     2. temporary phase change and/or phase demotion;

     3. phase freeze (a hold in one phase for various reasons, where privileges may be
        modified); and

     4. modified phase (e.g., an inmate with previous assaults on female staff will lock-up when
        female staff are on the unit, or a Phase 4 inmate may be permitted uncuffed out-of-cell
        time when other inmates are all in their cells).

P. Incentive Program

     1. The Incentive Program is designed to allow inmates in the BMU the opportunity to earn
        incentive points that may be redeemed for items on a regularly scheduled basis.
        Incentive points are earned based on individual performance and for positive and pro-
        social behaviors.


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     2. Incentives are a proven method for increasing pro-social behavior and reducing
        problematic (target) behaviors. Once the target behaviors and goals are identified with
        the inmate, incentives are used as a reward for achieving identified goals. Within the
        incentive program design is also life skill opportunities such as basic math and reading,
        learning to save and plan, and facilitating positive social communications.

     3. Program Design

          a. Inmates who follow facility rules and regulations evidenced by not receiving a
             misconduct report or demonstrating any problematic behavior will earn a point for the
             day. A notation in the ICAR will be written as supporting documentation for an inmate
             who does not earn his/her point for the day. This will be noted by the Unit Counselor.

          b. Treatment points are earned based on treatment attendance and participation without
             problematic disruptive behavior. Inmates earn two points for each hour of structured
             activity and one point for each hour of unstructured activity they attend. Structured
             and unstructured programming will occur daily. Inmates are assigned to specific
             groups based on individual needs. Inmates who do not have an excused absence,
             who ask to leave group before it is finished, or who are escorted out due to disruptive
             behavior do not earn points for that group.

          c. Inmates’ points are aggregated each week. Inmates are informed, weekly, both
             verbally and in writing of all points earned. Inmates then may order items or purchase
             privileges using their points. Items are given point values from five to 60 points.
             Unused points may be carried over from week to week and month to month, but an
             inmate may not use more than the total stated for each phase in a given week. Once
             a point or privilege is earned, it cannot be taken away. Points and privileges will be
             held in abeyance should the inmate be placed in Accountability Status.

          d. The following is an overview of the incentive points that may be earned in each week:

               (1)      seven daily points for no disciplinary reports or information reports (maximum to
                        be earned is seven);

               (2)      seven daily points for Good/Fair ratings for Cell Cleanliness and Hygiene
                        (maximum to be earned is seven);

               (3)      two points for each hour of attendance and participation in structured
                        programming (maximum to be earned is 20);

               (4)      one point for each hour of attendance and participation in unstructured
                        programming (maximum to be earned is ten);

               (5)      six bonus points for attending and participating in all groups and meeting
                        recovery plan requirements for one week; and


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               (6)      seven daily points for no disciplinary reports or information reports while under
                        Accountability Status (maximum to be earned is seven).

          e. At the end of each week, the BMU Counselor will tabulate each inmate’s incentive
             point total for the previous week using the BMU Weekly Point Summary
             (Attachment 12-N). The total points will be transposed to the BMU Monthly Point
             Summary (Attachment 12-O) in order to track the total incentive points earned and
             redeemed over time. After tabulating the weekly point totals, the BMU Counselor will
             then distribute the BMU Incentive Order Form to each inmate. They will then
             complete and return the forms by the end of the day. Incentives earned will then begin
             to be distributed no later than the week following when they are redeemed.

Q. Misconducts

     1. The alleged commission of a Class 1 Misconduct charge 1 to 14 will result in formal
        disciplinary action if found guilty and Accountability Status for no more than three days.

     2. The alleged commission of a Class 1 Misconduct charge 15 to 25 may result in formal
        disciplinary action if found guilty and placement in Accountability Status for no more than
        three days.

     3. If a misconduct is eligible for informal resolution, staff will complete the BMU/SRTU
        Informal Resolution Action Form (Attachment 12-P) to document his/her sanction for
        that misconduct.

     4. An inmate will not be issued misconducts for self-mutilation, however, a DC-121, Part 3
        will be generated. This may result in the inmate’s placement in the POC or on
        Accountability Status.

     5. The assigned Psychology staff will provide input to the Hearing Examiner for all formal
        hearings in regard to whether the infraction was due to the inmate’s mental illness or
        volitional. The Hearing Examiner will use this input for sanctions or modifying sanctions.

     6. An inmate on probationary status in Phase 1 in a general population RTU does not
        automatically need to be returned to the BMU. This decision will be made by the PRC
        with input from the BMU Treatment Team.

R. Change in Status

     1. Inmates may be transferred to the BMU in either AC or DC status. DC sanctions should
        not be cut by the sending facility. The major goal of the BMU program is to stabilize the
        inmate’s behavior so he/she can progress to placement in the least restrictive
        environment, based on his/her demonstrated behavior. Any remaining DC time will be
        addressed by the PRC at the BMU facility.



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     2. While in the BMU, DC status is set aside. As stated above, the DC sanction time
        continues to expire while the inmate is in the BMU. An inmate can earn further reductions
        in his/her DC sanctions for appropriate behavior.

     3. An inmate who exhibits misconduct-related behavior while in the BMU will generally
        serve a period of suspension on Accountability Status with a phase change (reduction in
        privileges level) based on the recommendation of the BMU Treatment Team and
        approval of PRC.

     4. All changes in status in regard to phase progression will be completed via the BMU
        Program Review Sheet. Once the unit team makes a recommendation to PRC to
        advance a phase, and PRC approves, an ICAR entry will be made by the counselor
        indicating such.

S. Release of BMU Inmates

     1. Phase 1 constitutes the release of the inmate to a general population housing unit,
        generally within the treating facility. The release of any Phase 1 inmate from the BMU to
        a general population housing unit requires approval of the EDSI/Regional Deputy
        Secretary.

     2. An inmate who is being considered for release to general population as a result of
        placement on Phase 1 must have completed all requirements of his/her IRP for Phase 2.

     3. Approval to move to Phase 1 and release to a general population RTU shall be requested
        via memo to the office of the effected EDSI/Regional Deputy Secretary. Documentation
        should include the BMU Treatment Team’s approval, PRC action, Facility Manager’s
        approval, and submission of appropriate rationale concerning the inmate’s progress in
        the BMU program. The release is usually to the general population RTU of the treatment
        facility.

     4. If approval is granted for transition to Phase 1 and ultimate discharge to the designated
        facility, the Unit Manager/designee shall verify the status and move date.

     5. The Unit Manager shall ensure that the following are completed:

          a. the inmate is readied for transition on the approved date;

          b. the inmate packs his/her property and cleans the cell;

          c. the inmate’s property is inventoried by unit staff;

          d. all BMU property, clothing, etc., is returned to the BMU inventory;

          e. the inmate’s property is released to the inmate and/or the Department transportation
             crew;

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          f. if the inmate is being released to the BMU facility’s general population, request
             appropriate staff to escort the inmate to the newly assigned housing unit;

          g. review all documentation to ensure proper log entries, forms, location boards, and
             BMU paperwork is completed accurately and in a timely manner;

          h. notify the facility’s Control Center to ensure inmate movement forms for count
             procedures are completed; and

          i.   in a case where the inmate is being discharged to a general population placement at
               another facility with a BMU, the BMU Treatment Team shall conduct a
               videoconference or teleconference call, with the Unit Management Team of the
               receiving facility to discuss the inmate’s response to treatment. The referring facility
               shall document in the ICAR and on the DC-560 the date, name of participants, and
               issues discussed in the conference call. At a minimum, the following issues shall be
               addressed:

               (1)      the inmate’s progress toward meeting the goals of his/her IRP;

               (2)      the extent to which he/she has achieved maximum benefit from treatment
                        available at the BMU;

               (3)      any ongoing resistance to program participation; and/or

               (4)      any treatment needs to be addressed when the inmate arrives at his/her
                        designated facility.

     6. An inmate being transferred to another facility as a Phase 1 BMU inmate on probationary
        status will be afforded the same privileges and services as defined in the BMU Property,
        Privileges, and Services Chart (Phase 1) and placed in general population.

     7. In the event that an inmate’s behavior deteriorates during his/her Phase 1 probationary
        period, the inmate may be returned to the BMU. If the inmate’s behavior deteriorates after
        he/she has completed Phase 1, return to the BMU is an option, but is not mandated. If a
        decision has been made to place the inmate back into BMU programming, a new Referral
        Packet will be generated and the packet submitted for review as stated in this policy.
        Depending on the nature of the deterioration, the inmate may require a short time stay in
        the RHU and/or a mental health inpatient setting. If there is question regarding the
        preferred option, cases in this status can be reviewed with the COSN/PRT and the
        Regional LPM.

T. Discharge Procedures

     1. Discharge/Graduation of an inmate from BMU programming after successful completion
        of the Phase 1 probationary period shall be considered when:


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          a. the IRP goals have been satisfied with successful reintegration into a general
             population unit for three to six months in a permanent facility;

          b. it is necessary to place a BMU graduate in the RHU, he/she will be managed
             according to his/her Stability Rating and Department policy DC-ADM 801; or

          c. an inmate successfully completing Phase 1 probationary period and graduating from
             BMU programming may be eligible for transfer to a facility in his/her home region by
             submission of a permanent transfer petition utilizing the purpose: Other, and
             Comments: BMU Graduate.

     2. Discharge of an inmate from the BMU for other than successful program completion shall
        be considered when:

          a. the BMU Treatment Team concludes that the inmate remains resistant to participation
             in the IRP that was developed for him/her; and/or the inmate engages in repeated
             negative behavior which is contrary to the mission of the BMU, and undermines the
             treatment of other BMU participants, e.g., evidence of both disruptive actions and
             detrimental impact on valid BMU inmates’ progress; and

          b. all inmates being considered for discharge from the BMU for reasons other than
             successful completion shall be automatically referred to the SAU for review and
             recommendation for subsequent placement. The SAU recommendations will then be
             included in the Referral Packet.

     3. The facility recommending an inmate for removal from BMU programming should send a
        Referral Packet to the OPM for review at COSN/PRT. The Referral Packet should include
        the following information:

          a. a completed Special Program Referral Approval/Rejection Form, which will serve
             as the face sheet. In the Requested Action Section, the Program/Unit Removal box
             should be checked;

          b. DC-46 circulated through the BMU Treatment Team and the referring facility’s
             administrative staff;

          c. rationale for the inmate’s removal from BMU programming to include listing of
             disruptive behaviors, misconducts, and actions of self-injury;

          d. the review and recommendations as prepared by the SAU; and

          e. documented evidence of behaviors to include, but not limited to Misconduct Report(s),
             DC-121’s, ICAR entries from BMU Treatment Team, and PRT notes.

     4. If the COSN/PRT determines that removal from the BMU programming is not appropriate,
        all options will be reviewed and a decision as to the disposition of the inmate’s case will
        be generated.
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     5. If the final recommended disposition by COSN/PRT does not include placement in
        another BMU, the Executive Deputy Secretary will conduct the final review.

     6. If removal from BMU Programming is approved by the COSN/PRT and the Executive
        Deputy Secretary, then a Transfer Petition will be completed by the OPM. COSN/PRT will
        determine where the inmate should be placed and the OPM will assign a facility
        accordingly.

     7. The receiving facility can submit the inmate for consideration by COSN/PRT for reentry
        into the BMU programming, if the inmate displays behaviors consistent with BMU
        admission criteria.

     8. Prior to discharge or transfer to another BMU, or other placement, documentation
        from the psychiatric provider shall include at a minimum, but not limited to, the
        following information:

          a. overall progress, any symptoms which have not responded to treatment;

          b. summary of response to medication trials, reasons/need to continue any
             polypharmacy, and any significant events while in the BMU;

          c. BMU discharge treatment recommendations; and

          d. any inmate whose Psychiatric Evaluation is over five years old shall have an
             updated Summary Psychiatric Assessment at the time of his/her discharge from
             the BMU which shall include the above information.

U. Release via Sentence Complete (Formerly Final Discharge Maximum Expiration
   [FDME])

     1. If an inmate is scheduled for release via Sentence Complete before completion of the
        BMU program, the inmate shall be referred to the facility Psychology Department 12
        months prior to release for continuity of care/release planning, in accordance with
        Section 2 of this manual.

     2. The inmate may be referred to the SAU in accordance with this procedures manual
        for an evaluation. The inmate may be placed on the Hard to Place Offender List in
        accordance with Department policy 7.3.1, “Reentry and Transition.”

     3. Any release of a highly assaultive inmate due to sentence completion shall follow
        procedures set forth in Department policy 6.5.1. Reentry services shall be offered in
        accordance with Department policies 6.5.1 and 7.3.1.




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V. Unit Operation Evaluation

     1. Monday of each week, the BMU Unit Manager/designee will provide, via email, the
        Licensed Psychologist Director (LPD) at Central Office with an updated roster to include
        BMU inmates on Mental Health (MH) commitment, WRIT, etc. This roster shall include
        phases, effective date of current phase, and date admitted to the BMU.

     2. Also, on Monday of each week, the BMU Unit Manager/designee will submit via email, to
        the LPD at Central Office, the effected Regional LPM, the effected EDSI/Regional Deputy
        Secretary/Inspection Team, the log sheet of out-of-cell hours on the BMU
        Accepted/Refused Structured Out-of-Cell Program Log and the BMU
        Accepted/Refused Unstructured Out-of-Cell Program Log.

     3. In conjunction with this review, the BMU Unit Manager/designee will submit a list of BMU
        individuals who participated in out-of-cell programming at less than a 60% average for
        the previous month. This list will be reviewed by the institution’s LPM who will ensure that
        all listed individual’s IRPs have recovery goals/objectives related to program participation
        and overcoming obstacles to treatment. This list will be forwarded to the institution’s
        Regional LPM and the Chief of Psychology. The type and content of programming
        offered will be evaluated as to its efficacy in engaging the individuals in the therapeutic
        process. Upon Central Office review, consultations with the institution may occur with
        recommendations to modify the programming delivered in the BMU.

     4. The BMU Unit Manager/designee shall provide, via email, a summary of the monthly
        Treatment Team meetings to the LPD at Central Office on the first of each month.

     5. In order to evaluate the operation of the BMU, each Facility Manager/designee shall
        ensure that a BMU Semi-Annual Report (Attachment 12-Q) is completed and
        submitted to the Executive Deputy Secretary, the LPD at Central Office, the effected
        Regional LPM, and the effected EDSI/Regional Deputy Secretary/Inspection Team by
        July 31 (reporting period 1/1 to 6/30) and January 31 (reporting period 7/1 to 12/31) of
        each calendar year. This report shall include, but not be limited to, the following:

          a. the number of inmate receptions by month;

          b. a list of facilities transferring inmates to the unit;

          c. the name and Department number of every inmate transferred to the unit;

          d. the name and Department number of every inmate promoted to Phase 1;

          e. the average length of an inmate’s stay in all Phases (5, 4, 3, 2 and 1);

          f. the name and Department number of every inmate released from the unit (i.e.,
             including BMU graduates) and the location where he/she was transferred;


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          g. the name and Department number of every inmate with Sentence Complete expiring
             while in the unit;

          h. the name and Department number of every inmate moved to Accountability Status
             and Post BMU;

          i.   the number of grievances filed by inmates in the unit;

          j.   the number of misconducts issued to inmates in the unit;

          k. the number of BMU inmates at the beginning and end of the reporting period;

          l.   any recommendations to facilitate the operation of the unit; and

          m. any concerns regarding the operation of the unit.




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Section 13 – Special Needs Unit (SNU)

Section 13 – Special Needs Unit (SNU)

A. Facility Responsibilities

      1. Facilities shall operate a Special Needs Unit (SNU) in accordance with this section.

      2. At facilities that operate a Residential Treatment Unit (RTU), the SNU shall be
         located on a separate housing unit when feasible.

      3. If it is not operationally feasible to physically separate the distinct “units” (i.e., if
         the RTU and the SNU are located on the same housing unit), the following shall
         apply:

          a. in general, an SNU inmate shall not occupy space on the housing unit at the
             expense of an inmate who is in need of RTU placement;

          b. an inmate who is determined to need RTU placement shall not wait to be placed
             in an RTU because bed space is taken by an SNU inmate; and

          c. staff making housing unit and bed assignments shall consider any
             vulnerabilities that may exist in order to ensure appropriate placement of all
             inmates.

B. Admission Guidelines and Process for Transfer

      1. The SNU is for an inmate with physical, mental, emotional or other vulnerabilities, which
         may make it difficult for him/her to adjust in general population. Any adult inmate, age
         18 or older, custody level (except custody level 5), program code, and sentence
         structure is eligible. The following factors are among those that can be considered to
         determine appropriate placement:1

          a. A, B, C, and D Roster inmates (“functional Cs or Ds” or mental health cases not
             more appropriately placed in a RTU and active mental health cases who have
             vulnerabilities not related to mental illness);

          b. physical disabilities or illness;

          c. sensory impairment;

          d. intellectual disability;

          e. age-related vulnerability; and/or

          f. other relevant risk factors or vulnerabilities.


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          NOTE: Functionally impaired “C” and “D” Roster inmates should be considered for
          housing on a RTU, not a SNU. A SNU is no longer considered appropriate housing
          for inmates who are mentally ill and are functionally impaired.

      2. Referrals

          a. Referrals of inmates who are identified as “C” and “D” Roster (and as further
             defined in Subsection B.1.a. above) from within the facility may be made by the Unit
             Management Team, medical or psychology staff, Program Review Committee (PRC),
             or any other staff member who perceives an inmate as having adjustment difficulties
             due to a limitation.2

               (1)    The referral shall be made to the Psychiatric Review Team (PRT), through the
                      Licensed Psychology Manager (LPM), who shall screen and evaluate the
                      referred inmate.3

                      NOTE: The referring Unit Management Team as well as the SNU Unit
                      Management Team shall be present for the review.

               (2)    Following the evaluation, the referring Counselor participating on the PRT
                      during the screening/evaluation shall prepare a DC-46, Vote Sheet
                      recommending for or against SNU placement. The referring Unit
                      Management Team shall consult with the SNU Unit Management Team
                      when preparing the DC-46. The DC-46 must contain information for
                      consideration regarding how or if the inmate is expected to benefit from
                      the SNU placement.

               (3)    The recommendation shall be forwarded for administrative staff review and
                      action through the Major for Unit Management, the Corrections
                      Classification and Program Manager (CCPM), the Deputy Superintendent
                      for Centralized Services (DSCS), and the Deputy Superintendent for Facility
                      Management (DSFM). The Facility Manager must review any split votes
                      regarding SNU program admission or rejection.

          b. Referrals of non-mental health cases (refer to Subsections B.1.b.-f. above) may
             be made by the Unit Management Team, medical or psychology staff, PRC, or
             any other staff member who perceives an inmate as having potential
             adjustment difficulties due to a limitation.

               (1)    The referral shall be made to the assigned Counselor for Unit Management
                      Team consideration.

               (2)    The Unit Management Team shall screen and evaluate the referred inmate.


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               (3)    If deemed an appropriate referral, the case shall be forwarded to the SNU
                      Unit Management Team for screening.

               (4)    After consulting with the SNU Unit Management Team, the referring
                      Counselor shall then prepare a DC-46 recommending for or against SNU
                      placement. The referring Unit Management Team shall work closely with
                      the SNU Unit Management Team when preparing the DC-46. The DC-46
                      must contain information for consideration regarding how or if the inmate
                      is expected to benefit from the SNU placement.

               (5)    The recommendation shall be forwarded for administrative staff review and
                      action through the Major for Unit Management, the CCPM, the DSCS, and
                      the DSFM. The Facility Manager must review any split votes regarding SNU
                      program admission or rejection.

          c. New receptions and others may be placed immediately, but temporarily, on the
             SNU by a Unit Manager or higher-ranking staff member (e.g., Shift
             Commander/Captain, in the absence of other administrative staff) pending
             review by the SNU Unit Management Team. The review shall be completed on
             the next business day.

               (1)    The Counselor participating in the SNU Unit Management Team review
                      shall prepare a DC-46 recommending for or against SNU placement. The
                      DC-46 must contain information for consideration regarding how or if the
                      inmate is expected to benefit from the SNU placement.

               (2)    The recommendation shall be forwarded for administrative staff review and
                      action through the Major for Unit Management, the CCPM, the DSCS, and
                      the DSFM. The Facility Manager must review any split votes regarding SNU
                      program admission or rejection.

               (3)    If the case is determined to be inappropriate for continued SNU placement,
                      the inmate shall be discharged to another general population housing unit.

          d. Staff shall make detailed and appropriate ICAR entries in order to document the
             status of the referral.

     3. A referral from a facility where there is no SNU, from a facility that has an inmate whose
        special needs it cannot accommodate, or where a separation is required, may be
        considered. The inmate will be placed and reviewed in accordance with Subsection
        B.2. above. Transfer requests shall be made via the transfer petition process as outlined
        in Department policy 11.1.1, “Population Management.”

     4. In cases where an inmate has been approved for SNU placement and space is not
        available, the facility must augment their current SNU bed capacity (i.e., designate
        additional appropriate housing space) to meet the demands of the population
        needs.
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      5. Every attempt shall be made to place any inmate who needs SNU housing into a suitable
         unit within 30 days of the initial evaluation.4

      6. In those cases where an inmate is seriously disruptive within the unit, the SNU Unit
         Management Team shall determine the appropriate housing.5

C. SNU Cell Assignment

      1. SNU inmates shall be single or double-celled (double-celling shall be considered
         the standard) in accordance with Department policy 11.2.1, “Reception and
         Classification,” Section 5, Single Celling and Double Celling Housing.

      2. The Involuntary Double-Celling Checklist (refer to Section 5, Attachment 5-A) shall
         be used prior to involuntary double celling an SNU inmate. Any “yes” response in
         the Staff Review section of the Checklist stops the process, pending review by the
         Unit Manager.

      3. Involuntary SNU double-celling which occurs after normal working hours is
         prohibited except in the event of extenuating circumstances, and only with
         authorization from the Shift Commander.

      4. All SNU beds shall be appropriately filled. Examples of other populations that can
         be housed on the unit without causing negative consequences to the SNU
         population are peer assistants, Certified Peer Support Specialists, etc.

D. Staffing

      The staffing of SNUs shall be in accordance with established guidelines for staffing
      general population housing units (i.e. SNUs will be staffed no differently than other
      comparable general population housing units).

E. SNU Yard and Activities

      1. A SNU shall have a separate yard, or yard period, as is operationally feasible.

      2. Each facility that operates a SNU shall have an On-Unit Activities Schedule
         appropriate for the population (refer to Attachment 13-A for a sample schedule).

F. Discharge and Transfer Procedures

      1. An inmate shall be considered for discharge by the SNU Unit Management Team when
         he/she no longer needs the security or support provided by the unit, and/or when there is


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          a need to prioritize others for SNU placement. This process is also to be used when
          alternate housing may be appropriate for a seriously disruptive inmate.

     2. The recommendation for discharge of the inmate to general population or to other
        housing shall be done via a DC-46 by the SNU Unit Management Team. Included in the
        body of the DC-46 shall be information that documents the inmate’s adjustment and level
        of functioning, and whether any vulnerabilities continue to exist, and reason(s) for
        discharge. The DC-46 shall be sent through the Major for Unit Management, the CCPM
        and Deputy Superintendents for final action. The Facility Manager must review every split
        vote.

     3. In those cases where the inmate is to be returned to another facility, a transfer petition
        shall be submitted in accordance with Department policy 11.1.1.




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Section 14 – Diversionary Treatment Units (DTU)

Section 14 – Diversionary Treatment Units (DTU)

A. General

     The Department strives to avoid prolonged placement of inmates with a Serious Mental
     Illness (SMI) and/or Intellectual Disability (ID) in Restricted Housing Units (RHU). However,
     due to safety and/or security concerns, an inmate with a SMI or ID may need to be placed in
     a secure housing unit where he/she will continue to receive mental health care
     commensurate with his/her treatment needs. Inmates being considered for placement into
     the DTU will not meet commitment criteria according to the Pennsylvania Mental Health
     Procedures Act.

B. Admission Criteria

     Admission criteria shall include the following:

     1. a diagnosis of a SMI/ID (i.e. D Roster) as defined in the Definition of a SMI/ID Outline
        (refer to Section 10 of this procedures manual);

     2. the inmate currently presents safety and/or security needs that cannot be accommodated
        by a less restrictive housing unit operated by the Department;

     3. general population Residential Treatment Unit (RTU) participants who are in
        Administrative Custody (AC) or Disciplinary Custody (DC) may be considered for
        placement in the DTU by the Program Review Committee (PRC) with the
        recommendation of the Psychiatric Review Team (PRT);

     4. a discharge from the Mental Health Unit (MHU) may be considered for placement in the
        DTU with recommendation from the MHU and the treating PRT;

     5. a Psychiatric Observation Cell (POC) discharge may be considered for placement in the
        DTU with the recommendation of PRT and approval by PRC;

     6. an unsentenced county inmate (5B transfer) may be placed in the DTU if clinical
        judgment indicates it as an appropriate placement; and

     7. any inmate being placed in restricted housing who is under the age of 18, at the State
        Correctional Institution (SCI) Pine Grove, SCI Muncy, or any other facility shall be offered
        all the procedures and provisions as listed in Subsection C. below.

C. General Procedures and Provisions

     1. Each facility that houses SMI/ID inmates shall make provisions to designate secure pods
        to function as a DTU. In the absence of bed capacity to dedicate a full pod/unit to a DTU,
        the facility shall designate a range of cells to function as the DTU. These units shall be
        painted brightly with murals including recovery-based language and focus on the mental
        health treatment of those confined there. There should be sufficient out-of-cell (OOC)
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          space for inmates to receive treatment in individual or congregated settings depending on
          the mental health and security needs displayed. These cells shall be designated as
          “DTU” cells in the bed management system.

     2. If an exceptional circumstance exists preventing a D Roster inmate from being housed on
        the DTU (e.g., separation, bed space, etc.) he/she shall receive all DTU services, as per
        Department policy DC-ADM 801, “Inmate Discipline,” Section 4, Disposition of
        Charges and Misconduct Sanctions. He/she shall be moved to the DTU within 13
        days, as per Department policy DC-ADM 801, Section 4. If circumstances prohibit the
        inmate from being moved into a DTU within the 13 day time period, notifications will be
        made to the Executive Deputy Secretary, Regional Deputy Secretary, Office of
        Population Management (OPM), Office of Psychology, and the Office of Chief Counsel.

     3. All DTU inmates will be scheduled and offered a minimum of 20 hours OOC activity
        weekly. Ten of these hours are structured (e.g., run by appropriately credentialed staff)
        and ten of these hours will be unstructured (e.g., yard/exercise, contact with peer
        specialists, etc.). These OOC offerings commence the first day an inmate is placed in the
        DTU. All disciplines (e.g., psychology staff, psychiatric providers, counselors, treatment
        specialists, education, chaplaincy, drug and alcohol treatment specialists, medical staff,
        activities staff, social workers, therapeutic activities services workers) and departments
        are expected to offer services to the inmates in the DTU to achieve the minimum offering
        of OOC activity. Individual Recovery Plan (IRP) goals established collaboratively with the
        PRT and inmate shall drive structured OOC programming offerings on the unit.

          The number of structured OOC hours or portions of an hour of programming that the
          inmate participates in will be logged by the staff member who provides the structured
          OOC contact. The staff member will log the completed time on the DTU
          Accepted/Refused Structured Out-of-Cell Program Log (Attachment 14-A). The
          number of unstructured OOC hours or portions of an hour of programming that the
          inmate participates in will be logged by a Corrections Officer (CO) assigned to the unit.
          The CO will log the completed time on the DTU Accepted/Refused Unstructured Out-
          of-Cell Program Log (Attachment 14-B). The cumulative offering, acceptance, and
          refusal shall be entered into the Inmate Cumulative Adjustment Record (ICAR) on a
          weekly basis by a designated Corrections Counselor for each inmate and shall cover the
          reporting period from Monday to Sunday.

     4. DTU inmates will be handcuffed in the front using a security belt with two COs
        escorting. Tethers and leg shackles are optional and only used with inmates
        whose demonstrated behavior warrants their use.

     5. Weekly, the DTU Counselor will compile the total hours of programming for each inmate,
        document the total in the ICAR, and report the data on the weekly
        Structured/Unstructured Out-of-Cell Program Report (Attachment 14-C). Completed
        logs will be forwarded to the DTU Unit Manager for filing. The weekly
        Structured/Unstructured Out-of-Cell Program Report will be forwarded to the Chief of
        Psychological Services and the respective Regional Licensed Psychology Manager
        (RLPM).
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     6. The DTU treatment team is aware that from time to time participation in programming
        may be difficult for some individuals. They may exhibit a lack of meaningful participation
        in the milieu offered. It is the goal of the DTU that all participants receive the maximum
        benefit from treatment. Therefore, the DTU treatment team will closely monitor program
        participation. Each month, every participant's IRP and OOC participation will be reviewed
        by the treatment team. Should an individual's participation in OOC offerings fall below
        60% of the minimum 20 hours programming, the facility's Licensed Psychology Manager
        (LPM)/designee will lead the treatment team in collaborating with the individual to discuss
        goals/objectives/barriers to OOC participation. Part of that review will include a
        discussion of the programming offered in order to ensure that it addresses the individual's
        expressed needs. In addition, as a part of the treatment team, the Psychiatric provider
        will review the individual's medication and ensure there are no medication side effects
        which may be hindering program participation. The Psychiatric provider will also assess
        the individual for possible in patient treatment if clinically indicated. The facility's
        LPM/designee will forward the updated IRP for review to the facility's RLPM and the Chief
        of Psychology at Central Office. The facility’s LPM/designee may coordinate a
        videoconference with their treatment team, their respective RLPM, and the Mental Health
        Advocate at Central Office, to discuss and review the Recovery Plan changes
        recommended by the facility's LPM/designee and their treatment team if needed.

     7. Each DTU unit team, in conjunction with PRT and PRC, will introduce an incentive
        system to encourage prosocial behavior and participation in OOC offerings.

     8. The programming day is not considered to be Monday through Friday during daylight
        hours. Activities shall be scheduled during evenings and on weekends to achieve the
        minimum of 20 hours OOC per week offering.

     9. All inmates in the DTU will be offered two hours of exercise per day, at least five days per
        week and shall be permitted to shower daily and shave three days per week.

   10. Inmates housed in the DTU will be issued royal blue hobby jeans and a royal blue shirt
       with DOC printed in large block letters on the back. They will be provided appropriate
       footwear. Outerwear for exercise shall be provided as needed.

   11. The PRC shall review each inmate in the DTU weekly in conjunction with the
       LPM/designee. This OOC contact shall be offered in a private, confidential area. This
       contact shall be documented in the ICAR and on a DC-560, Mental Health Contact
       Note filed in the medical record. The DC-560 must assess continued appropriateness for
       DTU placement and likelihood of suicidality to include risk and protective factors. The
       LPM/designee must make a recommendation to PRC regarding removal from the DTU at
       every PRC meeting. The LPM/designee can also report to PRC on the inmate’s
       adherence to medication regime.

   12. If an inmate refuses to attend PRC, the committee will go to the inmate’s cell.

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   13. During the first PRC review, an orientation to the unit will explain the purpose,
       expectations, etc., of the DTU. During this first review, an administrative review will be
       conducted to determine if the inmate should be removed from the DTU or if exceptional
       circumstances exist allowing PRC to continue to hold the inmate in the DTU. Exceptional
       circumstances include:

          a. release would pose a substantial risk to the safety of the inmate or others;

          b. placement in a general population RTU would pose a substantial threat to the security
             of the facility; or

          c. the PRC, in concert with the PRT, determines DTU confinement is in the inmate’s
             best interest based on his/her mental condition and that removing the inmate and
             placing him/her in a general population RTU or Secure Residential Treatment Unit
             (SRTU) would be detrimental to his/her mental condition.

   14. Any D Roster inmate who cannot be released to general population from the DTU within
       30 days of being in AC status after completion of DC Status, will have his/her name, case
       synopsis, updated IRP and a plan for release forwarded to the appropriate Regional
       Deputy Secretary and the Licensed Psychologist Director for the Office of Psychology.
       These cases will then be reviewed by the Central Office Special Needs Psychiatric
       Review Team (COSNPRT).

   15. If a D Roster inmate is deemed to meet the criteria in Subsection C.13.a. & b. above,
       PRC, in conjunction with PRT, will consider initiating a referral to a SRTU if warranted
       and appropriate.

   16. Psychology staff will create an IRP in collaboration with the inmate, to present at the first
       PRC meeting. This plan shall address the behaviors that brought the inmate to the DTU.
       A discussion shall be conducted in regard to the behaviors, including participating in
       OOC programming without being disruptive, the inmate has to demonstrate to earn early
       release from the DTU and earn privileges. The goals of this IRP drive the clinical
       structured OOC offerings on the unit, e.g. if an inmate’s goal is to control anger, then they
       shall be in an anger management group, or if an inmate wants to address managing
       anxiety related to trauma, they shall be in a seeking safety group.

   17. IRPs are to be completed every 30 days after the initial change of status IRP, unless
       there is a sentinel event (e.g., POC placement, serious suicide attempt, self-injurious
       behavior, etc.) which requires the IRP to be updated sooner. An IRP will also be
       completed when an inmate is released from the DTU back to general population.

   18. PRT shall convene monthly to review IRP progress. The inmate will be invited to attend
       this structured OOC programming in a private area ensuring confidentiality. Psychology
       staff shall document the meeting in the ICAR. PRT shall review IRPs collectively and
       determine what groups shall be offered on the unit and also review overall participation
       rates to determine if the groups being offered are effective in regard to attendance by the

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          inmates. If an inmate refuses to attend PRT, they will be seen cell side and encouraged
          to attend OOC PRTs.

   19. A member of the psychology staff shall be assigned to the DTU and offer a weekly OOC
       individual contact with each inmate. The offering of this contact and its acceptance shall
       be documented on the ICAR and on the DC-560. In the event that the inmate is offered
       and refuses OOC contact and it occurs at the cell door, this should be documented in
       addition to its impact on confidentiality. Psychology shall have a current copy of the IRP
       during all psychology contacts.

   20. Psychology staff shall make rounds daily on the DTU, Monday through Friday excluding
       weekends and holidays. Each inmate will be spoken to every day. The inmate can be
       removed from his/her cell for OOC contact if it is required in the clinical opinion of the
       Psychological Services Associate (PSA)/Psychological Services Specialist (PSS). An
       inmate may request OOC contact and psychology staff, in conjunction with the unit team,
       will decide if it is warranted. If OOC contact is denied upon request, a reason will be
       entered on the DC-17X, Adjustment Record for Security Level 5 Inmates, and on the
       ICAR. Rounds do not have to be documented in the ICAR with a DC-560 to the medical
       record, but rather are documented in the unit log book. The ICAR and the DC-560 are
       required documentation for meaningful contacts but not for rounds. Meaningful contacts
       should include but are not limited to OOC contacts, cell-side contacts following refused
       OOC offering, contacts indicating clinically indicated need for OOC contact, or contacts
       that precipitate non-emergent and/or emergent referrals to psychiatry.

   21. The assigned Counselor shall see every inmate weekly. Each inmate’s Unit Management
       Team will review his/her case weekly. The Counselor’s weekly interview and the Unit
       Management Team’s weekly review are to be documented in the ICAR. The Unit
       Management Team shall forward a recommendation to the PRC for early release, if
       appropriate.

   22. Certified Peer Specialists (CPS) are expected to provide supportive services on the DTU.
       Only those CPS services offered OOC may be counted towards unstructured OOC
       offerings.

   23. Basic issue items shall be provided in accordance with Department policy, 6.5.1,
       “Administration of Security Level 5 Housing Units” Section 1. Three pairs of
       personal undergarments are permitted.

   24. Inmates in the DTU are prohibited from using, purchasing, or possessing tobacco
       products while confined in the DTU. Commissary purchases are limited to approved
       items from the AC commissary catalogue. Outside purchases are prohibited.

   25. Inmates in the DTU shall have privileges determined by PRC with input from PRT
       including radio, television, telephone calls, and commissary purchases. Privileges,
       especially the possession of certain property, should be provided unless circumstances
       or behavior dictate otherwise. The default presumption should not be that privileges or
       possessions are contraindicated.
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   26. DTU inmates shall be provided access to the facility law library and may request other
       law library books by requesting legal materials and/or by using the mini law library in
       accordance with Department policy DC-ADM 007, “Access to Provided Legal
       Services.”

   27. DTU inmates are permitted to maintain the equivalent of one records center box of any
       combination of personal property in his/her cell. Additional boxes of legal materials may
       be granted for open and active cases through the Corrections Superintendent’s Assistant
       (CSA).

   28. In case of a verified emergency, the Unit Manager or a Commissioned Officer may
       approve a telephone call. Every approved emergency telephone call shall be logged in
       the DTU Log Book and in the inmate’s DC-17X.

   29. Visits initially are limited to one non-contact visit per month, which may be limited to
       weekdays only, with immediate family. Legal visits shall be permitted. The inmate may be
       permitted one non-contact visit per month with his/her religious advisor, as per
       Department policy DC-ADM 812, “Inmate Visiting Privileges.” However, visits can be
       increased in frequency or considered on weekends by PRC with input from PRT
       depending on non-disruptive OOC participation and demonstrated appropriate behavior
       and progress toward the IRP.

   30. If a determination is made that the DTU is not the least restrictive environment for an
       inmate due to his/her being a threat in the DTU or a less secure environment, a SRTU or
       Behavior Management Unit (BMU) referral may be made. When an inmate is being
       recommended for a transfer to the SRTU or BMU, the PRC with input from PRT shall
       review the recommendation and inform the inmate of the reasons for proposed
       recommendation. The inmate shall be given the opportunity to respond to the rationale
       given and object to the inmate placement in the SRTU/BMU if he/she so desires. The
       recommendation shall be documented on the DC-141, Part 4, Facility Manager’s
       Review with a copy to the inmate. The inmate may appeal the recommendation for
       SRTU or BMU to the Facility Manager and to the Chief Hearing Examiner’s Office at
       Central Office.

   31. Any inmate assigned to the DTU who goes to another facility on WRIT/Authorized
       Temporary Absence (ATA) will continue to be offered everything outlined in this
       procedures manual.

   32. When an inmate’s service of consecutive DC in the DTU is interrupted, for example the
       inmate goes out on WRIT/ATA to a county facility, or non-Department facility, his/her
       remaining DC imposed time is tolled during the ATA. At the time of the inmate’s return
       from ATA, the receiving facility shall determine if, and to what extent, the inmate’s owed
       DC time should be credited because while ATA, the inmate was housed in a custodial or
       housing arrangement similar to DTU in a Department facility. After credit, if any is
       awarded, any remaining Department DC time shall be served until completed. The PRC
       shall be responsible to review placement while ATA, determine credit and the inmate’s
       status upon return to the facility.
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D. Staff Training

     All staff selected or assigned to the DTU to provide programming and supervision will be
     required to complete Crisis Intervention Team Training (CITT) within six months of
     placement into the unit. If it is necessary to assign a staff member to the DTU who has not
     completed this training, the facility shall, within two weeks, advise the CITT Program
     Coordinator. The facility’s Training Coordinator shall also communicate such training needs
     to the CITT Program Coordinator to ensure that sufficient training is conducted to meet the
     needs of the facility. CO Trainees (COTs) will not be assigned to the DTU.

E. Unit Operation Evaluation

     1. Every Monday, the DTU Unit Manager/designee will provide, via email, the Licensed
        Psychologist Director at Central Office and the respective RLPM with an updated roster
        to include DTU inmates on MH commitment, WRIT, etc., using the
        Structured/Unstructured Out-of-Cell Program Report. This roster shall include date
        admitted to the DTU.

     2. Every Monday, the DTU Unit Manager/designee will submit, via email, to the Licensed
        Psychologist Director at Central Office and the respective RLPM, the log sheet of OOC
        hours on the DTU Accepted/Refused Structured Out-of-Cell Program Log and the
        DTU Accepted/Refused Unstructured Out-of-Cell Program Log.

     3. The DTU Unit Manager/designee shall provide, via email, a summary of the monthly
        PRTs to the Licensed Psychologist Director at Central Office and the respective RLPM
        on the first of each month.

     4. In order to evaluate the operation of the DTU, each Facility Manager/designee shall
        ensure that a DTU Semi-Annual Report (Attachment 14-D) is completed and submitted
        to the Executive Deputy Secretary, appropriate Regional Deputy Secretary, Licensed
        Psychologist Director at Central Office, and the RLPM by July 31 (reporting period 1/1 to
        6/30) and January 31 (reporting period 7/1 to 12/31) of each calendar year. Only facilities
        that operate DTUs are required to complete this report. This report shall include, but not
        be limited to, the following:

          a. the number of inmate receptions by month;

          b. the amount of DC time reductions per inmate (names and numbers) who have
             received time cuts;

          c. unit classifications transferring inmates to the unit and the number of inmates
             transferred to the DTU from those units (e.g., three for General Population, two from
             the RTU, and one from the POC);

          d. the name and Department number of every inmate transferred to the unit;


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          e. the average length of an inmate’s stay in the DTU;

          f. the name and Department number of every inmate released from the unit and the
             location where he/she was transferred;

          g. the name and Department number of every inmate with Sentence Complete (SC)
             expiring while in the unit;

          h. the number of grievances filed by inmates in the unit;

          i. the number of misconducts issued to inmates in the unit;

          j. the number of DTU inmates at the beginning and end of the reporting period;

          k. any recommendations to facilitate the operation of the unit; and

          l.   any concerns regarding the operation of the unit.




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Section 15 – Certified Peer Specialist (CPS) Initiative

Section 15 – Certified Peer Specialist (CPS) Initiative

A. General Considerations

     1. The purpose of the Certified Peer Specialist (CPS) initiative is to train select individuals
        from the inmate population to serve as CPSs.

     2. The certification process will afford all successful participants the opportunity to become
        a recognized CPS by the Pennsylvania Department of Human Services (DHS) and the
        Pennsylvania State Civil Service Commission (SCSC). Certification will provide the
        potential for employment in a peer support setting after release from a state correctional
        facility.

     3. The CPS employment wage is .51 cents per hour. The work day can be between six to
        eight hours, dependent upon the needs of the facility. A CPS can be employed full or part
        time and does not have to give up his/her existing employment to work as a CPS.
        However, he/she must provide CPS services a minimum of 10-15 hours per week in
        order to maintain his/her CPS position.

     4. CPS training will provide selected candidates with the skills required to act as
        mentors/role models for other inmates in specialized units and other places within a state
        correctional facility, such as:

          a. visiting rooms;

          b. Residential Treatment Units (RTUs);

          c. Special Needs Units (SNUs);

          d. Secure Residential Treatment Units (SRTUs);

          e. Therapeutic Communities (Alcohol and Other Drug [AOD] TC);

          f. Restricted Housing Units (RHUs);

          g. Diversionary Treatment Units (DTUs);

          h. Behavior Management Unit (BMU);

          i.   Psychiatric Observation Cells (POCs);

          j. General Population housing units;

          k. Diagnostic and Classification;

          l.   library;

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          m. Transitional Housing Units/Reentry Service Offices (THUs/RSOs);

          n. infirmary (to include the oncology and hospice wards);

          o. chapel;

          p. med lines;

          q. education center;

          r. commissary;

          s. dietary section;

          t. Veteran Service Units (VSUs);

          u. recovery units;

          v. Mental Health Units (MHUs);

          w. Capital Case Unit; and

          x. Forensic Treatment Center (FTC).

     5. A CPS can be utilized to augment staff’s efforts to effectively support inmates with
        mental health or emotional concerns thus enhancing their own recovery and wellness.
        In addition to promoting recovery skills, such as personal wellness and positive
        coping skills, a CPS can:

          a. utilize his or her first-hand knowledge about mental health recovery to help his/her
             peers in their recovery;

          b. demonstrate recovery in a way that inspires his/her peers and helps them to see their
             own potential for recovery;

          c. assist his/her peers with the identification of their short and long-term goals and to
             subdivide those goals into manageable steps;

          d. provide his/her peers with an opportunity to evaluate the choices and decisions that
             they make/have made;

          e. demonstrate the value of self-determination and personal responsibility;

          f. assist in establishing/maintaining a recovery environment within the facility setting that
             empowers others to succeed in accomplishing goals, reconnecting to themselves,
             reconnecting with others, and having purpose in life;

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          g. demonstrate the power of resilience;

          h. assist assigned inmates in understanding the grievance process; and

          i. assist his/her peers with shifting their focus from symptom management to
             recognizing and developing their wellness, their accomplishments, and their abilities.

     6. CPSs are trained in the Copeland Center’s Wellness Recovery Action Plan
        (WRAP©) Seminar I and should introduce WRAP© to those they support as a CPS.
        WRAP© is an evidenced based wellness practice to assist a person in his/her daily
        wellness and to prevent a crisis. When assisting an individual who chooses to
        develop a WRAP©, notebook paper, outlining the sections of a WRAP© may be
        used.

     7. In addition to providing individual services, a CPS may also facilitate workshops and
        didactic groups. The workshops provided by a CPS shall be periodically monitored by a
        member of the Unit Management Team and/or the Psychology Department.

     8. CPSs selected by the CPS Committee may act as mentors to newly certified CPSs,
        CPSs who are on suspension or probationary status, and CPSs who are
        experiencing difficulty in their CPS capacity. Identification of mentors/mentees
        should be coordinated by a CPS Committee designee. CPSs serving as mentors
        must limit this role to CPS-related activity.

     9. The Unit Manager will post a notice of CPS facilitated workshop/group schedules on the
        bulletin board in his/her housing unit. An inmate interested in attending these sessions
        will submit a DC-135A, Inmate’s Request to Staff Member in order to be scheduled for
        attendance.

   10. In addition to providing peer support, a CPS may be asked to address specific
       concerns assigned by his/her supervisor(s). The Licensed Psychology Manager
       (LPM), CPS Supervisor(s), or Unit Manager will be available to the CPS for consultation
       and assistance as needed.

   11. Each facility shall develop an identification (ID) badge that acknowledges the inmate is a
       CPS. This ID badge shall be worn/carried along with the inmate ID at all times while
       performing CPS services. The recommended badge is the cell door card and will
       state that the inmate is a CPS, work assignments, and will be signed by the Deputy
       Superintendent for Centralized Services (DSCS)/designee.

   12. Photos of CPSs shall be placed in the control center on the housing unit so staff
       are aware of which CPSs are assigned to a particular unit.

   13. Photos of CPSs shall be placed on the unit so that residents of the unit are aware
       of who the CPS is for that particular unit.


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B. Certified Peer Specialist (CPS) Candidate Selection

     1. A candidate shall be selected via a DC-46, Vote Sheet process. To be considered for
        selection as a CPS candidate, he/she must meet specific criteria:

          a. must be a custody level two or three;

          b. must be misconduct free for a minimum of one year (misconducts will be reviewed
             by the CPS Committee);

          c. have no misconducts for assaultive behavior in the last two years;

          d. have no history of substantiated allegations of institutional sexual abuse or
             sexual harassment; and not found to be at high-risk of being sexually abusive
             via the Department’s risk screening pursuant to Prison Rape Elimination Act
             (PREA) standard §115.41. PREA standard §115.42 requires that information
             from the risk screening process inform housing, bed, work, education, and
             programming assignments with the goal of keeping separate inmates at high
             risk of being sexually victimized from those at high risk of being sexually
             abusive. Any individual identified at high risk of being sexually abusive through
             the most recent risk screening score shall disqualify an individual from serving
             as a CPS;

          e. a history of mental health treatment/services while incarcerated and/or in the
             community. B Roster candidates may be considered only if a mental health
             diagnosis during incarceration or while in the community has been validated.
             Steps to obtain community information is required prior to selecting a
             candidate identified as B Roster stability; it is the inmate’s responsibility to
             obtain this information and present it to the CPS Supervisor;

          f. program compliancy. If a candidate has refused to participate in programming,
             he/she is ineligible;

          g. recommended by the LPM and/or Psychiatric Review Team (PRT);

          h. if the candidate is on the AOD TC waiting list, his/her potential start date for AOD TC
             may not begin before the conclusion of his/her CPS training and he/she must be
             permitted to provide CPS services while in the TC;

          i. have more than three years remaining on his/her minimum release date, unless
             he/she qualifies under the Long-Term Offender (LTO)/lifer criteria listed below;

          j. have a high school diploma or General Education Diploma (GED);

          k. if the candidate is a LTO/lifer with positive adjustment records, he/she may be given
             consideration and the requirement for high school diploma/GED may be waived; and

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          l.   each State Correctional Institutions (SCI) shall determine the number of LTOs,
               but should not have a majority of LTOs as CPSs.

     2. The Facility Manager/designee shall designate the maximum number of LTO/lifers on the
        CPS Roster at his/her facility. D Roster facilities should have a minimum of 30 CPSs.
        Non-D Roster facilities should have a minimum of 20 CPSs.

     3. The CPS complement shall be supervised by staff that are designated by the Facility
        Manager/designee. If a facility determines there is an increased need for additional
        CPSs, a request shall be made to Office of Mental Health Advocate (OMHA)/
        designee.

     4. Staff designated by the Facility Manager/designee will review inmate records to identify
        potential participants in the program.

     5. When a CPS worker is transferred to another SCI, the sending SCI CPS
        supervisory staff should inform the CPS supervisory staff at the receiving SCI of
        any information pertaining to his/her status as a CPS and any other important
        information, including security concerns.

     6. Parole Violators (PVs) returning to an SCI who have a valid CPS certification may
        request employment. The CPS Supervisor(s)/designee shall verify certification of
        the certification and continuing education requirements prior to approving CPS
        employment status. CPS employment for PVs is determined on a case-by-case
        basis; employment as a CPS will not begin until 60 days after a return to an SCI
        and approval from the CPS Committee.

C. Certified Peer Specialist (CPS) Training Program

     1. The CPS Training Program is designed to provide selected inmates with basic
        educational training on the following topics:

          a. mental health recovery;

          b. the philosophy and practice of the power of peer support;

          c. the development of self-esteem and managing self-talk;

          d. community, culture, and environment;

          e. emotional intelligence;

          f. employment as a path to recovery;

          g. substance misuse;

          h. conflict resolution;
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          i.   suicide prevention;

          j.   working with other professionals; and

          k. trauma informed approach to peer support.

     2. Select Department staff who are certified by an approved vendor through the DHS
        Office of Mental Health and Substance Abuse Services will deliver the CPS core
        certification training. All requests for training shall be routed through OMHA/designee at
        Central Office.

     3. A selected candidate may not miss more than six hours of the CPS certification
        training and may only miss six hours if approved by the instructor and/or CPS
        Supervisor(s) prior to the date of the anticipated absence. The CPS candidate must
        make up any missed work under the direction of the CPS training facilitator(s). All
        selected candidates must also participate in classroom activities and must successfully
        complete the mid-term and final exam.

     4. The CPS training instructor has the discretion to disqualify a CPS student if there are
        indications that the student is unable to fulfill the requirements of the course, such as
        classroom exercises, homework assignments, and fidelity to the CPS model.

     5. Any student observed cheating on the exam will be disqualified from the class and
        unable to continue. He/she may apply to be a CPS candidate at a later date, but not
        less than one year of removal from the original class. Approval to be considered for
        future CPS certification training will be determined by designated facility staff.

     6. A candidate who receives the certification and signs the CPS Confidentiality
        Acknowledgement Form (Attachment 15-A) may be utilized as a CPS at an assigned
        facility.

     7. Once certification is completed, all CPSs will sign the CPS Orientation Checklist
        (Attachment 15-B) which will be maintained by the CPS Supervisors.

     8. All CPSs must earn at least 18 continuing education hours per year to maintain
        his/her state certification. Training topics must primarily focus on wellness, life
        skills, boundaries, and other related topics. Code of Ethics and PREA Level 2
        Contractors/Volunteers training is mandatory for all CPSs. In accordance with
        Department policy DC-ADM 008, “PREA” the Contractors/Volunteers PREA
        Training (Attachment 2-G) shall be utilized for this training, which shall be
        documented under the “Other” group of the PREA Training and Understanding
        Verification Form (Attachment 2-F). Weekly or monthly meetings should not be
        counted as education hours.

     9. Continuing education will be facilitated by facility staff, CPSs, or volunteer
        facilitators as approved by the facility staff and will include:

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          a. review of modules from the original certification training annually; and

          b. wellness topics, life skills, and other recovery topics.

   10. CPS Supervisor(s)/designee should be present during continuing education
       workshops as often as possible.

   11. Training facilitated by external facilitators must be supervised at all times by
       facility staff.

   12. A CPS must report for the scheduled workshops/groups during the designated time.

   13. All CPSs completing the annual education requirements will receive a CPS
       Continuing Education Certificate (Attachment 15-C) at the end of the calendar year
       verifying completion of the requirement.

D. Supervisory Staff

     1. All SCIs will convene a CPS Committee which will consist of, but is not limited to
        Unit Management, Psychology, Security, Deputy, Training Sergeant/Lieutenant,
        and Counselor.

     2. All SCIs will have a minimum of two certified CPS Supervisors. CPS Supervisors
        shall:

          a. provide guidance, support, and supervision of CPS workers;
          b. oversee daily operations of the CPS program; and

          c. meet with the CPS Committee quarterly; minutes will be taken of each meeting
             and submitted to OMHA within two weeks of the meeting.

     3. Operation of the CPS program should be facilitated as a committee whose members,
        including treatment and security staff, are united and equal in their decision-making
        authority.

     4. A designated committee member shall function as the primary CPS Coordinator who
        develops all CPS schedules and on call schedules/needs, work assignments, and
        coordinates CPS Committee meetings.

     5. CPS Supervisor(s)/designee will track the 18 required continuing education hours
        on the CPS Training Tracking Form (Attachment 15-D) to include the CPSs name and
        number, his/her CPS state certification number which appears on his/her training
        certificate, the topic of the training, how many hours the session spanned, and the date
        the session was facilitated. Continuing education hours correlate to the calendar year,
        January through December. The CPS Training Tracking Form shall be forwarded to
        OMHA at Central Office each year by December 31.
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     6. The facility CPS Coordinator/designee will provide an informational overview of the
        CPS program, titled “CPS Defined Power Point” (Attachment 15-E) to all staff
        assigned to areas where CPSs are utilized. This overview will include
        familiarization with the roles, responsibilities, and expectations of a CPS to include
        specific training received by a CPS in suicide prevention. Other benefits of the
        program, such as providing support to inmates with mental illness and assistance
        in de-escalating situations, will be addressed during the overview as well as
        identifying the facility CPS Supervisor for staff to contact with any additional
        questions or concerns.

E. General Conduct

     1. When providing one-on-one peer support, a Daily Contact Record Book will be
        maintained by the CPS and will be turned into the CPS Supervisor(s) at the end of the
        week that the peer support takes place. The Daily Contact Record Book will be
        provided to all SCIs from OMHA.

     2. All information shared in peer sessions is to remain confidential except when threats of
        suicide or expressions of intent to harm others are verbalized and/or witnessed, when
        there is a threat to the security of the SCI, and disclosure and/or witnessing of
        sexual abuse or harassment.

     3. The CPS statewide certification includes CPSs as para-professionals who have a “duty
        to warn.” In these circumstances, the CPS shall report such threats and expressions to
        staff immediately. (The CPSs are informed of this duty during their training and confirm
        their agreement to do so by signing the CPS Confidentiality Acknowledgement Form.)

     4. Abuse of position/privileges by a CPS shall be reason for suspension/termination from
        the program.

     5. A CPS may be terminated for a breach of confidentiality.

     6. Every CPS is subject to random urinalysis testing, in accordance with Department policy
        6.3.12, “Drug Interdiction.” If a CPS refuses to random urinalysis, he/she may be
        terminated from CPS employment.

     7. A CPS and the inmates attending such workshops/groups are subject to monitoring at
        any time by Department staff. Staff will provide intervention as needed.

     8. A CPS may be suspended or placed on probationary status at the discretion of the
        CPS Committee or subject to termination if he/she receives any Class 1 misconduct
        (assault, fighting, sexual misconduct, possession of drugs) and/or is a threat to the
        security of the SCI.

     9. Termination of CPS employment will result in the inmate being rendered ineligible for
        rehire as a CPS and training opportunities related to maintaining CPS certification.

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   10. A CPS may receive a Letter of Recommendation (Attachment 15-F) from the multi-
       disciplinary team and/or the immediate supervisor for use upon release for employment
       purposes.

F. CPS Guidelines for Level 5 Housing

     1. When assigning a CPS to the RHU, DTU, or SRTU, a CPS should be informed of the
        assignment and that he/she will be required to be strip searched upon entering the
        unit and at any time there is a security or safety concern. If a CPS refuses to follow
        this procedure, he/she is ineligible to work on these units and may be subject to
        CPS status review.

     2. CPSs who work on a level 5 housing unit should be rotated periodically. Rotation
        should be determined by the CPS Supervisor(s)/designee.

     3. CPSs shall provide services on the RHU/DTU during all three shifts daily and shall
        be informed of new receptions so they can conduct a check in with the new
        reception. It is a priority to have a CPS on second and third shifts.
          a. A CPS shall provide services on the RHU/DTU throughout the 6:00 AM-2:00 PM
             shift.
          b. A CPS shall make rounds during the 2:00 PM-10:00 PM and 10:00 PM-6:00 AM
             shift and visit each person who has arrived within the last seven days as soon
             as possible. The CPS should make contact with every individual regardless if
             there has been indication of suicidal ideation or not. It is not the expectation
             that a CPS be assigned for the duration of second and third shifts.

     4. CPSs shall be on call to provide services to inmates in a level 5 unit.

     5. CPSs will be visually supervised by level 5 staff at all times.

     6. CPSs will not give or receive any item to/from an inmate without staff permission.

G. CPS Guidelines for Psychiatric Observation Cells (POCs)

     1. CPSs shall provide services in the POC area during all three shifts daily and shall
        be informed of new receptions so they can conduct a check in with the new
        reception. It is a priority to have a CPS on second and third shifts.

     2. A CPS shall provide services in the POC area throughout the 6:00 AM-2:00 PM
        shift.

     3. A CPS shall make rounds during the 2:00 PM-10:00 PM and 10:00 PM-6:00 AM shift
        and visit each person who has arrived as soon as possible. It is not the
        expectation that a CPS be assigned for the duration of shifts.

     4. CPSs shall be on call to provide services to inmates in a POC.
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     5. CPSs shall be visually supervised by staff at all times.

     6. CPSs shall not give or receive any item to/from an inmate.




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Acute Dynamic Risk Factor - A risk factor that may change rapidly and/or have a stronger
temporal association with re-offending (negative mood, intoxication).

Adjusted Actuarial Approach – A risk assessment strategy, involving initially the use of an
actuarial tool to determine a baseline level of static risk, proceeding with adjustment based upon
the number and intensity of dynamic risk factors (criminogenic needs) present for an individual
inmate.

Chief Psychologist’s Office – Refers to the office of Chief of Psychological Services, which
provides professional supervision to the Psychology Departments in the state correctional
facilities. The Chief Psychologist’s Office is responsible for tracking the transfers of inmates with
mental illness.

Comprehensive Assessment Plan – A plan that provides for extensive assessments of the
inmate. It identifies an inmate’s strengths, needs and reason(s) for admission to the unit. It also
identifies inmate and staff responsibilities in the assessment process.

Corrections Classification and Program Manager (CCPM) – Responsible for planning,
organizing, and directing a broad program of classification, treatment, and program activities for
inmates in a correctional facility.

Corrections Health Care Administrator (CHCA) – The on-site administrator responsible for
monitoring on-site contractual compliance and/or directing the daily operations of the Medical
Department at the facility and providing supervision and direction to Department medical
personnel.

Court-Ordered Involuntary treatment or 304 Commitment – Refers to long-term treatment
for (a) individuals who are determined to be a danger to self or others or (b) persons who are
already subject to involuntary treatment.

Department – The Pennsylvania Department of Corrections.

Department of Public Welfare (DPW) Forensic Mental Health Units – Refers to the forensic
mental health units operated by the Office of Mental Health and Substance Abuse Services
(OMHSAS), Department of Welfare. These units are located at Norristown State Hospital,
Mayview State Hospital, and Warren State Hospital.

Department Regional Mental Health Units (MHUs) – Refers to forensic mental health units
that are housed within Department facilities and are approved annually by the Office of Mental
Health (OMH) in the Department of Public Welfare. The operation of the MHUs is guided by the
Regulations for Inpatient Forensic Psychiatric Programs, Chapter 5320 of the Title 55, published
by the Office of Mental Health.

Deputy Superintendent for Centralized Services (DSCS) – The facility staff member
responsible for coordinating efforts between facility and the Medical Department. As the Facility
Manager’s representative, he/she has joint responsibility with the Bureau of Health Care
Services to address those issues outlined in this policy.

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Deputy Superintendent for Facility Management (DSFM) – A management level employee
directly responsible for the uniformed corrections officers, Unit Management (housing),
counseling services, facility maintenance, facility safety, and the facility Security Office.

Diagnostic and Classification Center/Facility (DCC) – A correctional facility, which assesses
custody, security levels, programmatic and special needs, of inmates who are newly received
into the Department, returned as parole violators, or temporarily transferred for presentence
assessment.

Diagnostic and Classification Center/Facility Initial Orientation Group – These groups are
provided to help orient new commitments to the programs and services available at housing
facilities, and offer information on how to access these programs and services.

Diagnostic and Classification Center/Facility Mental Health Staff – The counseling,
substance abuse, psychological and psychiatric staff that provides mental health services to
inmates in reception status.

Diagnostic and Classification Center/Facility Staff – All staff in the Diagnostic and
Classification Center/Facility including the mental health staff, officer, and ancillary staff.

Disciplinary Custody (DC Status) – The maximum restrictive status of confinement to which
inmates found guilty of a Class I misconduct may be committed.

DSM – The American Psychiatric Association Diagnostic and Statistical Manual of Mental
Disorders.

Dynamic Risk Factor – A risk factor that is considered changeable through intervention, also
referred to a criminogenic need.

Extended Involuntary Emergency Treatment or 303 Commitment – Refers to the court
ordered extension of the 302 application for a period not to exceed 20 days.

Facility – A State Correctional Facility, State Regional Correctional Facility, Motivational Boot
Camp, Training Academy, Community Corrections Center, and the Central Office Complex as a
group and/or individually.

Facility Manager – The Superintendent of a State Correctional Facility, State regional
Correctional Facility, or Motivational Boot Camp, Director of a Community Corrections Center or
Director of the Training Academy.

Forensic Treatment Center – Refers to the forensic psychiatric hospital operated by the
Department. The unit is located at SCI-Waymart, and its operation is guided by the Regulations
for Inpatient Forensic Psychiatric Hospitals, Chapter 5333 of Title 55, Published by the Office of
Mental Health.

General Population Housing Unit – A general housing unit within which an inmate may
engage in various educational, vocational, and treatment programs.

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Guilty But Mentally Ill (GBMI) – Sentencing provisions established by Act 286-81, 18 PA
C.S.A. §§314, 315, 42 PA C.S.A. §9727 for persons found or pleas of guilty but also having a
mental illness at the time of commission of their offense. Persona adjudicated as GBMI were
determined by the court to be mentally ill, but not legally insane, at the time they committed their
offense. They may or may not be mentally ill at the time of sentencing or reception. This is a
legal, not a psychiatric diagnosis, classification.

Hard Cell – A secure cell usually located in a Mental Health Unit, Infirmary, or Special Needs
Unit that is free of breakable objects, protrusions, screens, and other features which an inmate
might harm him/herself. The area is also structurally reinforced so that the inmate will have
difficulty damaging the cell. Window and doors are located and the cell is configured in such a
manner as to allow custody and treatment staff provide constant observation of, and immediate
access to, the resident, to prevent self-harm. Some hard cells may be equipped with medical
restraints and/or observation cameras.

Housing Unit Officer – A corrections officer who is assigned to the living quarters where
inmates are housed.

Individual Treatment Plan (ITP) – A series of written statements specifying the particular
course of treatment and the roles of staff in carrying it out. It is based on an assessment of the
inmate’s needs, and it includes a statement of short and long-term goals as well as the methods
by which these goals will be pursued. When clinically indicated, the treatment plan gives
inmates access to the range of supportive and rehabilitative services (such as physical therapy,
individual or group counseling, and self-help groups) that the treatment plan deems appropriate.
To the extent feasible, the inmate shall participate in the development of his/her ITP.

In-House Regional Mental Health Unit (MHU) – A Department of Public Welfare Office of
Mental Health Certified mental health unit housed within a Department facility. Vendors under
contract to the Department operate these units. The Regulations for Inpatient Forensic
Psychiatric Programs, Chapter 5320 of the Title 55, published by OMH, guide the operation of
the MHUs.

Initial Assessment Plan – A plan developed by the Special Assessment Unit (SAU) Team that
identifies the reason(s) for admission to the unit, and presents problems and goals to be
addressed by the inmate and members of the Multidisciplinary Team.

Intermediate Care Unit (ICU) – A 50-bed unit at SCI Waymart designed to provide mental
health treatment to inmates who, due to their psychiatric condition, have demonstrated an
inability to function in general population, have not been successful in adapting to a Special
Needs Unit (SNU), and have not evidenced behaviors necessitating commitment to the Forensic
Treatment Center.

International Classification of Diseases, Current Edition, Clinical Modification (ICD-CM) –
The official coding used in the publication of the DSM-IV. The Department requires the
psychiatrist to assign ICD diagnoses to all inmate patients.



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Involuntary Emergency Examination and Treatment or 302 Application – Refers to a brief
emergency commitment to a licensed psychiatric unit of an individual who is severely mentally ill
and a danger to self or others. The 302 application shall not exceed five days.

Licensed Psychology Manager – A Civil Service title for the Chief Psychologist within a
facility.

Mental Health Commitment – The procedure to commit an inmate to a Regional Mental Health
Unit, Forensic Treatment Center, or DPW Forensic Mental Health Unit in accordance with the
Mental Health Procedures Act. This is the same procedure applicable to civil commitments in
the community.

Mental Health Coordinator – Refers to staff member in the Facility Psychology Department
who coordinates the mental health services provided to the inmates with mental illness in the
facility. If the facility does not have a MHC, then another member of the psychology staff shall
assume the mental health coordination duties.

Mental Health Procedures Act – Refers to legislation 50 P.S. §7101 of 1976, Act #143 as
amended by Act #324 of 1978, which governs the mental health procedures employed in
Pennsylvania and provides for treatment and rights of mentally disabled persons, as well as for
voluntary and involuntary examination and treatment.

Mental Health Service Review Committee (MHSRC) – A committee chaired by the Facility
Chief Psychologist, which is composed of all key mental health figures in the facility including
the facility psychiatrist, CHCA, CCPM, Special Needs Unit manager (if appropriate), Mental
Health Unit Director (if appropriate), and any other staff members assigned by the Facility
Manager. The MHSRC meets regularly to review the mental health procedures in the prison and
completes an annual review of the Department and facility mental health policy and operations
submitted to the BHCS.

Mental Health Unit (MHU) – A housing area or group of cells designated for inmates confined
in a facility-based mental health unit licensed by the Pennsylvania Department of Welfare, Office
of Mental Health.

Mentally Retarded – Refers to individuals whose general intellectual functioning is sub-average
and exists concurrently with deficits in adaptive behavior with onset before age 18. Sub-average
intelligence is defined as a score on a standard intelligence test of 69 or below.

Military Experience Scale – An instrument used to record an individual’s level of experience in
military service.

Military Veterans Scale – A self-report scale regarding physical and emotional feelings
currently being experienced.

Multi-Disciplinary Team – This team is chaired by the Corrections Health Care Administrator
and consists of the Medical Director/designee, the inmate counselor, psychiatrist, psychologist,
Unit Manager, and nursing supervisor. This team addresses the mental and medical health
treatment needs of referred inmates. This shall include screening and appraisal of data, direct
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observation of behavior, diagnostic review of personality issues; mental health history and
treatment plan referral.

Parenteral Medication – Medication administered intramuscularly or intravenously.

Patient – For the purpose of this policy/procedures manual, when an inmate is admitted to a
Mental Health Unit he/she shall be referred to as a patient who is undergoing mental health
treatment.

Post-Traumatic Stress Disorder (PTSD) – The development of characteristic symptoms
following a psychologically traumatic event that is generally outside the range of usual human
experience. The characteristic symptoms involve re-experiencing the traumatic event; numbing
of responsiveness to, or reduced involvement with, the external world; and a variety of
autonomic; dysphonic; or cognitive symptoms.

Preventive Mental Health Services – Services designed to maintain or improve the mental
health of inmates before they develop emotional problems or reach a crisis. Programs include,
Anger Management, Assertiveness, General Adjustment Groups, and Therapeutic Recreational
Activities.

Program Review Committee (PRC) – A committee consisting of three staff members that
conduct Administrative Custody Hearings, periodic reviews, makes decisions regarding
continued confinement in the Restricted Housing Unit (RHU) and/or Special Management Unit
(SMU), and hears all first level appeals of misconducts. The committee shall consist of one staff
member from each of the following staff classifications: Deputy Superintendent, who shall serve
as the chairperson, Corrections Classification Program Manager, Unit Manager, School
Principle, Drug and Alcohol Treatment Specialist Supervisor, or Inmate Records Officer
Supervisor and a Commissioned Officer. The Facility Manager may designate other staff as
committee members, however, if such designations are made, they must be in writing and the
Facility Manager must maintain a list of all designees. Whenever a PRC is convened, at least
one member of the committee must be a staff member who is not directly involved in the
administration of the RHU/SMU in which the inmate is currently housed.

Psychiatric Observation Cell (POC) – A cell located in the Infirmary area of the facility that is
used to hold inmates who are mentally decompensating to the point where they are considered
a danger to themselves, other inmates, and/or property. These cells provide a means of
retraining the inmate, if necessary, and allow for constant supervision of the inmate to be
maintained in order to treat the inmate.

Psychiatric Restraints – Physical devices such as leather Belted Wrist Restraints (BWR), 2,
4, or 5-point restraints, which are ordered by the psychiatric provider. These restraining
devices do not include security restraints used for confinement purposes or facilitating inmate
movement.

Psychiatric Review Team (PRT) – A team, chaired by the facility’s Chief Psychologist/
designee, including the psychiatric provider, Unit Manager, and other staff as designated by
the Facility Manager. The Psychiatric Review Team reviews the cases of those inmates who

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experience adjustment or behavioral difficulties related to emotional problems and who require
more in-depth evaluation, closer monitoring and support.

Psychiatric Review Team Roster – This roster includes that subset of inmates on the mental
health/mental retardation roster who suffer from a serious mental illness, who are having severe
difficulty adjusting to institutional life, and whose cases require closer, regular monitoring by the
multi-disciplinary Psychiatric Review Team.

Psychological Services Staff – Those individuals working in a facility and who are in positions
of Psychological Services Associate-Corrections, Psychological Services Specialist-Corrections,
Psychologist (licensed) and Licensed Psychologist Manager (Chief Psychologist, generic). Staff
provides a range of psychological assessment. Treatment and mental health services to the
various units. Staff may be assigned to one or more units and are expected to visit the units to
interact with the unit staff and inmates on a regular basis.

Psychologist – The term “psychologist” used herein shall mean any psychologist or
psychological services associate.

Psychotropic Medication – Drugs that affect the mental state.

Qualified Mentally Ill – Refers to inmates who are determined to be mentally ill in accordance
with the Mental Health Procedures Act.

Qualified Personnel – Staff licensed as psychiatrists or psychologist, or meet the State civil
Service classification for corrections counselor I or II or corrections casework supervisor,
psychological services associate I or II, psychological services associate supervisor,
psychological services specialist, registered nurse, or licensed practical nurse.

Receiving Officer – The corrections officer responsible for receiving new commitments into the
facility.

Reception Committee – Those members of the unit/facility team who meet with and review the
cases of inmates newly assigned to the unit/facility or housing unit.

Restricted Housing Unit (RHU) – An area or group of cells housing inmates assigned to
disciplinary or administrative custody status pursuant to Department policy DC-ADM 801,
“Inmate Discipline” or DC-802, “Administrative Custody Procedures.”

Serious Mental Illness – A substantial disorder of thought or mood, which significantly impairs
judgment, behavior, capacity or recognize reality, or cope with the ordinary demands of life.

Sex Offender Treatment Committee (SOTC) – An advisory committee comprised primarily of
Department of Corrections’ providers of sex offender-specific treatment.

Social Security disability Insurance (SSDI) – SSDI comprises a number of disability benefits
for workers and their dependents and survivors. Entitlement is based on contributions to the
Social Security trust funds through Federal Insurance Contribution Act (FICA) taxes. Individuals
who qualify for SSDI benefits are entitled to receive medical benefits from the federal Medicare
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program generally after they have been entitled to benefits for 24 months. SSDI benefits include
Disability Insurance Benefits, Widow’s Insurance Benefits, and Child’s Insurance Benefits.

Special Assessment Unit – A program located in the SCI Waymart RHU, designed to provide
independent assessment of inmates who, because of mental illness, have demonstrated an
inability to function successfully in general population and have been confined to a Restricted
Housing Unit for a lengthy period.

Special Assessment Unit Team – A team assigned to operate and provide extensive
assessments on the Special Assessment Unit. The team will consist of the Zone Lieutenant
and/or his/her designee, a psychologist, psychiatric provider, registered nurse, corrections
counselor and any other staff designated by the Chief Psychologist with input from the
Corrections Classification Program Manager. This team is responsible for security, risk
management and the delivery of mental health services to inmates identified as being seriously
mentally ill and housed on this unit.

Special Needs Unit (SNU) – A housing unit established to provide a safe and secure setting
and specialized treatment services for those inmates identified as being unable to function in a
general population-housing unit. Inmates in this category may include those diagnosed as
mentally ill, emotionally unstable, mentally retarded, and physically or developmentally
challenged. Placement does not require the mental health commitment process.

Stable Dynamic Risk Factor – A risk factor that is considered changeable through intervention,
but tends to be more stable in the inmate’s life (personality disorder, sexual preference for
children).

Static Risk Factor – a risk factor that is predominantly historical and cannot be changed
through intervention.

Supplemental Security Insurance (SSI) – SSI is a means-tested program that provides a
basic floor of income for individuals with limited incomes and resources. SSI benefits are paid to
aged (age 65 and older), blind, and disabled individuals who have limited means. Individuals
under age 65, including children (individuals under age 18) must be blind or disabled to qualify
for benefits.

Training Coordinator – An employee assigned by each facility, CCC region and center, Central
Office, and Training Academy who is responsible for supervising the planning, coordinating,
facility and ACA training record maintenance, and on-site monitoring of training.

Unit Management Team – The individuals assigned to operate a housing unit with the
responsibilities for security, risk management, and program delivery. The team is composed of,
at a minimum, a Unit Manager, Corrections Officers, and a counselor. Other staff may be
assigned to the team or provide supportive services to the unit.

Unit Manager – The staff person responsible for managing the staff and programs in a Unit(s).
The individual who is responsible for the supervision of all members of the Unit Management
Team and the delivery of security and program services.

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                     13.8.1, Access to Mental Health Care Procedures Manual
                                        Glossary of Terms

Unit Staff – Staff who are assigned specifically to the unit, including but not limited to correction
officers, and counselors, full time and who provide services and programs in a unit under the
direction of the Unit Manager.

Voluntary Application for Examination and Treatment or 201 Application – Refers to the
procedures whereby an inmate who believes he/she is mentally ill and understands the nature
of voluntary treatment may apply to be treated in one of the Department Mental Health Units.




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             Exhibit 2
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             WEEKLY STRUCTURED/UNSTRUCTURED OUT-OF-CELL PROGRAM REPORT
                                  Week of: ________ to _________
                                                Capital Case Unit
                                # OF STRUCTURED      # OF UNSTRUCTURED
                      Inmates         HOURS                 HOURS           Total      Total
  Inmate Name
                       Status   Offered   Accepted   Offered    Accepted   out-of-   out-of-cell   Notes
    & Number                                                                 cell      hours
                                                                           hours      accepted
                                                                           offered




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NOTES: Out of cell does not include any inmate visits or legal mail pick up




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             Exhibit 3
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             Exhibit 4
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